Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 1 of 169 Page ID
                                  #:8874




      TRIAL EXHIBIT NO. 237
7/30/2021    Case 2:20-cv-09091-PA-AS Document 174-3   Filed
                                                Amazon.com      10/26/21
                                                           : thrive skin Page 2 of 169 Page ID
                                               #:8875
                     Hello
  Skip to main content                            All      thrive skin
                                                                                                                                 Hello, Sign in           Returns             0
                     Select your address                                                                                         Account & Lists          & Orders


     All    Best Sellers   Customer Service     Prime        New Releases       Pharmacy   Books     Fashion         Toys & Games       Kindle Books      Gift Cards

   1-48 of over 5,000 results for "thrive skin"
                                                                                                                                                        cSort by:
                                                                                                                                                         Featured
                                                                                                                                                          Sort by: Featured   )
   Eligible for Free Shipping
       Free Shipping by Amazon
   All customers get FREE Shipping
   on orders over $25 shipped by
                                                                                                                                                       ..
   Amazon

   Local Stores
                                                                                                      --
                                                                                                     - .-ocoWosh -
                                                                                                       --.-
                                                                                                                                                  ----""~
                                                                                                                                                  .,..,.,.~
                                                                                                                                                  -   1"rgy Seiub -
                                                                                                                                                              ,.__


      Amazon Fresh
      Bristol Farms
     See more

   Climate Pledge Friendly
      Climate Pledge Friendly
                                          THRIVE All Natural Face                     THRIVE Natural Face Wash Gel                  THRIVE Natural Face Scrub for
   Department                             Cream for Sensitive Skin –                  for Men & Women – Daily                       Men & Women – Exfoliating
   Beauty & Personal Care                 Facial Moisturizer Restores,                Facial Cleanser with Anti-                    Face Wash with Anti-Oxidants
    Makeup                                Protects Skin & Helps Sooth…                Oxidants & Unique Premium…                    Improves Skin Texture,…
    Facial Serums
                                          2 Fl Oz (Pack of 1)                                          711                                             1,243
    Face Moisturizers
                                                             219
    Eye Treatment Products                                                            $1295 ($3.83/Fl Oz)                           $ 1495 ($4.42/Fl Oz)
    Facial Cleansing Washes               $   16  95 ($8.48/Fl Oz)                    $11.66 with Subscribe & Save                  $13.46 with Subscribe & Save
   Health & Household                                                                 discount                                      discount
                                          $15.26 with Subscribe & Save
    Vitamins & Dietary
                                          discount                                            Get it as soon as                             Get it as soon as
    Supplements
     See All 22 Departments                             Get it as soon as Sun, Aug    Tomorrow, Jul 31                              Tomorrow, Jul 31
                                          1                                           FREE Shipping on orders over $25              FREE Shipping on orders over $25
   Avg. Customer Review                                                               shipped by Amazon                             shipped by Amazon
                                          FREE Shipping on orders over $25
                    & Up                  shipped by Amazon
                    & Up
                    & Up
                    & Up
                                                                                                            S~Thrive
                                                                                                            ~1J""""'"····• ...
   Brand
      Neutrogena                                                                                                     @
                                                                                                              Doily Dofonso
      CeraVe                                                                                                 Sunscreen Bolm

                                                                                            ~tr~              :=~-=~=-@
                                                                                            . ~-
      Maybelline New York
      L'Oreal Paris
      REVLON
      Crest
                                                                                            --@)

                                                                                            ==ai:.
      Philips Norelco
     See more                             Thrive Causemetics Buildable                THRIVE Natural Moisturizing                   THRIVE Natural Deep Clean
   Price                                  Blur CC Cream - Medium Beige                Mineral Face Sunscreen SPF                    Skincare Kit for Men & Women
   Under $25                              Neutral Undertone                           30, 2 Ounces – Lightweight                    (3 Piece) – Gift Set with
   $25 to $50                             Cream · 1.08 Fl Oz (Pack of 1)              Moisturizer Broad-Spectrum…                   Natural Face Scrub, Wash &…
   $50 to $100                                               9                        SPF 30 · 2 Fl Oz (Pack of 1)                                     799
   $100 to $200
                                                                                                       1,542
   $200 & Above                           $
                                              4000 ($37.04/Fl Oz)                                                                   $
                                                                                                                                      3995 ($13.32/Count)
    $ Min       $ Max       Go            Get it Tue, Aug 3 - Fri, Aug 6
                                                                                      $24  95 ($12.48/Fl Oz)
                                                                                                                                            Get it as soon as Sun, Aug
                                          FREE Shipping                               $22.46 with Subscribe & Save                  1
                                          Only 15 left in stock - order soon.         discount                                      FREE Shipping by Amazon
   Deals
                                                                                      Join Prime to save $2.50 on this
      Today's Deals
                                                                                      item
   Premium Beauty Selection                                                                   Get it as soon as
      Premium Selection                                                               Tomorrow, Jul 31
                                                                                      FREE Shipping on orders over $25
   Beauty Product Attributes                                                          shipped by Amazon
      Alcohol Free                                                                    FSA or HSA eligible
      Ammonia Free

https://www.amazon.com/s?k=thrive+skin&ref=nb_sb_noss_2                                                                                                                           1/8
7/30/2021  Case 2:20-cv-09091-PA-AS Document 174-3   Filed
                                              Amazon.com      10/26/21
                                                         : thrive skin Page 3 of 169 Page ID
      Contains Keratin                       #:8876
     Formaldehyde Free
     Hypoallergenic
     Oil Free
     PABA Free
    See more

   Subscribe & Save
      Subscribe & Save Eligible

   Packaging Option
      Frustration-Free Packaging
                                     Thrive Causemetics Buildable           Thrive Causemetics Buildable         Your Skin But Better CC Cream
   International Shipping
                                     Blur CC Cream Beige Golden             Blur CC Cream Broad                  Oil-Free Matte with SPF 40 -
       International Shipping
   Eligible                          Neutral Undertones 30mL                Spectrum SPF 35 - Light              Light Medium
                                     Cream                                  (Neutral Undertones)                 1.08 Fl Oz (Pack of 1)
   Condition
                                                                                              1                                         748
   New                               $
                                      3600 ($36.00/Fl Oz)
   Used
                                     Get it Tue, Aug 3 - Fri, Aug 6
                                                                            $
                                                                             75    00
                                                                                        ($75.00/Count)           $
                                                                                                                  42     99
                                                                                                                              ($39.81/Fl Oz)
   Availability                      FREE Shipping                          Get it as soon as Thu, Aug 5                 Get it as soon as
      Include Out of Stock                                                  $4.99 shipping                       Tomorrow, Jul 31
                                                                            Only 3 left in stock - order soon.   FREE Shipping by Amazon
                                                                            More Buying Choices                  Only 5 left in stock - order soon.
                                                                            $69.00 (2 new offers)                More Buying Choices
                                                                                                                 $40.50 (15 new offers)

                                                                                                                     Best Seller
                                                                                                                                   r
                                                                                                                                     CC•


                                                                                                                                   --=
                                                                                                                                   7
                                                                                                                                     ~




                                               rn
                                     It Cosmetics CC Matte Cream            IT Cosmetics Je Ne SAIS Quoi
                                     Medium 1.08 fl oz                      Lip Treatment, Your Perfect          IT Cosmetics Your Skin But
                                     1.08 Fl Oz (Pack of 1)                 Pink - Anti-Aging Lip Balm -         Better CC+ Cream, Medium
                                                       314                  Reacts with Your Lips to…            (W) - Color Correcting Cream,
                                                                            0.11 Ounce (Pack of 1)
                                     $4000 ($37.04/Fl Oz) $45.99                                                 Full-Coverage Foundation,…
                                                                                              1,455              1.08 Fl Oz (Pack of 1)
                                               Get it as soon as Sun, Aug
                                     1                                          Save 37%                                                12,078
                                     FREE Shipping by Amazon
                                     Only 8 left in stock - order soon.
                                                                            $1563 $24.97                         $2920 $37.38
                                                                            Lowest price in 30 days                      Get it as soon as Sun, Aug
                                     More Buying Choices
                                     $37.00 (30 new offers)                 Get it Fri, Aug 6 - Wed, Aug 11      1
                                                                            FREE Shipping                        FREE Shipping by Amazon
                                                                                                                 More Buying Choices
                                                                                                                 $28.99 (20 new offers)




                                                                                                                                       CLARITY
                                                                                                                                     IN BALANCE
                                                                                                                                   .....................
                                                                                                                                   .:::;..--=~-=--
                                                                                                                                                           --
                                                                                                                                       _£;.!.,.


https://www.amazon.com/s?k=thrive+skin&ref=nb_sb_noss_2                                                                                                         2/8
7/30/2021   Case 2:20-cv-09091-PA-AS Document 174-3   Filed
                                               Amazon.com      10/26/21
                                                          : thrive skin Page 4 of 169 Page ID
                                              #:8877
                                     LUXAZA 6 PCS Neutral and                                    Covergirl Simply Ageless           Probiotic Action®
                                     Brown Metallic Eyeshadow                                    Instant Wrinkle Blurring           Breakthrough probiotic
                                     Stick,Warm to Cool Cream                                    Pressed Powder, Fair Ivory, 3.9    Technology for Your Skin.
                                     Shimmer Eyeshadow Pencil…                                   Oz.                                Acne Treatment. Eczema and…
                                                       3,179                                     3.9 Ounce (Pack of 1)              1.7 Fl Oz (Pack of 1)
                                                                                                                       544                         245
                                     $
                                      1899
                                     Save more with Subscribe & Save                             $
                                                                                                  11     99                         $
                                                                                                                                     18 ($11.21/Fl Oz)
                                                                                                                                         95

                                                                                                 $11.39 with Subscribe & Save       Save more with Subscribe & Save
                                     FREE Shipping on orders over $25                            discount                                   Get it as soon as
                                     shipped by Amazon                                                   Get it as soon as          Tomorrow, Jul 31
                                     Only 18 left in stock - order soon.                         Tomorrow, Jul 31                   FREE Shipping on orders over $25
                                                                                                 FREE Shipping on orders over $25   shipped by Amazon
                                                                                                 shipped by Amazon




                                                           1HRIVE
                                                             51(Jll(ARI l'OWUU>!Y
                                                             U(,(NWTM!Uh'TY

                                                             - SHAVING OIL -
                                                           fOR,.NUllflA•ClOSlSHI.Vt
                                                            WIIKAfOUC£01!1111ATIO\'




                                                                       l"I•.•      ,.,....
                                                                     II.ft ... ... . ,,.!"   ~




                                     THRIVE Natural Shave Oil for                                Thrive Causemetics Brilliant       Glo Skin Beauty Cream Stay
                                     Men, 2 Ounces (60mL) –                                      Eye Brightener - Estrella          Shadow Stick
                                     Replaces Pre-Shave Oils,                                    0.5 Ounce (Pack of 1)                             267
                                     Shaving Creams, Gels, and…                                                        2            $2000 ($404.86/Ounce)
                                     2 Fl Oz (Pack of 1)                                         $49     99
                                                                                                              ($49.99/Count)        Save more with Subscribe & Save
                                                       543
                                                                                                 FREE Shipping by Amazon                      Get it as soon as Sun, Aug
                                     $18   95 ($9.48/Fl Oz)                                      In stock soon.                     1
                                     $17.06 with Subscribe & Save                                                                   FREE Shipping on orders over $25
                                     discount                                                                                       shipped by Amazon
                                     Join Prime to save $1.90 on this
                                     item
                                               Get it as soon as
                                     Tomorrow, Jul 31
                                     FREE Shipping on orders over $25
                                     shipped by Amazon

                                                                                                     Best Seller
                                                                                                                   r



                                     TULA Skin Care Glow & Get It                                                                   Maybelline Baby Skin Instant
                                     Cooling & Brightening Eye                                   Julep Eyeshadow 101 Crème          Pore Eraser Primer, Clear, 0.67
                                     Balm | Dark Circle Under Eye                                to Powder Waterproof               Fl Oz (Pack of 2)
                                     Treatment, Instantly Hydrate…                               Eyeshadow Stick, Sand              0.67 Fl Oz (Pack of 2)
                                     0.35 Ounce (Pack of 1)                                      Shimmer                                           3,283

                                                       3,253                                                           13,792       $1017 $11.98
                                       $2800 ($28 00/C                                                                              $9.66 with Subscribe & Save
                                                        t)                                       $
                                                                                                  1500
https://www.amazon.com/s?k=thrive+skin&ref=nb_sb_noss_2                                                                                                                    3/8
   G    "thr ive natL..i r~I care" u:I U:5•e meti,.   X   :@ ' rrve a ral Care·, Inc. v , Thriv     X      a   Amaz.o n.com ; t rw-e                                        X    a Amazon.co ; thriv-e  X      R:x:lca,h ..,. 1elds vs., Ti rive Nat~rc1 X
                                                                                                                                                                     Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 5 of 169 Page             + ID                                                                                                                                                        0   X
                                                                                                                                                                                                       #:8878
 f-     ➔       C          i     amai2on,com/ s?k=thrive&i =beauty&ref=nb_sb_noss




                                                                                                                             Alllamri Pr lm11


                                                                                                                                                     I FllfE Sam• • □ •r
                                                                                                                             Gm FliEE 5'rnc> D:r1
                                                                                                                             qµ,lll}lrnj ~n:I<,. owr tH
                                                                                                                                                                     °""'""''      on


                                                                                                                             D OLiV Oi ~       D.ay
                                                                                                                                  G;:t ?I. T Ctd2p°
                                                                                                                                  !.<I ~ b)' <ffi:a,IM

                                                                                                                             l •CiGIL 5'1.n        s
                                                                                                                                  '--m.amn f 'resh
                                                                                                                                  WhdaFc.:.:!; :ark

                                                                                                                             o ~~fl!nt1t
                                                                                                                             <.""! D,;:,..rcmml
                                                                                                                                BoN            & Pi:::r,sorw:L CIM                      .4 D.Silk Rb<,:· Las h      """"'"~,2 m 1                             Th rive Cilu ~etic:s. - :B..rynn        Thr,.._ Cauoe<""ti"'               8nU..nt [ye                                                     :,!,lln I
                                                                                                                                   Ma'i~up
                                                                                                                                                                                        Tnri·.--e .M.1:SQ r;:1 Far N.a tl!-1'•d                               ··••:tc           5,lJ                  Oogh t~""' Stcl!.a                                   'l.'.lt<rprool Moa,:,:.ua llf;oolc Thmi,
                                                                                                                                   E) ' I - P
                                                                                                                                                                                        l.Jsagtlr ,g o!. oo Thit".:ernng
                                                                                                                                                                                        [ ffcd, n c ,:lll mp i03 Sw.:?Cr.a uonq ...
                                                                                                                                                                                                                                                              i33·•• r½~ A>lll<.I""'
                                                                                                                                                                                                                                                              ~ g -lpPm
                                                                                                                                                                                                                                                                                         =            i CCulti lfl><l<<> rl l
                                                                                                                                                                                                                                                                                                          .... .             B1 5
                                                                                                                                                                                                                                                                                                                                                           L<qlrld L.a,gies~i,,:m
                                                                                                                                                                                                                                                                                                                                                           J-,ly p.:1.J.l1!!9,~n ic .MJ!.CiJ f ~ N.:rtur.il fa["...
                                                                                                                                                                                                  **      u      l,5E.1                                                                               13          IS.'.:O..OOI Lo1111 rL ~
                                                                                                                                                                                                                                                                                                                                                                                    '!;!

                                                                                                                                                                                        16' .3,6.98JCoun11
                                                                                                                                                                                        5 ;ND mt"lro al.1 th ·5;.J IK.'1 b=. El S;r
                                                                                                                                                                                                                                                                                                      fli.E 5hipp,ng
                                                                                                                                                                                                                                                                                                      011.1 l"'tlattl"'i'll=:11: ... -l:Ui R'a.:m&
                                                                                                                                                                                                                                                                                                                                                           lm1
                                                                                                                                                                                                    ~1 , Jul 2.
                                                                                                                                                                                        Fasc--- 1 f.rlEE d5',,•,           To motraw, J.wi '310
                                                                                                                                  "it.1f-.;: Cl u-s4ffl~~                               " " $2S.<11 1wnHhlp~ d b v= on
                                                                                                                                                                                                                                                                                                                                                                      I . -=Hie S.mn !J.11
                                                                                                                                       "' ' 9~                                                                                                                                                                                                             FREE      d'<'..,,,.-
                                                                                                                                                                                                                                                                                                                                                                              1i lia r. J  23 "'1 '!o.lJ•y,-.,.
                                                                                                                                  J..t<ITIYI..,.
                                                                                                                                                                                                                                                                                                                                                           Dl ~ l l ~'\.'.J _!3§.
                                                                                                                                   =-r~;,.J~onv.
                                                                                                                                  ;J.q,
                                                                                                                                             FRO FE:£'S.LO~ l,,,\?t),Blp
                                                                                                                                   :'.-'     ~ CIJr.1.I
                                                                                                                                  ..UXAZA
                                                                                                                                  wu ,a
                                                                                                                                   """:f-01>:ih;          N..,      ,,.,ti.
                                                                                                                             l'llU
                                                                                                                             IJn.!lr S."5
                                                                                                                             ~2,; ,.        u~
                                                                                                                             ~ 5,Jti,       UDO
                                                                                                                            .$ EOO <0 $200
                                                                                                                             $200 .i. ,\b<n,'<

                                                                                                                             E]~~
                                                                                                                                                                                        Tor i..,, C        ,,,,,m"""'s Lh;md Lzh                                                                                                                           rtn,,-.,_ G:m"lel:Jo,; [yl! 1'.Jrlglrten!!r
                                                                                                                                                                                                                                                                                                      F= S"""'~" S

                                                                                                                                                                                                                                                                                                                                                                    ....
                                                                                                                             Pt ofizu-i            J iac...ut                           C:t~;u1 ic., s        t.1.si c-"J !il, (ry..:t".1!   fBroi.-.•fl      [~i, !lnyhtener,     O,o,,.n.x.1n•                             F 30,. 2 Oui:m,, -            S'l.xL,, SITUA • < ham =>J ~n<
                                                                                                                                  S.IDl",il.~S,, dial'                                  !!lock) ,0.7~F1t!. !im:                                               ~hi1111TI1or, Stelb                     Lig'1twa;ih l M=ta,im.- ilrui!d·                               n-•r [ Unl,,ai,d)
                                                                                                                                                                                                a,"";'.'i -- N3                                               1 CoUJrt 11' .. I< or 11                Spertru.,,.. .M.Jt:te Natw~l fac~-
                                                                                                                                  n ~m e:..~ ut)I .S                  '-"Cda:111
                                                                                                                                  .?rt:RM 1.1 m ~liill«'tu:n                                                                                                  ****i             Elil                  SllF :!.0 , 2 Fl O.Z tp.1ui. <if IJ
                                                                                                                                                                                                                                                                                                                                                           •31 111
                                                                                                                                                                                                                                                                                                                  • .,,      l ;l,6;}
                                                                                                                             Mi:1~ 1:0..ip FiC'lri        .,                            FQEE~a~•!li"IQ                                                                                                                                                                     rrt.:: D-rr....... ·, Ttua... -~   T
                                                                                                                                  Cr J)'Cl'l
                                                                                                                                                                                        :Jr,},i .J.   •1 .. ,nadr. ~llfll.r~•                                                                         •21 •• (Sc10.:<S/R Qr, ~                             lln,           t" uo:'.-:-a.           1Ct'1'1.

                                                                                                                                                                                                                                                                                                      ~113..7'1:1 •..nh&b;..--1~ la Sa-n.:~
                                                                                                                                  i.n..am
                                                                                                                                                                                                                                                                                                      ra:La:j;;t_; ii-1-..QJ lfT.t'! '-t.i1~
                                                                                                                                  .C-u-mi,m
                                                                                                                                  - up<                                                                                                                                                                            R="::·:: :1~•!h .. i-.i    .J,J ul I
                                                                                                                                  Ed                                                                                                                                                                  FSA ilr RSA <(¥,bl
                                                                                                                                  J..li+Uil!
                                                                                                                                  i.,(1411
                                                                                                                                   ..........
                                                                                                                                   ~~
                                                                                                                                  J'<f'<:I
                                                                                                                                  ?11.~,
                                                                                                                                  ~tlm
                                                                                                                                  S., r;JI'
                                                                                                                                  s.,10.
                                                                                                                                  S.1'1d

                                                                                                                             e-::au,, -.lCI A!!Jolb
                                                                                                                                  t.l,ot.d. ;:'I IHI
                                                                                                                                  t. ~'"ILJ Fnilll
                                                                                                                                  ~~I m.i i.rkl'ftii!iJ            Fftt-
                                                                                                                                           P,:,,IIAll;,,nlC
                                                                                                                                  f'Ai!_.>,>ro,
                                                                                                                                  P.nbon 'r«                                            Tari..-., u , ,,.,m=• limn I                                          T m,~ C;1u ~tibi. - . ian E.r,:,        Thu ... c. .. ..,,.,..,,.,,,. .                lty   Tl-1         E: l'lawro l f""" \\l a"'1            el.lb,
                                                                                                                                  ~ .t,o,F,GQ                                           W-.,tt,c :,roof [~ofine: m I.ALB[                          ll.1ac k   fl<,g,1t0'1er   ..., t!iafr Pi11t:      W.:a terp ctx1f E:roliner ~lu,l,e: £1:a              Men P. Wom en (3 P.i<~ ) Doily F•cial
                                                                                                                                                                                           :;,tee                                                             Slii111mer1                             1B r<11m t-1 0,,tj                                   (l,,,,,.,,, L~ h \Jrnq '-!"- i'rernum
                                                                                                                             Sut.:scr lb< &            s'.:rll'C
                                                                                                                                  ~.au,., r. S""• :ln;il:l,;                                                                                                             f. !16                       , e<>un., .~ ~ <> r , i                              Naw ral Ing redient,. f.:ir H""'.tn~, ~k-
                                                                                                                                                                                                                                                                                                                                                                         -,,        !1:ll
                                                                                                                                                                                                                                                              ~4Q<I t,£,:!Dll{CLn.x:i ~
                                                                                                                                      n.;u1 i:aillill         ~p •
                                                                                                                                     TL.m:ttinn.ilSitli1k:.i"lqit!rcil:-L:.
                                                                                                                                                                                        l } 9..., \ \!9.lJ.!I/ COU-,1
                                                                                                                                                                                                      • refiEE D,d.1,.-.:,y irhu., J
                                                                                                                                                                                                                                                                    rt   Ff.EE ~ lh"Of Y Tiw~ JuJ 1   ma
                                                                                                                                                                                                                                                                                                      •24    00 1;.a.oo,/Cilun, i =
                                                                                                                                                                                                                                                                                                                                                           >32."' (i 2.B3};:J Dll
                                                                                                                                                                                                                                                                                                                                                                           ' ilEE D"lo      o.r,
http:s1(/WV1•w,a mazo n.corn/Th rive -( o-s;n_e ti-cs-Brig t_e, er-S,ha~J-e-5TElLAJd p,B.095 NXR54 / ref=sr_ 1..:.$~d ·Id=1 &~e.s,w.. ,                                                 'DI.,,.\ (      llllct:L,•El'a".111&.
                                                                                                                                                                                                                                                                                                      i.C,.t,'t,s t QrfCO h !O d;.W                        ~ l't   It T!Mri llrfi'.11.-, .Ju.11 .:..o                          ....
                Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 6 of 169 Page ID
                                                  #:8879
 X    +



                                                                                                           ..
'TWl)ll't� •   �Toewt        Gnx.a1a. •         �              Hr�ltl'lt.�      �Ina                 ........ 1,,Pw\ONlC..    tor.c,cn.       M\ID",�                Home�                CJftC.ardl    AulorrctM       �AIND\mm                       S&b-..clClrll�   �tt:,,,w   F\o,,




                                                          -
                                                                                                                                         ""     •   r (I      • .,

                        1       ol181                                                                                                                                                                                                           s..t.,..,....... .,




                            -­
                            G<t•..u-oa,..,,yon
                            QWW",4 orocrs�s»                                                                                                                                                                                     ~ Tlll'tve

                                   """-
                            Odf--,0..,


                                Get II by lOfflCrl'OW



                            "'', ....................
                                   "°"""
                                    ""'--.......
                            <Su,� Pl-od.,tu

                            .....
                              t«W            c..r,odrwctt



                                               ........                ,.,   �lob')nfw                   &W                                                          wrth.tltt10��             Un,cp­               An.ti O•ld.»nh lrnpr<Nn             n lf'd�<'




                                                                                                                                          ...
                                                                                                                                                                                                                    U,,Clo9> l'o<'I> & H-Pr­.._
                                                                                                                                                                     '"°"""
                                                                       ..,_...,, In USA wr1th   .>t...-.i & 0f9,,W'I    �P1K1,um ...uu          uur.ll fx._          P,-          """..- .. ,.. _


                            .,_                                        211 O,C,<d,ol 1)
                                                                                       '1l
                                                                                                                        SW.JO 2no.,
                                                                                                                                     ,                                             114
                                                                                                                                                                                                                    l.Slfl O,t,      ofO




                            .....
                                                                                                                                                                                                                    ' 14 "<SU.!"10:I
                                                                                                                                                                                                                    1            s..bw.tl:Jo I. ~ dl.tw'll




                                                          ..
                                                                                                                                                                                                                             '    (W        '
                                     U\                                                                                                                                                                             ( , c c , t t ~. . . . "
                            tl> IOS!.O
                            S5010$\CO
                                                                                                                        FSA•- .....
                            ��


                                ..                                                                                             -                                                                                                                     ..

                            --·                                                                                                                                                                                                     0
                                o,,

                                      "


                             --                                        T1v'lw c..-11« lluld>bl• ei..
                                                                       Crt;,,n 8'o.>d SO(C1/\.ffl SPf JS
                                                                       Loghl (t,n,i,ol Und,,tonn)
                                                                                                                   cc
                                                                                                                        Crt
                                                                                                                        �tcirw\ JO,o-ftL
                                                                                                                                                                     ��tCCC,MtnUll,�
                                                                                                                                                                     H)-Con.,cn..., Co,,«tor.
                                                                                                                                                                     Ant ... A91t'9 � (ormul.,. Glutcn-,r,
                                                                                                                                                                                                                    R..iAcnoP...... Ho"""9P•l<h-

                                                                                                                                                                                                                    ~C-.
                                                                                                                                                                                                                    Spot. HydrocoUoid, Skit TrNtffifl'I
                                                                                                                                                                                                                                                       -•




                                                                                                                                                --JO
                            ISA•--
                                                                       t.OIOOt(-olll                                    C,- HIO.(rodlolll                            ,,_.,USAWlll!t,......ConcL                     r....i soom, two !>ll<S 10,m,
                                rs.Ao,HSA
                                                                                                                        136   CS         I 0,)                                                                              •      lS,301


                                .,_,
                            w..ub&S-
                                                                       '75     !I,                                      G<t , ........ �                             '24    rt�          0.1                        '15"'1t,0tJ/'COl,IC)
                                             A\.�fl
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 7 of 169 Page ID
                                  #:8880




    eb
                                ...     -                          -
                               $27.98
                                               ----
   -
   D
   D
   D
   D
   D
                               $9.95
   □ --

                                                                       Q
 ··-
 .,t   thrive skincare - Wafmart.com   X   +                                                        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 8 of 169 Page ID                                                                                        0   X
                                                                                                                                      #:8881
f-     ➔     C       i walmart.com/ search?q=thrive+skincare


                                                               WaImart ..._I_,
                                                                           I'
                                                                                         DD
                                                                                         DD   Departments
                                                                                                            DO
                                                                                                            00
                                                                                                                      •
                                                                                                                 Ser,,ces
                                                                                                                                                                                                                           >, -cde<
                                                                                                                                                                                                                          L!J My Items
                                                                                                                                                                                                                                           8      Sign ln
                                                                                                                                                                                                                                                  Acoount
                                                                                                                                                                                                                                                            -i;S'
                                                                                                                                                                                                                                                            S000



                                                                ~ All fllte-rs       ©    Need it fast v    Pickup & d elive r}' v                 ©       Price rar,ge v   Brand v        Departments v                             Sort By I Best Match           V




                                                               Results for "thrive skincare" (4537)




                                                                                 _ •
                                                                                 1HRIVE
                                                                                     ....,
                                                                                 :0.111~1
                                                                                                                                                                 •                                           •
                                                               s~onsored                                     Sponsored

                                                               $10.36 -                                      $13.4S       ,;,,1:95                                          $39.06                                        $S2.74
                                                               Thrive N atural Face Wash f or Women &        Thrive N atural Face Moisturizer, 2 oz                         Thrive Restoring Skincare Kit for W omen      Thrive Natural Men's Skincare Set {3
                                                               Me n Vegan Daily Gent le Facial Cleanser      N on-Greasy Facial M oisturizer with                           & Men wit h Sensitive Skin (2 Piece)          Piece) Gift Set to Wash, Shave & Soothe
                                                               with Ant ioxidants                            Ant ioxidants f.or M en & \,Vomen V egan ·-                    Vegan Gift Set & Made in USA                  Vegan & Made in USA
                                                               ***** 34                                      ***** '9                                                       ***** "                                       ****11 15
                                                                                                                                                                             2d:ys                                         2days




                                                                                                    •                                1Hk1VE
                                                                                                                                                                 •                                                                       1HRIVE
                                                                                                                                                                                                                                                            •
                                                                                                                                                                                                                                         ....=,,~ --
                                                                                                                                     !IMJU . . .
                                                                                                                                     a~itar.·

                                                                                                                                           -
                                                                                                                                      - 1,&.:( ,._.lll •                                                                                 r: .,..,,, __

                                                                                                                                     --     ,.
                                                                                                                                      ~•\'11111                                                                                             Ill    _   _,


                                                                                                                                     .,,, a, ,i                                                                                           ~9£
                                                                                                b
                                                                                                      ~


                                                                                                      ..
                                                                                                                                         ·-·-                                                                                                     -
                                                               $86.0S                                        $27.90                                                         $19.99                                        $12.SS -
                                                               Thrive Natural VIP Men's Skincare Set (4      THRIVE Natural Face Wash Gel for Men                           Thrive Causem etics Bright Balance 3 -in- 1   Thrive N atural Face Scrub Exfoliator with
                                                               Piece) Gift Set to Wash, Exfoliate, Sh ave    & \,Vomen Daily Facial Cleanser withAnti-                      Cleanser                                      Antioxidants Improves Skin Texture &
                                                               & Soothe Vegan & Made in USA                  Oxidants & Unique Premium N aturaL                                                                           Blackheads
                                                               ****1? t6                                                                                                                                                  ****1134
12/21/2020      Case 2:20-cv-09091-PA-AS Document 174-3     Filed
                                                   Thrive Skin Care |10/26/21
                                                                      Mercari Page 9 of 169 Page ID
                                                  #:8882
                                  Search for anything                                                    Download app             Sign up          Log in                     Sell


                         Winter
        Brands                      Women         Men        Electronics       Toys        Home                 Beauty     Kids      Vintage           Sports        Handmade        Other
                         deals


   Mercari / Thrive / Beauty / Skin care



                                                   Thrive Skin Care                                 (29 results)
                                                                                                                             Save this search


   Filter by                                                                                                             Sort by:   Best match     V




   Keyword
                                                                                                                                                                       I JJ
     Q    Enter keyword



   Shipping

         Any                                       Our Brilliant Eye Brightener   NWT Thrive Skincare Bu…                 Thrive Skincare Set               Thrive age defying eye cr…
                                                   Thrive                         Thrive                                  Thrive                            Thrive
    n    FREE                                      $22                            $13                                     $14 $22 36% OFF                   $36 $38 5% OFF



   Delivery

         Any
                                                                                      thr~~     \ll::l   \l \ \ ~ l
                                                                                          ,..             =--
    () Mercari Now



                                                   Infinite Detox Body Scrub      Thrive Causemetics Liqui…               Thrive Brightener & Sponge        Thrive Causemetics Mois…
   Category
                                                   Thrive                         Thrive                                  Thrive                            Thrive
                                                   $9 $13 30% OFF                 $22                                     $28                               $18
         Beauty
                                                                                      Free shipping
           Skin care

                Body

          r.J   Eyes

         (') Face


         CJ     Feet

                Hands & nails                      Thrive foundation shade …      Thrive Causmetics shade…                Overnight Sensation Brig…         Bundle
                                                   Thrive                         Thrive                                  Thrive                            Thrive
         CJ     Lips
                                                   $22                            $18 $20 10% OFF                         $51 $62 17% OFF                   $37

           ) Maternity

          0     Sets & kits

                Sun


          0     Other




   Brand                                           Thrive Causemetics Over…       thrive causmetics overni…               Thrive skin body scrub            Thrive Daily Defense Sun…
                                                   Thrive                         Thrive                                  Thrive                            Thrive

     Q    Find a brand                             $50                            $42                                     $10                               $12 $14 14% OFF


         Thrive


https://www.mercari.com/us/brand/6377/92/                                                                                                                                                1/8
12/21/2020 Case         2:20-cv-09091-PA-AS Document 174-3     Filed
                                                       Thrive Skin Care10/26/21
                                                                       | Mercari Page 10 of 169 Page ID
                                                      #:8883
   Price
                               Search for anything                                              Download app         Sign up        Log in                   Sell


    () Under $25

    0    $25 to $50
                                                   Defying gravity eye liftin…   thrive skin infinite detox   Thrive Causemetics Nail …   THRIVE SKIN -- Charcoal…
         $50 to $100                               Thrive                        Thrive                       Thrive                      Thrive
                                                   $39                           $15 $30 50% OFF              $18                         $28
    0    $100 to $200
                                                                                                               Free shipping

    () $200 and up

        Min             Max            Apply




   Condition                                   A



    0    Any

                                                   Thrive Skin Infinite Hand …   thrive causmetics New        NIB Overnight Sensation …   Thrive Skin complete thr…
    u    New
                                                   Thrive                        Thrive                       Thrive                      Thrive

    0    Like new                                  $28 $37 24% OFF               $45                          $50                         $135 $140 3% OFF
                                                                                                               Free shipping
    u    Good


    n    Fair

    () Poor



   Status


    0    Any
                                                   Thrive causmetics serum       Overnight Sensation Brig…    Cosmo Power Dimension…      Cosmo Power Dimension…
                                                   Thrive                        Thrive                       Thrive                      Thrive
    0    For sale
                                                   $52 $55 5% OFF                $46 $52 11% OFF              $30                         $30
    0    Sold                                                                     Free shipping                Free shipping                 Free shipping



   Colors




                                                   Cosmo Power Dimension…        Thrive Overnight Sensati…
                                                   Thrive                        Thrive
   More related searches                           $30                           $11 $16 31% OFF

   Thrive Skin Care in San Francisco                Free shipping




                                                                                                         View more




                                                   Related items



https://www.mercari.com/us/brand/6377/92/                                                                                                                             2/8
12/21/2020 Case            2:20-cv-09091-PA-AS Document 174-3     Filed
                                                          Thrive Skin Care10/26/21
                                                                          | Mercari Page 11 of 169 Page ID
                                                         #:8884
                                        Search for anything                                                            Download app              Sign up                Log in                 Sell




              Get the app.
              Sell or buy. Almost anything.


                                        Scan with your phone’s camera app
                                        to experience Mercari on the phone.

                                                                                                                                                                    Jxacan Alebrije Folk Art   0
                                                                                                                                                                    ,ugar Wood Carving
                                                                                                                                                                    ~   13minsago


                                                                                                                                                                    185
                                                                                                                           Womens Athletic
                                                                                                                           Sneakers 7 New
                                                                                                                                                           0        Mokeoffer       IWHIM&

      SHOP                             COMPANY                             ALL FROM HOME               SUPPORT                  ACCOUNT                           POLICY CENTER


      Categories                       About us                            Authenticate                Contact Us               Sign up / Log in                  Terms of Service


      Brands                           Careers                             Instant Pay                 Help Center              Favorites                         Privacy Policy

      Deals                            Blog                                Mercari Now                 How it Works             Messages                          Prohibited Items


                                                                           Sell from Home              Become a Seller                                            Prohibited Conduct

                                                                           Shipping                    Buyers                                                     Electronic Communications


                                                                                                       Safety Guidelines                                          DMCA Policy


                                                                                                       Policy Center                                              Requests From Law Enforcement




      Copyright © 2020 Mercari, Inc.   Privacy Policy   Terms of Service      Licenses / Disclosures                            NMLS ID: 1486447 PO Box 60178, Palo Alto, CA 94306




https://www.mercari.com/us/brand/6377/92/                                                                                                                                                             8/8
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 12 of 169 Page ID
                                   #:8885




      TRIAL EXHIBIT NO. 313
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 13 of 169 Page ID
                                   #:8886
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 14 of 169 Page ID
                                   #:8887




      TRIAL EXHIBIT NO. 235
                                                               Case 2:20-cv-09091-PA-AS      Document 174-3 Filed 10/26/21 Page 15 ofX 169 Page ID
      Go gle Shopping                                                              thrive skincare
                                                                                                       #:8888                                                                                                                                       0
Your location; Lower                                                                                                                                                                          Sort by: Relevance ..                        j1
Haight, San Francisco, CA
                             See thrive skincare                                                                                                                                                                    Sponsored
 Show only
 D (:) Available nearby
 D )t{ Buy on Google
     () On sale
                             1ve                 l;!:.!.'18"
                                                                                            11 11                          ■ 1 11
 □
 D   E1l Smaller stores
                             .....              -,,ri-.
                                                                 ··-
                                                                 , .. ,1                     I ,   ve
                                                                                                                                ~~         :~ If ll
                                                                                                                                                                                                                 -
                                                                                                                               ,i,,11..,    i.,~




                                                                -
                                                                                             tlt"f                              fl,i,       "''IT
                                                                                             f"l'llf                                                ,., I

 Price
 0   Up to $20
                             ■
                             <               Thrive Face
                                                                                        -
                                                                                   Thrive Defying                          Thrive Tone &
                                                                                                                                           --
                                                                                                                                                            Th rive Liquid        Thrive                        Thrive Exfoliat                 >
 0   $20-$45                 racial          Cleansing Duo                 I       Gravity Eye                             Glow & Lift I                    Balm Lip              Resurfacing Peel              Lift Set I Thrive
 0   $45-$90                  1•. •          Thrive ...                            Lifting Cream I...                      Moisture Flash ...               Treatment I Lip ...   & Moisturizer S ...           Causemetics 1.. .
 O   Over$90
                                             $68.00                                $46.00                                  $120.00                          $26.00                $100.00                       $81.00
  $Min -     $Max            3usem ...       Thrive Causem ...                     Thrive Causem ...                       Thrive Causem ...                Thrive Causem ...     Thrive Causem ...             Thrive Causem ...
                             500)            Free shipping                                 (793)                           Free shipping                            (1,305)       Free shipping                 Free shipping
                                                                                   Free shipping
 Condition
 D   New items                                                                                                                                                                                              About this page
 D   Used items
                                                                                                                                                                                                                                      CJ
                                                                                                                                                                  thrive                       ttirive
 Product rating                                                                                                                                                                                 "''fl.""

 0                4 and up                                                                                                                                                                       I "'~ff
                                                                                                                                                                                              r.~t-n11,1,,.~w
           More                                                                                              t   I',\/!;


                                                                    !.'!... . .f                                                                                                                                           t r ve
                                                                                       L'



                                                                                     -
 Seller                                                            'II~":
                                                                   !"l'll f




                                                                                                                                                                                             -
 D Mercari
 D Pharmaca
 D Target
 D Thrive Causemetics
                                                                   ■
                                   Thrive Skincare Starter Kit                       Thrive Smart Skincare Set I                                     Thrive Bright Balance Facial         Thrive Exfoliate & Lift Set I
 D Walmart
                                   (Cleanser, Moisturizer, & Eye                     Thrive Causemetics I 100%                                       Cleanser I Natural Removing          Thrive Causemetics I 100%
           More                    Lifting Cream) I Thrive ...                       Vegan I Best Cruelty-Free ...                                   Foam Cleanser I for ...              Vegan I Best Cruelty-Free ...
                                                                                                                                                     4 .7        500
                                                                                                                                                     All Skin Types


                                   $ 3 5.00                                          $118. 00                                                         $32.00                              $81.00
                                   Thrive Causemetics                                Thrive Causemetics                                               Thrive Causemetics                  Thrive Causemetics
                                   $5.95 delivery                                    Free delivery                                                    $5.95 delivery                      Free delivery

                                                                                                                                                     Compare prices from 2 sto...


                                                                                                                                           CJ                                                                                         CJ
                                                                                                                                                                                               thrive-
                                                                                                                                                                                                                        th, 1ve"

                                                                                                                                                                                                                          n!nl
                                                                                                                                                                                                                    I!.: ,.{,,,..,~,o...
                                                                                                        thrive-
                                                                                                        c, usomotlcs

                                                                                               ~!1r,tr rrq~Tr              •    H
      Go gle Shopping Case 2:20-cv-09091-PA-AS Document
                                                    0.. 174-3      Filed
                                                         thrive natural   10/26/21 Page 16 of 169 Page ID
                                                                        care                                                                                                                 X
                                                         #:8889


Your location: Lower                                                                                                                                                            Sort by: Relevance •               il
Haight, San Francisco, CA
                            See thrive natural care                                                                                                                                                        Sponsored
 Show only
 O   <v Available nearby
                                                                                                               ti'riv
 O   )!( Buy on Google         thnv4=-
                                                                                                                                                         t   11\IW

 O   6 Smaller stores
                                                                                                                                                        .........
                                                                                                                                                             .....1




                                                         -
                                                                                       thrive-




                                                                                                                                                                                                                 -
                                                                          ..           r ..,...,,.,.,




                                                                                                                                                    -
                                                                                                  ~




                                                                                   i<j ~, , ..., /'t
 Price
                                                                                      c::::-::al
 0   Up to $20                                  ■                                                            Ill
 0   $20-$45
                              Thrive Skincare            Thrive Smart          Thrive Defying           Thrive Bright                Thrive Face                                THRIVE Natural                  Thi >
 0   $45-$90
                              Starter Kit                Skincare Set I        Gravity                  Balance Facial               Cleansing Duo                    I         Face Wash Gel                   Moisll
 0   Over$90                  (Cleanser, ...             Thrive ...            Transforming ...         Cleanser 1•••                Thrive ...                                 for Men& .. .                   Thrive
  $Min -     $Max             $35.00                     $118.00               $49.00                   $32.00                       $68.00                                     $12.95                          $83.01
                              Thrive Causem ...          Thrive Causem ...     Thrive Causem ...        Thrive Causem ...            Thrive Causem ...                          Amazon.com - ...                Thrive
                                                         Free shipping                 (861)                    (500)                Free shipping                                                              Free~
 Condition                                                                     Free shipping                                                                                    Special offer
 O   New items
 O   Used items                                                                                                                                                                                About this page


 Discover
 O   Black-owned
     businesses


 Product rating
 0               4 and up
            More


 Seller
 O   iBeautyCity.com          Thrive Natural Deep Clean               Thrive Natural Face Lotion            Thrive Face Wash - Daily                                      Thrive Natural Care Thrive
 O   Storenvy Storefro...     Skincare Kit for Women &                for Men - Aftershave Balm &           Facial Cleanser for Men with                                  VIP Men's Grooming Kit - 4
 O   Target                   Men (3 Piece) Made in USA               Facial mois                           Unique Premium Natural ...                                    Piece Grooming Gift Set to
 O   Walmart                  4 .1       8                            4.5         18                        4.7         35                                                4.6             30
 O   Zabiva.oom                                                       Face · For Dry Skin · Aloe            All Skin Types · Men's                                        More size options
            More
                              $35.95                                  $13 .45                               $10 .36                                                       $32.98
                              Wal mart - Thrive Natural ...           Wal mart - Thrive Natural ...         Wal mart - Thrive Natural ...                                 eBay - tidwellenterprises
                              Free delivery                           $5.99 delivery                        $5.99 delivery                                                Free delivery by Fri, Aug 13

                                                                      Compare prices from 5+ st.. .         Compare prices from 3 sto.. .                                 Compare prices from 3 sto...


                                                                                                                                                  CJ                                                              CJ
                                          thrive
                                                                                                             thrive~
                                                                                                              C&l#Hffl91lCI
                                                                                                                              thrive·
                                                                                                                                                                                     lHRIVE
                                                                                                                                                                                      ~11(.Wl'fMffll>!Y
                                                                                                                                                                                      l!6(Jl!!.11M. l'l.!Nl,·
                                                                                                                              t•~U   •to<

                                                                                                                                                                                       • FACE WASH ·
                                                                                                                                                                                        CllAHS.RUTOR{S.
                                                                                                                                                                                        CCM&AIS IR!tl'l&JIQN
                                         ~'if~-~!li.f;
                                                                                                                                            thn~if
                                          E:,    ~
                                                                                                                                            lt./f'' t
                                                                                                                                            l"t';!
        G o gle Shopping Case 2:20-cv-09091-PA-AS Document
                                                       Q_ 174-3      Filed
                                                           thrive natural    10/26/21
                                                                          care skincare Page 17 of 169 Page ID                                                                                            X
                                                                                                                         #:8890


Your location: Lower                                                                                                                                                                           Sort by: Relevance ....
Haight, San Francisco, CA

                                See thrive natural care skincare                                                                                                                                                   Sponsored
 Show only
 D   <.::>   Available nearby                                                                                                                                                                                               t! hi




                                                                          -
                                                                                                                        ;t,ri\11'""
                                                                                                 I fl
                                                                                                                                                                     hn::'.9
 D   )!{ Buy on Google             lhrive                                                                                                                                                           fjTlwlve
 □   O On sale                                        '"""                 ,...,
                                                                                                                      r1•r..,,u                                     ..,~-
                                                                                                                                                                                -
                                                                                                                                                                                '",~-



                                                                          -
 D   El Smaller stores            •·~llfM,,,                                        4i.-..,,,     ;                                                tti nve-




                                                                                                                                                                                -                                         -
                                                      "l"I
                                                                 "ti"!               /lql                                                      ¥i1• ,;;-,;;, Tt

                                                                 •
                                                                                                                                                 ~
 Price                                                                                                               1111
 0   Upto $25
                                                                                                                                           Thrive Defying                                      THRIVE Natural            T hi >
                                  Thrive Skincare                         Thrive Smart                  Thrive Bright                                             Thrive Face
 0   $25-$45
                                  Starter Kit                             Skincare Set I                Balance Facial                     Gravity                Cleansing Duo         I      Face Wash Gel             Lift $t
 0   $45-$70                      (Cleanser,.. .                          Thrive .. .                   Cleanser j•• •                     Transforming ...       Thrive .. .                  for Men& ...              Cause
 0   Over$70
                                  $35.00                                  $118.00                        $32.00                            $49.00                 $68.00                       $12.95                    $81.01
  $Min -          $Max            Thrive Causem ...                       Thrive Causem ...             Thrive Causem ...                  Thrive Causem ...      Thrive Causem ...            Amazon.com - ...          Thrive
                                                                          Free shipping                         (500)                              (861)          Free shipping                                          Frees
                                                                                                                                           Free shipping                                       Special offer
 Condition
 D   New items                                                                                                                                                                                             About this page
 D   Used items
                                                                                                                                                                                                                          CJ
 Discover
 □ Black-owned
     businesses
                                                                                                                                                                                                      ►,.,~e~!:t,.f/
 Product rating                                                                                                                                                                                         E,     ~


 0                  4 and up
                More


 Seller                           Thrive Natural Deep Clean                                     Thrive Natural Face Lotion                      Thrive Face Wash - Daily                    Thrive Bright Balance Facial
 D eBay                           Skincare Kit for Women &                                      for Men - Aftershave Balm &                     Facial Cleanser for Men with                Cleanser I Natural Removing
 D iBeautyCity.com                Men (3 Piece) Made in USA                                     Facial mois                                     Unique Premium Natural ...                  Foam Cleanser I for ...
 D Thrive Causemetics             4.1                        8                                  4.5         18                                  4.7         35                              4.7         500
 D Walmart                                                                                      Face · For Dry Skin · Aloe                      All Skin Types · Men's                      All Skin Types
 D Zabiva.com
                More              $35.95                                                        $13 .45                                         $10 .36                                     $32.00
                                  Wal mart - Thrive Natural ...                                 Wal mart - Thrive Natural ...                   Wal mart - Thrive Natural ...               Thrive Causemetics
                                  Free delivery                                                 $5.99 delivery                                  $5.99 delivery                              $5.95 delivery

                                                                                                Compare prices from 5+ st.. .                   Compare prices from 3 sto...                Compare prices from 2 sto...


                                                                                                                                      CJ
                                   thrive·
                                   1;a1a-•l'h.itl'-
                                                                 :hnve"
                                                                                                         THRIVE
                                                                                                          5llll(AAI l'O\llllll> !\'
                                                                                                          IE6EIEIAlMl'LAm"
                                                                                                            • FACE WASH ·
                                                                                                            QONS.ltCSTIJtfS
                                                                                                            (IHll4fS4ltMJAtlOI(
      Go ..gle ShoppingCase 2:20-cv-09091-PA-AS Document
                                                      0. 174-3    Filed
                                                           mens thrive    10/26/21
                                                                       natural care Page 18 of 169 Page ID                                                                 X
                                                          #:8891


Your location: Lower                                                                                                                                          Sort by: Relevance •            jl
Haight, San Francisco, CA
                            See mens thrive natural care                                                                                                                         Sponsored
 Show only
 O (:) Available nearby
                                                                    {l'l'l•tve                                               tnnve
 D )t{ Buy on Google
 O a Smaller stores

 Price
 0
 0
 0
     Up to $15
     $15-$30
     $30-$50
                            <         THRIVE Natural           THRIVE Natural                  THRIVE Natural
                                                                                                                           Ill
                                                                                                                     Thrive Bright
                                                                                                                                           .....
                                                                                                                                           \,r..__
                                                                                                                                                   '

                                                                                                                                                       __ -
                                                                                                                                            Thrive Natural
                                                                                                                                                              .

                                                                                                                                                          __._...
                                                                                                                                                                    ..

                                                                                                                                                                         Thrive Smart
                                      VIP Men's Skin           Face Wash Gel                   Shave Soap &          Balance Facial         Men's Skincare               Skincare Set I
 0   Over$50                          Care Set (4 ...          for Men& ...                    Shower Soap B...      Cleanser 1•••          Set (3 Piece) G.. .          Thrive ...
  $Min -     $Max                     $54.95                   $12.95                          $12.95                $32.00                 $39.45                       $118.00
                            n         Amazon.com - .. .        Amazon.com - .. .               Amazon.com - .. .     Thrive Causem .. .     Walmart- Thriv.. .           Thrive Causem .. .
                                      Free shipping                                                                           (500)                 (30)                 Free shipping
 Condition                                                     Special offer                    Special offer                               Free shipping
 O   New items
 O   Used items                                                                                                                                                             About this page

                                                                                                                                                                                          [:J
 Product rating
 0               4 and up
           More


 Seller
 O   iBeautyCity.com
 O   Spring US
 D   Storenvy Storefro...
 D   Walmart
 D   Zabiva.oom
                                Thrive Natural Deep Clean             Thrive Natural Men's Skin                     Thrive Face Wash - Daily            Thrive Natural Face Lotion
                                Skincare Kit for Women &              Care Set - 3 Piece                            Facial Cleanser for Men with        for Men - Aftershave Balm &
                                Men (3 Piece) Made in USA             Grooming Gift Set to Wash,                    Unique Premium Natural ...          Facial mois
                                4.1        8                          4.6        30                                 4.7         35                      4.5               18
                                                                      Boxed                                         All Skin Types · Men's              Face · For Dry Skin · Aloe
                                                                      More size options

                                $35.95                                $39.45                                        $10.36                              $13 .45
                                Walmart - Thrive Natural ...          Wal mart - Thrive Natural ...                 Walmart - Thrive Natural ...        Wal mart - Thrive Natural ...
                                Free delivery                         Free delivery                                 $5.99 delivery                      $5.99 delivery

                                                                     Compare prices from 5+ st.. .                  Compare prices from 3 sto.. .       Compare prices from 5+ st. ..


                                                                                                              [:J                                                                         [:J

                                                                                 THRIVE
                                                                                 ~N)'MW)!)'
                                                                                 l((,(JOWTM !Um"
                                                                                 - ' .RGYSCRWI •
                                                                                 IUPlJC\.WCS&lm\WTI:
                                                                                 fttllfV!IALlll&JJ'ffJiJIIQ
                            Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 19 of 169 Page ID
Your location: Lower                                           #:8892                               Sort by: Relevance                                                                    •             jl
Haight, San Francisco, CA
                            Did you mean: thrive men's skin

 Show only                  See thrive mens skin                                                                                                                                  Sponsored
 D ~ Available nearby
 D WBuy on Google
                                                                                                   r1
 D El Smaller stores                                                                                                           ~
                                                                                                                                                                                 I~
                                                                                                                                          -....... ·-
                                                                                                                                               I !f tt



                                                                                                                                                '""'
                                                                                                                                                                ....
                                                                                                                                                                                   ....

                                                                                                                                           --
                                                                                                          thnve-              1•1 "'-'·
 Price
 OUpto$15
                                                                                                    -tiir;;·;·~·•1f~                                                    -·""
                                                                                                                                                                        /l<>i
                                                                                                                                                                                   """'
                                                                                                         ~

 0 $15-$30                          Ill
 0 $30-$50
                              Thrive Bright         Thrive Natural       THRIVE Natural          Thrive Defying             Thrive Face                      Thrive Smart                      TH >
 0 Over$50
                              Balance Facial        Men's Skin Care      VIP Men's Skin          Gravity                    Cleansing Duo I                  Skincare Set I                    Natu1c
     $Min -    $Max           Cleanser 1•••         Set (3 Piece)-...    Care Set (4 ...         Transforming ...           Thrive .. .                      Thrive .. .                       Wash
                              $32.00                $43.95               $54.95                  $49.00                     $68.00                           $118.00                           $13.9!
                              Thrive Causem ...     Amazon.com - ...     Amazon.com - ...        Thrive Causem ...          Thrive Causem ...                Thrive Causem ...                 Amaz;
 Category                             (500)         Free shipping        Free shipping                         (861)        Free shipping                    Free shipping
 O Moisturizers                                                                                  Free shipping                                                                                 Speci,
 0 Bar Soap
 O Men's Shaving Cr...                                                                                                                                                     About this page


 Condition
 D    New items
 D    Used items


 Discover
 D    Black-owned
      businesses


 Product rating
 0               4 and up     Thrive Natural Deep Clean          Thrive Natural Men's Skin              Thrive Natural Face Lotion                       Thrive Natural Vip Men's
              More            Skincare Kit for Women &           Care Set - 3 Piece                     for Men - Aftershave Balm &                      Skin Care Set (4 Piece) -
                              Men (3 Piece) Made in USA          Grooming Gift Set to Wash.             Facial mois                                      Grooming Gift Set
                             4 .1        8                       4 .6       30                          4 .5           18                                For Men
 Seller
                                                                 Boxed                                  Face · For Dry Skin · Aloe
 D Walmart                                                       More size options
 D Thrive Causemetics
 D iBeautyCity.com            $ 35. 9 5                          $ 39. 4 5                              $1 3.4 5                                         $81 .38
 D Zabiva.com                 Walmart - Thrive Natural ...       Walmart - Thrive Natural ...           Walmart - Thrive Natural ...                     eBay - marom_cohen
 D eBay                       Free delivery                      Free delivery                          $5.99 delivery                                   Free delivery
 D Storenvy Storefro...
                                                                 Compare prices from 5+ st. ..          Compare prices from 5+ st. ..


                                                                                                                                          CJ
                                                                                                                                                          thrive~
                                                                                                                                                          cau ~rn, ~J
                                                                                                                                                                            .:hrive"'


                                                                                                                                                                                              ~-
                                                                                                                                                                                              •1c1,,
                                                                                                                                                                                              1·•1<Jt
       G o.. gle Shopping Case 2:20-cv-09091-PA-AS Document 174-3natural
                                                        Q_ "thrive  Filed   10/26/21 Page 20 of 169 Page ID
                                                                         care"                                                                                                    X
                                                                                                          #:8893


Your location: Lower                                                                                                                                                    Sort by: Relevance   ~       jl
Haight, San Francisco, CA
                             See "thrive natural care"                                                                                                                                  Sponsored
 Show only
 D (.:) Available nearby
                                                                                                         c~nvc                                    thrive
 D WBuy on Google               tl)rjve•

 D 6 Smaller stores
                                                                                    ID
                                                      .       .:.:i..



                                                              -
                                .,aru-.                                 ...,,.,,      ~   .,,
                                           on-,       .,..,              /lol
 Price
 OUpto$15                                             ■                                                  Ill                                     Ill
 0 $15 - $30
                               Thrive Skincare                Thrive Smart                      Thrive Bright             THRIVE Natural        Thrive Bright           Thrive Natural           TH. >
 0 $30 - $50                   Starter Kit                    Skincare Set I                    Balance Facial            Face Wash Gel         Balance Cleanser        Men's Skin Care          Shav1:
 0 Over$50                     (Cleanser,...                  Thrive ...                        Cleanser j •••            for Men& ...          & Defying Grav.. .      Set (3 Piece) -...       Show•
     $Min -   $Max             $35.00                         $118.00                           $32.00                    $12.95                $73.00                  $43.95                   $12.9!
                               Thrive Causem .. .             Thrive Causem .. .                Thrive Causem .. .        Amazon.com - ...      Thrive Causem .. .      Amazon.com - ...         Amaz,
                                                              Free shipping                               (500)                                 Free shipping           Free shipping
 Category                                                                                                                 Special offer                                                          Speci:
 O Facial Moisturizers
 0 Books                                                                                                                                                                           About this page


 Condition
 D    New items
 □    Used items

 Discover
 D    Black-owned
      businesses


 Product rating
 0                4 and up     Thrive Natural Deep Clean                           Thrive Natural Face Lotion                 Thrive Face Wash - Daily               Thrive Natural Care Thrive
            More               Skincare Kit for Women &                            for Men - Aftershave Balm &                Facial Cleanser for Men with           VIP Men's Grooming Kit - 4
                               Men (3 Piece) Made in USA                           Facial mois                                Unique Premium Natural ...             Piece Grooming Gift Set to
                               4.1                8                                4 .5            18                         4.7         35                         4.6        30
 Seller                                                                            Face · For Dry Skin · Aloe                 All Skin Types · Men's                 More size options
 D    iBeautyCity.com
 D    PetSmart                 $35.95                                              $13 .45                                    $10 .36                                $32.98
 D    Spring US                Wal mart - Thrive Natural ...                       Wal mart - Thrive Natural ...              Wal mart - Thrive Natural ...          eBay - tidwellenterprises
 D    Walmart                  Free delivery                                       $5.99 delivery                             $5.99 delivery                         Free delivery by Fri, Aug 13
 D    Zabiva.com
                                                                                   Compare prices from 5+ st. ..              Compare prices from 3 sto...           Compare prices from 3 sto.. .
            More

                                                                                                                     CJ                                    CJ                                     CJ
                                                                                                  thrive



                                                                                                 ~'if~-~!li.f;
                                                                                                   E.,   ~
      G o ..gle Shopping      Case 2:20-cv-09091-PA-AS Document  174-3
                                                           0. thrive naturalFiled  10/26/21 Page 21 of 169 Page ID X
                                                                             skincare
                                                                  #:8894


Your location: Lower                                                                                                                                                                      Sort by: Relevance •               jl
Haight, San Francisco, CA
                             See thrive natural skincare                                                                                                                                                       Sponsored
 Show only
 O (:) Available nearby
                                                                                  Il
                                                                                                                                                                                                                     ■
                                                                                                                                                            h~-                                       t hnve
 D )t{ Buy on Google            uu,vt>
 □   () On sale                                            •"I
                                                       .............
                                                                                   ....                                                                     ~-· -       '", ...1


                                                      -
                                                                                                                           thrive·                                                                i,.,,r-.             ~WI
 D   El Smaller stores
                                                 .,                                                                        t,,,-.,....rn~                                                                             'l,if111,,
                                                                       "''"''
                                                                          '"""

                                                                                                                                                                   -
                                                                                                                        ~t•' I f~•1,ff                                                                                  j(ott

 Price
 0   Up to $20
                               Thrive Skincare
                                               •      Thrive Smart                        Rejuvenate                Thrive Defying
                                                                                                                                       l



                                                                                                                                                     Thrive Face
                                                                                                                                                                                                 1111
                                                                                                                                                                                          Thrive Bright
                                                                                                                                                                                                                     -
                                                                                                                                                                                                                     Thi >
 0   $20-$45                   Starter Kit            Skincare Set I                      Restorative Face          Gravity                          Cleansing Duo I                      Balance Facial             Glow ,
 0   $45-$80                   (Cleanser, ...         Thrive ...                          Oil                       Transforming ...                 Thrive ...                           Cleanser J• ••             Moistl
 0   Over$80
                               $35.00                 $118.00                             $72.00                    $49.00                           $68.00                               $32.00                     $120.1
  $Min -     $Max              Thrive Causem ...      Thrive Causem ...                   Naked + Thriving          Thrive Causem ...                Thrive Causem ...                    Thrive Causem ...          Thrive
                                                      Free shipping                       Free shipping                     (861)                    Free shipping                                (500)              Frees
                                                                                                                    Free shipping
 Condition
 O   New items                                                                                                                                                                                            About this page
 O   Used items
                                                                                                                                                                                                                        [:J
 Product rating

 0
          More
                  4 and up
                                                                                  thrive·
                                                                                               thrive·                                                                                                             11  'IV



                                                                                                          ~!..~..
                                                                                                                                                                                    r


                                                                                                                                                                                   -
 Seller                                                                                                   "11''1
                                                                                                          !"•!,
 O   iBeautyCity.com
 O
 O
 D
 D
     Target
     Thrive Causemetics
     Walmart
     Zabiva.com
          More
                               Thrive Natural Deep Clean
                               Skincare Kit for Women &
                               Men (3 Piece) Made in USA
                                                                                                          •
                                                                                 Thrive Skincare Starter Kit
                                                                                 (Cleanser, Moisturizer, & Eye
                                                                                 Lifting Cream) I Thrive ...
                                                                                                                         Thrive Natural Face Lotion
                                                                                                                         for Men - Aftershave Balm &
                                                                                                                         Facial mois
                                                                                                                                                                                   Thrive Smart Skincare Set I
                                                                                                                                                                                   Thrive Causemetics I 100%
                                                                                                                                                                                   Vegan I Best Cruelty-Free ...
                               4.1         8                                                                             4.5         18
                                                                                                                         Face · For Dry Skin · Aloe


                               $35.95                                            $35.00                                  $13.45                                                    $118.00
                               Wal mart - Thrive Natural ...                     Thrive Causemetics                      Wal mart - Thrive Natural ...                             Thrive Causemetics
                               Free delivery                                     $5.95 delivery                          $5.99 delivery                                            Free delivery

                                                                                                                         Compare prices from 5+ st. ..


                                                                                                                                                                  [:J
                                                                                                                                                                                           t11r ive·

                                                                                                                                                                                            f ,1~r1
                                                                                                                                                                                     1,   r,4t-<i'l•bmw
                                                                                                                                            thrivff
                                                                                                                                            c:.-uscmotict

                                                                                                                                      dn~r
                                                                                                                                       ~..
                                                                                                                                           rrqrv!t
                                                                                                                                              ..,           [
                                                                                                                                                                                          B.=J
      Go gle ShoppingCase 2:20-cv-09091-PA-AS Document
                                                    Q_ 174-3
                                                         amazon Filed  10/26/21
                                                                thrive natural skincarePage 22 of 169 Page ID                                                                                X
                                                        #:8895


Your location: Lower                                                                                                                                                          Sort by: Relevance •               jl
Haight, San Francisco, CA
                            See amazon thrive natural skincare                                                                                                                                          Sponsored
 Show only
 D (:) Available nearby
                                                                                                                                                           · t,r,v
 D )!{ Buy on Google                                 1hnve                      ~"'!l                                      tt""""
 □   O On sale
                                                                                                     --
                                                                                                     •""f                                                .,.,.-~.

                              -
 D                                                                             ~t,i.,..                                                                                              thrive-
     El Smaller stores
                                                                     . .,

                                                                                                     -
                                                                                                                                                                                  «jt~;a·t·;;nlt
                                                                                                                                                                                    t:=="':7l
 Price
                                                                   - ■                                                                                   Ill
 0   Up to $20
                              Thrive Smart          Thrive Skincare         Thrive Face                               THRIVE Natural           Thrive Bright                  Thrive Defying                 TH >
 0   $20-$30
                              Skincare Set I        Starter Kit             Cleansing Duo I                           Face Wash Gel            Balance Facial                 Gravity                        Moisll
 0   $30-$50                  Thrive ...            (Cleanser, ...          Thrive ...                                for Men& ...             Cleanser J. ..                 Transforming .. .              Minen
 0   Over$50
                              $118.00               $35.00                  $68.00                                    $12.95                   $32.00                         $49.00                         $24.9!
  $Min -      $Max            Thrive Causem .. .    Thrive Causem .. .      Thrive Causem .. .                        Amazon.com - ...         Thrive Causem .. .             Thrive Causem .. .             Amaz,
                              Free shipping                                 Free shipping                                                              (500)                          (861)
                                                                                                                      Special offer                                           Free shipping                  Spech
 Category
 O   Moisturizers                                                                                                                                                                            About this page
 O   Travel Toiletries
 0   Sunscreen                                                                                                                                                                                                 [:J
                                                                                                                                                                                       thrive
                                                                     thrive·
                                                                     ,a o fr
                                                                                                                                                                                       t,1   •1'111!"


 Condition                                                                          :hrive"'
                                                                                    t•\1--•""1   I



 D   New items
 D   Used items
                                                                                                            ~".!!'
                                                                                                            '.'ft"?                                                                    E- ::::J
 Discover
                                                                                                            ,... "1
 D   Black-owned

                                                                                                            ■
     businesses

                             Thrive Natural Deep Clean              Thrive Skincare Starter Kit                           Thrive Natural Face Lotion                       Thrive Bright Balance Facial
 Product rating
                             Skincare Kit for Women &               (Cleanser, Moisturizer. & Eye                         for Men - Aftershave Balm &                      Cleanser I Natural Removing
 0               4 and up    Men (3 Piece) Made in USA              Lifting Cream) I Thrive ...                           Facial mois                                      Foam Cleanser I for ...
            More             4.1        8                                                                                 4.5             18                               4.7         500
                                                                                                                           Face · For Dry Skin · Aloe                      All Skin Types

 Seller
                             $35.95                                 $35.00                                                $13 .45                                          $32.00
 D eBay                      Wal mart - Thrive Natural ...          Thrive Causemetics                                    Wal mart - Thrive Natural ...                    Thrive Causemetics
 D iBeautyCity.com           Free delivery                          $5.95 delivery                                        $5.99 delivery                                   $5.95 delivery
 D Overstock.com
 D Target                                                                                                                 Compare prices from 5+ st.. .                    Compare prices from 2 sto.. .
 D Walmart
            More                                             [:J                                                                                                     [:J
                                                                                                                                thrive-
                                                      1a                                                                                           thnve·

                                                                                                                                                    l   J'f•ff
                                                                                                                                                ~ ,4, ,,,J,r◄fw


                               r:
      Go gle Shopping         Case 2:20-cv-09091-PA-AS Document 174-3
                                                          Q_ amazon t hriveFiled
                                                                            natural10/26/21
                                                                                    care    Page 23 of 169 Page IDX
                                                                 #:8896


Your location: Lower                                                                                                                                          Sort by: Relevance •                         jl
Haight, San Francisco, CA
                            See amazon thrive natural care                                                                                                                           Sponsored
 Show only
 D (:) Available nearby
                                                                                    l~                                                                             !'!!..""2.
 D )!{ Buy on Google               tt""""
                                                           -
                                                                                            1hnve

 □   O On sale                                           .....    ....
                                                                                                                                                                                 --
                                                                                                                                                                                 --
                                                             ~
                                                                                                                                                                                  •""f




                                                        -
 D   El Smaller stores                                                                                                                                          l'lr!-
                                                                                     ~




                                                                                                    -· -
                                                                           """'"
                                                                            ii-•

 Price
 0   Up to $20
                              THRIVE Natural            Thrive Smart                       Thrive Skincare         THRIVE Natural       THRIVE Natural        Thrive Face                         TH >
 0   $20-$30                  Face Wash Gel             Skincare Set I                     Starter Kit             Moisturizing         VIP Men's Skin        Cleansing Duo I                     Shavt
 0   $30-$50                  for Men& ...              Thrive ...                         (Cleanser, ...          Mineral Face ...     Care Set (4 .. .      Thrive .. .                         Show,
 0   Over$50
                              $12.95                    $118.00                            $35.00                  $24.95               $54.95                $68.00                              $12.9!
  $Min -     $Max             Amazon.com - ...          Thrive Causem .. .                 Thrive Causem .. .      Amazon.com - ...     Amazon.com - ...      Thrive Causem .. .                  Amaz,
                                                        Free shipping                                                                   Free shipping         Free shipping
                              Special offer                                                                        Special offer                                                                  Spech
 Condition
 D   New items                                                                                                                                                                  About this page
 D   Used items


 Product rating

 0               4 and up
          More


 Seller
 D   iBeautyCity.com
 D   onnyxbeauty
 D   Target
 D   Walmart
                             Thrive Natural Deep Clean                             Thrive Natural Face Lotion          Thrive Face Wash - Daily            Thrive Natural Care Thrive
 D   Zabiva.com
                             Skincare Kit for Women &                              for Men - Aftershave Balm &         Facial Cleanser for Men with        VIP Men's Grooming Kit - 4
          More               Men (3 Piece) Made in USA                             Facial mois                         Unique Premium Natural ...          Piece Grooming Gift Set to
                             4.1        8                                          4.5        18                       4.7         35                      4.6        30
                                                                                   Face · For Dry Skin · Aloe          All Skin Types · Men's              More size options


                             $35.95                                                $13 .45                             $10 .36                             $32.98
                             Wal mart - Thrive Natural ...                         Wal mart - Thrive NaturaU...        Wal mart - Thrive Natural ...       eBay - tidwellenterprises
                             Free delivery                                         $5.99 delivery                      $5.99 delivery                      Free delivery by Fri, Aug 13

                                                                                   Compare prices from 5+ st. ..       Compare prices from 3 sto...        Compare prices from 3 sto.. .


                                                                                                                                                   [:J                                                [:J
                                                                                                                                                               t hrive-
                               thriver                                                                                                                          ....1'11. tlc

                                              thrive·                                                                                                                                    ch rive·

                                                                                                                                                                                          SIM
                                                                                                                                                                                    ,..._,-4,,,..,J,,,iw
                                                                 ~~f
                                                                 ¥11••·
                                                                 ,..;.ii
      Go gle Shopping        Case 2:20-cv-09091-PA-AS Document  174-3
                                                          0.. thrive       Filed 10/26/21 Page 24 of 169 Page ID X
                                                                     face wash
                                                                  #:8897


Your location: Lower                                                                                                                                  Sort by: Relevance •           jl
Haight, San Francisco, CA

                            See thrive face wash                                                                                                                      Sponsored
 Show only
 O (:) Available nearby
 O )!{ Buy on Google                                                                                                    thrive"'

 □   O On sale
 O   El Smaller stores                                                                                                             .,,.,   ..,.,,.,
 Price
 0
 0
 0
 0
     Up to $25
     $25-$45
     $45-$80
     Over$80
                              THRIVE Natural
                              Face Wash Gel
                              for Men& .. .
                                                        -
                                                   Thrive Natural
                                                   Face Wash for
                                                   Women & Men ...
                                                                               Ill
                                                                         Thrive Bright
                                                                         Balance Facial
                                                                         Cleanser J•• •
                                                                                                Thrive Face
                                                                                                Cleansing Duo
                                                                                                Thrive ...
                                                                                                             -   I
                                                                                                                       Thrive Skincare
                                                                                                                       Starter Kit
                                                                                                                       (Cleanser, ...
                                                                                                                                           •          THRIVE All
                                                                                                                                                      Natural Face
                                                                                                                                                      Wash for ...
                                                                                                                                                                               •
                                                                                                                                                                               Thi
                                                                                                                                                                               Balan,
                                                                                                                                                                               & De~
                                                                                                                                                                                          >


                              $12.95               $10.36                $32.00                 $68.00                 $35.00                         $13.95                   $73.01
  $Min -      $Max            Amazon.com - ...     Walmart- Thriv...     Thrive Causem ...      Thrive Causem ...      Thrive Causem ...              Amazon.com - ...         Thrive
                                                           (35)                  (500)          Free shipping                                                                  Frees
                              Special offer                                                                                                           Special offer
 Category
 0 Skin Care                                                                                                                                                    About this page
 0 Bar Soap
                            Best match
 Brand
 □ Acure
 O
 O
   Andalou Naturals
   Desert Essence
                               I                                                    [J
                                                                                          Thrive Face Wash - Daily Facial Cleanser for Men with Unique Prem...
                                                                                          4.7           35
 0 ELEMIS
 O Honest
                               ■                                                          All Skin Types · Botanicals · Lactic Acid · Alpha Hydroxy Acid ·
                                                                                          Essential Oils · Moisturizing · Exfoliating · Cruelty-free · Men's ·
 O Alaffia
 O Earth Science
                               ■l~I
                                                                                          3.38 fl oz
                                                                                          Powered by Costa Rican plants Thrive's daily Face Wash removes dirt
                                                                                          oil sweat and other impurities without drying or irritating the skin. Its
                                                                                          refreshing natural scent will make ...
 Form                          JI                                                         View product details
 0 Gel
 O   Cream
                               Ci                                                            $10 .3 6                 $15. 9 1                         $1 7.9 2
 □ Oil
 0 Liquid
                                I                                                            +$0.89 est. tax
                                                                                             Wal mart - Thrive.. .
                                                                                                                      +$1.27 est. tax
                                                                                                                      Zabiva.com
                                                                                                                                                       +$1.55 est. tax
                                                                                                                                                       Wal mart - Hurley.. .
                                                                                             $5.99 delivery           Free delivery                    Free delivery
 O   Wipes                      I
                                V                                                         Compare prices from 5+ stores
 Key Ingredient
 □ Citric Acid
 O   Botanicals
 □ Aloe                     Other matches
 O Essential Oils
 O Chamomile
 □ Alpha Hydroxy Acid                                   Thrive Bright Balance Facial Cleanser I Natural Removing Foam Cleanser I for Mature + Aging Skin I Thrive ...
                                                   [J
                                         thnv
 O Lactic Acid                                          4.7         500
                                                        All Skin Types · For Sensitive Skin · Cruelty-free
                                                        Our gentle cleanser is a multitasking gentle-yet-exceptionally-effective cleanser that leaves your skin no...
 Skin Type
 0 All Skin Types                                        $32.00
 0 For Dry Skin                                          +$3.27 est. tax                  Compare prices
                                                         Thrive Causemetics                from 2 stores
 0 For Oily Skin
                                                         $5.95 delivery
 n   l=nr r.nmhin:>tinn
       Go gle Shopping Case 2:20-cv-09091-PA-AS Document
                                                     0.. 174-3      Filed 10/26/21 Page 25 of 169 Page ID
                                                         thrive skincare for women                                                                                                                              X
                                                                                                                 #:8898


Your location: Lower                                                                                                                                                                                Sort by: Relevance •                      il
Haight, San Francisco, CA
                            Did you mean: thrive skin care for women
 Show only                  See thrive skincare for women                                                                                                                                                                       Sponsored
 O     Available nearby
     <.9
 O )!{ Buy on Google
     ()                                                                                                                                                              ■ 1 11
 □     On sale
 O 6 Smaller stores
                             -- ,...,
                                                                      ttir,ve

                                                                      .,.,_
                                                                                                                                      11 11I
                                                                                                                                                                         ~- ::
                                                                                                                                                                            ~,.. , 11 11

                              -
                                                                                                                                                I VI:

                                                                                     .,.,,..                  thrive-
                                                          ~
                                                                                                           ,,;·t,-.;. t
                                            '"I.,,""'
                                                                                                                                                                                                                                            -
                                                                                                                                                                       'kif.,,
                                                                                                 II                                       ~11•2
                                                                                                                                          ,,.r,;                         /!<Si
 Price
 0
 0
 0
     Up to $20
     $20-$40
     $40-$70
                              Thrive Smart                            Thrive Skincare
                                                                                                •
                                                                                                              r----J



                                                                                                        Thrive Defying
                                                                                                                                      -
                                                                                                                                 Thrive Defying
                                                                                                                                                                                 ---
                                                                                                                                                                     Thrive Tone &                  Thrive                                Thi >
                              Skincare Set I                          Starter Kit                       Gravity                  Gravity Eye                         Glow & Lift I                  Resurfacing Peel                      Lift 5t
 0   Over$70
                              Thrive...                               (Cleanser,. ..                    Transforming ...         Lifting Cream I...                  Moisture Flash ...             & Moisturizer S ...                   CaUSE
  $Min -     $Max             $118.00                                 $35.00                            $49.00                   $46.00                              $120.00                        $100.00                               $81 .01
                              Thrive Causem ...                       Thrive Causem ...                 Thrive Causem ...        Thrive Causem ...                   Thrive Causem ...              Thrive Causem ...                     Thrive
                              Free shipping                                                                     (861)                    (793)                       Free shipping                  Free shipping                         Frees
 Condition                                                                                              Free shipping            Free shipping
 O   New items
 O   Used items                                                                                                                                                                                                      About this page

                                                                                                                                                                                      Cl         pee      reduce                      resto~Cl
 Product rating
 0
           More
                 4 and up      thrive·
                                ai.P1rn.r1
                                                        :hrive"'
                                                        i.,, .. , •
                                                                                                                                          1_1~ ~e

                                                                                                                                              ~l'l•if
                                                                                                                                     ""'>¥'".J,rn,.             t nvc
                                                                                                                                                                                 l~
                                                                                                                                                                                 t     ,v,
                                                                                                                                                                                             I

                                                                                                                                                                                 k1••1
 Seller                                                                  !~'"
                                                                                                                                          r                    ,., ~sr~(e,           "111



                                                                                                                                      -
                                                                        Ifft••,                                                                                 fl,¢/1           ilr•,ry
 O   eBay                                                               ,... ilf
 O   Mercari
 O
 O
 O
     Pharmaca
     Thrive Causemetics
     Walmart
           More
                             Thrive Skincare Starter Kit
                             (Cleanser, Moisturizer, & Eye
                                                                        •                      Thrive Natural Deep Clean
                                                                                               Skincare Kit for Women &
                                                                                                                                      Thrive Smart Skincare Set I
                                                                                                                                      Thrive Causemetics I 100%
                                                                                                                                                                                     - ·
                                                                                                                                                                                                 Skincare Other I Thrive Skin
                                                                                                                                                                                                 Infinite Skincare System I
                             Lifting Cream) I Thrive ...                                       Men (3 Piece) Made in USA              Vegan I Best Cruelty-Free ...                              Color: Red I Size: Os ...
                                                                                               4.1        8

                              $35.00                                                           $35.95                                 $118.00                                                    $160.00
                              Thrive Causemetics                                               Wal mart - Thrive Natural ...          Thrive Causemetics                                         Poshmark
                              $5.95 delivery                                                   Free delivery                          Free delivery                                              $7.45 delivery




                                                                                                                                                                                                         w
                                                                                Cl                                          Cl
                                        thrive·
                                          . , . i.,                                                                                           thrive·

                                                                                                                                                f,ltf•i'J
                                                                                                                                      ~   r«{t-<,,..,l,r,:,w
                                                                                                                                                                                                              lhnvc·
                                                                                                         thrive-
                                                                                                         c.:usomo,ics
                                                                                                                                                                                                              .:,1<·Hlfl d




                                                                                                                                          ~                                                                 ~t111111,
                                                                                                      ~~~r f'"V111t                                                                                         tr~rvlf


                                  -                                                                                                   -
                                                                                                                                                                                                           •·· iJf   111.,("U\.....




                                                                                                                                                                                                                  ... ,....
                              Thrive Exfoliate & Lift Set I                                    Thrive Defvino Gravitv                 T hrive Exfoliate & Moisturize                             Thrive Skincare I Thrive
      Go gle Shopping        Case 2:20-cv-09091-PA-AS Document   174-3
                                                          0.. thrive       Filed 10/26/21 Page 26 of 169 Page ID X
                                                                     skincare natural
                                                                  #:8899


Your location: Lower                                                                                                                                                                                          Sort by: Relevance •        il
Haight, San Francisco, CA
                            See thrive skincare natural                                                                                                                                                                         Sponsored
 Show only
 O (:) Available nearby
                                                                                                                                                                                                                          __,
                              --                                                                                                                       -
                                                                                                                                                 ti'riv                     h~·
 O )!{ Buy on Google                                                     thnv4=-



                                                                                                                                                                                              --                                        ....'"",.
                                                                                                                                                                                              t   11\IW

 O e Smaller stores             t"'f

                                                          ....                                                                                  .,,,

                              -
                                                                                                                    th    rive-                                             11-
                                           """~                          1~-            ..,.,,                                                                                                                            flMr>""

                                                                                                                                                                                                                                       -
                                                                                                                    r ..,...,,.,.,,
                                                                                                  ,..,.,


                                                                                                                                                                                              -
                                                                                                                                  ~




                                               jl,tt
                                                                 "                                              ~; , "1 t"'• r
 Price
                                                                                                                   c:--:aJ
 0   Up to $25                                                                                    ■                                            Ill
 0   $25-$45
                              Thrive Smart                               Thrive Skincare                    Thrive Defying                Thrive Bright                 Thrive Face                           Thrive                 Thi >
 0   $45-$80
                              Skincare Set I                             Starter Kit                        Gravity                       Balance Facial                Cleansing Duo                 I       Resurfacing Peel       Lift ~t
 0   Over$80                  Thrive ...                                 (Cleanser, ...                     Transforming ...              Cleanser I.. ,                Thrive ...                            & Moisturizer S ...    Cause
  $Min -     $ Max            $118.00                                    $35.00                             $49.00                        $32.00                        $68.00                                $100.00                $81 .01
                              Thrive Causem ...                          Thrive Causem ...                  Thrive Causem ...             Thrive Causem ...             Thrive Causem ...                     Thrive Causem ...      Thrive
                              Free shipping                                                                         (861)                         (500)                 Free shipping                         Free shipping          Free~
 Condition                                                                                                  Free shipping
 O   New items
 O   Used items                                                                                                                                                                                                          About this page


 Product rating
 0               4 and up      thriver
                                111,1,"'mi,u
                                                                                                                                                                                                            llirov•
                                                       thrive"
          More                                         , .....       I




 Seller
                                                                                                                                                                                                           r_


                                                                                                                                                                                                          -
 O   iBeautyCity.com
 O   Mercari
 O   Thrive Causemetics
 O
 O
     Walmart
     Zabiva.oom
                                                                           ■
                              Thrive Skincare Starter Kit                                        Thrive Natural Deep Clean                    Thrive Bright Balance Facial                                Thrive Smart Skincare Set I
          More                (Cleanser, Moisturizer, & Eye                                      Skincare Kit for Women &                     Cleanser I Natural Removing                                 Thrive Causemetics I 100%
                              Lifting Cream) I Thrive ,.,                                        Men (3 Piece) Made in USA                    Foam Cleanser I for ,.,                                     Vegan I Best Cruelty-Free ...
                                                                                                 4,1        8                                 4.7         500
                                                                                                                                              All Skin Types


                              $35.00                                                             $35.95                                       $32.00                                                      $118.00
                              Thrive Causemetics                                                 Wal mart - Thrive Natural ...                Thrive Causemetics                                          Thrive Causemetics
                              $5.95 delivery                                                     Free delivery                                $5.95 delivery                                              Free delivery

                                                                                                                                              Compare prices from 2 sto...


                                                                                   CJ                                                                                                    CJ
                                       thrive·                                                                                                         th rive-
                                                                                                                                                          -'•"'•t ic•
                                                                                                                                                                             thrive·
                                        ~-rr
                                ,. ''~""•k•h"                                                                                                                                                                           thrive·
                                                                                                                                                                              M•if
                                                                                                             thrive-                                                     ~· r.¥r,.,,h,u...,
                                                                                                             ct ui;om atlcs


                                                                                                           ¥t~r rrqrvl        l       l
                                                                                                                                                                            I=]

                                                                                                                                                                                                                         ..
      Go gle Shopping Case 2:20-cv-09091-PA-AS Document
                                                    Q. 174-3       Filed
                                                        healtlhy thrive    10/26/21 Page 27 of 169 Page ID
                                                                        skincare                                                                                                                       X
                                                        #:8900


Your location: Lower                                                                                                                                                                    Sort by: Relevance •                 jl
Haight, San Francisco, CA

                            See healthy thrive skincare                                                                                                                                                           Sponsored
 Show only
 D ~ Available nearby
                                r                                                                                .~           ■ 1[ 11
                                                                                                                                                            ---               I~
                                                                                                                                                                                                    tnnve

                                                                           11 11
                                                                                                                                                                                                                             hrtV
 D WBuy on Google                                                                            Llir1ve

 D <) On sale
                                                                                                                                ~ :: 1111                                     ....

                                                                                                                                                                -
 D el Smaller stores                 t>inve"                                                  ,orM--      ,,.,        ..,.,                                         ""I),,,
                                  kjr~t   t''•,T1                                                                     ...      11-,i f,••
                                                                                                                                 , ..,,
                                                                                                                                            "'
                                                                                                                                            ...It
                                                                                                                                                    ~
                                                                                                                                                                     jlol     ""'
 Price
                                                                                                                      ■                     ----                                              Ill
 0   Upto $20
                              Thrive Defying                         Thrive Defying          Thrive Skincare                  Thrive Tone &                 Thrive Smart                Thrive Bright                     Thi >
 0   $20-$35                  Gravity                                Gravity Eye             Starter Kit                      Glow & Lift I                 Skincare Set I              Balance Facial                    Clean
 0   $35-$70                  Transforming .. .                      Lifting Cream I...      (Cleanser, ...                   Moisture Flash .. .           Thrive ...                  Cleanser j.••                     Thrive
 0   Over$70
                              $49.00                                 $46.00                  $35.00                           $120.00                       $118.00                     $32.00                            $68.01
  $Min -     $Max             Thrive Causem .. .                     Thrive Causem .. .      Thrive Causem .. .               Thrive Causem .. .            Thrive Causem .. .          Thrive Causem .. .                Thrive
                                      (861)                                   (793)                                           Free shipping                 Free shipping                       (500)                     Free~
                              Free shipping                          Free shipping
 Condition
 D   New items                                                                                                                                                                                          About this page
 D   Used items
                                                                                                                                                                                                                           [:]
 Shipping                                                                                       thrive
                               thrive·
                                                    thrive·
 □ Free shipping                                    ........ ..,_,
                                                                                                                                                    thrive·
 Product rating                                                         ~-                                                                                                                  thrivff
                                                                       ~.,,,,,                                                                                                                  c:-.usomo1ics

 0              4 and up
                                                                       l""l                                                                                                               ~r,tr t (q1f111f
                                                                                                                                                                                                      1/1   ~·    •   {
            More



                                                                       •
                                                                                                                                                                                                       I ..,, '


 Seller
 D   eBay                     Thrive Skincare Starter Kit                          Thrive Bright Balance Facial                         Thrive Causemetics                           Thrive Defying Gravity
 D   iBeautyCity.com          (Cleanser, Moisturizer, & Eye                        Cleanser I Natural Removing                          Skincare I Goodbye, Dry! Try                 Transforming Face
 D   Target                   Lifting Cream) I Thrive ...                          Foam Cleanser I for ...                              This Thrive Causemetics                      Moisturizer Cream I Use on
 D   Thrive Causemetics                                                            4 .7        500                                      4.3         1,305                            4 .1        861
 D   Walmart                                                                       All Skin Types                                       Toner · Witch Hazel · Liquid                 Face · Anti-aging · Cream
                                                                                                                                        More style options
            More

                              $35.00                                               $32.00                                               $36.00                                       $49.00
                              Thrive Causemetics                                   Thrive Causemetics                                   Thrive Causemetics                           Thrive Causemetics
                              $5.95 delivery                                       $5.95 delivery                                       Free delivery                                Free delivery

                                                                                   Compare prices from 2 sto...                         Compare prices from 2 sto...


                                                                                                                                                                        [:]
                                                                                                                                                                                                     thrive·
                                                                                                                                                                                                      , ......
                                                                                    tlmv.,

                                                                                                                                                                                                      f'l'fq,f
                                                                                                                                                    t   ,nvc,                                f,\(   r•¥'1'rf•vr•tt<•
                                                                                                       I r Ve'
Go gle   thrive natural care



         Q All       O    Shopping
                                     Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 28 of 169 Page ID




                                     0   Maps           GJ        Images
                                                                        #:8901



                                                                              @ News              : More
                                                                                                                                     X

                                                                                                                                          Tools
                                                                                                                                                                                                              •• •
                                                                                                                                                                                                              ...   .




         About 121,000,000 results (0.61 seconds)

         Ads •     Browse thrive natural care                                                                                                0
                                                                                                                                                  Thrive                   <
              ~                                 thrive-
                                                 . _.. •.,.,•u•
                                                   ~
                                                                                                                                                  Natural Care,
                                                                                 thrive'
                                                                                                                                          I~      Inc.
                                                                                                                 --~
                                                                                                                   ltl'l;eC'
                                                                                             l rJVf!
                                                                                                                    ,.~ •r
                     thrive-                ~T~                                 ; ,ft'f,-.                                                        Company



                                                                                             - -
                                                                                                       •h~
                                                                                                       ~-..,                   ;,.,r,.,   I;'
                                                                                                                                          ...,
                                                                                             ""''""'
                     c1uum•tiu·
                                                                                                       ., ,,                    toG11
                  ¥11Vl1f tnri1j                ~



                                                                                                       ■                                          ~      thrivecare .co

                                                                                                                                                  Founded:2012
          Thrive Defying             Thrive Bright                           Thrive Skincare                   Thrive Smart
                                                                                                                                                                                                 Disclaimer
          Gravity ...                Balance Facial...                       Starter Kit...                    Skincare Set I- . .
          $49.00                     $32.00                                  $35.00                            $118.00                            Profiles
          Thrive Causemet. ..        Thrive Causemet. ..                     Thrive Causemet. ..               Thrive Causemet. ..

          **             (861)                         (500)                                                   Free shipping
                                                                                                                                                   Linkedln     lnstagram      Facebook

         https://thrivecare .co
                                                                                                                                                  People also search for                      View1+ more
         Thrive Natural Care: Thrive Skincare I Powered By ...
         Thrive Natural Care products are as unique as our regenerative business model. High-
         performance shave & skincare, powered by regenerative plants from Costa ...
                                                                                                                                                  0 Petcub e   feetUres,       ~ AeroGofoen     I.A RK & RO

         You've visited this page many times. Last visit: 4/29/21
                                                                                                                                                  Petcube      Feetures!    AeroGar. ..         Lark & Ro

           Products                                                        Contact Us                                                                                                             Feedback
           Daily Defense Sunscreen Balm                                    Contact Us. Name. Email *.                                             9   Claim this knowledge panel
           (Mineral SPF 30). Daily Defense                                 Phone Number Message.
                                                                           THRIVE ...


           Regenerative Agriculture                                        Clean
           We aim far beyond 'sustainable'.                                THRIVE SKINCARE. Home ·
           Our Restorative Gardens use ...                                 Products · Skin Health · Blog ...

           More results from thrivecare.co »


         https://www.amazon .com > Thrive-Natural-VIP-Mens-...
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 29 of 169 Page ID
                                            #:8902
Go gle   amazon thrive face balm                                                X

         Q All     (j Shopping        @ News                      [g Images                 0      Videos        : More                               Tools


         About 8,990,000 results (0.67 seconds)

         Ads•    Shop amazon thrive face balm                                                                                                           0




                                  hrive-
                                                                                                                    ~j~

                                                   ·~
                                                  ''ti-;



                                 -,A 1,1,,_,                                                                               ®
                                               .-.a•'ff;+,.,,.,                                                      OtiitvOnfnrNO
                                                                                                                     ~e,~r.ilul,,.
                                                                        Silbrlve                                     ..:!.. .-t.:;.:.~~
                                                                        li::.:~•.-:,..,:-11:.1:-        ~~
                                                                             ..
                                               - -
                                                  E.._
                                                                               ,._,,_
                                                                                                            "'
                                                                          ~G\c{f'll
                                                                         :.._\t,.ic:=




          THRIVE All          Thrive Face                            THRIVE                             THRIVE                            THRIVE All
          Natural Fae ...     Cleansing D .. .                       Natural Fae ...                    Natural. ..                       Natural Fae .. .
          $16.95              $68.00                                 $15.95                             $24.95                            $13.95
          Amazon .com         Thrive Caus ...                        Amazon .com                        Amazon.com                        Amazon.com
          Special offer       Free shipping                          Special offer                      Special offer                     Special offer


         https://www.amazon .com > Thrive-Natural-Mens-Face-...

         THRIVE Natural Face Moisturizer - Non-Greasy .. . - Amazon.com
         THRIVE Natural Face Moisturizer &ndash; Non-Greasy Soothing Facial ... Concentrated
         facial moisturizer balm formula gives you more bang for the buck ...
                   Rating: 4 .5 · 456 reviews


         https://www.amazon .com > Unscented-Natural-Face-Lot...

         THRIVE All Natural Face Cream for Sensitive ... - Amazon.com
         Amazon .com: THRIVE All Natural Face Cream for Sensitive Skin - Facial Moisturizer
         Restores, Protects Skin & Helps Soothe Irritation - Face Lotion for Women ...
                   Rating: 4 .3 · 216 reviews


         https://www.amazon .com > ThriveNaturalCarelnc > page

         Thrive Natural Care, Inc. - Amazon .com
         Daily Defense Balm with SPF 30 · Energy Scrub · Deep Clean Gift Set for Women & Men ·
         VIP Men's Grooming Kit · Natural Face Wash · Natural Face Balm · Natural Shave ...
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 30 of 169 Page ID
                                            #:8903
Go gle   amazon thrive natural care                                             X

         Q. All        O      Shopping         @ News                 [g Images                   0     Maps      : More                              Tools


         About 15,000,000 results (0.59 seconds)

         Ads • Shop                 amazon thrive natural care                                                                                          0



             ~iThrhle
             ~1.t~••U••f'•U•of•,,
                                                   ~t~                                                            1rive·
                                                                                                                  1

                                                                                                                      ·-·
                  --
                  ·--
                                        ~.,.,.,~
                                                         ®
                                                    l)nltJl)MflrM
                                                   ~,a1•Udm
                                                   :..~... :-· ~~:~          s~-..~•·.-·.•~:--;•:.i.r
                                                                             ~'-.
                                                                                                                ""flf,1...
                                                                                                                               t1

                                                                                                                                ,~,r
                                                                                                                                    fj V




                                                                                                                             """"''"'~~
                                                                                                                                                            _,




                                                                                                                             -
                                           e



                                                                                                                                                            »
          THRIVE                        THRIVE                           THRIVE                                Thrive Face                 Thrive Natural
          Natural Fae ...               Natural. ..                      Natural Fae .. .                      Cleansing D .. .            Men's Skin ...
          $12.95                        $24.95                           $15.95                                $68.00                      $43.95
          Amazon.com                    Amazon .com                      Amazon.com                            Thrive Caus ...             Amazon .com
          Special offer                 Special offer                    Special offer                         Free shipping               Free shipping


         https://www.amazon .com > ThriveNaturalCarelnc > page

         Thrive Natural Care, Inc. - Amazon.com
         Thrive Natural Care sells the most unique and healthy mens shave and skincare on the
         planet. Better skin health with premium natural grooming products, ...


         https://www.amazon .com > •••

         Thrive Natural Care @Amazon.com:
         Online shopping from a great selection at Thrive Natural Care Store.


         https://www.amazon .com > Thrive-Natural-Clean-Skinc...

         THRIVE Natural Deep Clean Skincare Kit for ... - Amazon.com
         Amazon.com: THRIVE Natural Deep Clean Skincare Kit for Men & Women (3 Piece)-Gift
         Set with Natural Face Scrub, Wash & Moisturizing Face Lotion - Organic ...
                     1 Rating: 4 .6 ·     790 reviews


         https://www.amazon .com > Skin-Care-Thrive-Natural-...

         Thrive Natural Care - Skin Care/ Men's ... - Amazon.com
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 31 of 169 Page ID
                                            #:8904
Google         thrive skincare                                                         X

              Q. All       (} Shopping     ~ Images       I§ News     0   Maps     : More                                     Tools


              About 4,070,000 results (0.79 seconds)

               Ads •    Shop thrive skincare                                                                                   0


                                                                                                           t hrive'
                                                                                                           •11.:.,.,111lt::




                                                                                             11
                       teiuumotit•
                          hrive-                                                                ,.,
                  6M~r1nr.1r
                                                                                 -                                                  »
                Thrive Defying         Thrive              Rejuvenate            Thrive Smart         Thrive Bright
               Gravity ...             Buildable Bl. ..    Restorative .. .      Skincare Se.. .      Balance Fac...
               $49.00                  $38.00              $72.00                $118.00              $32.00
                Thrive Caus ...        Thrive Caus ...     Naked+ Thr...         Thrive Caus ...      Thrive Caus ...
               **              (861)   *        ~ (2k+)    Free shipping         Free shipping        *                 (500)


              https://thrivecare.co

              Thrive Natural Care: Thrive Skincare I Powered By ...
              Thrive is regenerative, effective, plant-based skincare for every body. Our unique approach
              actively restores ecosystems and empowers farmers and ...
              Superplant Skincare · Our Products · Regenerative Mission · Ingredients


              https://thrivecausemetics.com

              Thrive Causemetics I Luxury Beauty that Gives Back
              Thrive Causemetics offers luxury high-performance cosmetics. For every product you
              purchase , we donate to help a woman thrive.
              Defying Gravity Transforming ... · Liquid Lash Extensions Mascara · Makeup · Eye




              People also ask
              How much does thrive skin care cost?                                                                              V
Google   thrive natural skincare
                                Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 32 of 169 Page ID
                                                                   #:8905
                                                                                     X                                                                                                                                  ...    -
         a_   All           (J Shopping        0       Maps                      @ News         (g Images              : More                        Tools


         About 1,350,000 results (1.05 seconds)

         Ads •         Shop thrive natural skincare
                                                                                                                                                                   THRIVE Natural Mineral
                                                                                                                                                                   Sunscreen SPF Broad-
              ~                             hrive·
                                                                                                                          thrive
                                                                                    t~ve·
                                                                                                                                                      I~           Spectrum Natural Clear
                                                                                                                                            --
                                                                                                                                          ttvl
                                                              r'1tl                           tru ve~
                                                                                                                                          ......,1

                      ti::~hrive-
                                          ,.,,rJ,.,_     ,..,...,,i--.,,
                                                                    ..., ,,,..                                           l,,,fiif ~~                                          -,c   45 reviews



                                                                                                                                         -
                                                                                   ;.,+1M-+
                                                                                                                                                        ...
                                                                                                                                                        1~

                                                                                              "'"'"' .~..,
                                                                                                        ~h•J\1111'
                           uum,~lca




                                                          - --
                  ~Jtv'1t ff~\illlt                          -
                                                             ~
                                                                                                        f",11             ~
                                                                                                                                                        ""'t


                                                                                                                                                                             Details             Reviews          St ores
                                                                                                        ■
                                                                                                                                                               »
          Thrive Defying                Thrive Face                                Thrive                            Thrive Bright       Thrive Smart
          Gravity ...                   Cleansing D .. .                           Skincare ...                      Balance Fae.. .     Skincare Se...
          $49.00                        $68.00                                     $35.00                            $32.00              $118.00
          Thrive Caus ...               Thrive Caus ...                            Thrive Caus ...                   Thrive Caus ...     Thrive Caus ...

          *""                   (861)   Free shipping
                                                                                                                        **       (500)   Free shipping
                                                                                                                                                                   Shop now
         https://thrivecare.co
                                                                                                                                                                             Walmart - Thrive Natural Care, Inc.      $20.95
         Thrive Natural Care: Thrive Skincare I Powered By ...                                                                                                               Thrive Natural Light Mineral Face
         Thrive Natural Care products are as unique as our regenerative business model. High-                                                                                Sunscreen Lotion SPF 30 w/ .. .
                                                                                                                                                                             Free shipping
         performance shave & skincare , powered by regenerative plants from Costa ...
                                                                                                                                                                   ...,
                                                                                                                                                                   ...,      Walmart - Elite Product Solution         $34.24
                  Face Balm - 2fl.oz.(60ml)
                  Post Shave Balm & Facial Moisturizer with Unique Premium Natural & Certified                                                                               Thrive Natural Light Mineral Face
                                                                                                                                                                             Sunscreen Lotion SPF 30 w/ ...
                  Ingredients that Keep Your Skin Hydrated, Healthy and Prevent Irritation After ...                                                                         Free shipping

                  Products                                                                                                                                         ...,
                  Daily Defense Sunscreen Balm (Mineral SPF 30). Daily Defense ...
                                                                                                                                                                   ...       Walmart - Taylormade Solutions           $34.05
                                                                                                                                                                             Thrive Natural Light Mineral Face
                                                                                                                                                                             Sunscreen Lotion SPF 30 w/ ...
                  Sensitive Skin Face Balm                                                                                                                                   Free shipping
                  Product Description Our Commitments This natural moisturizer, along with Thrive's
                  Sensitive Skin Face Wash, packs the perfect one-two punch to start your ...                                                                                Walmart - QUICK CARTERS CO               $33.99
                                                                                                                                                                             Thrive Natural Light Mineral Face
                  Sensitive Skin Kit                                                                                                                                         Sunscreen Lotion SPF 30 w/ ...
                  Includes full-size Thrive Restoring Face Wash (100 ml) and ...                                                                                             Free shipping

                  More results from thrivecare.co »
                                                                                                                                                                   .......   Walmart - KB Distribution Partners       $34.57
      Case 2:20-cv-09091-PA-AS
About 9,750,000 results (0.66 seconds)Document 174-3 Filed 10/26/21 Page 33 of 169 Page ID
                                                                                 #:8906
Did you mean: amazon thrive natural skin care

Ads • Shop           amazon thrive natural skincare


                                                                    li>.Th    ·ve                                                 thrive·
                                                                                                                                  uu,•t
                                                                    ~1>~--- ·~ -, ...                                                   1th•

          ~,~                   ~U.'!-6'                                                   lhnve·

                ®
                                                  N"
                                                                         --
                                                                        ,_,......__
                                                                                                       lh Vff




 ~~
           Uo•~Onti,n...,
          ~mnr,UOl11
           I•,.-:-.:.::..~
                              ,-,If J,!.c,,         ':1-,. ...
                                              -.,..,,+                                    ~-,fl,4..,
                                                                                                       ift"t..-1    "~
                                                                                                                                    ·-
                                                                                                                                 .,_111tT ~~otw




                                                                                          --
                                                                                                                   ;.i,,.,




                                              -
                                                                                                                         f         ~
   €                                              ~                                                                fU/


  ==-o
                                                                                                                   ■
                                                                                                                                                       »
 THRIVE                      Thrive Face                         THRIVE                   Thrive                             Thrive Bright
 Natural. ..                 Cleansing D .. .                    Natural Fae .. .         Skincare ...                       Balance Fae...
 $24.95                      $68.00                              $12.95                   $35.00                             $32.00
 Amazon.com                  Thrive Caus ...                     Amazon.com               Thrive Caus ...                    Thrive Caus ...
 Special offer               Free shipping                       Special offer                                                                 (500)


https://www.amazon.com > Thrive-Natu ral-VIP-Mens-...

THRIVE Natural VIP Men's Skin Care Set (4 ... - Amazon.com
Amazon.com: THRIVE Natural VIP Men's Skin Care Set (4 Piece)- Grooming Gift Set to
Wash, Exfoliate, Shave & Soothe - Gift for Men Made in USA with Organic ...
  *       Rating: 4.6 · 790 reviews


https://www.amazon .com > Skin-Care-Thrive-Natural-...

Thrive Natural Care - Skin Care/ Men's ... - Amazon.com
THRIVE Natural Face Wash Gel for Men & Women - Daily Facial Cleanser with Anti-
Oxidants & Unique Premium Natural Ingredients for Healthier Skin Care - Vegan ...


https://www.amazon.com > Exfoliators-Thrive-Natural-...

Thrive Natural Care - Exfoliators / Skin Care ... - Amazon.com
THRIVE Natural Face Wash Gel for Men & Women - Daily Facial Cleanser with Anti-
Oxidants & Unique Premium Natural Ingredients for Healthier Skin Care - Vegan ...
                  Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 34 of 169 Page ID
                                                     #:8907
Google   amazon thrive natural skincare                                        X

         Q. All           (} Shopping               @ News                   0   Maps              ~ Images      : More                                                    Tools


         About 9,750,000 results (0.66 seconds}

         Did you mean: amazon thrive natural skin care

         Ads • Shop                   amazon thrive natural skincare                                                                                                        0


                                                                                    ~~Th           ·ve                                                thrive-
                          SiThriva'              hnve·                             ~1.':~~--~ .~ ..~•. -{                                             ,1.1, s 11t,11t· ~


                          ~1 ·-·'·'-~·,.:,


                                 ©
                            f)njtyOnten!W'    ~-,Pl b<'-••
                                                                ff I

                                                                  .
                                                                 , ..,,
                                                             .......""n,,.
                                                                                         --
                                                                                         ,.,.lll)e,.....,.

                                                                                             ,.._,'tJ
                                                                                                              tllnve·
                                                                                                                         t   f i\l(f




                                                                                                                        ..,....,.                    .-~1:_~


                                                                                                                                                                                    -
                          S.,~n•w Oalm                                                @                       ►>11f~                   "h•.;,(
          ~'-1'!"..!!!P     ~~:·~~~




                                                                                                                        -•
                                                                                      =-\~s:-                                          I ,-,




                                                             -
                                                                                                                                       r•, lJ         ~
               "'
           .::--..::.u


                                                                                                                                                                                »
          THRIVE                             Thrive Face                         THRIVE                       Thrive                             Thrive Bright                      Thrive
          Natural. ..                        Cleansing D ...                     Natural Fae ...              Skincare .. .                      Balance Fae...                     Skincar
          $24.95                             $68.00                              $12.95                       $35.00                             $32.00                             $11 8.00
          Amazon.com                         Thrive Caus ...                     Amazon.com                   Thrive Caus ...                    Thrive Caus ...                    Thrive
          Special offer                      Free shipping                       Special offer                                                                         (500)        Free


         https://www.amazon .com > Thrive-Natural-VIP-Mens-...

         THRIVE Natural VIP Men's Skin Care Set (4 ... - Amazon.com
         Amazon.com: THRIVE Natural VIP Men's Skin Care Set (4 Piece)- Grooming Gift Set to
         Wash, Exfoliate, Shave & Soothe - Gift for Men Made in USA with Organic ...
                           Rating: 4.6 · 790 reviews


         https://www.amazon .com > Skin-Care-Thrive-Natural-...

         Thrive Natural Care - Skin Care/ Men's ... - Amazon.com
         THRIVE Natural Face Wash Gel for Men & Women - Daily Facial Cleanser with Anti-
         Oxidants & Unique Premium Natural Ingredients for Healthier Skin Care - Vegan ...


         https://www.amazon.com > Exfoliators-Thrive-Natural-...

         Thrive Natural Care - Exfoliators / Skin Care ... - Amazon.com
         THRIVE Natural Face Wash Gel for Men & Women - Daily Facial Cleanser with Anti-
         Oxidants & Unique Premium Natural Ingredients for Healthier Skin Care - Vegan ...
                  Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 35 of 169 Page ID
                                                     #:8908
Go gle   amazon thrive natural skin care                                       X


         Q. All      O    Shopping          @ News                         ~ Images                0   Maps      : More                                                       Tools


         About 12,900,000 results (0.75 seconds)

         Ads •     Shop amazon thrive natural skin care                                                                                                                        0


             1''Th -
             ~,M.,~.-~                                                                                          ilrive-                          ~
                                     l}lrive·                                 111'!'>
                                                                                                                                t! f l ltff'
                                                 thr,VQ'
                                                                             ,.....-
                                                                               ""'I
                                                                                                               1"1Fll-~..
                                                                                                                                   •""I
                                                                                                                            ......_.,,_....1"'
                                  ►,iric-       ,.,,.,,,,1                                             ...,                                              t h rive-




                                     -- -
                                                              11,,,.,,.,                               ~
                  ~l'"''tJ
                    ~~-'=-""                                                            +,;Ji,-i                                                         e1 u 1• 1n • tlt t




                                                                                                                            -
                                                             •lt"I
                                                             l"l'IJ
                                                                                         j!,o
                                                                                                       :""I                    E.J                   ¥1'fV'11
                                                                                                                                                        ., '
                                                                                                                                                              f rcri 1iJ
                                                                                                                                                        1·
                                                             ■
                                                                                                                                                                                   »
          THRIVE                  Thrive                                     Thrive Smart                     Thrive Face                        Thrive Defying
          Natural Fae ...         Skincare ...                               Skincare Se ...                  Cleansing D ...                    Gravity ...
          $12.95                  $35.00                                     $118.00                          $68.00                             $49.00
          Amazon .com             Thrive Caus ...                            Thrive Caus ...                  Thrive Caus ...                    Thrive Caus ...
          Special offer                                                      Free shipping                    Free shipping                        *                     (861)


         https://www.amazon .com > ...

         Thrive NaturalCare@Amazon.com:
         Online shopping from a great selection at Thrive Natural Care Store . ... THRIVE Natural
         Moisturizing Mineral Face Sunscreen SPF 30 , 2 Ounces - Lightweight .. .


         https://www.amazon.com > Thrive-Natural-VIP-Mens-...

         THRIVE Natural VIP Men's Skin Care Set (4 ... -Amazon.com
         Amazon .com: THRIVE Natural VIP Men's Skin Care Set (4 Piece)- Grooming Gift Set to
         Wash, Exfoliate, Shave & Soothe - Gift for Men Made in USA with Organic ...
                       Rating: 4.6 · 790 reviews


         https://www.amazon .com > Thrive-Natural-Mens-Face-...

         THRIVE Natural Face Moisturizer - Non-Greasy ... - Amazon.com
         Amazon.com: THRIVE Natural Face Moisturizer - Non-Greasy Soothing Facial Moisturizer
         Lotion for Men & Women Made in USA with Natural & Organic Ingredients ...
                       Rating: 4.5 · 456 reviews


         https://www.amazon.com > Skin-Care-Thrive-Natural-...
Go Case
   gle 2:20-cv-09091-PA-AS
           skincare thrive                            Document 174-3 Filed 10/26/21 Page
                                                                                    X    36 of 169 Page ID
                                                                #:8909
           o. All       o Shopping              !;J Images                     @       News                 G Videos            ; More             Tools

           About 4.470,000 results (0.69 seconds)

           Ads · Shop skincare thrive                                                                                                                  o



                                                                             th~
                                                                                         l"'
                                                                                                                                          .a..         11
                                                                            ,,.,....
                                                                                                                                                 --
                                                                            --                                                            -
                 thrive-                                                                ..,., .. ,
                 c, . ..,...,1ca

              l;J~1 f''l"lf                                                                           :.r                                        jla    =.
                =                                                                                     •                                                    »
            Thrive                      Thrive                              Thrive                                 Rejuvenate             Thrive Smart
            Defying ...                 Buildable ...                       Skincare.. .                           Restorativ...          Skincare S...
            $49.00                      $38.00                              $35.00                                 $72.00                 $118.00
            Thrive Ca ...               Thrive Ca ...                       Thrive Ca ...                          Naked + T...           Thrive Ca .. .

            ****    (861)               *""'•*.,,. (2k+)                                                           Free shipp...          Free shipp.. .


           https://thrivecare.co
           Thrive Natural Care : Thrive Skincare I Powered By ...
           Thrive Natural Care products are as unique as our regenerative business
           model. High-performance shave & skincare, powered by regenerative ...
           Superplant Skincare · Our Products · Regenerative Mission · Ingredients


                                                                    ,
                                                                        -      ,
                                                                                   ..          • ,     . . Simply Flawless
                                                      _,f:Jied1Gal Skin ~estheijcs-,r Skin by Janine
                                                                •              •           6:§              •           ~
                                                                        q     Skin Remedy                   SOMA
                                                                                                                    •       Oracle Park


                            ~
                                       Golden         HAIGHT•ASHBURY                       •         f tSkin Nutritious .
                             11!      Gate Park             -                      •                 T  holistic acne clinic
                                            INNER SUNStT                THE CASTRO        ft
                                                                                          T          The Skin Clinic
                              OUTER SUNS~T             -.       a                                     e
                                                                                   •            •
                                   SUNSET DI STRICT
                                                                                                            ~
             Rating •                Hours •


           Skin Remedy
           No reviews · Skin care clinic
           1798 Grove St#2 · (415) 810-0065                                                                                       Website Directions


           Medical Skin Aesthetics
           4.5 •+     ""*,.
                        (2) · Skin care clinic
           490 Post St #1509 · Near Union Square, San Francisco·(.. . Website Directions
           Closed · Opens 9AM Tue


           The Skin Clinic
           4.6 *,...*,._(8) · Cosmetics store
           23rd Guerrero St· (415) 298~6151                                                                                                  Directions
           Closed · Opens 2PM Tue

                                                  ➔                             View all



           https://thrivecausemetics.com
           Thrive Causemetics I Luxury Beauty that Gives Back
                               Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 37 of 169 Page ID
                                                                  #:8910
Google   thrive skincare healthy                                                    X

         Q. All        (} Shopping             (g Images            @ News      0   Maps       : More                              Tools


         About 1,230,000 results (1.01 seconds)


          Ads •     Shop thrive skincare healthy




                 th    rive-
                                       I~


                                      i..,,r i.:-
                                                     nrr;f(




                                                               -
                                                                    ,~~
                                                                    ~
                                                                                             ...
                                                                                           .....:1..
                                                                                                        ,~ ~        thrive•
                                                                                                                                                 thrive



                                                                                                                                               ~-,HT.!:';_'-'+
                                                                                                                                                                     h!!!''E;


                                                                                                                                                                   l',f'1),J.u
                                                                                                                                                                                    ft"U




                                                                                                                                                                                     '""'
                                                                                                                                                                                 • ,+r_....




                                                                                           -
                                                                                                                     •   • -1..U

                 r -..•• ,. .,,1e.,
                                                    ""'                                                   ~



                                                                                                                                                                                 -
                                                                                                                   lf1~f

                                      -
                                                              it/
              ¥-if 11t ir~~ •l~                               "'                                                                                 ~

                                                                                                                   f1'•rClf
                                                              •                                                   "'' u,n\;l)cal"'"

                                                                                                                   ~




          Thrive Defying              Thrive                         Rejuvenate            Thrive Smart       Thrive Defying               Thrive Bright          Thrive Face                 Biossance       Thrive
          Gravity                     Skincare                       Restorative           Skincare Set I     Gravity Eye                  Balance Facial         Cleansing Duo               Best of Anti-   Overni!
          Transforming                Starter Kit                    Face Oil              Thrive             Lifting Cream           I    Cleanser       I       I Thrive                    Aging Set       Facial
          Face .. .                   (Cleanser, ...                                       Causemetic ...     Perfect For ...              Natural. ..            Causemetic .. .                             Exfolia-
          $49.00                      $35.00                         $72.00                $118.00            $46.00                       $32.00                 $68.00                      $39.00          $62.00
          Thrive Caus ...             Thrive Caus ...                Naked+ Thr...         Thrive Caus ...    Thrive Caus ...              Thrive Caus ...        Thrive Caus ...             Biossance       Thrive
                           (861)                                     Free shipping         Free shipping                       (793)       *              (500)   Free shipping               Free shipping    *
          *
         https://thrivecare.co

         Thrive Natural Care: Thrive Skincare I Powered By ...
         Thrive Natural Care products are as unique as our regenerative business model. High-
         performance shave & skincare , powered by regenerative plants from Costa ...




         People also ask

         What is the safest skincare brand?                                                                                           V



         Is thrive skin care Organic?                                                                                                 V



         Does thrive help skin?                                                                                                       V



         Why skincare is bad for you?                                                                                                 V


                                                                                                                            Feedback
Google   thrive skincare facewash
                                  Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 38 of 169 Page ID
                                                                     #:8911
                                                                                                                      X                                                                          ......
                                                                                                                                                                                                 ...      I
         Q. All       <Y   Shopping    ~   Images      @ News         0   Videos      : More                              Tools


         About 122,000 results (1.25 seconds)

         Did you mean: thrive skin care face wash
                                                                                                                                   Natural Face Wash Gel for                             <
                   Shop thrive skincare facewash                                                                           0
          Ads •                                                                                                                    Men & Women Daily Facial
                                                                                                                                   Cleanser with Unique
                  thrive-                                                               thrive·
                                                                                                                                   Premium Natural
                                                                                                             thrive
                                               tnflV
                                                                                          f1'!41j
                                                                                   f'!(< rcqe-<l'f•buyi,,
                                                                                                                                   Ingredients for Healthier
                                                                                                                                   Skin Care
                  1.,==-=:J



                                              -
                                               c:..:




                                                                                    - -                                        »
                                                                                                                                   •~**        35 reviews


                                                                                                                                         Deta ils           Reviews             Stores


          Thrive Bright           Thrive Face           THRIVE                 Thrive Smart                 Thrive Bright
          Balance Fae...          Cleansing D .. .      Natural Fae .. .       Microderma ...               Balance ...
          $32.00                  $68.00                $12.95                 $44.00                       $73.00                                                                           >
          Thrive Caus ...         Thrive Caus ...       Amazon .com            Thrive Caus ...              Thrive Caus ...

          *             (500)     Free shipping         Special offer                            (61)       Free shipping

                                                                                                                                   Shop now
         https://thrivecausemetics.com > products > bright-balan ...

         Bright Balance 3-in-1 Cleanser™ - Thrive Causemetics                                                                             Walmart - Thrive Natural Care, Inc.      $10.36
         All-in-one skincare + waterproof makeup removing cleanser that leaves skin feeling soft +                                        Thrive Natural Face Wash for
                                                                                                                                          Women & Men Vegan Daily Gen .. .
         clean, never dry + tight. How to Use ...
                                                                                                                                          $5.99 shipping
                       Rating: 4 .9 · 443 votes · $32.00 · In stock
                                                                                                                                          ebay.com                                 $17.80
         https://thrivecare .co > products > face-wash                                                                                    THRIVE Natural Face Wash Gel
                                                                                                                                          for Men & Women- Daily Facial ...
         Powerful Plant-Based Face Wash Gel Cleanser I Remove Dirt ...
                                                                                                                                   ,,
         Thrive's Face Wash is the perfect start to your daily routine and great as a refresh from
         your daily adventures. Start by getting your face wet. Work a small ...
                                                                                                                                   ...    Walmart - Hurley Exports INC             $17.92
                                                                                                                                          Thrive Natural Face Wash for
                       Rating: 4.5 · 159 reviews                                                                                          Women & Men Vegan Daily Gen .. .
                                                                                                                                          Free shipping

         https://www.amazon .com > Natural-Mens-Face-Wash-Gel                                                                             ebay.com                                 $22.42
         THRIVE Natural Face Wash Gel for Men ... -Amazon.com                                                                             THRIVE Natural Face Wash Gel
                                                                                                                                          for Men & Women- Dailv Facial ...
                       Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 39 of 169 Page ID
                                                          #:8912
Go gle   thrive skincare face lotion                                              X

         a. All         (} Shopping          (g Images                 @ News                III Videos         : More                              Tools


         About 8,100,000 results (0.74 seconds)

         Ads •     Shop thrive skincare face lotion


           ~                              'lrive·
                                                                                                                             thrive"
                                                                                                          ""

                                                                                                          -·
                                                          n fiVft                                                                      t   I \,(f

                                                           ,....r                                         •-1
                  t hrive-              r-1 J..t...   ~   !",....,,,
                                                                                                                             -,+T"""   ..,

                                                                                                          -
                                                                            Silhrlve
                                                                            ~~-   ... ;, :.-...                   ,,.;fo,>                           """~·
                  t. u Utn• tltl
                                                                                                                   ,i...


                                                      -                                                                      --
                                                                                                                                                     0//"I
               ¥1f1 "f 1nvi-lt
                   1                                      r_                                                                                         r•,•I


                                                                                                                                                     r
                                                                                                                                                             »
          Thrive Defying               Thrive Face                      THRIVE                        Thrive Smart           Thrive
          Gravity ...                  Cleansing D ...                  Natural Fae ...               Skincare Se...         Skincare ...
          $49.00                       $68.00                           $15.95                        $118.00                $35.00
          Thrive Caus ...              Thrive Caus ...                  Amazon.com                    Thrive Caus ...        Thrive Caus ...
          lf                 (861)     Free shipping                    Special offer                 Free shipping


         https://thrivecausemetics.com > products> defying-grav...

         Defying Gravity Transforming Moisturizer™ - Thrive ...
         Our age-defying cream-to-gel moisturizer is made for all skin types! It delivers long-lasting
         plumping hydration to smooth , firm, lift and restore bounce to .. .
                           Rating: 4 .4 · 714 votes· $49.00 · In stock


         https://www.amazon .com > Thrive-Natu ral-Mens-Face-...

         THRIVE Natural Face Moisturizer - Non-Greasy .. . - Amazon.com
         Amazon .com: THRIVE Natural Face Moisturizer - Non-Greasy Soothing Facial
         Moisturizer Lotion for Men & Women Made in USA with Natural & Organic Ingredients ...
                           Rating : 4 .5 · 456 reviews


         https://www.amazon.com > Unscented-Natural-Face-Lot. ..

         THRIVE All Natural Face Cream for Sensitive ... - Amazon .com
         THRIVE All Natural Face Cream for Sensitive Skin - Facial Moisturizer ... Restoring
         Skincare Kit for Women & Men With Sensitive Skin (2 Piece) - Gift Set .. .
                           Rating: 4.3 · 216 reviews
                                                                                                                                                                                          •••
                                    Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 40 of 169 Page ID
Go gle   thrive skincare face scrub                                    #:8913
                                                                                     X                                                                                                    ...
         Q. All        (J Shopping       GJ   Images       @ News     G      Videos   : More                   Tools


         About 9,500,000 results (O.8O seconds)

                   Shop thrive skincare face scrub                                                                  0
         Ads •
                                                                                                                            THRIVE Natural Face Scrub                             <
                  t t1rive
                                                                                                                            for Men & Women -
                                          thrive-
                                          t &uaemet cs

                                                              hnve·
                                                                                                                            Exfoliating Face Wash with
                    f1'f41rf                                                IV

                                                                                                                            Anti-Oxidants Improves
                                                                       [I

             1'1 ( nqMl'!•br~s i.<I



                                              --,                                                                           Skin Texture



              -                                                       -                                                 »
                                                                                                                            *lt' *       35 reviews


                                                                                                                                   Details            Reviews            Stores


          Thrive Smart                Thrive Bright         Thrive Face           THRIVE            Thrive
          Microderma ...              Balance Fae...        Cleansing D .. .      Natural Fae ...   Overnight. ..
          $44.00                      $32.00                $68.00                $14.95            $62.00
          Thrive Caus ...                                                                           Thrive Caus ...
                                                                                                                                                                                      >
                                      Thrive Caus...        Thrive Caus ...       Amazon.com
          **               (61)            *       (500)    Free shipping         Special offer               (78)


         https://thrivecare.co > products >thrive-natural-face-scr...                                                       Shop now
         Best Natural Exfoliating Face Scrub Cleanser with Arabica ...                                                             Walmart - Thrive Natural Care, Inc.      $12.55
         Thrive Facial Scrub is 100% natural and contains no artificial ingredients, synthetics, colors,                            3.38 fl oz
         or fragrances. Made from premium plant-based ingred ients ...                                                              $5.99 shipping
                         Rating: 4.5 · 127 reviews
                                                                                                                                   eBay - regba-1643                        $19.80
                                                                                                                                   3.38 fl oz
         https://www.amazon .com > Natural-Mens-Face-Scrub-E ...
                                                                                                                                   Free shipping
         THRIVE Natural Face Scrub for Men & Women ... -Amazon.com
                                                                                                                            ...,
         Amazon .com: THRIVE Natural Face Scrub for Men & Women - Exfoliating Face Wash w ith                               ....   Walmart - Retail Anything LLC            $20.08
         Anti-Oxidants Improves Skin Texture, Unclogs Pores & Helps Prevent .. .                                                   3.38 fl oz
                         Rating: 4.5 · 1,232 reviews                                                                               Free shipping


                                                                                                                            {:      ebay.com                                $19.80
         https://www.amazon .com > THRIVE-Natural-Soothing-...
                                                                                                                                    3.38 fl oz
         THRIVE Natural Face Scrub And Soothing Face ... - Amazon.com
         Amazon .com: THRIVE Natural Face Scrub And Soothing Face Moisturizer (BUNDLE) -                                    ,:     Walmart - MGT Brands LLC                 $20.08
         Vegan And Made in USA: Beauty.                                                                                            3.38 fl oz
                                                                                                                                   i::roo c,hinninn
                   Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 41 of 169 Page ID
                                                      #:8914
Google   thrive skincare shave oil                                                                                        X

         Q. All    (} Shopping          0   Maps                 @ News     ~   Images     : More                                  Tools


         About 8,790,000 results (0.60 seconds)

          Ads •   Shop thrive skincare shave oil




                               1!1          11                                                               COCO CLOUD


                                                    Il.,, ,
                                                                                                              • •£tl   ""A~   1


                                                                                                             ~-:t..'~i~lll~
                                 lodf,<tv
                                  j~t
                                            ~1
                                             l.f
                                            tl""f
                                                       !".'l'"

                                                     ,....,
                                                                                                         -
                                                                                                             T lUJI .Y
                                            --                     ~
                                                                                                                                          »
          Thrive Natural       Thrive Tone &                       Thrive Natural        Thrive          Coco Cloud
          Shaving Oil, ...     Glow & Lift          I.. .          Men's Skin ...        Bodyshave ...   Luxury Shav...
          $16.95               $120.00                             $43.95                $14.92          $20.00
          Walmart              Thrive Caus ...                     Amazon .com           eBay            Truly Beauty

            *        (23)      Free shipping                       Free shipping         Free shipping                            (110)


         https://thrivecare.co > products> shave-oil-1

         Premium Natural Shave Oil - Thrive Natural Care
         Shave Oil 2 FL OZ (60ML) ... Replaces Pre-Shave Oils , Shaving Creams, Gels, and Foams
         - Shaving Oil Made in USA. 2 Fl. Oz. ... Delivers high lubrication for an ...
                    Rating: 4.2 · 150 reviews


         https://www.amazon .com > Thrive-Natural-Shave-Ounc...

         THRIVE Natural Shave Oil for Men, 2 Ounces ... - Amazon.com
         Yes. Thrive's Shave Oil is effective as a pre-shave oil under traditional shaving soaps. The
         two unique-to-Thrive plants combine with the other natural ...
                    Rating: 4.3 · 539 reviews


         https://www.amazon.com >Thrive-Natu ral-Shave-Oil-...                      •

         Thrive Natural Shave Oil for Men - Replaces ... - Amazon.com
         Yes. Thrive's Shave Oil is effective as a pre-shave oil under traditional shaving soaps. The
         two unique-to-Thrive plants combine with the other natural ...
                    Rating: 4.3 · 539 reviews
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 42 of 169 Page ID
                                   #:8915




      TRIAL EXHIBIT NO. 236
                                                                                                                Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 43 of 169 Page ID
                                                                                                                                                                                                                                                                                                                                                .
    Microsoft Bing                        thrive skincare                                                                                                                                                                                                                                                          Sign in                10 lg'
                                                                                                                                                   #:8916
                                          ALL     SHOPPING        IMAGES          VIDEOS                    MAPS          NEWS

~   SHOPPING HOME                                :: DEPARTMENTS      V        ii STORES   V               ~     DEALS         ,,. TRENDING PRODUCTS          .,, PRICE DROPS                • EDITOR'S PICKS            V            ~    MY COLLECTIONS

Bina Shoooina > thrive skincare                                                                                                                                                                                                                                                                                                ·- ••
                                                                                                                                                                                                                                                                                                                                  ••        I My collections
                                                                                                                                                                                                                                                                                                                                                     Adso


                                                                                                                                                                                   tt:!i~-
                                                                                                                                                                                  /1-Ufttliv
                                                                                                                                                                                                      !.~.rlx.~·             t~~-
                                                                                                                                                                                                                                                             thrive·
                                                                                                                                                                                                                                                                                                                                          lllU ~ I
                                                                                                                                                                                                                                                                                                                                            th~e·
            thrive-                                                t~f
                                                                  ,.,~,.,.,
                                                                                                                                        thrive·
                                                                                                                                        c.o~ u••• k♦
                                                                                                                                                                                  , f,,<!fq~~
                                                                                                                                                                                        '
                                                                                                                                                                                                      Inf'~~"'              tt/"t,,..'l   ttul\'t;
                                                                                                                                                                                                                                                            ""!~Tt~«                                                                        k1~ ~·       '-'r
            ci usemetic,

     #~rr-~r~r                                                     ,w-11                                                                                                                              - --
                                                                                                                                                                                                                                          iii-.-;            =                                                                              l.flif
                                                                                                                                                                                                                                                                                                                                                         r•



                                                                                                                                                                                                                            - -
                                                                                                                                                                                                                                                                                                                                           Tliu!i
                                                                                                                                                                                                                                          t'~
                                                                                                                                                                                                                                                                                                                                                     >
                                                                 -
         .....,.,H11cr,\I! Ml ',1111100                                                                                                                                                                                                                                                                                                                  e;
         1~ '""')~,,...           j


                                                                                                                                                                                                                                                                                                                                          -
                                                                                                                                      I ·•--·· -·I                                                                                                                                                                                         1:§:l
            ' '
                                                                                                                                    ----                                                                                                  ■
$49.00                                       $62.00              $120.00                            $59.00                        $36.00               $26.00                $38.00                  $35.00                                             $32.00                 $24.00                   $35.00                             $95.00
Thrive Defying                               Thrive              Thrive Tone & Glow                 Thrive Liquid                 Thrive Moisture      Thrive Liquid         Thrive                  Thrive Skincare                                    Thrive Bright          Thrive Brilliant         Thrive Filtered                    Thrive Lumino
Gravity                                      Overnight Facial    & Lift I Moisture                  Light Therapy                 Flash Active         Balm Lip              Overnight               Starter Kit                                        Balance Facial         Eye Brightener           Effects Blurring                   & Lifted Duo I
Thrive Causem...                             Thrive Cause...     Thrive Causemetics                 Thrive Cause...               Thrive Cause...      Thrive Cause...       Thrive Cause...         Thrive Causemetics                                 Thrive Cause...        Thrive Cause...          Thrive Causemetics                 Thrive Causerr

Clear all filters                                                                                                                                                                                                                                                                                                                           Adso

BRAND

0    Thrive
0    Thrive Brilliant
0    Thrive Sunproof                                                                                                    !.t!(~~
0    Thrive Skincare
                                                                                                                        ¥1M
                                                                                                                        t~~
0    Ilia
                                                                                              =
                                                                                              l...!::::::!!..
                                                                                                                        =
+4 more                                                                                                                                                                                                                                                                                                    670+ v ...

                                                    $35.00                           $95.00                                           $36.00                             $40.00                                $22.00                                                  $24.00                              $22.00
PRICE
                                                    Thrive Causemetics               Thrive Causemetics                               Thrive Causemetics                 Thrive Causemetics                    Thrive Causemetics                                      Thrive Causemetics                  Thrive Causemetics
Q    Up to $30                                      Thrive Filtered Effects          Thrive Luminous &                                Thrive Triple Threat               Thrive Brilliant Eye                  Thrive Infinity                                         Thrive Brilliant Eye                Thrive Infinity
                                                    ~lurring ~ace Prime!_ I_         ~i_fted Du_? I Liguid Li!;lht                    Color
                                                                                                                                      - . . Stick . (Lip/Cheek           ~rightE:_ner (Hi~hlighter}            ~at1::~proof_E_y~liner In                               Brig_~tene_~ (1-:'i~~li~_hter}      Waterproof Eyeliner In
0    $30 - $50                                                                                                                                       .   .- -                                                                                                                                                      ·   -   +    •••




0    $50 - $90
0    Over $90
 $min to $max                                                                                                                                                                                                          nr.rj
                                                                                                                                                                                                                   A«,J,,A'(,,r<tw
    Go                                                                                                                                                                                                                                       tnri~~-
                                                                                                                                                                                                                                           l'loi.ff«u




                                                                                                                                                                                                                   -
SELLER
                                                                                                                                                                                                                                             ~f'fl

□ Thrive

0
0
0
  Causemetics
     Poshmark
     Walmart
     Amazon.com
                                                    $35.00
                                                    Thrive Causemetics
                                                    Thrive Brilliant Face
                                                    ~righte!1~r ll_lum!nating
                                                                                     $24.00
                                                                                     Thrive Causemetics
                                                                                     Thrive Brilliant Eye
                                                                                     Bri~ht~ne~ _(Highlighter}
                                                                                                                                      $38.00
                                                                                                                                      Thrive Causemetics
                                                                                                                                      Thrive Buildable Blur CC
                                                                                                                                      ~~E:._a,:n_Bro~d_ Spectrum
                                                                                                                                                                         $18.00
                                                                                                                                                                         Thrive Causemetics
                                                                                                                                                                         Thrive Blend & Blur
                                                                                                                                                                         ~ponge I Thrive
                                                                                                                                                                                                               $118.00
                                                                                                                                                                                                               Thrive Causemetics
                                                                                                                                                                                                               Thrive Smart Skincare
                                                                                                                                                                                                               - I Thrive
                                                                                                                                                                                                               Set      .
                                                                                                                                                                                                                                                                       $26.00
                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                       Thrive Causemet ics
                                                                                                                                                                                                                                                                       Thrive Glossy Lip
                                                                                                                                                                                                                                                                       ~ydratin_~ Serum In
                                                                                                                                                                                                                                                                                                           $22.00
                                                                                                                                                                                                                                                                                                           Thrive Causemetics
                                                                                                                                                                                                                                                                                                           Thrive Infinity
                                                                                                                                                                                                                                                                                                           Waterproof
                                                                                                                                                                                                                                                                                                               . .-
                                                                                                                                                                                                                                                                                                                        Eyeliner. In
                                                                                                                                                                                                                                                                                                                       . . -
0    ModeSens-US
+10 more
                                                                                                                                                                                                                                                                                                                           thrive"
                                                                                                                                                                                                                                                                                                                           c•v••MeJics.
    M icrosoft Bing                        thrive skincare lotion                                                        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 44 of 169 Page ID                                                                                                                                                                                                          Sign in
                                                                                                                                                            #:8917
                                           ALL               SHOPPING                  IMAGES           VIDEOS       MAPS                        NEWS

~   SHOPPING HOME                                      :: DEPARTMENTS                      V      ii STORES    V    " DEALS                       ,,. TRENDING PRODUCTS                               or        PRICE DROPS                          • EDITOR'S PICKS   V            ~    MY COLLECTIONS

Bina Shoooina > thrive skin care lotion                                                                                                                                                                                                                                                                                                                                                                                    ·- ••
                                                                                                                                                                                                                                                                                                                                                                                                                              ••          • My collections
                                                                                                                                                                                                                                                                                                                                                                                                                                                              Ads o




              th rive-
                                                 thrive·
                                                 f>IH '"""-t : ,(11


                                                                                                    thrive-
                                                                                                                          JW  thrive·
                                                                                                                              ◄ ..   ........◄
                                                                                                                                                        w l Li
                                                                                                                                                         t~~f)'
                                                                                                                                                                              I t>~
                                                                                                                                                                                              thn~-

                                                                                                                                                                                                  f f&')lt ~
                                                                                                                                                                                          , r-k~l--'~•
                                                                                                                                                                                                                                        11
                                                                                                                                                                                                                                         .tll,2_,~
                                                                                                                                                                                                                                                          thrive·



                                                                                                                                                                                                                                                         ~ '!:!~~
                                                                                                                                                                                                                                                                               thrive·

                                                                                                                                                                                                                                                                                t,r,;r
                                                                                                                                                                                                                                                                            ,,.,"¥"'"1•~"""
                                                                                                                                                                                                                                                                                                   r-
                                                                                                                                                                                                                                                                                                   l
                                                                                                                                                                                                                                                                                                                                                                                thrive·
                                                                                                                                                                                                                                                                                                                                                                                C411U * ttlta


                                                                                                                                                                                                                                                                                                                                                                               ~ti~r
                                                                                                                                                                                                                                                                                                                                                                               i-rwvfr
                                                                                                                                                                                                                                                                                                                                                                                                                 thrive"
                                                                                                                                                                                                                                                                                                                                                                                                                  . ,... .. . lt(;f




                                                                                                                                                                                                                                                                                                                                                                                                                b f1if~,t -
                                                                                                                                                                                                                                                                                                                                                                                                                                           c.~r!ve
                                                                                                                                                                                                                                                                                                                                                                                                                                            t,',if
                                                                                                                                                                                                                                                                                                                                                                                                                                      , ,~,,(e<,1,,Qr'Cfl-#
                                                                                                                              ~~•J,                      ~~




                                                                                                                                                                                           -
              c euseme11c,
                                                                                                                               l"f~T                     ~~r                  4,j~ f         ~
                                                                                                                                                                                                                         ,<,wf,vv
                                                                                                                                                                                                                                          """
                                                                                                                                                                                                                                          "fl!
                                                                                                                                                                                                                                                          =
                                                                                                                                                                                                                                                                                                                                                                                   t!MGU UII




                                                                                                                                                                                                                                                         - -
                                                                                                                                                                                                                                                                                                                                                                               I · ·:;:-:7·1
     ~err,,ir     1nrii7r                                                                                                    :t ; r                     Tl-t-r•f'f            f~ 1(                                         1r.i-n       lt.<<'t                               ~                         t ' ive·                                                                                                     -



                                                                        -
                                                                                                                                                                                                                                                                                                       ~ ,;:i,,r;-

                                                                                                                                                                                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                                                                                                                                                                                          i:::::::::J
         ,>;.v,,, fWW•1t , M" Sl .11!,!U
                                                                                                                                                                              =
                                                                                                                                                                              -                                                                                                                                                                                                                                                                               >
                                                                                                                                                        -                                                                                                                                                                                                                      ■
           I·                                                                                                                1~ 1                       ls:]
                                                                                       ■
                                                                                                                                                                                                                                                                                                   l


$49.00                                        $35.00                                           $36.00               $59.00                              $ 95.00                           $118.00                                                    $32.00             $83.00                                                       $35.00                             $10.00                              $68.00                                            $35.
Thrive Defying                                Thrive Skincare                                  Thrive Moisture      Thrive Liquid                       Thrive Luminous                   Thrive Smart                                               Thrive Bright      Thrive Exfoliate &                                           Thrive Brilliant Face              Thrive Deluxe                       Thrive Face                                       Thri11
Gravity                                       Starter Kit (Cleanser,                           Flash Active         Light Therapy                       & Lifted Duo I                    Skincare Set I Thrive                                      Balance Facial     Moisturize Set I                                             Brightener                         Travel Defying                      Cleansing Duo I                                   Effec
Thrive Causeme...                             Thrive Causemetics                               Thrive Causem ...    Thrive Causem...                    Thrive Causem ...                 Thrive Causemetics                                         Thrive Causem...   Thrive Causemetics                                           Thrive Causemetics                 Thrive Causem ...                   Thrive Causemetics                                Thrill



Clear all filters                                                                                                                                                                                                                                                                                                                                                                                                                           Adso

BRAND

0
0
     Thrive
     Alpha Skin Care
                                                                          thrive-
                                                                           "'"m•••e,
                                                                                                                                                                              ,....
                                                                                                                                                                              ~                                O,.,...=.GWT
                                                                                                                                                                                                                        .~                              fr                         ..thrive-
                                                                                                                                                                                                                                                                                      ...,.""...

                                                                                                                                                                                                                  ~

0    Olivella
                                                                                                                                                                     •h~·
                                                                                                                                                                                                                                                                                                                    thrive·
                                                                                                                                                                              I~ -.                                 .....
                                                                                                                                                                                                                    '"""

                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                    • ........-:lu

                                                                                                                                                                                                                                                                                                              '':(\"tf" j•11
0    Eucerin                                                                                                                                                         1'™'..                                                                                                                                                                                  .......
                                                                                                                                                                                                                                                                                                                    =                                  . "




                                                                                                                                                                 -
                                                                                                                                                                      -=       .... """,.... .                                                                                                                                                         ,::=..-:.-




                                                                                               -                                                                                                                                                                               -
0    Alaffia                                                                                                                                                                      ""1
                                                                                                                                                                                  '""'I

                                                                                                                                                                                                        •
                                                                                                                                                                                                                                                                                                                                                                                                             '
+10 more                                                                                                                                                                                  ::!?~


                                                                      $68.00                                  $35.00                                            $214.00                                                              $26.00                                 $73.00                                                          $15.95                                              $26.00
PRICE
                                                                      Thrive Causemetics                      Thrive Causemetics                                Thrive Causemetics                                                   Thrive Causemetics                     Thrive Causemetics                                              Amazon.com                                          Thrive Causemetics
Q    Up to $10                                                        Thrive Face Cleansing
                                                                      Duo I Thrive
                                                                                                              Thrive Filtered Effects
                                                                                                              Blurring Face Primer I
                                                                                                                                                                Thrive Essential Skin
                                                                                                                                                                Regimen &_Overnight
                                                                                                                                                                                                                                     Thrive Liquid Balm Lip
                                                                                                                                                                                                                                     Treatment I. Lip
                                                                                                                                                                                                                                                                            Thrive Bright Balance                                           ($7.97 / 1 floz).          ****"    (17)            Thrive Glossy Lip
                                                                                                                                                                                                                                                      .Balm. +              Clea~ser &_Defying                                              THRIVE Natural Face                                 Hydrati_ng Serum I~
0    $10 - $20                                                                                                                                                                                                                                    .

0    $20 - $40                                                                                                                                                                                                                                                                                                                                                                                        e         re        L,.         ::.roe
0    $40 - $90                                                                                                          thrive
0    Over $90                                                                                                         ')v-utttlif
           J
 $min to $max
                                                                                                                       ! t,,lf1111N~

    Go
                                                                                                                                                                     Aquaphor 0rtt1111r,,_.1
                                                                                                                                                                              ~~:::-
                                                                                                                                                                     ■uw0+,s1Q1u,           ,..,,.,
SELLER

□ Thrive
     Causemetics                                                      $5.99 $8,-89                            $38.00                                            $7.98                                                                $16.95                                 $22.29                                                          $50.00                                              $160.00 $206.00
0    Poshmark                                                         Thrive Market                           Thrive Causemetics                                eCosmetics                                                           Amazon.com                             Walmart                                                         Thrive Causemetics                                  Poshmark
□    Piping Rock Health
                                                                      Thrive Market Body
                                                                      Lotion, Coconut Vanilla
                                                                                                              Thrive Overnight
                                                                                                              Sensation Brightening
                                                                                                                                                                *tt'IH(849)
                                                                                                                                                                AQUAPHOR Healing
                                                                                                                                                                                                                                     ($8.48 / 1 floz).    ****'i
                                                                                                                                                                                                                                     THRIVE All Natural Face
                                                                                                                                                                                                                                                            (17)            ****"  (17) •Ill.• Free shippin!
                                                                                                                                                                                                                                                                            Thrive Natural Face
                                                                                                                                                                                                                                                                                                                                            Thrive Flawlessly
                                                                                                                                                                                                                                                                                                                                            Protected SPF Set In
                                                                                                                                                                                                                                                                                                                                                                                                Skincare Other I Thrive
                                                                                                                                                                                                                                                                                                                                                                                                Skin Infinite Skincare
     Products
0    Amazon.com
                                                                                                                                                                                                                                                                                                                                                                                                     ..     .   __ _____
                                                                                                                                                                                                                                                                                                                                                                                                                     .,      ,

0    Walmart                                                                                                                                                                                                                                                                                                                                                                                    I


+10 more                                                                                                                                                                                                                                                                                                                                                                                              i   '.\i!:viv V\,0<, , ~,v,~N ·
                                                                                                                                                                                                                                                                                                                                                                                                'I                                                .
    Microsoft Bing      thrive skincare face wash                                                                                      Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 45 of 169 Page ID                                                                                                             Sign in
                                                                                                                                                                          #:8918
                        ALL            SHOPPING                               IMAGES                   VIDEOS                      MAPS               NEWS

1t SHOPPING HOME              :: DEPARTMENTS                                      V             ii STORES                 v       41   DEALS           ,,, TRENDING PRODUCTS         .,, PRICE DROPS               • EDITOR'S PICKS                 v      ~   MY COLLECTIONS
                                                                                                                                                                                                                                                                                                                                           00
Bina Shoooina > thrive skin care face wash                                                                                                                                                                                                                                                                                           ·-    00           • My collections
                                                                                                                                                                                                                                                                                                                                                                        Adso


          thrive·                                                                     thrive·
                                                                                      l "••u:•tocf


                                                                                                            tf.l.r~.v~·
                                                                                                            .,,..,..
                                                                                                               h"~rf
                                                                                                                    , ._
                                                                                                                                        IW
                                                                                                                                         thrive·
                                                                                                                                         ◄•• ♦f.,M4
                                                                                                                                                                                     J   u ~ ll
                                                                                                                                                                                      th!:,IY,e·
                                                                                                                                                                                                                    t hrive·
                                                                                                                                                                                                                                  ~-
                                                                                                                                                                                                                                                                 thrive·
                                                                                                                                                                                                                                                                                                        thrive·
                                                                                                                                                                                                                                                                                                                  ,                         Ill
                                                                                                                                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                                                                                                                ,,.,
                                                                                                                                                                                                                                                                                                                                                          Iii'          ~~


         tn,iin•~r---                 thrive-                                  ~~!~iw                  ;,
                                                                                                                                         i.,. . ~                                                       ~                                                                                                             t>irive•       ~~~                                """'
                                                                                                                                                                                      ~                                                                                                                                              ,.,... I~
                                                                                                                                                                                                                   ~TJ.'.""• 111,.,.,,.,,       !l\nvE!'
                                                                                                                                                                                                                                                                                                                                                                        ":t!
                                                                                                                  ~
                                                                                                                                          kffif                                                        ¥jr'_t
          =                   ~rrr~r1'
                                      ceusemetlcs
                                                                                         -
                                                                                                                                                                                                       .r..:!.t.                            kit>;;                                                                ¼"rt''l''l!
                                                                                                                                                                                                                                                                                                                      =                         ..
                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                       -
                                                                                                                                         l ht-fl!Ff                                                                                                                                                                                              ....



         -                                                                                                 -                                                                                                                     - -
                                                                                                                                                                                     ~ (~ft                                                 l"''!,
                                                                                                            C3
                                                                                                                                                                                                       -
                                                                                                                                                                                                                                  ===i
                                                                                                                                                                                                       =                                        ..,,                                                                                            ,,_
                               ~   ...,.,._,,;i,•, "''i MG ,l~ll'lff
                                     I - ..,(._.. j
                                                    ...
                                                                                                                                         ••.!-""•"

                                                                                                                                         f ~r I                                      ~                                                                                                                                                                    :!?!?!   1i   >
                                                                                                                                                                                                                                            ■
                                                          ,


$32.00                    $49.00                                              $68.00                                              $59.00                     $35.00                  $95.00                        $35.00                                  $44.00             $35.00                  $ 73.00                       $214.00
Thrive Bright             Thrive Defying                                      Thrive Face                                         Thrive Liquid              Thrive Brilliant Face   Thrive Luminous               Thrive Skincare                         Thrive Smart       Thrive Filtered         Thrive Bright                 Thrive Essential Skin
Balance Facial            Gravity                                             Cleansing Duo I                                     Light Therapy              Brightener              & Lifted Duo I                Starter Kit (Cleanser,                  Microdermabrasi    Effects Blurring Face   Balance Cleanser &            Regimen & Overnight
Thrive Causem...          Thrive Causeme...                                   Thrive Causemetics                                  Thrive Causem ...          Thrive Causemetics      Thrive Causem ...             Thrive Causemetics                      Thrive Causem...   Thrive Causemetics      Thrive Causemetics            Thrive Causemetics



Clear all filters                                                                                                                                                                                                                    Adso

                                                              Ill 1T                                                                                                                                    $214.00                       Q
SHOW ONLY

0    Available nearby
                                                                -""
                                                                               -:'\.
                                                                                  ...
                                                                                                Thrive Essential Skin Regimen & Overnight Mask I Thrive Causemetics .. .
                                                                                                                                                                                                        Thrive Causemetics
                                                1-rl,o


                                                                                  -             Vegan, cruelty-free skincare value set for smoother, glowing skin.
                                                                                                                                                                                                        tMti
                                            -
                                                               11
                                               ·-                                               FREE overnight mask. Includes pH-balancing face cleanser, alcohol-
BRAND

0    Nu Skin
                                                                 E
                                                                             -.                 free hydrating face toner, age-defying brightening face serum, p... +                                   ""' See price history


□    Eminence Organic
     Skin Care                                                                                                                                                                                          $12.95
                                                                                                THRIVE Natural Face Wash Gel For Men & Women - Daily Facial Cleans ...
0    Image Skin Care                                                                                                                                                                                    Amazon.com
0    Thrive
                                                                                                *1rlt1rl    (33) l,@=ragrance
                                                                                                                                                                                                        fMfl I                 Buy now      I
0    Acure                                                                                      POWERFUL SKIN CARE FOR MEN & WOMEN - Dermatologist tested,
                                                                                                                                                                                                        Compare price across
                                                                                                gel-based facial wash deep cleanses removing dirt, SPF, oil, and
+10 more                                                                                                                                                                                                sellers
                                                                                                sweat from the face while leaving your skin feeling smooth a... +
                                                                                                                                                                                                        ""' See price history
PRICE

Q    Up to $10                                                                                  THRIVE Natural Face Scrub For Men & Women - Exfoliating Face Wash ...                                   $14 .95
0    $10 - $20
                                                                                                **tt* (33)                    ~   ragrance
                                                                                                                                                                                                        Amazon .com
0    $20 - $40
                                                                                                POWERFULLY NATURAL - Made from premium plant- based
                                                                                                                                                                                                        fMfl i                 Buy now      I
0    Over $40                                                                                   ingredients plus potent Costa Rican plant oils and invigorating                                         Compare price across
                                                                                                Arabica coffee grounds that deep cleanse, energize, and help protect                                    sellers
 $min to $max ]
                                                                                                skin fr... +                                                                                            ""' See price history
    Go




                                                                  -
MATERIAL                                                                                                                                                                                                $28.99
                                                                       I I                      ORLANE Cleanser For Normal Skin Face Wash 400 Ml/13 Oz
                                                                                                                                                                                                        eCosmetics
0    Stainless Steel
                                                                                                ***** (1)
                                                                                                Helps perfectly cleanse the epidermis for normal skin Dissolves
                                                                                                                                                                                                        tMti
SELLER                                                                                                                                                                                                  Compare price across
                                                                                                impurities & all traces of makeup Leaves skin clear & comfortable                                  I
0    Poshmark                                                                                   ORLANE Cleanser For Normal Skin Face Wash 400 ml/13 oz
                                                                                                                                                                                                        sellers

0    Amazon.com                                                                                                                                                                                         ""' See price history

n    Thrive                                                                                                                                                                                                                                                                                                                                             I.. Feedback I
                                                                                                                                                                                                                                                                                                               ....
    Microsoft Bing   thrive skincare face scrub                                                      Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 46 of 169 Page ID                                                                                                    Sign in        25 "iJ'
                                                                                                                                        #:8919
                     ALL      SHOPPING             IMAGES                VIDEOS                   MAPS       NEWS

~   SHOPPING HOME           :: DEPARTMENTS              V       ii STORES                 V     #I   DEALS    ,,, TRENDING PRODUCTS                  ,,, PRICE DROPS        • EDITOR'S PICKS    V   ~   MY COLLECTIONS

Bina Shoooina > thrive skin care face scrub                                                                                                                                                                                                                                                  ·- gg       I My collections
                                                                                                                                                                                                                                                                                                                       Adso


                                                    thrive·                                                                   thrive·
          thrive                                                                                                               '"""'-"&                                                                                                      thrive-
                                                                                                                                                                                                                                             <-w,11.." ' '
                                                                            r.~ir!Y!.

         "'1!~=-"'
                               ~~!ti~{.~          1~1m:f.:o1W                S"•~
                                                                      flt.A.--cs(u~•br'Jrh.#
                                                                                                                        f.
                                                                                                                               l'rl~rr
                                                                                                                             r,,ju,i.J,,,h.,                                                                               ....
                                                                                                                                                                                                                           -

                                                                                                                                                                                                                           ..  --~
                                                                                                                                                                                                                               ,-,~
                                                                                                                                                                                                                               1/Sct , -


                                                                                                                                                                                                                                                                thrive·
                                                                                                                                                                                                                                                                                 th[J~~-
                                                                                                                                                                                                                                                                                                     tirive·
                              Otu~1!if                                                                                                                                                                                                                       +'il"'t ,:,,,Ti'   Or«~•tlf        ~?11;;-fllf
          =
                                                                                                                                                                                                -
                                                            -
                              •-T<"'                                                                                                                                                                        t 1river
                                                                                                                                                                                                                                                               -===             (t<IS-.Ji«
                                                                                                                                                                                                                                                                                                     =

         -                                                             -                                                 -                                                                                                                  -
                                                                          c=J                                                                                                                            #r•, ,~;ri~
                                                                                                                                                                                                                                                                                                                        >
$32.00                  $62.00                $68.00                                           $59.00               $44.00                     $49.00              $35.00                   $ 83.00                    $14.95              $ 73.00                              $100.00                               $12.95
Thrive Bright           Thrive Overnight      Thrive Face                                      Thrive Liquid        Thrive Smart               Thrive Filtered     Thrive Filtered          Thrive Exfoliate &         THRIVE Natural      Thrive Bright                        Thrive Resurfacing                    THRIVE
Balance Facial          Facial                Cleansing Duo I                                  Light Therapy        Microdermabrasi            Effects All-Over    Effects Blurring Face    Moisturize Set I           Face Scrub For      Balance Cleanser &                   Peel & Moisturizer                    Wash C:
Thrive Causem...        Thrive Causem ...     Thrive Causemetics                               Thrive Causem ...    Thrive Causem ...          Thrive Causem ...   Thrive Causemetics       Thrive Causemetics         Amazon.com          Thrive Causemetics                   Thrive Causemetics                    Amazo1
                                                                                                                                                                                                                       **ti*  (33)                                                                                    *tt...-.i

Clear all filters                                                                                                                                                                      Adso

SHOW ONLY

0
BRAND
     Available nearby                       -=
                                              thrive'
                                            t~'ft':,,~
                                                                Thrive Resurfacing Peel & Moisturizer Set I Thrive Causemetics I 100% ...

                                                                Save on vegan and cruelty-free high-performance skincare! This set
                                                                comes with our gentle overnight resurfacing peel that transforms the
                                                                look of dullness, dark spots and fine lines plus our plumping, ... +
                                                                                                                                                                   $100.00
                                                                                                                                                                   Thrive Causemetics

                                                                                                                                                                   ►Mti
                                                                                                                                                                                      Q



                                                                                                                                                                   "'- See price history
0    Aveeno
0    Clinique
                                                                                                                                                                   $12.95
0    Neutrogena                                                 THRIVE Natural Face Wash Gel For Men & Women - Daily Facial Cleans ...
                                                                                                                                                                   Amazon .com
0    Clean Clear
0    Acure
                                                                ***...-.i    (33) ~             ragrance
                                                                POWERFUL SKIN CARE FOR MEN & WOMEN - Dermatologist tested,
                                                                                                                                                                   fMti j         Buy now   I
+10 more                                                                                                                                                           Compare price across
                                                                gel-based facial wash deep cleanses removing dirt, SPF, oil, and
                                                                                                                                                                   sellers
                                                                sweat from the face while leaving your skin feeling smooth a... +
PRICE                                                                                                                                                              "'- See price history

Q    Up to $10
                                                                                                                                                                   $13.97
0    $10 - $20
                                                                                                                                                                   eBay
0    $20 - $40                                                  Thrive Natural Face Scrub For Men & Women - Cleans, Restores, Com ...
0    Over $40                                                   3.38 OZ NEW SEALED FACE WASH                                                                       ►Mti
                                                                                                                                                                   "'- See price history
 $min to $max ]
    Go

                                                                                                                                                                   $27.95
SELLER                                                          Honey Girl Organics Facial Scrub 1.75 Fl Oz
                                                                                                                                                                   Vitacost
0                                                               tt'lrlrl (6)
                                                                                                                                                                   ►Mti
     Amazon.com
0    Walmart                                                    Organic Skin Care from Hawaii's Rich Beehive Harvest. Non-GMO
                                                                                                                                                                   Compare price across
0    Poshmark                                                   Gluten-Free Cruelty Free. Honey Girl Organics' Facial Scrub cleanses
                                                                and moisturizes while whisking away dead skin cells, increasi ... +
                                                                                                                                                                   sellers
0    Sephora                                                                                                                                                       "'- See price history
□ Thrive
  Causemetics                      •HIGHLY RATED
+ 10 mnri>
                                                                                                                                                                   $9.99                                                                                                                                  I • Feedback I
    M icrosoft Bing   thrive natural care                                               Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 47 of 169 Page ID                                                                                                                                               Sign in              30       "?°
                                                                                                                           #:8920
                      ALL     SHOPPING            IMAGES                   VIDEOS     MAPS      NEWS

~   SHOPPING HOME           :: DEPARTMENTS                  ii STORES                , DEALS         ,;, TRENDING PRODUCTS                 ,,, PRICE DROPS        • EDITOR'S PICKS                 ~       MY COLLECTIONS

                                                                                                                                                                                                                                                                                                                                ..
                                                    V                           V                                                                                                    V




Bina Shoooina > thrive natural care                                                                                                                                                                                                                                                                                      ·- ••               I    My collections

                                                                                                                                                                                                                                                                                                                                                          Adso




                                   thrive·
                                                             IW  thrive·
                                                                 ...... ,•.u
                                                                                                                                                                    t hrive-                                                                                                               thr ive·




                                                                                                                                                                                             th  rive-
                                                                                                                                                                                             ciusemeucs

                                                                                                                                                                                     ~rtr~v-vij'                                                       .....

                                                                                                                                                                   -
                                                                                                                                                                                          ~-.,,' ,, ►1 •;1, "'~ -., ,~1:£t
                                                                                                                                                                                                                                                                     "'
                                                                                                                                                                                                                                         ~ &Am   Offilf$1JPftOl(II   NnMfifll'



                                                             -
$35.00                       $36.00                     $59.00                      $38.00              $26.00                        $35.00                  $32.00               $49.00                                                $19.00 $-5-7:GO                              $38.00             $38.00                  $13.45
Thrive Brilliant Face        Thrive Moisture            Thrive Liquid               Thrive Buildable    Thrive Liquid                 Thrive Filtered         Thrive Bright        Thrive Defying                                        1 Best Grass-                                Thrive Overnight   Thrive Buildable        Thrive Natural Face
Brightener                   Flash Active               Light Therapy               Blur CC Cream       Balm Lip                      Effects Blurring Face   Balance Facial       Gravity                                               Fed Collagen                                 Sensation          Blur CC Cream           Moisturizer, 2 Oz
Thrive Causemetics           Thrive Causem...           Thrive Causem ...           Thrive Causem...    Thrive Causem ...             Thrive Causemetics      Thrive Causem ...    Thrive Causeme...                                     NativePath                                   Thrive Causem...   Thrive Causem...        Walmart
                                                                                                                                                                                                                                                                                                                                 1rldrld (17)


Clear all filters                                                                                                                                                                                                                                                                                                                                Adso

BRAND

0    Thrive                                                                                                                                             thrive·                                               THK\VE
                                                                                                                                                                                                                 5ill0l£11MQ!D!f
                                                                                                                                                                                                                 IIWIWfMII.IKr.t•
0    Andalou Naturals                                                                                                                                                                                              - FACE WA~ ·
                                                                                                                                                                                                                    UfJ,ll'S,JIIS'tl!n

0    Aura Cacia                                                                                                                                                                                                     ct"""1s,;111t~nl'1




                                                                                                                                                                                                                                                                                                            ,,,.;~...·,.;:.· ..                  "t

                                                                                                                                                                                                                                                                                                                                             .~-,,,
                                                                                                                                                                                                                                                                       -
                                                                                                                                                                                                                                                                          r::;::::J
                                                                                                                                                                                                                                                                                                                                    - .,



                                                                                                                                                                               -
PRICE

Q    Up to $20
0    $20 - $40
                                 $38.00                                        $13.45                         $12.95                                  $35.00                             $25.27                                                                      $118.00                                $45.90 $94-:-80
0    $40 - $60                   Thrive Causemetics                            Walmart                        Amazon .com                             Thrive Causemetics                 Walmart                                                                     Thrive Causemetics                     toyboxtech
0    Over $60                    Thrive Buildable Blur CC                      ~ (17)                         ($3.83 / 1 floz) . ............_ (33)   Thrive Skincare Starter            ~-• Free shipping                                                           Thrive Smart Skincare                  ~-• Free shipping
                                 Cream Broad Spectrum                          Thrive Natural Face            THRIVE Natural Face                     Kit (Cleanser,                     Thrive Natural Face                                                         Set I Thrive Causemetics               THRIVE Natural Daily
 $min to $max I
    Go


SELLER                                                                                                                                                                                                                                                                                                                        SUNPII Q() r




□ Thrive
     Causemetics
0    Walmart
0    Amazon.com
0    eBay
0    ship2days                   $26.90 ~                                      $17.92                         $32.98                                  $55.44                             $35.95                                                                      $15.95                                 $39.00
+10 more                         toyboxtech                                    Walmart                        eBay                                    eBay                               Walmart                                                                     Amazon.com                             Thrive Causemetics
                                 ............_ (33) -~-• Free shippin          ~ {33) -~-• Free shippin       ~ {15) -~, Free shippin,                THRIVE Natural Deep                .......- (8)                                                                ($7.97 / 1 floz) . ~ (17)              Thrive Healthy &
                                 THRIVE Natural Face                           Thrive Natural Face            Thrive Natural Vip Men's                Clean Skincare Kit For             Thrive Natural Deep                                                         THRIVE Natural Face                    Hydrated Lip Set I Thrive



                                                                                                                   thriv~·
                                                                                                                                                                                                                                                                                                                                        tht Mf
                                                                                                                    f1'f•'l
                                                                                                              ' "' (,J.e,rt'f•k'lh«                                                                                                                                                                                                    -=----=-1.     FPPrlh:i~I< 1
    Microsoft Bing                          thrive natural care face lotion                                          Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 48 of 169 Page ID
                                                                                                                                                        #:8921
                                                                                                                                                                                                                                                                                                                                                  Sign in                             40           v
                                            ALL     SHOPPING                    IMAGES              VIDEOS         MAPS               NEWS

~   SHOPPING HOME                                  ;,: DEPARTMENTS              V        fl STORES         V      , DEALS              ,,. TRENDING PRODUCTS                            .,, PRICE DROPS    • EDITOR'S PICKS      V              ~        MY COLLECTIONS

Bina Shoooina > thrive natural care face lotion                                                                                                                                                                                                                                                                                                                   ·-       ::                • My collections
                                                                                                                                                                                                                                                                                                                                                                                                               Adso



                                                                                            IU   thnve·
                                                                                                                        thrive·
                                                                                                                        t •11nmo,10



                                                                                                                                                   thrive·
                                                                                                                                                   u ........ ,.. ,
                                                                                                                                                                                                                                     ....
                                                                                                                                                                                                                                     thnve·
                                                                                                                                                                                                                                       ,.......
                                                                                                                                                                                                                                       wwr
                                                                                                                                                                                                                                ,~..,~ (l"\'•br,q:"'.,
                                                                                                                                                                                                                                                                                            thrive!'
                                                                                                                                                                                                                                                                                                                                                    thrive·
                                                                                                                                                                                                                                                                                                                                                       ... ... . 111:,




                                                                                                                                                                                                                                                                                                                                                                                             l'>"•f(
             thrive-
             ceusemetlcs
                                                                                                                                                                                                                                                                            l"'!!:Tl•t-    #Ml...,.    ~~~  ..
                                                                                                                                                                                                                                                                                                                                                                                      f4.,i,-n,;,.n-.br,,h"'




                                                                                                                                                                                                                                -
                                                                                                                                                                                                                                                             t rive·                                   tt,,,,
     ~flti"'r rrqv-vl f                                                                                                                                                                                                                                                      ~




                                                                                                                      -                                                                                                                                                                     -                                                                                         -
                                                                                                                                                                                                                                                                                                       1•r•i1
                                                                                                                                                                                                                                                           ~M ,.;r,rr                       ~
      •Il l,' I   •,rNf.t "!I   l~l!O'.EJ
                                                                                                                                                                                                                                                                                                       '     -=

                                                                                           -
          I _...,_,.~..· I

                                                                                                                                                                                                                                                                                                       ■
$49.00                                          $35.00                                $59.00                      $32.00                     $36.00                             $35.00                    $16.95                $ 83.00                                 $35.00                                           $12.95                $68.00                                                          $8.0C
Thrive Defying                                  Thrive Brilliant Face                 Thrive Liquid               Thrive Bright              Thrive Moisture                    Thrive Filtered           THRIVE All            Thrive Exfoliate &                      Thrive Skincare                                 Thrive Natural         Thrive Face                                                     Thrive
Gravity                                         Brightener                            Light Therapy               Balance Facial             Flash Active                       Effects Blurring Face     Natural Face          Moisturize Set I                        Starter Kit (Cleanser,                           Mens Face             Cleansing Duo I                                                 Face I
Thrive Causeme...                               Thrive Causemetics                    Thrive Causem ...           Thrive Causem...           Thrive Causem ...                  Thrive Causemetics        Amazon.com            Thrive Causemetics                      Thrive Causemetics                              eBay                   Thrive Causemetics                                              eBay
                                                                                                                                                                                                          *ti*~  (17)                                                                                                   l!I.• Free shipping                                                                    ~



Clear all filters                                                                                                                                                                                                                                                                                                                                                                               Adso

BRAND
                                                            ~hrive·
0    Thrive                                                  • 11$t tl'I H\~♦


                                                                                       tl)ri~'
0    Andalou Naturals
0    Alaffia
                                                                                                                                                                                                                                                                                                                                                           ---··-
                                                                                                                                                                                                                                                                                                                                                             ,...,,..ut,




0    Acure




                                                                                    -
0    Weleda
+10 more

                                                       $68.00                                             $8.00                                  $30.90 $64.:80                                   $51.90 $103.80                     $23.70                                               $38.90 $-7-7-:80                               $12.95
PRICE
                                                       Thrive Causemetics                                 eBay                                   toyboxtech                                       toyboxtech                         Maxed buy.com                                        toyboxtech                                     Amazon.com
Q    Up to $20                                         Thrive Face Cleansing                              'ktt'lri (17) •l!I.• Free shippin!     l!I.• Free shipping                              ~ (17) •l!I.• Free shippin!        ~ (42), l!I.• Free shippin                           ~ (42) · l!I.• Free shippin                    ($3.83 / 1 floz), ~ (33)
                                                       Duo I Thrive                                       Thrive Natural Face                    THRIVE All Natural Face                          Thrive Natural Face                Thrive Natural Face                                  THRIVE Natural                                 THRIVE Natural Face
0    $20 - $40
0    $40 - $90
0    Over $90

I$min_ to                                   I
    Go
                            $max
                                                           adal
                                                            isturiz                                                   -0
                                                                                                                  HYALURONIC
                                                                                                                                                                                                            ~
                                                                                                                                                                                                              0
                                                                                                                                                                                                          ULTRA POTENT
                                                                                                                                                                                                          RETINOL                                                                         COLLAGEN PLACENTA
                                                                                                                                                                                                                                                                                                            0
                                                                                                                                                                                                                                                                                                           PlplnoRod(




                                                                                                                                                                                                                                                            A
                                                                                                                      CREAM                                                                                                                                                                            CREA M
                                                                                                                                                                                                           CREA M
SELLER
                                                                                                                                                                                                          1 ~
                                                                                                                                                                                                                                                                                                                                                 CA.ll.Y SUN FA Ct LOTION
                                                                                                                                                                                                                                                                                                                                                  Nf,'l~,f, o/11(;·- '/0MIA(lf
                                                                                                                                                                                                                                                                                                                                                 •IIO.\o!ff.< t111¥.t u>JNOllCI'• ~

□ Thrive                                                                                                                                                                                                      l 1G1n
                                                                                                                                                                                                               1                                               '
                                                                                                                                                                                                                                                                                                                                                                ~l'l',tO




0
     Causemetics
     Sephora                                           $20.70                                             $18.99                                 $34.00                                           $5.99                              $160.00 $206.00
                                                                                                                                                                                                                                                                        -                 $5.59                                          $28.00
□    Piping Rock Health                                 Healthy Planet Shopping                           Piping Rock Health Product             Mercari                                          Piping Rock Health Product         Poshmark                                             Piping Rock Health Product                      ModeSens
     Products                                          l!I.• Free shipping                                ~ (18)                                 Thrive Skin Cream                                ~ (369)                            Skincare Other I Thrive                              ~ (190)                                        l!I.• Free shipping
                                                        Emulate Natural Care                              Hyaluronic Cream, 4 Oz                 (Thrive) - .Skin Care                  I         Retinal Cream (Ultra               Skin Infinite Skincare                               Collagen & Placenta                             BEAUTY CARE
0    toyboxtech                                                                                                                                    .

0    eBay                                                                                                                                                    _ _,.-------.__----,,_
                                                                                                                                                                                                  Special Offer
+10 more
                                                                                                                                                                      ---·-··- ----··

                                                                     'sKI Ni: · n n                                                                                                                                                                                                                                                                      fresh                            ,,. • Feedback
    Microsoft Bing    thrive natural care face wash
                                                                                                                      Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 49 of 169 Page ID                                                                                                                                                           Sign in      45    ~
                                                                                                                                                         #:8922
                      ALL          SHOPPING                               IMAGES                       VIDEOS       MAPS        NEWS

~   SHOPPING HOME             ,: DEPARTMENTS ..,                                            ii STORES ..,           , DEALS        ,,. TRENDING PRODUCTS                                      or   PRICE DROPS               • EDITOR'S PICKS ..,                        ~   MY COLLECTIONS

Bino Shoooina > thrive natural care face wash                                                                                                                                                                                                                                                                                                                      ·- gg    I    My collections
                                                                                                                                                                                                                                                                                                                                                                                        Ads o


          thrive·


         .,'!!~.:""
                             thrive·


                            •"•~ ht~
                                                     ~riv~·
                                                        •"•il
                                                 I': ,,t-~•b"11~
                                                                                                                                                             thrive-
                                                                                                                                                                                                             thrive·
                                                                                                                                                                                                                                   ~~Thrive
                                                                                                                                                                                                                                   ~~~1,;-~-..,-.r,':":·•~:.,~t-
                                                                                                                                                                                                                                      4




                                                                                                                                                                                                                                       ~-=~
                                                                                                                                                                                                                                          ·1           f!Jt;--
                                                                                                                                                                                                                                                                       J" ~11-
                                                                                                                                                                                                                                                                        ~~~-

                                                                                                                                                                                                                                                                        k1~         f.'!!1\!
                                                                                                                                                                                                                                                                                                        thrive·
                                                                                                                                                                                                                                                                                                        .,,,,.,_,.,

                                                                                                                                                                                                                                                                                                          l'l'f•'1
                                                                                                                                                                                                                                                                                                   i',, v,~.,-,i. ~r,11<,(
                                                                                                                                                                                                                                                                                                                               til_!~~-

                                                                                                                                                                                                                                                                                                                                , ...,r
                                                                                                                                                                                                                                                                                                                             ~--~•lfW'              ~~
                                                                                                                                                                                                                                                                                                                                                    .,.,.


                                                                                                                                                                                                                                                                                                      -
                                   -                                                                                                                                                                     l'fowfrM"tl                  ~~~                                                                                                 ..ff...
                                                                                                                                                                                                                                                                                                                                          ~         i,,,.r
          =                    -                          *""""'                                                                                             c e.usemetlcs

                                                                                                                                                       #J""'r ffqri                                        ~fir
                                                                                                                                                                                                                                                                        ~lif        4<f~
                                                                                                                                                                                                                                                                                    .t!.,              Es::]                  CJ          1t.s1i    llwrr




         -                                       -                                                                                                                                                                                                                                                  -
                                                     t=:I                                                                                                                                                                                                              ~ ff
                                                                                                                                                         .\.V'll ' l""


                                                                                                                                                                    !,«
                                                                                                                                                                         1, M , , 1 11:-.-;

                                                                                                                                                          I - ....... c .....,. I
                                                                                                                                                                           10 1-



                                                                                                                                                                                                      -
                                                                                                                                                                                                        •nw,,...,~.... ,__
                                                                                                                                                                                                        I-                                                             ~

                                                                                                                                                                                                                                                                       -          - C='




$32.00                  $68.00                                                  $35.00                                $12.95                         $49.00                                         $36.00                      $14.95                                 $95.00                  $44.00                        $118.00                         $38.00                  $43.95
Thrive Bright           Thrive Face                                             Thrive Filtered                       THRIVE Natural Face            Thrive Defying                                 Thrive Moisture             THRIVE Natural                         Thrive Luminous         Thrive Smart                  Thrive Smart                    Thrive Overnight        Thrive Na
Balance Facial          Cleansing Duo I                                         Effects Blurring Face                 Wash Gel For Men &             Gravity                                        Flash Active                Face Scrub For                         & Lifted Duo I          Microdermabrasi               Skincare Set I Thrive           Sensation               Skin Care
Thrive Causem...        Thrive Causemetics                                      Thrive Causemetics                    Amazon.com                     Thrive Causeme...                              Thrive Causem ...           Amazon.com                             Thrive Causem ...       Thrive Causem ...             Thrive Causemetics              Thrive Causem ...       Amazon.c
                                                                                                                      ***1rl {33)                                                                                               ***** {33)                                                                                                                                           ****'   (1

Clear all filters                                                                                                                                                                                                                                   Ads o

SHOW ONLY                                                                                   Thrive Overnight Sensation Brightening Sleep Mask I Hydrating Mask F ...                                              $38.00
                                                  t~u.,~
                                                                                                                                                                                                                  Thrive Causemetics
0    Available nearby
                                                  ,.-er,111~:
                                                  , .,s-.i(v11                              Radiant skin is just a nights sleep away with this cooling + brightening
                                                                                            face mask that transforms dull, dehydrated skin. Powered by
                                                                                            Complexion Refresh Technology1M, this skincare formula restores
                                                                                                                                                                                                                 ,,as
BRAND                                                                                                                                                                                                             "" See price history
                                                                                            m ... +
□    Eminence Organic
     Skin Care
0    Image Skin Care                                                                        Thrive Natural Men's Skin Care Set (3 Piece)• Grooming Gift Set To W .. .                                             $43.95
0    Thrive                                                                                                                   I'll.• Free shipping                                                                Amazon.com
0
0
     Desert Essence
                                   t'~                                                ,..
                                                                                            .....,.....,, {15) <&)Fragrance

                                                                                            OWN THE DAY KIT WITH FACE WASH, SHAVE OIL & FACE LOTION -                                                            ,,as I             Buy now                        I
     Acure                          r,                                            ,$        Full-size Thrive Face Wash (100 ml), Shave Oil (60 ml), and Face Balm                                                 "" See price history
+10 more                                                                                    {60 ml) for men, packed in an attractive box with Mission C... +
                                    ~- ----"--..

                                                  ... IT
                                                 Ill
PRICE                                                                                                                                                                                                             $214.00                               Q
                                                                              :::.~         Thrive Essential Skin Regimen & Overnight Mask I Thrive Causemetics ...
Q    Up to $10                                                                                                                                                                                                    Thrive Causemetics
                                                                                                                                                                                                                 ,,as
                                                  I••
                                                                              ..,,,
0    $10 - $20                         ·'!!!•                                               Vegan, cruelty-free skincare value set for smoother, glowing skin .




                                    -
                                       ,......   I~                           :::?!'
                                                                                            FREE overnight mask. Includes pH-balancing face cleanser, alcohol-
0    $20 - $40                                    :;                                        free hydrating face toner, age-defying brightening face serum, p ... +                                                "" See price history
0    Over $40                                                    '!l!,t   ■



 $min ] to $max I
                                                                                            Thrive Natural Face Scrub For Men & Women Exfoliating Face Wash Wi. ..                                                $27.90
    Go                                           lliKIVE
                                                 ~111-8\Y
                                                                                                                                                                                                                  Walmart
                                                 JMLW1Mll,_1'1!,'
                                                                                            l!I.•   Free shipping
SELLER                                                                                      About this item POWERFULLY NATURAL Made from premium plant-                                                           IMS

                                     -
                                                                                            based ingredients plus potentCosta Rican plant oils and invigorating
0    Amazon.com
                                                                                            Arabica coffee grounds that deepcleanse, energize, ... +
                                                                                                                                                                                                                 "" See price history
□ Thrive
     Causemetics
0    Walmart                                                                                Thrive Natural Face Scrub For Men & Women Face Wash Cleans, Resto...                                                  $13.50
0    eCosmetics                                                                             l!I.•   Free shipping
                                                                                                                                                                                                                  eBay
0    Etsy                                                                                   THRIVE Natural Face Scrub for Men & Women Face Wash Cleans,                                                                                                                                                                                                                         I"   Feedback     I
    Microsoft Bing   thrive natural care amazon                                             Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 50 of 169 Page ID                                                                                                                                                                               Sign in               50   ~
                                                                                                                               #:8923
                     ALL     SHOPPING         IMAGES                    VIDEOS          MAPS                       NEWS

~   SHOPPING HOME          :: DEPARTMENTS     V       ii STORES              V       ~    DEALS                     ,,. TRENDING PRODUCTS                                          ,,, PRICE DROPS             • EDITOR'S PICKS                V       ~    MY COLLECTIONS

Bina Shoooina > thrive natural care amazon                                                                                                                                                                                                                                                                                                                             ••
                                                                                                                                                                                                                                                                                                                                                                    ·- ••      I   My collections
                                                                                                                                                                                                                                                                                                                                                                                          Adso


                                 thrive
                                                                                                                                                                                                                                                                                                                                       thrive·
                                                                                                                                                                                                                                                                                                                                       u~u-•
                                                           thrive·                                                                                                                                                                                                                                                                                    ~..!!~·
                                                           ..........,~                                                         thrive·
                                                                                                                                .......- '"'
                                "'1!~=-"'                                                                                                                                                                  t hrive-                                                                                                                   'nrry...::"'
                                 =                                                                                                                                                                          Ct usemetlcs                                                                                                                             lir't f"">l!    ""'""
                                                                                                                                                                                                                                                                                                                                                                     r&-;;;
                                                                                                                                                                                                     ~r rrq(rl!l

                               -                                                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                                                                                      ==:i           tori
                                                                                                                                                                                                       ll,v,,1 111•1 ' l(.M1, ,luflat,-

                                                                                                                                                                                                         1,- ""(......, I


$35.00                     $32.00
                                                       ~


                                                  $59.00
                                                                "       -


                                                                                  $38.00
                                                                                                                             ----
                                                                                                                          $36.00                                  $26.00                        $49.00                                    $24.00                 $38.00               $12.95                                          $35.00
                                                                                                                                                                                                                                                                                                                                                                     ■
                                                                                                                                                                                                                                                                                                                                                                               $15.95
Thrive Brilliant Face      Thrive Bright          Thrive Liquid                   Thrive Buildable                        Thrive Moisture                         Thrive Liquid                 Thrive Defying                            Thrive Brilliant       Thrive Buildable     THRIVE Natural Face                             Thrive Skincare                          THRIVE Natura
Brightener                 Balance Facial         Light Therapy                   Blur CC Cream                           Flash Active                            Balm Lip                      Gravity                                   Eye Brightener         Blur CC Cream        Wash Gel For Men &                              Starter Kit (Cleanser,                   Face Moisturiz,
Thrive Causemetics         Thrive Causem...       Thrive Causem ...               Thrive Causem...                        Thrive Causem ...                       Thrive Causem...              Thrive Causeme...                         Thrive Causem ...      Thrive Causem...     Amazon .com                                     Thrive Causemetics                       Amazon .com
                                                                                                                                                                                                                                                                                      *tt...-; (33)                                                                            *tt...-; (17)

Clear all filters                                                                                                                                                                                                                                                                                                                                                                  Adso

SHOW ONLY

0    Available nearby            t hrive·


BRAND




                                                                                                                                                                                                                                                ,__
                                                           ~~
0


                                                                                                                                                                                                                                                                                                                                             -
     Thrive
0                                                          "'j'"''If'                            -   ·~ ;s,11,,,
                                                                                                 --:=:-




                                                           -
     Andalou Naturals                                      F•
                                                                                                                                                   Ill     CIUWU,            IIF

                                                                                                                                        25 111,m   OIIT.llll lllffllllllll   IIIW!Mllll
0    Thrive Brilliant                                                                                                            4.2K+ ...
                                                                                                                                                                                                                                                                    ...___.
0    Natural Care
                                                                                                                                $19.00 $§.7.,.00                                                                                                                                                                                            $118.00
                               $35.00                                       $15.95                                                                                                           $35.'00                                               $43.95                           $16.95
0    Moringa                   Thrive Causemetics                           Amazon .com                                         NativePath                                                   Thrive Causemetics                                    Amazon.com                       Amazon.com                                              Thrive Causemetics
+3 more                        Thrive Skincare Starter                      ($7.97 / 1 floz)- ~                       (17)      1 Best Grass-Fed                                             Thrive Filtered Effects                               ~ (15) •IJI.•  Free shippin!     ($8.48 / 1 floz) -~    (17)                             Thrive Smart Skincare
                               Kit (Cleanser,                               THRIVE Natural Face                                 Colla_
                                                                                                                                     gen Pep!ides                                            Blurrin_
                                                                                                                                                                                                    g Face ~rimer_I_                               Thrive Natural Men's             THRIVE All Natural Face                                 Set I Thrive Causemetics
PRICE

0    Up to $20                                                                   t ""O
                                                                                   hrive-
                                                                                       M$Cic ,
                                                                                                                                                                                                                                                                                       thrive·
                                                                                                                                                                                                                                                                                       ~......._..
0    $20 - $40
0    $40 - $70
                                                                                                                                                                                                                                                                                                                        thrive·
0    Over $70                                                                                                                                                                                                                                                                                                          ,•. .;·;;r,~
         I I                                                                                                                                                                                                                                                                                                           =

                                -
 $min to $max
    Go


SELLER

□ Thrive
     Causemetics
                               $83.00
                               Thrive Causemetics
                               Thrive Exfoliate &
                               Moisturize Set I Thrive
                                                                            $68.00
                                                                            Thrive Causemetlcs
                                                                            Thrive Face Cleansing
                                                                            Duo I Thrive
                                                                                                                                $38.00
                                                                                                                                Thrive Causemetics
                                                                                                                                Thrive Buildable Blur CC
                                                                                                                                Cream Broad Spectrum
                                                                                                                                                                                             $13.45
                                                                                                                                                                                             Walmart
                                                                                                                                                                                             tt-,Hti (17)
                                                                                                                                                                                             Thrive Natural Face
                                                                                                                                                                                                                                                   $54.95
                                                                                                                                                                                                                                                   Amazon .com
                                                                                                                                                                                                                                                   ~ (15) •IJI.•Free shippin!
                                                                                                                                                                                                                                                   THRIVE Natural VIP
                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                    $73.00
                                                                                                                                                                                                                                                                                    Thrive Causemetlcs
                                                                                                                                                                                                                                                                                    Thrive Bright Balance
                                                                                                                                                                                                                                                                                    Clea~ser &_Defying
                                                                                                                                                                                                                                                                                                                                            $35.95
                                                                                                                                                                                                                                                                                                                                            Walmart
                                                                                                                                                                                                                                                                                                                                            tt"tt- (8)
                                                                                                                                                                                                                                                                                                                                            Thrive Natural Deep
0    Walmart
0    eBay
0    Amazon.com
0    toyboxtech
                                                                                                                                                                                                                                                                                                 • FACE WASII •
.a. 1n mnro                                                                                                                                                                                                                                                                                          <t.WU.t:UTctn..                                                                 Feedback
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 51 of 169 Page ID
                                   #:8924




      TRIAL EXHIBIT NO. 311
  G   amazon thrive natural care - Goe X   +                                                                                                                                                                                                  0             ol     X

 ~    ➔    C       i                                             Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 52 of 169 Page ID
                       google.com/ sea rch?hl=en- US&tbm =shop&psb= 1&q=amazon+ thrive+natural+care&oq =amazon+thrive+natural+care&gs_lcp=Cgtwcm9kdWN0cy1jYxADMgglABAIEB4QGDoKCAAQCBANEB4QGFD5KliwK2DYLmgAcAB4AIABTogB0AGSAQEzmAEAoAEBwAEB&s...   0_   e   Guest
                                                                                                    #:8925




          Show only
                       Google Shopping                                            a..         amazon thrive natural care


                                                                         See amazon thrive natural care
                                                                                                                                                                                                         X            2• •       •••
                                                                                                                                                                                                                                 •••
                                                                                                                                                                                                                                 •••
                                                                                                                                                                                                                                          -
                                                                                                                                                                                                                                          Sponsored


          D ct) Available nearby
          D W Buy on Google                                                                                                                         ~,!i,.Tbrive
                                                                                                                                                           ,.
                                                                                                                                                            •, ·.··;                                  thrive·
                                                                                                                                                                                                                  thrive·
          D El Smaller stores                                                                                                                             ©
                                                                                                                                                      r>c1tyDntens.e
                                                                                                                                                     sunscreen Sohn

                                                                                                                                   ~t1:~             ~-~@
                                                                                                                                        e
          Price

          Q
          0
          0
                 Upto$15
                 $15-$30
                 $30-$45
                                                                              THRIVE Natural                                   THRIVE Natural                                   THRIVE Natural        Thrive Skincare
                                                                                                                                                                                                                             •            THRIVE.. >
                                                                              Face Wash Gel for                                Moisturizing Mineral                             Shave SoaR &          Starter Kit                         VIP Men's
          0      Over $45
                                                                              Men & Women-...                                  Face Sunscreen ...                               Shower SoaR Bar ...   (Cleanser, ...                      Care Set (L
            $ Min            -     $ Max                                      $12.95                                           $24.95                                           $12.95                $35.00                               $54.90
                                                                              Amazon.com - Se ...                              Amazon.com - Se ...                              Amazon.com - Se ...   Thrive Causemetics                  Amazon.cc
                                                                                                                                                                                                                                           Free shipp
          Condition
                                                                              Special offer                                    Special offer                                    Special offer
          D      New items
          D      Used items
                                                                                                                                                                                                                                       About this page
https://www.google.com/aclk?sa = L&ai= DChcSEwjl5Z3DtdnyAhUrKKOGHQuAAi8YABAFGgJwdg&sig =AOD64_09RIVMybS30Kfgnp2ACEE0jadlxg&ctype = S&q: &ved =0ah UKEwi-_JjDtdnyAhWKn0KHbGbAylQww81mgY&adurl=
G   amazo n thrive natural s kincare ·   X   +                                                                                                                                                                                                          0        -        ol     X

~   ➔     C        i                                             Case
                       g oogle.com/ sea rch?hi= en-US&tbm =shop&psb=       2:20-cv-09091-PA-AS
                                                                     1&q =amazon+                                         Document
                                                                                  thrive+ natura I+ skinca re&oq = amazon +thrive+                174-3 Filed 10/26/21 IABAIEB4QGDoKCAAQCBAN
                                                                                                                                   natural+ ski ncare&gs_lcp=Cgtwcm9kdWN0cy1jYxADOgg Page 53 of 169    Page ID
                                                                                                                                                                                                 EB4QGDoECCEQCIDTtAJYmrgCYlrJAmgAcAB4AIABXYgBowOSA...       0_       e   Guest




                                                                                                                                                                                                                                                 -·
                                                                                                                                                   #:8926


                       Google Shopping                                     °'          amazon thrive natural skincare                                                                                       X                2• •
                                                                                                                                                                                                                                       :::
                                                                                                                                                                                                                                       •••              111111111111111




                                                                   See amazon thrive natural skincare                                                                                                                                            Sponsored
        Show only

        D ~ Available nearby
        D )!{ Buy on Google                                              thrive~                                                                                                                                    thrive
                                                                                         thrive·
        D O On sale
        D El Smaller stores                                             r'lfff~l•"'~
                                                                                                                               --
                                                                                        •tr•,,,. .,   t~1,1e·
                                                                                                      lflt 1'1
                                                                                                                                                                                                                                                        fl':~
                                                                                                                                                                                                                                                             9
                                                                                                      I"••~

        Price

        Q
        0
        0
                Upto $15
                $15- $25
                $25- $35
                                                                       Thrive Skincare
                                                                       Starter Kit
                                                                                        -             ■
                                                                                                                 THRIVE Natural
                                                                                                                 Face Wash Gel for
                                                                                                                                                            THRIVE All Natural
                                                                                                                                                            Face Wash for
                                                                                                                                                                                                                  -
                                                                                                                                                                                                      Thrive Bright
                                                                                                                                                                                                      Balance Facial
                                                                                                                                                                                                                                                 THRIVE
                                                                                                                                                                                                                                                 Moisturizir
                                                                                                                                                                                                                                                                           >

                                                                       (Cleanser, ...                            Men & Women - ...                          Sensitive Skin - ...                      Cleanser I Natural...                      Mineral Fa,
        0       Over $35
                                                                       $35.00                                     $12.95                                    $13.90                                     $32.00                                    $24.95
           $ Min               -         $ Max
                                                                       Thrive Causemetics                        Amazon.com - Sell. ..                      Amazon.com - Sell. ..                     Thrive Causemetics                         Amazon.cc

                                                                                                                                                                                                       ****" (514)
                                                                                                                  Special offer                                                                                                                  Special off
        Category

        0       Moisturizers
                                                                                                                                                                                                                                              About this oaae
G   me ns thrive natura l care skincart   X    +                                                                                                                                                                                                                    0         -        ol     X

~   ➔     C        i                                               Case
                        g oog le.com/ sea rch?hi= en- US&tbm =shop&psb          2:20-cv-09091-PA-AS
                                                                       = 1&q = mens+                                           Document
                                                                                     t hrive+ natural +care+ skincare&oq= m ens+                        174-3
                                                                                                                                 thrive+ nat ural + care+skinca      Filed
                                                                                                                                                               re&gs_lcp       10/26/21
                                                                                                                                                                         =Cgtwcm9kdWN0cy1       Page
                                                                                                                                                                                          jYxADOg        54 of 169bQBmgAcAB4AIA
                                                                                                                                                                                                  UIABDNAICOzQZYrc8GYN Page ID  BbogBSwOSAQM 1 Lj GYAQCgAQHAAQE&sc...    0_       e   Guest
                                                                                                                                                         #:8927


                         Google Shopping                                                  °'          mens thrive natural care skincare                                                                        X                   2• •          •••
                                                                                                                                                                                                                                                 •••
                                                                                                                                                                                                                                                 •••              Sign in



                                                                                See mens thrive natural care skincare                                                                                                                                        Sponsored
          Show only

         D ~ Available nearby
                                                                                                      thrive
         D WBuy on Google                                                                                                                                                                                                                          thrive~
                                                                                                                                                                                                                                                                        thrive·
         D El Smaller stores

          Price
         Q          Upto $15
         0          $15- $20
                                                                                     Thrive Bright                                       THRIVE Natural                                      THRIVE Natural VIP                                  Thrive Skinca                         >
         0          $20- $35
                                                                                     Balance Facial                                      Face Moisturizer -                                  Men's Skin Care Set                                 Starter Kit
         0          Over $35
                                                                                     Cleanser I Natural. ..                              Non-Greasy...                                       (4 Piece)-...                                       (Cleanser, ...
              $ Min                 -         $ Max                                   $32.00                                             $15.95                                              $54.90                                              $35.00
                                                                                     Thrive Causemetics                                  Amazon.com - Sell ...                               Amazon.com - Sell. ..                               Thrive Causeme1

          Category                                                                   ****"'             (514)
                                                                                                                                         Qno,-,.i".:>I ,.,ffor-
                                                                                                                                                                                             Free shipping
  G   " thrive natural careN- Google SJ-   X   +                                                                                                                                                                                                                  0               ol     X

 ~    ➔     C        i                                           Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 55 of 169 Page ID
                         g oogle.com/ sea rch?hi = en-US&tbm =shop&psb= 1&q = ""thrive+ natural +ca re""&oq = ""thrive+ natural +care"&gs_lcp =Cgtwcm9kdWN0cy1jYxADMgQIABAYMgQIABAYMgQIABAYMgQIABAYMgQIABAYOgYIA BAN EBg6CwgAEIAEELEDEI M BOgUIABCABDoECAAQAzoGC...    0_    e   Guest




                                                                                                                                                                                                                                                              -·
                                                                                                    #:8928


                         Google Shopping                                                      "thrive natural care"                                                                                                    X                       2• •
                                                                                                                                                                                                                                                      :::
                                                                                                                                                                                                                                                      •••             111111111111111



                                                                         See "thrive natural care"                                                                                                                                                            Sponsored
          Show only

          D <t> Available nearby
          D W Buy on Google                                                        thrive

          D El Smaller stores
                                                                                                          thrive·                                                                                                             S,Thrlve
                                                                                                                                                                                                                                   ... .... ·
                                                                                                                                                                                                                              ~ ( .: •.·.•·:
                                                                                                                                                                                                                                                                  {j~
                                                                                                       ¥if''tt'; ij
                                                                                                         =                                                                                                                                                              19




                                                                                -
          Price

          Q       Upto $15
          0       $15- $30
          0       $30- $45                                                   T hrive Bright                             THRIVE Natural                               THRIVE Natural VIP                          THRIVE Natural                               THRIVE >
                                                                             Balance Cleanser &                         Shave SoaR &                                 Men's Skin Care Set                         Face Moisturizer -                           Moisturizir
          0       Over $45
                                                                             Defying Gravity ...                        Shower SoaR Bar ...                          (4 Piece)-...                               Non-Greasy...                                Mineral Fa,
             $ Min              -          $ Max                             $73.00                                     $12.95                                       $54.90                                      $15.95                                       $24.95
                                                                             Thrive Causemetics                         Amazon.com - Sell. ..                        Amazon.com - Sell. ..                       Amazon.com - Sell ...                        Amazon.cc
                                                                              Free shipping                                                                          Free shipping
          Category
                                                                                                                        Special offer                                                                            Special offer                                Special off
          0       Facial Moisturizers
          0       Travel Toiletries
                                                                                                                                                                                                                                                            About this page
          n       Sunscreen
https://www.go ogle.com/aclk?sa= L&ai=DChcSEwj09N3etNnyAhXvyZQJHQiDP4YABAFGgJSbQ&sig=A0D64_3G8t71...
G   thrive mens skin - Google Shopr: X   +                                                                                                                                                                                                         0             ol     X

~ ➔ C            i                                        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 56 of 169 Page ID
                     goog le.com/ sea rch?hl=en-US&tbm =shop&psb = 1&q=thrive+mens+skin&oq =thrive+ m ens+skin&gs_lcp=Cgt wcm9kdWN0cy1jYxADMgYIABANEBg6BAgAEEM6CwgAEIAEELEDEIM BOg UIABCABDo KCAAQsQM QgwEQQzoECAAQAzoECAAQDToGCAAQChAYOgg lA..        0_   e   Guest   0
                                                                                             #:8929

                Google Shopping                                            0.      thrive mens skin                                                                                                          X                                 m   Fi@f:E
                                                       Did you mean: thrive men's skin
      Show only                                                                                                                                                                                                                                    Sponsored
                                                       See thrive mens skin
     D ~ Available nearby
     D )!{ Buy on Google
     D El Smaller stores                                              t hrive-                                                                                                                                     thr ive-



      Price                                                                                                                                                                        t hrive-                                      thrive·
                                                                                                                                                                                   crus emetics                               l>1r~:;:::,.1r
                                                                                                                                                                            ~~r rrqrvl                                           =

                                                                    -                                                                                                                                             -
     Q      Upto $15                                                                                                                                                          J.     ~fll!,C.   MO•STU~ll!

                                                                                                                                                                                                       I
     0      $15- $30
     0      $30 - $45
     0      Over $45                                      Thrive Bright                       THRIVE All Natural                  THRIVE Natural                     Thrive Defying                              T hrive Bright                    THRIVE     >
                                                          Balance Facial                      Face Wash for                       Face Moisturizer -                 Gravity                                     Balance Cleanser &                Men's Skin
        $ Min          -    $ Max
                                                          Cleanser I Natural...               Sensitive Skin - ...                Non-Greasy...                      Transforming Fae ...                        Defying Gravity...                (4 Piece) -.
                                                           $32.00                             $13.90                              $15.95                             $49.00                                      $73.00                            $54.90

      Color                                               Thrive Causemetics                  Amazon.com - Sell...                Amazon.com - Sell...               Thrive Causemetics                          Thrive Causemetics                Amazon.co



     •••••
     ••
                                                          ****         (514)
                                                                                                                                  Special offer
                                                                                                                                                                     ****     (886)
                                                                                                                                                                     Free shipping
                                                                                                                                                                                                                 Free shipping                     Free shippi1



                                                                                                                                                                                                                                               About this page

      Condit ion

     n Newitems
G       thrive skincare - Google Shopp;   X      +                                                                                                                                                                                                                0             ol     X

~       ➔     C          i                                                     Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 57 of 169 Page ID
                              goog le.com/ sea rch?tbm =shop&q=thrive+skincare&hl =en-US&psb=1&ved=2ahUKEwjr4pzvstnyAhUa2WIKHY04BCYQu-kFegQIABAT                                                                                                                      e.   e   Guest
                                                                                                                  #:8930
=           Google Shopping                                                                                                             Q.       thrive skincare                                                                                       X   "'¥?       ... ■l1ll1I
                                              See thrive skincare                                                                                                                                                                    Sponsored
    Show o nly




                                                                                                                                                                                                                ■
    D     <:) Available nearby
    D     )t( Buy on Google                     thn.~·                                                                                                                                    the                                                    thr,Yf
                                                                 ....
    □     O On sale                                                                                                                                                                      ..,...._


                                                                                                                                                                                     -
    D El Smaller stores
                                                          ....                          t~r ve·

                                                                                   t-ir'ft"I:ft
    Price

    Q
    0
    Q
         Upto$15
          $15 - $30
          $30 - $45
                                                Starter Kit
                                                            - ■
                                                Thrive Skincare
                                                                                     r-


                                                                               Thrive Defying
                                                                               Gravity
                                                                                                             Thrive Buildable
                                                                                                             Blur CC Cream
                                                                                                                                             Thrive Liquid Balm
                                                                                                                                             Lip Treatment I Lip
                                                                                                                                                                            Thrive Bright
                                                                                                                                                                            Balance Facial
                                                                                                                                                                                                               - •
                                                                                                                                                                                                          Thrive Moisture
                                                                                                                                                                                                          Flash Active
                                                                                                                                                                                                                                           Thn
                                                                                                                                                                                                                                           Balanc
                                                (Cleanser,..                   Transforming Fae..            Broad Spectrum ..               Balm + Plumper..               Cleanser I Natura. .          Nutrient Tone r   1--            Defyin\
    0     $45 - $70
                                                $35.00                         $49.00                        $38.00                          $26.00                         $32.00                        $36.00                            $73.00
    Q     Over$70
                                                Thrive Causemetics             Thrive Causemetics            Thrive Causemetics              Thrive Causemetics             Thrive Causemetics            Thrive Causemetics               Thrive
     $Min          -   $Max
                                                                                   *       (886)
                                                                                                               *       (2,684)
                                                                                                                                             *             (1,380)            **           (514)           **       (1,380)                 Free st
                                                                               Free shipping                 Free shipping                                                                                Free shipping

    Condit ion
                                                                                                                                                                                                                                  Atio-.rt th s page
    D    New items
    D    Used items

                                                                                                                                                                     thrive
    Product rating
                                                 thrive!'

    0    **                   4andup                                                                                                                                                                                thrive-
                       More
                                                                                  ~~­
                                                                                 "ttr'f




                                                                                                                                                                     -
    Selle r                                                                      ,~'!!,_
    D

                                                                                 •
         Mercari
    D    Pharmaca
    D     Target
    D     Thrive Causemetics                   Thrive Skincare Start e r Kit                       Thrive Nat ural Deep Clean                      Th rive Bright Balance Facial                    Thrive Causemetics Skincare              I
    D    Walmart                               (C leanse r. Moisturizer. & Eye                     Skincare Kit for Women & Men (3                 Cleanser I Natural Removing                      Goodbye. Dry! Try Th is Thr ive
                                               Lifting C ream) I Thr ive ...                       Piece) Made in USA ...                          Foam C leanser I for                             Causemet ics Tone r ...
                       More
                                                                                                   4.1         8                                   4.7 *        • 514                               4.3            1,380
                                                                                                                                                   All Skin Types · 4 fl oz                         Toner · Witch Hazel · Liquid


                                               $35.00                                             $35.95                                           $32.00                                           $36.00
                                               Thrive Causemetics                                 Walmart - Thrive Natural Care, Inc.              Thrive Causemetics                               Thrive Causemetics
                                               $5.95 delivery                                     Free delivery                                    $5. 95 delivery                                  Free delivery

                                                                                                                                                   r.nmn::irp nrir_pc. frnm ? c.tnrP<.
G   skincare thrive - Google Search   X       +                                                                                                                                                                                                0        ol     X

~   ➔     C       i                                                   Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 58 of 169 Page ID
                      google.com/ search?q=skincare+thrive&source= hp&ei=QiotYfz9JbWLr7wPt-OZwAl&iflsig=Als-wAMAAAAAYS04Uu7F0SyvUfYdWix38u4m93geE8tw&oq=skincare+thrive&gs_lcp=Cgdnd3Mtd2I6EAMyBggAEBYQHjlGCAAQFhAeMgYIABAWEB4yBggAEBYQHjlGCA...   e   Guest

                                                                                                         #:8931
                          skincare thrive                                                                        X
                                                                                                                                                                                                                                                   Ei:ii:E
                          Q All       O   Shopping   (;;) Images    @ News      G   Videos      ; More                        Tools


                         About 4 .260.000 results (0.81 secoods)

                           Ads.   skincare thrive                                                                              0
                                                                                                                                       Thrive Natural Men's Skin
                                                                                                                          ffil         Care Set Grooming Gift Set
                                                                                                                                       to Wash




                                                                                 I-
                                                                                                                                       ••••1- 30 reviews
                                                                                                                                            Details          Reviews              stores


                                                                                                      ••                           »

                           Thrive                 Thriv e liquid     Thriv e B rillia nt     Thrive             Thriv e liquid
                           Buildable Bl. .        Lash ..            Ey e Brighte . .        Skincare ..        Balm lip. .
                           $38 .00                $24.00             $40.00                  $35.00             $26.00
                           Thrive Gaus. .         Thriv e Gaus. .    Thriv e Gaus . .        Thriv e Gaus. .    Thriv e Gaus . .
                                                                                                                                       Shop now
                           * * * * * (2k+)        ****      (9k+)    * * * * * ( 120)        Free shippi. .    *****(1 k+)
                                                                                                                                            Walmart - Thrive Natural Care, Inc.      $39.45
                                                                                                                                            Thrive Natural Men's Skincare Set (3
                          https:1/thrivecare.co                                                                                             Piece) Gift Set to Wash, Shave&..
                          Thrive Natural Care: Thrive Skincare I Powered By ...                                                             Free shipping

                         Thrive Natural Care products are as unique as our regenerative business model. High-
                                                                                                                                       ~    eBay - tidwellenterprises                 $29.98
                          performance shave & skincare, powered by regenerative plants from Costa ..
                                                                                                                                            Thrive Natural Vip Men's Skin Care
                          Superplant Skincare - Our Products Regenerative Mission · Ingredients
                                                                                                                                            Set (4 Piece) - Exp 06/2022 (1-5
                                                                                                                                            Free shipping
                          https:1/thrivecausemetics.com
                          Thrive Causemetics I Luxury Beauty that Gives Back                                                                Walmart - Predator Gaming Holdings       $54.06
                                                                                                                                            LLC
                         Thrive Causemetics offers luxury high-performance cosmetics. ... next slide. Ne~ Build your
                                                                                                                                            Thrive Natural Men's Skincare Set (3
                          own set for 10% on your favorite makeup and skincare products ..                                                  Piece) Gift Set to Wash, Shave &
                          Defying Gravity Transforming... - Liquid Lash Extensions Mascara · Makeup · Eye                                   Free shipping


                                                                                                                                       fl   eBay - vfg28                              $67.39
                          People also ask                                                                                                   Thrive Natural Men's Skin Care Set
                                                                                                                                            (3 Piece) - Grooming Gift Set To
                                                                                                                                            Free shipping
                          Does t hrive hav e sk incare?

                                                                                                                                            Walmart - Thrive Natural Care, Inc.       $43.95
                          How much does thrive skincare cost ?
                                                                                                                                            Thrive Natural VIP Men's Skincare
                                                                                                                                            Set (4 Piece) Gift Set to Wash, ..
                          Do any sto res carry t hriv e cosmetics?
                                                                                                                                            Free shipping
G       healthy thrive skincare - Google   X      +                                                                                                                                                                                                                       0              ol     X

~       ➔     C          i                                                       Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 59 of 169 Page ID
                               g oogle.com/ sea rch?hi= en-US&tbm =shop&psb = 1&q = healthy+ t hriv e+ skincare&oq = healthy+thrive + skincare&gs_lcp = Cgtwcm9kdWN0cy1jYxADM gUII RCrAj I HCCEQChCgATI HCCEQChCgAToKCAAQCBAN EB4QGDo ECAAQQzo LCAAQgAQQsQMQgwE6BAgAEAM6...   El,   e   Guest
                                                                                                                    #:8932
=           Google Shopping                                                                                                                 healthy thrive skincare                                                                     X
                                                                                                                                                                                                                                                                                    Ml:11:1
                                               See healthy thrive skincare                                                                                                                                             Sponsored
    Show o nly

    D     <:) Available nearby
    D     )t( Buy on Google                      thr1.~
                                                                                                                                                                           thrt...e

    □     O On sale                                                                                                                                                       ...,.,.._
    D El Smaller stores



                                                                                                                                                                        - -
                                                           .,..
    Price

    Q     Upto$15                                            - ■
                                                 Thrive Skincare                 Thrive Defying              Hydrated Skin              Thrive Liquid Balm           Thrive Bright              Th rive Bright              Thn
    0     $15 - $30
                                                 Starter Kit                     Gravity                     Discovery Set I            Lip Treatment I Lip          Balance Cleanser &         Balance Facial              Facial ,
    Q     $30 - $45
                                                 (Cleanser ...                   Transforming Fae..          Clinically Proven ...      Balm + Plumper..             Defying Gravity..          Cleanser I Natura ..        Resurf;
    0     Over$45
                                                 $35.00                          $49.00                      $127.00                    $26.00                       $73.00                     $32.00                      $62.00
     $Min          -   $Max
                                                 Thrive Causemetics              Thrive Causemetics          Biossance                  Thrive Causemetics           Thrive Causemetics         Th rive Causemetics         Thrive
                                                                                     *    (886)              Free shipping
                                                                                                                                        *         (1.380)            Free shipping
                                                                                                                                                                                                 **        (514)
                                                                                                                                                                                                                            *Free st
                                                                                 Free shipping
    Condit ion

    D     New items
                                                                                                                                                                                                                   Atio-.rt th s page
    D     Used items



    Product rating                                                                                                                                              t hrive
                                                  thrive!'
    O****                     4 and up

                       More


    Selle r




                                                                                                                                                            -
    D     eBay
    D

                                                                                   •
          iBeautyCity.com
    D     Target
    D     Thrive Causemetics
    D    Walmart                                Thrive Skincare Start e r Kit                     Thrive Natural Deep Clean                   Thrive Bright Balance Facial                Thrive Nat ural Face Lotion f or
                                                (Cleanse r. Moisturizer. & Eye                    Skincare K it for Women & Men (3            Cleanser I Natural Removing                 Men - Aftershave Balm & Facial
                       More
                                                l ifting C ream) I Thr ive ...                    Piece) Made in USA ...                      Foam C leanser I for                        mois
                                                                                                  4.1          8                              4.7 *      • 514                            4.5            18
                                                                                                                                              All Skin Types· 4 fl oz                     Face· For Dry Skin · Aloe


                                                $35.00                                            $35.95                                      $32.00                                      $13.45
                                                Thrive Causemetics                                Walmart - Thrive Natural Care, Inc.         Thrive Causemetics                          Walmart - Thrive Natural Care, Inc.
                                                $5.95 delivery                                    Free delivery                               $5. 95 delivery                             $5.99 delivery


                                                                                                                                              Compare prices from 2 stores                Compare prices from 5+ stores
G     thrive face wash • Google Sh op ~        X      +                                                                                                                                                                                                               0               ol     X

                                                                                                                                                                                                                                                                               e

                                                                                                                                                                                                                                                                                     -
~      ➔           C       i                                                             Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 60 of 169 Page ID
                                g oogle.com/ sea rch?hi= en- US&tbm =shop&psb = 1&q = t hrive +face+w ash&oq = t hrive+ face+wash&gs_lcp =Cgtwcm9kdWN0cy1jYxADMgUIABCABDI ECAAQGDIKCAAQFhAKEB4QGDIICAAQFhAeEBgyCAgAEBYQH hAYMgglABAWEB4QGDIICAAQFhAeEBgyCAgA EBY...       e.         Guest

                                                                                                                            #:8933
        Google Shopping                                                                                                                                                               a_      thrive face wash                     X                                      ~    ...

                                    see t hrive face wash                                                                                                                                                        Sponsore-d O
Showonly
D 0




                                            - - -- I -
            Availab le nearby
D WBuy on Google
D Q Onsale
0 f!J Smalfor stores

Price
0    Upto S15
0S15 - S3tl                           THRIVE Natural        Thrive Bright                 Thrive Skincare
                                                                                                                •         Thrive Bright                 THRIVE All Natural             Thrive Smart                     Des.   >
Q    $30 - S45
                                      Face Wash Gel for     Balance Facial                Starter Kit                     Balance Cleanser &            Face Wash for                  Microdermabrasion                Thorou
                                      Men & Women - - ·     d eanser I Natural...         (Cleanser,_.                    Defying Gravity...            Sensitive Skin - __            2-in-1 lnstantFaci._             Face W
QOY'E'r S45
                                      $12.95                $32.00                        $35.00                          $73.00                        $13.90                         s«.oo                            $1 1.49
    $ Min      -   $ Max
                                      Amazon.com - SelL     Thrive Causemetics            Thrive Causemetics              Thrive Causemetics            Amazon.com - Sell._            Thrive Causernetics              Thrive I
                                                                        (514)                                             Free shipping                                                             (68)
                                      Special offer                                                                                                                                    Free shipping
Color


•••
Brand                               Best match

□ -•
D Neutrogena
                                                                                                                   Thrive Face Wash - Daily Facial C leanser for Men with Unique PremL.



                                        '
□ Olay
D    O in ,que                                                                                                     4.7              35


                                       ■
0    Cetaphil                                                                                                      All Skin Types · Botamcal s · Lactic AcKI · Essential Oi ls · Alpha Hydroxy A cid · Moisturizing ·
                                                                                                                   Exfol,ating · Crvelty..free · Men"s - 3.38 fl o z
D Burts Bees
                                       ■
D    Desert Essence                                                                                                Powered by Costa Rican plants Tivive·s daily Face Wash remOYes dmt oil sw eat and other
                                                                                                                   i mpurities withol.ll: drying Of irritating the skin. Its refreshing natura1 scent will mah •..

                                                                                                                   V iew product details
Form
D    Cfe.a.m                                                                                                         $17.41                            $17.59                              $17.94
D "''
0    l.iquKI                                                                                                         Wal"Tlart - Bra~d Union           Wal 'Tlart - Grou pW01k _           Wal 'Tlart - Hurley Expor_
                                                                                                                     Frtt del~                         Free de.mry                         Free de-. -ry
□ Oil
0    Bar
D Wipes                                                                                                            Compare prices from 5+ stor e-s



Key lnigredCent
0    Crtric Acid
D    Botanicals
D Aloe                              Other matches
D Chamo11U1e
0    Alpha Hydroxy Acid
D Es.sential Oib                                                 Thrive Bright Balance Facial Oeanser I Natural Removing Foam Cleanser I for Man.r--e • Aging Skin I Thrive Causemetics...
D Hyal urornc: Acid                                              4 .7            514




                                               -
                                                                 All Skin Types. · For Sen srtrve SI(-, · Cruetty.free · 4 fl o z

Skin Type                                                        Ou r gent le cle anser 1s a muftita sk1ng gent le-yet-el cep tio naly-effecnve clea nser that leaves your skin no urished. re'r n hed ...

0    All Skin Types                                                $32.00
D    For Comb.-.a.t ion SMin                                        +S:i. B9est.tax                              Co'T!pare pr ices fro 'll 2
0    ForOry Skin                                                   Th ri,•e Causemet1cs
0    ForOilystin                                                   S.5.9..sd~ry



Sustainability
                                                                 Thrive Natural Face W.iSh Gel for Men &. Women Daily Facial Oeanser withAnti-Oxidants &. lk'lic,,e Premiun Natural Ing...
G       thrive natural care - Google She   X      +                                                                                                                                                                                                          0              ol     X

~       ➔     C        i                                                      Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 61 of 169 Page ID
                             g oogle.com/ sea rch?hi= en-US&tbm =shop&psb= 1&q =thrive+ natural +care&oq =thrive+ natural+ care&gs_lcp= Cgtwcm9kdWN0cy1jYxADMgYIABANEBgyBggAEAOQGDIGCAAQDRAYMgYIABAN EBgyBggAEAOQGDIICAAQFhAeE Bg6BQgAEIAEOgQIABAYOgYIABAeE...   El,   e   Guest
                                                                                                                 #:8934
=           Google Shopping                                                                                                            thrive natural care                                                                          X
                                                                                                                                                                                                                                                                       Ml:11:1
                                               See thrive natural care                                                                                                                                                Sponsored
    Show o nly

    D (:) Available nearby
    D )!( Buy on Google
    D l"'l Smaller stores
                                                  thri,!f




                                                            -       .
                                                                                 thr,._.


                                                                               .....,.......   -                   thn




                                                                                                                      -
                                                            -- -
                                                 "'l'l k-
                                                                      ..,
    Price

    Q     Upto$15
                                                                    ■
    0     $15-$30
                                                 Thrive Skincare             Thrive Bright                Thrive Bright              THRIVE Natural             Thrive Brilliant Face       THRIVE Natural                Thn
    0     $30-$45
                                                 St arter Kit                Balance Cleanser &           Balance Facial             Shave Soap &               Brightener                  Face wash Gel for             Gravity
    0     Over$45
                                                 (Cleanser,...               Defying Gravity...           Cleanser I Natural. ..     Shower Soap Bar ...        Illuminating Prime...       Men & Women - ...             Hand 8
     S Min       -   S Max                       $35.00                      $73.00                       $32.00                     $12.95                     $35 .00                      $12.95                       $18 .00
                                                 Thrive Causemetics          Thrive Causemetics           Thrive Causemelics         Amazon.com - Sell...       Thrive Causemetics           Ama zon .com - Sell...       Thrive
                                                                             Free shipping                          (514)                                       +"'"    +   (1,380)                                       "'"+ "
    Colo r



                     ••
                                                                                                                                     Special offer                                          Special offer


                                                                                                                                                                                                                   Abo Jtth spage


    Condit ion

    D     Newttems
    D     Usedttems



    Discover

    D     Black-owned businesses



    Product rating

    0                       4 and up

                     More
                                                Thrive Natural Face Lot ion for                Thrive Natural Deep Clean                  Thrive Natural Care Thrive VIP                Thrive Nat ural Care THRIVE
                                                M en - Aft ershave Balm & Facial               Skincare Kit for Women & Men (3            Men's Grooming Kit - 4 Piece                  Natural Face Moist urizer - Non-
    Selle r                                     mois                                           Piece) M ade in USA ...                    Grooming G ift Set to ...                     G reasy Soothing Facial ..
    D     Costsmetic                            4.5           18                               4.1           8                            4.6 *      • 30                               Face· For All Skin Types
    D     eBay                                  Face· For Dry Skin · Aloe                                                                 More size options
    □ GetUSCart
    D     Grove Collaborative                   $13.4 5                                        $35.95                                    $29.98                                         $22.29
    D     Healthy Planet Shopping               Wal mart - Thrive Natural Care, Inc.           Walmart - Thrive Natural Care, Inc.        eBay - tidwellenterprises                     Sears - ErgodE
    D     iBeautyCity.com                       $5.99 delivery                                 Free delivery                              Free delivery by Thu, sep 9                   Free delivery
    D     LuckyVitamin.com
                                                Compare prices from 5+ stores                                                            Compare prices from 3 stores
G     th rive n atural care skincare - Go         X        +                                                                                                                                                                                                                              0              ol     X

~      ➔          C       i                                                                      Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 62 of 169 Page ID
                                 g oogle.com/ sea rch?hi= en-US&tbm =shop&psb = 1&q =thrive+ natural +care+ ski ncare&oq =thrive+ natural +care+ skincare& gs_lcp =Cgt wcm9kdWN0cy1j YxADMgUI I RC rAjl FCCEQ qw lyBwgh EAoQoAE6BAgA EBg6CAghEBYQHRAeOgolA BA I EA0QH hAYULa6BFi 1wQRg n...   El,   e   Guest
                                                                                                                                    #:8935
        Google Shopping                                                                                                                                                         a_   thriv e na tural care skincare       X


                                      See t hrive natural care sk incare                                                                                                                                 Sponsored
Showonty
      e AYailab l@M arby

                                                                                                                                                         ■
□
D ):( Buy on Googi.t'




                                                                                --                                                                                                    -
D Q Onsale
                                        .,.....

                                        --
□     f!I Smak-r stor@S


Price

Q
0
     Upto S25
     S25 - $45                          Thrive Skincare
                                                            •         Thrive Bright               Thrive Bright          ThriveOefying             Thrive Moisture              THRIVE Natural                Tori
0    $45 - $8"                          Starter Ki1                   Balance Facial              Balance Cleanser &     Gravity                   Rash Active                  Face Wash Gel for             Microo
                                        {Cleanser,...                 Cleanser I Natural...       Defying Gravity...     Transforming Fae_         Nutrient Toner I_.           Men&Women - _                 2-in-1 Ir
Q    OverSBO
                                        $35.00                         $32.00                     $73.00                 S49.00                    $36.00                       $12.95                        $44.00
    S Min     -   S Max
                                        Thrive Causemetics            Thrive Causemetics          Thrive Causemetics     Thrive Causemetics        Thrive Causemetics           Amazon.com - SelL             Thrive (
                                                                                (514)             Free shipping                   (886)                        (1,380)
                                                                                                                         Free shipping             Free shipping                Special o ffef                Free sh
Color


••
Condition
D    Newit@mr.
D    Used itemr.


Discover
D Black-owned businessu

Prod.Jct rating
0                     4 andtip
                                       Thrive Natur.ill Deep C le.iln                Thrive Na tural F.i!Ce lotion for       Thrive N.:.itur.ill Care THRIVE             Thrive F.:.ice W.:.ish - D.aily F.:.icial
                                       Skincare Kit foc Women 6. Men (3              Men - Aftershave B.iilm 6. Facial       N.iitural F.ilce Moisturizer - Non-         Cleanser fOf Meo with Unique
                                       Piece) M.iide in USA ...                      m ois                                   Greasy Soothing Facial ..
Seller                                 ,.,                                           ,,                                      Face · For All Skin Types
                                                                                                                                                                         Premium Natural ..
                                                                                                                                                                         .!.7         • 35
D    1BeautyC,ty.co m                                                                Face · Fo r Dry Skin · A loe                                                        All Skin Type$ · M en s
0    Tatget
□ Thnve CauS('m@bCS                    $l5.95                                        $13.45                                  $22.29                                      $17.41
□ Walman                               Wal m art - Thrive NatlJral Care l rrc        Walmart - ThriYe Natura Care, Inc       Sear$ - Ergo dE                             Wal m art - Brand Un on
D     Zabiva.com                       Free delivery                                 $ 5.9 9 deavery                         Free delivery                               Free delivery


                                                                                     Compare p rices from 5+ sto1es




                                       Thrive Natur.ill Care T?vive VIP
                                       Men' s Grooming Kit - 4 Piece
                                       Grooming Gift Set to ...
                                                                                     Thrive Na tural Deep Clean
                                                                                     Skincare Kit fo r Men & Women (3
                                                                                        Piece) - Gift Set with ..
                                                                                                                                          -
                                                                                                                             Thrive Natural Face W.3Sh Gel for
                                                                                                                             Men & Women ~ ily F.x:i.:.il
                                                                                                                             C le.ilnser withAnti ...
                                                                                                                                                                         Thrive Skincare Starter Kit
                                                                                                                                                                         (Oe.:.inser. Moisturizer. & Eye
                                                                                                                                                                         lifting Cream} I Thrive ...
                                                                                                                                                                                                             •
G    thrive natural skincare - Google   X   +                                                                                                                                                                                                            0           ol     X

~    ➔       C       i                                             Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 63 of 169 Page ID
                         google.com/ sea rch?hi= en-US&tbm =shop&psb= 1&q =thrive+ natural +skincare&oq =thrive+ natural +skinca re&gs_lcp=Cgtwcm 9kdWN0cy1jYxADMgYIABANEBg68AgAEBg6CwgAEIAEELEDEIM BOgUIABCABDoECAAQAzoGCAAQChAYUL6SBFi9pARg7qQEaABwAHgAg...   e   Guest

                                                                                                      #:8936
            Google Shopping                                                                                 0..      thrive natural skincare                                                              X                                                     FH:11:F
                                            See thrive natural skincare                                                                                                                                         Sponsored
    Show o nly

    0 (:)
    D
    □
             Available nearby
         'g Buy on Google
      0 On sale
                                                  thrive
                                                                              thriv



                                                                             ..........   -                                                     thnv                                     Iv~
                                                                                                                                                                                         ~
    D el Smaller stores
                                                 ""'- .... ..,..
                                                                                                                                            >','Tl-•




                                                             --                                                                            -
                                                                                                              tnrrve-
                                                                                                                                                                       ~r
                                                           ,..                                            ~,,:1:r;
                                                                                                            c-
    Price
                                                                  ■
    0   Upto$15
                                                Thrive Skincare         Thrive Bright                T hrive Defying                 T hrive Bright           Thrive Overnight           Rejuvenate                   Thr. >
    0   $15-$35
                                                Starter Kit             Balance Cleanser &           Gravity                         Balance Facial           Facial Exfoliating &       Restorative Face             Flash 1
    0   $35-$70
                                                (Cleanser, ..           Defying Gravity ..           Transforming Fae..              Cleanser I Natura ..     Resurfacing Peel. .        Oil                          Nutrie r
    0   Over$70
                                                 $35.00                 $73.00                       $49.00                          $32.00                   $62.00                     $72.00                       $36.00
     S Min       -   $ Max
                                                                                                                                                                                         Naked + Thriving
                                                Thrive Causemetics      Thrive Causemetics           T hrive Causemetics             T hrive Causemetics      Thrive Causemetics                                      Thrive
                                                                        Free shipping                             (886)                          (514)                  (81)             Free shipping
                                                                                                       **
                                                                                                     Free shipping
                                                                                                                                     ***                      ***
                                                                                                                                                              Free shipping
                                                                                                                                                                                                                      * *
                                                                                                                                                                                                                      Free st
    Condit io n

    D   Newrtems
                                                                                                                                                                                                              Aboul lh1s page
    0   Used items



    D iscover
                                                                                           thrive·
    0   Black--0wned businesses                                                                             :nrive·

    Product rating

    0   ****         More
                            4 and up
                                                                                                                          tti,~-
                                                                                                                          ._,.,..,
                                                                                                                          ,,.,..t
    Seller

    0
    D
    D
        GetUSCart
        iBeautyCity.com
        Target
                                                Thrive Natural Deep C lean
                                                Skincare Kit for Women & Men (3
                                                Piece) Made in USA ..
                                                                                          Thrive Skincare St art er Kit
                                                                                          (C leanser, Moisturizer, & Eye
                                                                                          Lifting Cream) I Thrive ...
                                                                                                                          •               Thrive Natural Face Lo t ion for
                                                                                                                                          Men - After shave Balm & Facial
                                                                                                                                          mois
                                                                                                                                                                                     Thrive Natural Men·s Skin Care
                                                                                                                                                                                     Set - 3 Piece G rooming G if t Set
                                                                                                                                                                                     t o Wash, Shave. &
    0
    D
        Walmart
        Zabiva.com
                                                4.1   ****   8                                                                            4.5   ****:I   18                          4.6 ****:I   30
                                                                                                                                          Face · For Dry Skin Aloe                   Boxed
G       thrive skincare for women · Goo   X      +                                                                                                                                                                                                             0              ol     X

~       ➔      C         i                                                  Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 64 of 169 Page ID
                             g oogle.com/sea rch?hi= en- US&tbm =shop&psb= 1&q =thrive+ skincare+ for+women&oq =thrive+ skincare +for+ women&gs_lcp = Cgtwcm9kdWN0cy1jYxADMgolI RAWEBOQH hAYMgoll RAWEBOQHhAYMgolI RAWEBOQH hAYOgUIABCABDoECAAQGDolCAAQChAeEB...   El,   e   Guest
                                                                                                               #:8937
=           Google Shopping                                                                                                               thrive skincare for women                                                                     X
                                                                                                                                                                                                                                                                         Ml:11:1
                                              See thrive skincare for women                                                                                                                                             Sponsored
    Show o nly

    D (:) Available nearby
    D ¥( Buy on Google                                                                                                                                                                                   thrrv

    □     ()   On sale                                                                                                                       If11
                                                ..........


                                                                                                                                                                                                     -
    D El Smaller stores

    Price

    Q
    0
    0
     $Min
         Upto$30
         $30-$60
         Over$60

                 -   $Max
                                               Starter Kit
                                               (Cleanser,..
                                                $35.00
                                                             - ■
                                               Thrive Skincare              -
                                                                           Thrive Bright
                                                                           Balance Cleanser &
                                                                           Defying Gravity..
                                                                           $73.00
                                                                                                       Thrive Defying
                                                                                                       Gravity
                                                                                                       Transforming Fae ..
                                                                                                       $49.00
                                                                                                                                     Thrive Defying
                                                                                                                                     Gravity Eye Lining
                                                                                                                                     Cream I Perfect F ..
                                                                                                                                     $46.00
                                                                                                                                                                  Thrive Buildable
                                                                                                                                                                  Blur cc cream
                                                                                                                                                                  Broad Spectrum ..
                                                                                                                                                                  $38.00
                                                                                                                                                                                             Thrive Bright
                                                                                                                                                                                             Balance Facial
                                                                                                                                                                                             Cleanser I Natura ..
                                                                                                                                                                                             $32.00
                                                                                                                                                                                                                             Thn
                                                                                                                                                                                                                             Brighte
                                                                                                                                                                                                                             (High Ii\
                                                                                                                                                                                                                             $40.00
                                                Thrive Causemetics         Thrive Causemetics          Thrive Causemetics            Thrive Causemetics           Thrive Causemetics         Thrive Causemetics              Thrive
                                                                           Free shipping                + +      (886)                          (834)                         (2,684)          ...        (514)
    Colo r                                                                                                                                                          **'"                             *                       *

    ••
                                                                                                       Free shipping                 Free shipping                Free shipping                                              Free st


                                                                                                                                                                                                                    Abo.it :t, s p3ge


    Condit ion

    D    New items
    D    Used items                                                                          thnve·
                                                                                                              :nriv,r

    Discover

    D    Black-owned businesses



    Shipp ing

    D    Free shipping


                                               Thrive Natural Deep C lean                  Thrive Skincare Start er Kit
                                                                                                                              ■             Le-Vel Thrive Skin Skincare I               Thrive Nat ural Deep C lean
    Product rating
                                               Skincare Kit for Wome n & Men (3            (Cleanser, Moist urizer. & Eye                   Th r ive Skin - 3 St ep Sy stem   I         Skincare Kit for M en & Women (3
    0         ***            4and up           Piece) Mad e in USA                         Lif t ing C ream) I Th rive.                     Color: Red I Si ze: Os ...                  Piece) - G ift Set w it h ...
                     More                      4.1           8


                                               $35.95                                      $35.00                                           $99.00 Was 5130.00                          $56.41
    Selle r
                                               Walmart - Thrive Natural Care, Inc.         Thrive Causemetics                               Poshmark                                    Walmart - Predator Gaming Holding..
    D    Dermstore.com                         free delivery                               $5.95 delivery                                   Free delivery                               free delivery
    D    Mercari
    D    Pharrnaca                                                                                                        ..w ....
    n    Seohora
                                                      f"         Jt   e r '>f        e>                          MMCGMCAI MIOfSJUftlle~
G       thrive skincare natural ~Google   X      +                                                                                                                                                                                                                0              ol     X

~       ➔     C       i                                                         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 65 of 169 Page ID
                           g oogle.com/ sea rch?hi= en-US&tbm =shop&psb= 1&q =t hrive+ skincare+ natu ra l&oq =thrive+ skincare+ natural&gs_lcp= Cgtwcm 9kdWNOcy1jYxADMgg IABAWEB4QGDoFCAAQzQJQoa4CWJC1 Am DQIQJoAHAAeACAAWalAd0EkgEDNi4xmAEAoAEBwAEB&sclient =p...   El,   e   Guest
                                                                                                                   #:8938
=           Google Shopping                                                                                                                   thrive skincare natural                                                                         X
                                                                                                                                                                                                                                                                            Ml:11:1
                                              See thrive skincare natural                                                                                                                                                        Sponsored
    Show o nly




                                                                                                                                                                                  ■
    D (:) Available nearby
    D )!( Buy on Google
    D Q Onsale
                                                 thrive



                                                .......... ....
                                                                                             thnv


                                                                                         .,.,.._
                                                                                                                    C-:-'                     thn...e


                                                                                                                                             ,...,._

                                                            - -
    D El Smaller stores



                                                                                                                                             -
                                                                                                                           tirive·
                                                                                                                        ¥1Y"'f f"1 t
    Price
                                                                   ■
    Q    Upto$25
                                                Thrive Skincare                 Thrive Bright                    Thrive Defying             T hrive Bright                  Thrive Moisture             THRIVE Natural               Thn
    0     $25- $45
                                                St arter Kit                    Balance Facial                   Gravity                    Balance Cleanser &              Flash Active                Face Wash Gel for            Microa
    0     $45- $80
                                                (Cleanser,...                   Cleanser I Natural...            Transforming Fae...        Defying Gravity...              Nutrient Toner 1...         Men & Women - ...            2-in-1 I
    0     Over$80
                                                $35.00                          $32.00                           $49.00                     $73.00                          $36.00                      S12.95                       $44.00
     S Min      -   S Max                       Thrive Causemetics              Thrive Causemetics               Thrive Causemetics         Thrive Causemetics              Thrive Causemetics          Ama zon .com - Sell...       Thrive
                                                                                              (514)                         {886)           Free shipping                        (1,380)
                                                                                     *                             *
                                                                                                                 Free shipping
                                                                                                                                                                        **
                                                                                                                                                                        Free shipping                   Special offer
                                                                                                                                                                                                                                    **
                                                                                                                                                                                                                                    Frees~
    Cond it io n

    D     Newlterns
                                                                                                                                                                                                                              AboJtth-spage
    D    Used Items



    Discov er                                                                                                                                                    thrive
                                                 thrive·
    D     Black-owned businesses



    Shipping
                                                                                   Lt,~·
    D    Free shipping
                                                                                   'ff1''1                                                                                  ::J
                                                                                   ,~·t
    Product rating

    0    **
    Selle r

    □ GetUSCart
                    More
                           4andup
                                               Thrive Skincare St arter Kit
                                               (Cleanser. Moi stur izer, & Ey e
                                               Lif ting C ream) I Thr ive ...
                                                                                   ■                Thr ive Nat ural Deep Cle an
                                                                                                      Sk incare K it f o r Women & Men (3
                                                                                                      Pi ece) Made in USA ...
                                                                                                    4.1             8
                                                                                                                                                              -
                                                                                                                                                 Th r ive Brig ht Balance Facial
                                                                                                                                                 Cleanser I Nat ural Removing
                                                                                                                                                 Foam C leanser I for
                                                                                                                                                 4.7           514
                                                                                                                                                 All Skin Types · 4 fl oz
                                                                                                                                                                                                  Thriv e Natural Face Loti on for
                                                                                                                                                                                                  Men - A f tershave Balm & Facial
                                                                                                                                                                                                  mois
                                                                                                                                                                                                  4.5            18
                                                                                                                                                                                                  Face· For Dry Skin · Aloe
    D     iBeautyCity.com
    D     Mercari
                                               $35.00                                               $35.95                                       $32.00                                           $13.45
    D    Thrive Causemetics                    Thrive Causemetics                                     Walmart • Thrive Natural Care, Inc.        Thrive Causemet ics                              Walmart • Thrive Natural Care, Inc.
    D     Walmart                              $5.95 delivery                                         Free delivery                              $5.95 delivery                                   $5.99 delivery

                    More
                                                                                                                                                 Compare prices from 2 st ores                    Compare prices from 5+ st ores
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 66 of 169 Page ID
                                   #:8939




      TRIAL EXHIBIT NO. 150
8/23/2021   CaseAmazon.com
                 2:20-cv-09091-PA-AS             Document
                           : THRIVE Natural Moisturizing          174-3
                                                         Mineral Face      Filed
                                                                      Sunscreen SPF10/26/21
                                                                                    30, 2 Ounces –Page    67 of
                                                                                                   Lightweight    169 Broad-Spectrum
                                                                                                               Moisturizer Page ID Matt…
                                                                   #:8940
  Skip to main content Deliver to Stephen            Beauty & Personal Care
                                                                                                                                  Hello, Stephen            Returns             0
                       Los Angeles 90034‌                                                                                         Account & Lists           & Orders


     All    Pet Supplies    Buy Again     Amazon Business          Shopper Toolkit      Groceries         Livestreams     Health & Household          Amazon Basics

    All Beauty   Premium Beauty        Makeup       Skin Care     Hair Care      Fragrance      Tools & Accessories      Personal Care       Oral Care       Men's Grooming

  Beauty & Personal Care › Skin Care › Sunscreens & Tanning Products › Sunscreens › Facial Sunscreens


                                                                                          THRIVE Natural                              One-time purchase:
                                                                                                                                      $22.45
                                                                                          Moisturizing
                                                                                                                                                  FREE Same-Day
                                                                                          Mineral Face                                & FREE Returns
                                                                                          Sunscreen SPF                               FREE delivery: Today with
                                                                                          30, 2 Ounces –                              qualifying orders over $35.
                                                                                                                                      Order within 9 hrs and 29 mins
                                                                                          Lightweight                                 Details

                                                                                          Moisturizer                                      Deliver to Stephen - Los Angeles
                                                                                          Broad-Spectrum                                   90034‌

                                                                                          Matte Natural                               In Stock.
                                                                                          Face Sunblock                               1 17
                                                                                                                                     Qty:
                                                                                                                                     C-
                                                                                                                                      Qty:

                                                                                          with Clear Zinc
                                                                                                                                      (              Add to Cart           _)
                                                                                          Oxide &
                                                                                          Antioxidants –                              (               Buy Now               )
                                                                                          Vegan, Made in                              i     Secure transaction
                                                                                                                                      Ships from Amazon
                                                                                          USA & Non                                   Sold by        Thrive Natural Care

                                                                                          Greasy                                      Return policy: Eligible for
                                                                                          (Packaging May                              Return, Refund or Replacement

                                                                                          Vary)                                       FSA or HSA eligible Details
                                                                                          Visit the Thrive Natural Care
                                                                                          Store                                          D Add a gift receipt for easy
                                                                                                             1,647                         returns
                                                                                          ratings
                                                                                           | 87 answered questions
                                                                                                                                      Subscribe & Save:
                                                                                                Price: $24.95 Details                     10%   15%
                                                                                          Prime Price: $22.45 ($11.23 / Fl Oz)        $20.21 ($10.11 / Fl Oz)
                                                                                                                      FREE Same-Day
                                                                                                       & FREE Returns                 First delivery on Aug 23
                                                                                             You Save: $2.50 (10%)                    Ships from: Amazon
                                                                                          Includes $2.50 Prime savings                Sold by: Thrive Natural Care

                                                                                             Thank you for being a Prime
                                                                                             Member. Get $125 off: Pay              Add to List
                                                                                             $0.00 $22.45 upon approval
                                                                                             for the Amazon Business
                                                                                             Prime Card. Terms apply.


                                                                                          Size: 2 Fl Oz




                                                                                                                                                   TNC03303
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                                                       1/14
8/23/2021   CaseAmazon.com
                 2:20-cv-09091-PA-AS             Document
                           : THRIVE Natural Moisturizing          174-3
                                                         Mineral Face      Filed
                                                                      Sunscreen SPF10/26/21
                                                                                    30, 2 Ounces –Page    68 of
                                                                                                   Lightweight    169 Broad-Spectrum
                                                                                                               Moisturizer Page ID Matt…
                                                                   #:8941


                                                                       CJ
                                                                           2 Fl Oz
                                                                           $22.45
                                                                           ($11.23 / Fl Oz)



                                                                           2 Fl Oz (Pack of 2)
                                                                           $40.45
                                                                           ($10.11 / Fl Oz)



                                                                           2 Fl Oz (Pack of 3)
                                                                           $57.55
                                                                           ($9.59 / Fl Oz)



                                                                       Style: Face
                                                                       Ingredients Zinc Oxide 20%,
                                                                                   Water, Coco-
                                                                                   Caprylate,
                                                                                        See more
                                                                       Scent            Scented
                                                                       Sun        30 SPF
                                                                       Protection
                                                                       Item             2 Ounces
                                                                       Weight
                                                                       Skin Type        Oily,
                                                                                        Combination,
                                                                                        Normal


                                                                       About this item
                                                                       •    LIGHT DAILY MINERAL
                                                                            SUNSCREEN FACE
                                                                            SUNBLOCK WITH 20% ZINC
                                                                            OXIDE – Non-nano Zinc
                                                                            Oxide sunscreen creates a
                                                                            physical barrier to the sun.
                                                                            Safe & healthy alternative
                                                                            to chemical sunscreens. No
                                                                            white cast, fast absorbing,
                                                                            non-greasy, non oily & non-
                                                                            sticky and doesn’t sting
                                                                            eyes. Matte finish, non-
                                                                            tinted mineral sunscreen.
                                                                            Our upgraded formula
                                                                            allows better layering on
                                                                            your skin and helps reduce
                                                                            pilling with other skincare
                                                                            products you may use in
                                                                            your routine.
                                                                       •    SUN DEFENSE & REPAIRING
                                                                            FACE MOISTURIZER – All
                                                                            natural daily face lotion
                                                                            with SPF 30 hydrates,
                                                                            nourishes, and revitalizes
                                                                            skin while providing broad-
                                                                            spectrum protection against
                                                                            UVA/UVB rays. Anti-oxidant
                                                                            infused sun block formula
                                                                            for men and women helps
                                                                            repair skin damaged by sun
                                                                            and environmental stressors
                                                                       •    EFFECTIVE NATURAL
                                                                            INGREDIENTS & UPGRADED
                                                                            FORMULA – Powered by
                                                                            Thrive’s antioxidant rich
                                                                                                                TNC03304
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                           2/14
8/23/2021     CaseAmazon.com
                   2:20-cv-09091-PA-AS             Document
                             : THRIVE Natural Moisturizing          174-3
                                                           Mineral Face      Filed
                                                                        Sunscreen SPF10/26/21
                                                                                      30, 2 Ounces –Page    69 of
                                                                                                     Lightweight    169 Broad-Spectrum
                                                                                                                 Moisturizer Page ID Matt…
                                                                     #:8942Costa Rican super-plants,
                                                                                Juanilama, Fierrillo and
                                                                                Coralillo combined with
                                                                                Arabica coffee oil, Wakame
                                                                                seaweed, & Tazman pepper.
                                                                                Plant-derived formula helps
                                                                                reduce irritation and
                                                                                redness while repairing skin
                                                                                from sun exposure,
                                                                                pollution, and daily
                                                                                stressors. Upgraded formula
                                                                                contains our newest
                                                                                regeneratively farmed
                                                                                plant, Coralillo, bringing a
                                                                                boost of antioxidants, skin
                                                                                soothing and skin healing
                                                                                benefits.
                                                                            •   HIGH QUALITY &
                                                                                SATISFACTION
                                                                                GUARANTEED – No
                                                                                chemical sunscreen filters,
                                                                                cruelty-free, vegan, PABA-
                                                                                free, GMO-free, paraben-
                                                                                free, no synthetic colors or
                                                                                unhealthy ingredients. We
                                                                                have replaced our previous
                                                                                preservatives with two new
                                                                                innovative, plant derived
                                                                                ingredients that are
                                                                                healthier and more gentle
                                                                                for your skin. No synthetic
                                                                                fragrances added, only a
                                                                                subtle citric scent from the
                                                                                natural essential oils. 100%
                                                                                Satisfaction Guarantee: if
                                                                                you don't love your Thrive,
                                                                                we'll refund your purchase
                                                                            •   SUPPORTS COSTA RICAN
                                                                                FARMERS – With every
                                                                                purchase, you get a healthy
                                                                                natural facial moisturizer &
                                                                                sun screen while helping
                                                                                support the rural farmers
                                                                                who produced our super
                                                                                plants. Thrive’s business
                                                                                model and supply chain is
                                                                                designed to help farmers
                                                                                restore degraded soil on
                                                                                their land and improve their
  [fl]                                                                          livelihood

                                                                            Compare with similar items
                                                                               Report incorrect product
                                                                            information.

                                                                            Consider a similar item

                                                             S~TI
                                                             ~ ~ SKirio
                                                              , , . Regen
                                                                                          Sun Bum Original
                                                                                          SPF 50 Sunscreen
                                                                                          Lotion | Vegan
                                                                                          and Reef Friendly
                                                                                          (Octinoxate &
  [I]                                                                                     Oxybenzone
                                                                                          Free) Broad
                                                                            @             Spectrum
                                                                                          Moisturizing
                                                                 Doily Defens~
   4 VIDEOS
                                                                                                                  TNC03305
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                             3/14
8/23/2021     CaseAmazon.com
                   2:20-cv-09091-PA-AS             Document
                             : THRIVE Natural Moisturizing          174-3
                                                           Mineral Face      Filed
                                                                        Sunscreen SPF10/26/21
                                                                                      30, 2 Ounces –Page    70 of
                                                                                                     Lightweight    169 Broad-Spectrum
                                                                                                                 Moisturizer Page ID Matt…
        OS
                                                                     #:8943
                                                                sunscreen Balm         UVA/UVB
                                                                                                protects from sun               ,r1<--
                                                                                                                                   Sunscreen with
                                                                                                hydrates & restores ;~y..~
                                                                                                                       Vitamin E | 8 oz
                                                                                                                                  $15.99

                                                   (§)                                                                            (17666)
                                       D0ily Defense
                                                                                                                                     Climate
                                      Sunscreen Balm
                                       ~·"""'"""
                                      /rydro\004-~~                                                                               Pledge Friendly



                                                                                                                                 Introducing
                                                                                                     2 FL.
                                                                                                                                 Amazon
                                                                                                                                 Pharmacy
                                                                                                                                 Now you can have
                                                                                                                                 your medication
                                                                                                                                 delivered just like
                                   Roll over image to zoom in                                                                    everything else.
                                                                                                                                 Learn more >




               Make it a bundle
      We found 3 bundles with this item:
                                                                      TH VE
                                                                       ":,Ol')lll11\'M,18111f
                                                                                                                   1111<.lVE
                                                                                                                                                                 1HRIV
                                                                                                                                                                  ~ll(liJliiDtl'



                                                                                                             J.                                                   WIPlllf~•
                                                                       lf'..r«ll'IIIUIT'.,·
                                                                                                                   .=:. ,.. ~
                                                                                                                                                                  . ""'·
                                                                                                             ..
                                                                        . r,av,,·,1,'lj .




                                                                                                          -- -
                                                                         :=:                                        -.s:.:i                                       ~~~-.=
                                                                                                             di,    &0&




                                                                       -
                                                         HRIVE Natural Mineral
                                                         Face Sunscreen SPF30
                                                         And Natural Face Wa…
                                                         $3095 $37.90
                                                                                                         THRIVE Natural Daily
                                                                                                         Mineral Face Sunscreen
                                                                                                         SPF30, Refreshing Fa…
                                                                                                         $   4395 $52.85
                                                                                                                                                                 -
                                                                                                                                                    THRIVE Natural Daily
                                                                                                                                                    Mineral Face Sunscreen
                                                                                                                                                    SPF30 And Face Scru…
                                                                                                                                                    $3195 $39.90
        THRIVE Natural Moisturizing                                     1                                This bundle contains 3                     This bundle contains 2
      Mineral Face Sunscreen SPF 30, 2                                                                   items                                      items
                                                         This bundle contains 2
     Ounces – Lightweight Moisturizer…
                                                         items




   Frequently bought together


                                                                                                   Total price: $50.35
                                       .........                                                                          )
                                                                                                   CAdd all three to Cart

                           +                             +


     r.i This item: THRIVE Natural Moisturizing Mineral Face Sunscreen SPF 30, 2 Ounces – Lightweight Moisturizer Broad-S…                                               $22.45 ($11.23/Fl Oz)
     r.i THRIVE Natural Face Wash Gel for Men & Women – Daily Facial Cleanser with Anti-Oxidants & Unique Premium Nat…                                                   $12.95 ($3.83/Fl Oz)
     r.i THRIVE Natural Face Scrub for Men & Women – Exfoliating Face Wash with Anti-Oxidants Improves Skin Texture, Un…                                                 $14.95 ($4.42/Fl Oz)




   Special offers and product promotions

       •     Get a $125 Amazon.com Gift Card upon approval for the Amazon Business Prime American Express Card. Terms apply. Learn
             more.




   Have a question?
   Find answers in product info, Q&As, reviews

                                                                                                                                                                              TNC03306
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                                                                        4/14
8/23/2021   CaseAmazon.com
                 2:20-cv-09091-PA-AS             Document
                           : THRIVE Natural Moisturizing          174-3
                                                         Mineral Face      Filed
                                                                      Sunscreen SPF10/26/21
                                                                                    30, 2 Ounces –Page    71 of
                                                                                                   Lightweight    169 Broad-Spectrum
                                                                                                               Moisturizer Page ID Matt…
                                                                   #:8944
       Type your question or keyword




   Product Description




                    HEALTHIER NATURAL MINERAL FACE SUNSCREEN




        WHAT IT DOES                                                        WHY IT IS BETTER

        •   Provides broad spectrum SPF 30 sun protection                   •   SAFE for you and the planet: non-nano zinc oxide blocks
        •   Hydrates, nourishes, & revitalizes skin                             sun’s UVA/B rays and is reef-safe
        •   Helps reduce irritation & redness and repairs skin from daily   •   Quickly absorbs, without residue or greasy feel
            stressors                                                       •   Unique-to-Thrive Superplants, Juanilama, Fierrillo &
                                                                                Coralillo, infuse skin-protecting antioxidants*
                                                                            •   Regenerative farming, cruelty-free, GMO-free, vegan




                                                                            THRIVE’S UNIQUE SUPER-PLANTS

                                                                            The strength of three
                                                                            unique-to-Thrive plants
                                                                            in a powerful skincare
                                                                            experience
                                                                                                                        TNC03307
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                 5/14
8/23/2021   CaseAmazon.com
                 2:20-cv-09091-PA-AS             Document
                           : THRIVE Natural Moisturizing          174-3
                                                         Mineral Face      Filed
                                                                      Sunscreen SPF10/26/21
                                                                                    30, 2 Ounces –Page    72 of
                                                                                                   Lightweight    169 Broad-Spectrum
                                                                                                               Moisturizer Page ID Matt…
                                                                   #:8945 Thrive harnesses the strength of botanicals from
                                                                          Costa Rica. Our regenerative farming method
                                                                          boosts the potency & purity of these superplant
                                                                          oils.
                                                                          Juanilama: citric-scented herb with potent germ
                                                                          fighting properties for skin restoration &
                                                                          protection*
                                                                          Fierrillo: rainforest vine with potent antioxidants to
                                                                          help combat irritation, redness, & stress impacts on
                                                                          skin*

                                                                          Coralillo: jungle shrub with anti-inflammatory
                                                                          properties used by indigenous Costa Ricans to heal
                                                                          skin*
                                                                          *Statements not evaluated by FDA




                                                                                                                    TNC03308
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                           6/14
8/23/2021   CaseAmazon.com
                 2:20-cv-09091-PA-AS             Document
                           : THRIVE Natural Moisturizing          174-3
                                                         Mineral Face      Filed
                                                                      Sunscreen SPF10/26/21
                                                                                    30, 2 Ounces –Page    73 of
                                                                                                   Lightweight    169 Broad-Spectrum
                                                                                                               Moisturizer Page ID Matt…
                                                                   #:8946




                     Your Positive Impact
                     Your Thrive purchase directly supports a beautiful idea: a business's
                     activities, from start to end, from our farms to your face, should leave
                     people and planet healthier. How? Read on…


                                                         Visit Thrive




                     Q
                     A         Does this product have any of the following: oxybenzone, avobenzone,
                               octisalate, octocrylene, homosalate, or octinoxate?



                     Q
                     A         What is different in the new upgraded formula? (See more details in
                               product bullets)



                     Q
                     A         What does it smell like?



                     Q
                     A         Is this product for men and women? Or just men?



                     Q
                     A         How can I contact Thrive about my order?




                                                     Try Other Thrive Products

                                                                                                                TNC03309
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                           7/14
8/23/2021    CaseAmazon.com
                  2:20-cv-09091-PA-AS             Document
                            : THRIVE Natural Moisturizing          174-3
                                                          Mineral Face      Filed
                                                                       Sunscreen SPF10/26/21
                                                                                     30, 2 Ounces –Page    74 of
                                                                                                    Lightweight    169 Broad-Spectrum
                                                                                                                Moisturizer Page ID Matt…
                                                                    #:8947

                                                                                                                                                                                 ~iTbrive
                                                                                                                                                                                      ,
                                                                                                                                                                                     .. : ·..·




                                                                 Daily Defense Sunscreen                                 Face Wash                                              Face Scrub


     USE                                                       Protect from Sun & Moisturize                               Wash                                                       Exfoliate


     BENEFIT                                                  Blocks UVA/UVB rays & hydrates          Deep cleans without drying                      Removes dry skin, cle


     Size                                                                     2 Oz                                        3.38 Oz                                                     3.38 Oz


     Powered by Thrive Superplants                                              ✔                                            ✔                                                            ✔


     Cruelty Free & Vegan                                                       ✔                                            ✔                                                            ✔




   Compare with similar items


                                                                                                                           IMIUS!Mi                            111   Mmi3Q

                                                                                                                                                           I
                                                                                                                            Sheer Zinc
                                                  ®                                                       mineral             Face
                                                                                     50
                                                                                                       ~
                                              Doily Defense                                                                    mineral

                                              =~·=-;~
                                             Sunscreen Balm
                                                                                                           50                • f-3   1   F
                                                                                                       10(M_.,.,...             50
                                                                                                       _:;;:                                                         ... . . ,~
                                                                                                       1.0FLoz(5g,,t.l

                                                                                                                              -
                                                                                                                             20R.OZ(59n1.l
                                                                                                                                                                 tWUAAL SfAAV

                                                                                                                                                                     ~
                                                                                                                                                                     -_-::--"-".:""


                          This item THRIVE Natural                 CETAPHIL Sheer Mineral        Neutrogena Sheer Zinc                       Australian Gold Botanical
                          Moisturizing Mineral Face                Sunscreen Lotion for Face &   Oxide Dry-Touch Mineral                     Sunscreen Natural Spray
                          Sunscreen SPF 30, 2                      Body | 3 fl oz | 100%         Face Sunscreen Lotion with                  SPF 30, 6 Ounce | Broad
                          Ounces – Lightweight                     Mineral Sunscreen: Zinc       Broad Spectrum SPF 50,                      Spectrum | Water Resistant
                          Moisturizer Broad-                       Oxide & Titanium Dioxide |    Oil-Free, Non-Comedogenic
                          Spectrum Matte Natural                   Broad Spectrum SPF 50 |       & Non-Greasy Zinc Oxide
                          Face Sunblock with Clear                 For Sensitive Skin |          Facial Sunscreen,
                          Zinc Oxide & Antioxidants –              Dermatologist                 Hypoallergenic, 2 fl. oz
                          Vegan, Made in USA & Non                 Recommended Brand
                          Greasy (Packaging May
                          Vary)


                          C7  Add to Cart                              Add to Cart
                                                                                                 C7  Add to Cart                                 Add to Cart



     Customer                               (1647)                                   (2789)                              (5904)                                (5908)
     Rating

     Price                $
                           2245                                    $
                                                                    1099                         $
                                                                                                  930                                        $
                                                                                                                                              1079
     Shipping

     Sold By              Thrive Natural Care                      Amazon.com                    Amazon.com                                  Amazon.com
                                                                                                                                                    TNC03310
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                                                                        8/14
8/23/2021   CaseAmazon.com
                 2:20-cv-09091-PA-AS             Document
                           : THRIVE Natural Moisturizing          174-3
                                                         Mineral Face      Filed
                                                                      Sunscreen SPF10/26/21
                                                                                    30, 2 Ounces –Page    75 of
                                                                                                   Lightweight    169 Broad-Spectrum
                                                                                                               Moisturizer Page ID Matt…
                                                                   #:8948


   Product description
      Size:2 Fl Oz | Style:Face

         High-performance ecofriendly face moisturizer and sunscreen for daily use. Healthy, chemical-free zinc oxide helps shield skin from harmful UVA/UVB rays.
         Loaded with Thrive’s unique antioxidant superplants Juanilama and Fierillo. Plus Wakame Kelp, Tazman PepperTM and Arabica coffee oil to help reduce sun
         damage and signs of premature aging. Great all-day hydration. Quickly absorbs without white residue or greasy feel



   Product information

   Size:2 Fl Oz | Style:Face

       Product Dimensions                     1.5 x 1.1 x 4.8 inches; 2 Ounces        Feedback

       Item Weight                            2 ounces                                 Would you like to tell us about a lower price?

       Manufacturer                           THRIVE NATURAL CARE

       ASIN                                   B07RFJ29SX

       Item model number                      0852200005183

       Customer Reviews                                            1,647 ratings
                                              4.4 out of 5 stars

       Best Sellers Rank                      #8,415 in Beauty & Personal
                                              Care (See Top 100 in Beauty &
                                              Personal Care)
                                              #11 in Amazon Launchpad Day
                                              2 Deals
                                              #98 in Amazon Launchpad
                                              Small Business Promotion
                                              #163 in Skin Sun Protection



   Videos                                                                                                                                              Page 1 of 2

            Videos for this product




                                            0:50                                          0:21                                       0:50
             Unboxing: Thrive Daily Defense              Healthier Natural Mineral Face             Unboxing: THRIVE Natural                    Customer R
             Sunscreen SPF 30                            Sunscreen for People & Planet              Moisturizing Mineral Face…                  work

             Beautiful Day                               Thrive Natural Care                        Beautiful Day                               Michele Merc



    Upload your video




   Important information

      Ingredients
      Zinc Oxide 20%, Water, Coco-Caprylate, Dicaprylyl Carbonate, Glycerin, Lauryl Glucoside, Microcrystalline Cellulose, Propanediol, Cetyl Alcohol,
      Polyglyceryl-2 Dipolyhydroxystearate, Polyglyceryl-4 Laurate/Sebacate, Polyglyceryl-6 Caprylate/Caprate, Undaria Pinnatifida (Wakame) Extract,
      Phytic Acid, Cellulose Gum, Xanthan Gum, Polyhydroxystearic Acid, Coffea Arabica (Coffee) Seed Oil, Ethyl Macadamiate, Fridericia chica (Arrabidaea
      Chica) Extract, Lippia Alba Oil, Hamelia Patens Extract, Tasmannia Lanceolata Fruit/Leaf Extract, Rosmarinus Officinalis (Rosemary) Leaf Extract,
                                                                                                                                         TNC03311
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                                            9/14
8/23/2021  CaseAmazon.com
                   2:20-cv-09091-PA-AS                 Document
                               : THRIVE Natural Moisturizing            174-3
                                                              Mineral Face          Filed
                                                                            Sunscreen    SPF10/26/21
                                                                                              30, 2 Ounces –Page     76 of
                                                                                                              Lightweight    169 Broad-Spectrum
                                                                                                                          Moisturizer Page ID Matt…
                                                                         #:8949
       Helianthus Annuus (Sunflower) Seed Oil, Triethoxycaprylylsilane, Caprylyl Glyceryl Ether, Caprylhydroxamic Acid, Natural Fragrance (of orange,
       grapefruit, lemon, anise, guaiacwood, cedarwood, peppermint, davana, patchouli, vetiver oils)




   Customer questions & answers
        mascara


      All       Product Information          Customer Q&A's          Customer Reviews


   Customer Reviews

                  Updated- new favorite!!
   By Hayley McLaughlin on May 8, 2020
   I have been using product daily for 2 weeks and I am very impressed. It goes on smooth and evenly and doesn't leave an oily
   residue. I can use it right around my eyes (which is rarely the case with other sunscreens- even mineral based). The smell is
   very mild, but lovely - think essential oil sweet orange. I've worn this on sweaty hikes in the mountains and it doesn't attract
   dirt or run on my face or neck. I've worn it to work all day as well. I don't wear much makeup but I do wear a creme blush and
   mascara to work (now that we are in masks). I have noticed that the mascara does great even if I have applied this around my
   eyes first, but the blush doesn't blend well over this sunblock. A powder blucher is better suited to this block and I suspect it
   would stay on longer due to it's non-greasy nature. While it doesn't feel moisturizing, it doesn't dry my face at all and still
   keeps a neutral/matte finish all day. I LOVE THIS BLOCK! It has replace all others in my cabinet. see less

                  Easy to apply, but watch the eyes!
   By Dinah Massie on June 30, 2021
   I like Thrive products and have bought eye liner and mascara from them as well as moisteurizer. My dermatologist told me to
   get sunscreen to wear every day, so I bought this.
   The first day I wore it, I put it all over my face and at 9am went walking (as I do daily) for a brief exercise break at work. I'm in
   Humid Houston, and by early morning the sweat drips freely. In fact, the sweat ran into the sunscreen, which ran into my eyes.
   And it burned like a thousand tiny flames of hell.
   Four hours later and my eyes are still a little red. see less

   See 2 matching customer reviews



      Don't see the answer you're looking for?         Post your question




   Customers also asked

     why is there no cap to cover the pump? how can I bring it anywhere?            Is this gluten free?


     Can this be used as a daily moisturizer?        Is this product oily?


     Love this product and would love to keep an extra bottle in my car. Will storing the bottle in a hot car affect its

     quality/effectiveness?




   Customer reviews                                              Reviews with images

                    4.4 out of 5
   1,647 global ratings

   5 star                                   68%

   4 star   D                               15%

   3 star
            □                                 8%                 See all customer images

   2 star   0                                 5%                 Read reviews that mention
   1 star   0                                 5%

                                                                                                                                           TNC03312
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                             10/14
8/23/2021CaseAmazon.com
                  2:20-cv-09091-PA-AS                 Document
                                : THRIVE Natural Moisturizing          174-3
                                                              Mineral Face       Filed
                                                                           Sunscreen  SPF10/26/21
                                                                                            30, 2 Ounces –Page      77 of
                                                                                                            Lightweight    169 Broad-Spectrum
                                                                                                                        Moisturizer Page ID Matt…
    How are ratings calculated?                                         #:8950
                                                               white cast     sun protection       mineral sunscreen     white residue


                                                           zinc oxide       sensitive skin      highly recommend         easy to apply
   By feature
                                                           goes on smoothly         easy to spread       tried many        really like     citrus smell
   Light weight                               4.8

   Sun protection                             4.5
                                                          Top
                                                          Topreviews
                                                              reviews
   Easy to spread                             4.5

    See more                                             Top reviews from the United States




                                                         G
                                                                kb8

   Review this product                                                 I highly recommend the THRIVE sunscreen even for dark skin!
                                                         Reviewed in the United States on July 16, 2019
   Share your thoughts with other customers              Size: 2 Fl Oz Style: Face Verified Purchase
                                                         This sunscreen is amazing as it moisturizes very well, provides great protection in the sun
               Write a customer review
                                                         and blends in well even with my dark skin tone. I love that I could go in and out of the ocean
                                                         more than 5 times before I felt I needed to reapply! This is a great product with
                                                         environmental friendly ingredients that that is likely more safe than some of the other
                                                         products, I highly recommend this sunscreen!

                                                         311 people found this helpful

                                                             Helpful          Report abuse


                                                                Precise Disarray Top Contributor: Pets TOP 50 REVIEWER VINE VOICE

                                                                       no white cast, super moisturizing, dewy finish, citrus scent
                                                         Reviewed in the United States on July 15, 2019
                                                         Size: 2 Fl Oz Style: Face Verified Purchase
                                                         I have a shelf of sunscreens. I am trying to find the perfect sunscreen for daily use on my
                                                         face. I happen to be fair skinned, so if it happens to have a white cast, it isn't too noticeable.
                                                         But still, I'd like to not even have to worry about it. I also would prefer not to use chemical
                                                         sunscreens. I often use those on my body, but for my face which is more sensitive- the
                                                         physical (mineral) sunscreens is better for me. There is NO white cast with this, so definitely
                                                         fine for darker skin tones if you are looking for a physical sunscreen.

                                                         This sunscreen is nice. I hot days or days I know where I will be sweating a bit, I don't bother
                                                         with my expensive skin care routine, since I am likely to sweat it off. This sunscreen offers
                                                         some skin care goodies above and beyond non nano zinc oxide. So I feel like I am still doing
                                                         something for my skin, including moisturizing it. According to description, it has antioxidant
                                                         super plants:
                                                         --Juanilama: anti-bacterial, anti-fungal and anti-oxidant (87% more than vitamin E)
                                                         properties, and
                                                         --Fierillo:
                                                           Read more anti-bacterial, anti-inflammatory, skin healing, and antioxidant properties;




                                                         250 people found this helpful

                                                             Helpful          Report abuse


                                                                GC

                                                                       It's feels nice so far.
                                                         Reviewed in the United States on April 25, 2020
                                                         Size: 2 Fl Oz Style: Face Verified Purchase
                                                         Right now, I'm patch testing the sunscreen on my hand. So far, I've noticed my hand looks
                                                         and feels smoother, and most importantly, i have been looking for a sunscreen that
                                                         wouldn't give my brown skin a white overcast and this product delivers. In my attempt to
                                                         incorporate sunscreen into my skin care routine as a black woman, i've had a lot of trouble
                                                                                                                                 TNC03313
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                                 11/14
8/23/2021   CaseAmazon.com
                 2:20-cv-09091-PA-AS             Document
                           : THRIVE Natural Moisturizing          174-3
                                                         Mineral Face        Filed
                                                                      Sunscreen   SPF10/26/21
                                                                                        30, 2 Ounces –Page      78 of
                                                                                                         Lightweight       169 Broad-Spectrum
                                                                                                                        Moisturizer Page ID Matt…
                                                                   #:8951
                                                        with looking grey/purple, but if this patch test goes well, i'll update how it behaves on the
                                                            face! Only complaint i can have so far is i'm not too much of a fan of having fragrance in my
                                                            skin products, both body and face, but i might make an exception here.

                                                            Edit: Its now may 6th, it's been a while. still have no complaints, really. it works! doesn't
                                                            show up on my skin, haven't had any adverse reactions.
                                                            44 people found this helpful

                                                                Helpful          Report abuse


                                                                   MHG

                                                                          Like no other sunscreen I’ve tried.
                                                            Reviewed in the United States on July 1, 2019
                                                            Size: 2 Fl Oz Style: Face Verified Purchase
                                                            I absolutely love this sunscreen - and I am very picky because I have skin sensitivities. Wish it
                                                            came in a bigger bottle! Healthy zinc option without the thick, white feel of other
                                                            sunscreens. And it smells so fresh. My husband and boys all liked it too. The fact that is also
                                                            helps Costa Rican farmers makes it even better.
                                                            57 people found this helpful

                                                                Helpful          Report abuse


                                                                   chicky

                                                                          Great as both moisturizer and sunscreen
                                                            Reviewed in the United States on July 13, 2019
                                                            Size: 2 Fl Oz Style: Face Verified Purchase Early Reviewer Rewards (What's this?)
                                                            I like this product so far. I’ve been using it as a moisturizer and sunscreen for about a week
                                                            under my make up or alone. It works really well as both.
                                                            I like the fact that it’s good for my skin. Also, I like mineral sunscreen and this one doesn’t
                                                            leave a white cast. It has a slight citrusy scent but it doesn’t bother me. It’s also a bit runny
                                                            and sinks into the skin quickly. I highly recommend this product.
                                                            47 people found this helpful

                                                                Helpful          Report abuse


                                                                   Fiona

                                                                          Good ingredients, no residue but makes my face shiny
                                                            Reviewed in the United States on July 28, 2019
                                                            Size: 2 Fl Oz Style: Face Verified Purchase
                                                            This is the first product I have ever used for facial sunscreen and wanted to make sure that
                                                            what I chose was the best I could get. The reviews seemed very very high and I went for it. I
                                                            love that they use products that are safe for the environment and that don’t make me fear
                                                            for what’s getting into my body.
                                                            But this sunscreen does make my face shiny, unlike some reviews I saw, I guess some may
                                                            call it a nice “glow” but I don’t really like it, I could start putting powder over it I guess but I
                                                            try to use as little on my face as possible. Since it’s more on the oily side, I’ve actually gotten
                                                            a couple pimples on my chin from it, and I haven’t had a pimple in months (which I was
                                                            pretty proud of).
                                                            This sunscreen however, is not chalky like other sunscreens which I really like, and very easy
                                                            to spread, just like any other facial moisturizer would. Sometimes looking at other people
                                                            you can clearly see the white on their fuzzy facial hair, but with this one it sort of soaks into
                                                            the skin leaving no visible residue behind.
                                                            36 people found this helpful

                                                                Helpful          Report abuse


                                                                   Douglas McLachlan

                                                                          Must have: skin glows, natural, great price
                                                            Reviewed in the United States on July 1, 2019
                                                            Size: 2 Fl Oz Style: Face Verified Purchase
                                                                                                                                    TNC03314
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                                    12/14
8/23/2021   CaseAmazon.com
                 2:20-cv-09091-PA-AS             Document
                           : THRIVE Natural Moisturizing          174-3
                                                         Mineral Face         Filed
                                                                        Sunscreen   SPF10/26/21
                                                                                         30, 2 Ounces –Page        79 of
                                                                                                           Lightweight     169 Broad-Spectrum
                                                                                                                       Moisturizer   Page ID Matt…
                                                                   #:8952
                                                        You can tell from the first use that this is high quality product. Great, light scent, massages
                                                                into skin quickly, and left an impressive skin glow. You won't find better quality at even
                                                                double the price (I checked...lol!). It definitely punches above its weight. It even absorbed
                                                                into my beard easily--no crazy "beard cake". I only trust zinc oxide sunscreens, the other
                                                                chemical sunscreens on the market just aren't worth the risk. And I like the company's
                                                                environmental/sustainable development stewardship. They're like the Patagonia of skin
                                                                care.
                                                                Lastly, it's a good vacation gift, because it can travel through airport security, and the cap
                                                                won't let it squirt out in your bag.

                                                                35 people found this helpful
                                                                r
                                                                    Helpful
                                                                               .,,    Report abuse


                                                                       Joel Makower

                                                                              You won't find a better men's skincare product
                                                                Reviewed in the United States on June 30, 2019
                                                                Size: 2 Fl Oz Style: Face Verified Purchase
                                                                Like all Thrive's products, this one has become a staple for me. It's a light, hydrating face
                                                                balm that I use daily. It's smooth and not at all oily, unlike some cheap sunscreens, so you
                                                                can use it every day. No strong fragrance. Plus, I love Thrive's mission — to restore the
                                                                planet just as it does our skin while supporting farmers in Costa Rica, where its plants are
                                                                sourced — which makes it healthy for the earth as well as for the rest of us.

                                                                26 people found this helpful

                                                                    Helpful           Report abuse



                                                                See all reviews



   Pages with related products. See and discover other items: Best tinted sunblocks for face, Sunscreens for Faces, Explore zinc oxide sunscreens for faces,
   Explore clear sunscreens for faces, Explore Facial Sunscreens


   Disclaimer: While we work to ensure that product information is correct, on occasion manufacturers may alter their ingredient lists. Actual product
   packaging and materials may contain more and/or different information than that shown on our Web site. We recommend that you do not solely rely
   on the information presented and that you always read labels, warnings, and directions before using or consuming a product. For additional information
   about a product, please contact the manufacturer. Content on this site is for reference purposes and is not intended to substitute for advice given by a
   physician, pharmacist, or other licensed health-care professional. You should not use this information as self-diagnosis or for treating a health problem
   or disease. Contact your health-care provider immediately if you suspect that you have a medical problem. Information and statements regarding
   dietary supplements have not been evaluated by the Food and Drug Administration and are not intended to diagnose, treat, cure, or prevent any
   disease or health condition. Amazon.com assumes no liability for inaccuracies or misstatements about products.

   Product details
   Size:2 Fl Oz | Style:Face

      Product Dimensions ‫‏‬: ‎1.5 x 1.1 x 4.8 inches; 2 Ounces
      Item model number ‫‏‬: ‎0852200005183
      UPC ‫‏‬: ‎852200005183
      Manufacturer ‫‏‬: ‎THRIVE NATURAL CARE
      ASIN ‫‏‬: ‎B07RFJ29SX
      Best Sellers Rank: #8,415 in Beauty & Personal Care (See Top 100 in Beauty & Personal Care)
        #11 in Amazon Launchpad Day 2 Deals
        #98 in Amazon Launchpad Small Business Promotion
        #163 in Skin Sun Protection
      Customer Reviews:
                      1,647 ratings




                                                                           Back to top


                                                                                                                                      TNC03315
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                                        13/14
8/23/2021 CaseAmazon.com
                2:20-cv-09091-PA-AS            Document
                         : THRIVE Natural Moisturizing          174-3
                                                       Mineral Face      Filed
                                                                    Sunscreen SPF10/26/21
                                                                                  30, 2 Ounces –Page    80 of
                                                                                                 Lightweight    169 Broad-Spectrum
                                                                                                             Moisturizer Page ID Matt…
  Get to Know Us               Make Money with Us
                                                                 #:8953 Amazon Payment Products                          Let Us Help You
  Careers                                    Sell products on                                        Amazon Rewards Visa                                               Amazon and COVID-
                                             Amazon                                                  Signature Cards                                                   19
  Blog
                                             Sell apps on Amazon                                     Amazon.com Store Card                                             Your Account
  About Amazon
                                             Become an Affiliate                                     Amazon Secured Card                                               Your Orders
  Sustainability
                                             Become a Delivery                                       Amazon Business Card                                              Shipping Rates &
  Press Center                               Driver                                                                                                                    Policies
                                                                                                     Amazon Business Line of Credit
  Investor Relations                         Start a package delivery                                                                                                  Amazon Prime
                                             business                                                Shop with Points
  Amazon Devices                                                                                                                                                       Returns &
                                             Advertise Your Products                                 Credit Card Marketplace                                           Replacements
                                             Self-Publish with Us                                    Reload Your Balance                                               Manage Your Content
                                                                                                     Amazon Currency Converter                                         and Devices
                                             Host an Amazon Hub
                                                                                                                                                                       Amazon Assistant
                                             › See More Make Money
                                             with Us                                                                                                                   Help




                                                                                        English                    United States




 Amazon Music          Amazon                    Amazon Drive                       6pm                            AbeBooks                 ACX                                  Alexa
 Stream millions       Advertising               Cloud storage                      Score deals                    Books, art               Audiobook Publishing                 Actionable
 of songs              Find, attract,            from Amazon                        on fashion brands              & collectibles           Made Easy                            Analytics
                       and                                                                                                                                                       for the Web
                       engage
                       customers

 Sell on Amazon        Amazon                    Amazon Fresh                       AmazonGlobal                   Home Services            Amazon Ignite                        Amazon Web
 Start a Selling       Business                  Groceries & More                   Ship Orders                    Experienced              Sell your original                   Services
 Account               Everything                Right To Your Door                 Internationally                Pros                     Digital Educational                  Scalable Cloud
                       For                                                                                         Happiness                Resources                            Computing
                       Your Business                                                                               Guarantee                                                     Services

 Audible               Book                      Box Office Mojo                    ComiXology                     DPReview                 East Dane                            Fabric
 Listen to Books &     Depository                Find Movie                         Thousands of                   Digital                  Designer Men's                       Sewing,
 Original              Books With                Box Office Data                    Digital Comics                 Photography              Fashion                              Quilting
 Audio                 Free                                                                                                                                                      & Knitting
 Performances          Delivery
                       Worldwide

 Goodreads             IMDb                      IMDbPro                            Kindle Direct                  Amazon                   Prime Video Direct                   Shopbop
 Book reviews          Movies, TV                Get Info Entertainment             Publishing                     Photos                   Video Distribution                   Designer
 &                     & Celebrities             Professionals Need                 Indie Digital & Print          Unlimited                Made Easy                            Fashion Brands
 recommendations                                                                    Publishing                     Photo Storage
                                                                                    Made Easy                      Free With Prime

 Amazon                Whole Foods               Woot!                              Zappos                         Ring                     eero WiFi                            Blink
 Warehouse             Market                    Deals and                          Shoes &                        Smart Home               Stream 4K Video                      Smart Security
 Great Deals on        America’s                 Shenanigans                        Clothing                       Security                 in Every Room                        for Every Home
 Quality Used          Healthiest                                                                                  Systems
 Products              Grocery Store

                       Neighbors                 Amazon Subscription                PillPack                       Amazon                   Amazon Second Chance
                       App                       Boxes                              Pharmacy                       Renewed                  Pass it on, trade it in, give
                       Real-Time                 Top subscription boxes –           Simplified                     Like-new                 it a second life
                       Crime                     right to your door                                                products
                       & Safety                                                                                    you can trust
                       Alerts




                                        Conditions of Use   Privacy Notice   Interest-Based Ads       © 1996-2021, Amazon.com, Inc. or its affiliates




                                                                                                                                                                 TNC03316
https://www.amazon.com/dp/B07RFJ29SX?ref=emc_p_m_5_i&th=1                                                                                                                                     14/14
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 81 of 169 Page ID
                                   #:8954




      TRIAL EXHIBIT NO. 233
                       Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 82 of 169 Page ID
                                                          #:8955




~       IIK.l' I .,_




                E: sy t:o p Ly, but tell           ~!
8) Jin.ah r,.,~ on June 30 2021
I Lile€! Tru l pro         ts . nd h • bought      liner d I       J    r m Ulen .as.   lL s. n     l ~ uti r. M              ~L told     to
                  tow ar                    I bought ti s.
                 woro i I                vcr ,           d at 9am wcr t walki · g las. do d lly) or a brief      tc~c brc:i1 at 1/lOf I m i
                  n. 1d by                i g           td·         y. I fact, tll sweat ran int.Cl ltlc sunscreen M'l- h ran ·me       eyes.
                   -11'.e JJ tho            i1          L
                t and m                   ill a         .~ s

Cui'tomcrs also asked

   s.         is grcas.y? I tlilllc
                                Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 83 of 169 Page ID
    a~~~~lH                     @~;~f/;600;                        #:8956                           .. • ::u
                                                                                                           ~Usts •                                                                                                                                                                                                             ~~;sers     'Rcart

    = All       Buy Agam        Whole Food-.          Prime Video        Outdoor Recreation      Sport-. & Frtnes-.        Live-.tream-.     Amazon Bas,cs           Beauty & Personal Care          Pet Supplie-.     Gift cards    Cu-.tomer Service       Automotive        Coupons                           Me-els as low as $1/mo with Pnme

THRIVE Nc1tura l Moisturizing Mineral Face Sun screen SPF 30, 2 OuncE"i - ... > Customer revie ws


Customer reviews                                                    THRIVE Natural Moist urizing Mineral Face Sunscreen SPF 30, 2 Ounces - Lightweight Moist urize r Broad-Spec. ..
*****
1,650 glo bal ratings
                      4 .4 out of S
                                                                    by Thrive Natural Care

                                                                    Size: 2 Fl Oz      Style: Face       Change
                                                                                                                                                                                                                                                                                                                  See All Buying Options


                                                                                                                                                                                                                                                                                                                      Add to WiID List
Sstar                                      68%

4 star
            ■                              15%

3star       I                                8%

2 star      I                                5%

1 star      I                                5%
v   How are ratings calculated?


Top positive review                                                                                                                                                   Top critical review                                                                                                            Questions? Get fast answers fro m
All positive reviews •                                                                                                                                                All critical reviews •                                                                                                         reviewe rs
fit      kbS                                                                                                                                                          fit       Michelle Marre n                                                                                                      What do yoo want t o know about THRIVE
***** I hig hly recom me n d t he TH RIVE s unscreen even fo r da rk skin!                                                                                            ***** I did not have a good e xperie nce                                                                                        Natural Moisturizing Minerc1l Face
                                                                                                                                                                                                                                                                                                      Sunscreen SPF 30, 2 Ounces - lightweight
Reviewed in the United States on July 16, 2019                                                                                                                        Reviewed in t he United States o n May 4, 2021
This sun5ereen is c1mazing c1s it moistu rize5o very well, provide5o g reat protection in the sun and blends in well                                                  I hc1ve no doubt that many women have had great experiences with th is product. I love that it is nat u ral and
                                                                                                                                                                                                                                                                                                     See all 87 answered questions
even with my dc1rk skin tone . ( love t h.it I could go in and out of the ocean more than S t imes before I felt I                                                    plc1nt based.
needed to rec1pply! This is c1 grec1t product with environmental friendly ingredient s t hat that is likely more safe
than some of the other products, I highly recommend th is sunscreen!                                                                                                  But ilS soon as I p ut the product in my face, I instantly felt c11l the moisture remove d from my skin . It felt like a
                                                                                                                                                                      regulc1r drug st ore sunscreen and even left a gritty texture on my skin. I                                                    Need customer service? Click here
311peopl.efoundthishelpful

                                                                                                                                                                      For the sake o f giving it a proper t ry, I left it on for the rest of the e ve ning but as t he night went on, I felt my

                                                                                                                                                                      Read more
                                                                                                                                                                      7 people loond this helpful




    0. masca ra



                                All reviewers                            All stars                            All formats                              TeXl, image, video

FILTERED BY
co ntaining Mmasca rc1MClear filter
2 global reviews
Thii; fi lter onl~ WOWS ratings with rev~



From the United States

fit      Dinah Massie

***** Ea sy t o apply, but w at ch the eyes!
Reviewed In the United Sta tes on J une 30, 2021
Size: 2 n Oz      $tyle: Face   Ve rified Purch as•
I like Thrive p roducts and have bought eye liner and mascara from them a s well as moisteurizer. My dermatologist told me to get s unscreen to wear every day, so I bought this.
The first day I wore it, I put it all over my face and at 9am went walking (as I do daily) for a brief e~ercise break at work. I'm in Humid Houston, and by early morning the sweat
drips freely. In fact, the sweat ran into the sunscreen, which ran into my eyes. And it burned like a thousand t iny flames of he ll.
Four hours later and my eyes are still a little red.
One perso n found t his he lpful

      Helpful             Report abuse


fl       Hayley Mclaughlin

***** Upda ted ~ new favorit e!!
Reviewed in the United States on May 7, 2020
Size: 2 A Oz      $ty\e: Face   Verified Purch u•
I have been using product dc1ily for 2 weeks c1nd I c1m very impressed. It goes on smooth c1nd evenly and doe-.n't leave an oily residue. I cc1n use it right around my eyes (which is
rarely the cc1se with o t her sunscreens- e ven mineral based). The s mell is very m ild, but lovely - thin k essential oil sweet orc1nge. I've worn this on swecty hikes in the mount ains
c1nd it doesn't c1ttract dirt or run on my face o r neck. I've worn it to work atl day as welt I don't wear m uch makeup but I do wear c1 creme blush and m ascara t o worlc (now t hat
we c1re in masks). I have noticed that the mascarc1 does g reat even if I have applied this around my eyes first, but the b lush doe5on"t blend welt over this sunblock. A powder
bluche r is better suited to this block and I suspect it would stay on longer due to it's non-grec1sy nature. While it doesn't feel m oist urizing, it doesn't dry my face at c1ll a nd stilt
keeps a neutrc1l/mc1tte finish c1ll dc1y. I LOVE THIS BLOCK! It hc1s replace c1ll others in my cab inet.

2 people found this helpful

      He lpful            Report abuse


• Se e all d et a ils for THR IVE Natural Moisturizing Mineral Face Sunscreen SPF 30 , 2 Ountes - ...



    Get everything you need                                                                                                                                                                                                                                                                                                              Page 1 of S




                Elmer's All Purpose             Amazon Basics 48 Pack            Dixie Paper Plates, 10           Pepperidge Farm                Pokemon the Movie                    Echo Glow - Multicolo r        Cat Kid Comic Club:          Crest Kid's Cavity             Redi Shade 1617201           Crayola Crayons 24 ct
                School Glue Sticks,             AA Hig h-Performance             1/16 inch, Dinner Size           Goldfish Classic Mix           2000                                 smart lamp for kids, a         From the Creator of Dog      Protection Toothpast e         Origina l Blackout           (Pack of 2)
                Washable, 7 Gram, 30
                Count
                                                Alkaline Batteries, 10-
                                                Year Shelf Life, Easy to...
                                                                                 Printed Disposable Plate,
                                                                                 220 count (5 pack-. of 44
                                                                                                                  Cracker-., 29 Oz Variety
                                                                                                                  Pack Box, 30 Count...
                                                                                                                                                 Kunihiko YU)'.Jma
                                                                                                                                                 ****"11,412
                                                                                                                                                                                      Certified for Humans
                                                                                                                                                                                      Device - Requ ires ...
                                                                                                                                                                                                                     Mao
                                                                                                                                                                                                                     >0..., P~l<ey
                                                                                                                                                                                                                                                  (children an d toddlers
                                                                                                                                                                                                                                                  2+). Sparkle Fun, 4.6 Oz
                                                                                                                                                                                                                                                                                 Pleated Paper Shade , 36
                                                                                                                                                                                                                                                                                 in x 72 in, 6•Pack, Black
                                                                                                                                                                                                                                                                                                              *****6,247
                                                                                                                                                                                                                                                                                                              SG.01
                ***** 21,874                    ****ir 3$4,654                   Plates), Packaging and ...       *****42,$39                    S3.99                                ****"129,298                   *****12,977                  (Pack of 3)                    ***** 1$,$38                 P rime FREE Oehvery
                SG.99                           ~                inAA            ***** $3,408                     ~                  in AAimal                                        ~               in N....ery    Hardtover
                                                                                                                                                                                                                     '7.20
                                                                                                                                                                                                                                                  *****14,354                    S34 .99                      ln stock soon.
                .,rpri~ FREEOelivery            Batterie.                        ~               ;,               CrKken                                                              Night lights                                                S4.97                          .,rp,i~   FREEOelivery
                                                S14.99                           Disposable Plates                S9.98                                                               S29.99                         _,prim• FREEOelivery         ..rpri,- FRHOel.ivery
                                                .,rprim• FREEO!!livery           13 offers from S34.99            Primo. FREE Oelivl!f)'                                              -'P•i~ FREEOelivery




                ,
    Inspired by your browsing history                                                                                                                                                                                                                                                                                                    Page 1 of S


                                                                                                                                                                                                                                                                                               '
                                                                                                                                                                                                                                                                                            --•..
                                                                                                                                                                                                                                                                                                               ~
                                                                                                                                                                                                                                                                          .L




                                                                                                                                                 ~<--
                Wolf Tooth Components
                Lindarets GoatLink
                Shimano Direct Mount
                Rear Derailleur
                ****"11
                SJ.4 Q'-
                         88                           '
                                                Wolf Tooth Roadlink

                                                *****'"
                                                ' 21.95
                                                _,p rim• FREEO!!livery
                                                                                 Wolf Tooth Components
                                                                                 2Smm B-Screw

                                                                                 *****''°
                                                                                 S4 .95
                                                                                 _,prim• FREE Ocliv"ry
                                                                                                                  KMCAO KMC
                                                                                                                  MISSINGLINK 10R
                                                                                                                  ****"1671
                                                                                                                  S13.99
                                                                                                                  _,prim• FREEDel.ivery
                                                                                                                                                 Parle Tool MLP- 1.2
                                                                                                                                                 Bicycle Chain Master
                                                                                                                                                 LinkPUers
                                                                                                                                                 *****3,712
                                                                                                                                                 1.15.95
                                                                                                                                                 ,.,..·...,. ~ou• n ..i· - ~•
                                                                                                                                                                                      AAXA Techn ologies KP·
                                                                                                                                                                                      101-01 AAXA LEO Pico
                                                                                                                                                                                      Micro Video Projector -
                                                                                                                                                                                      Pocket Size Portable
                                                                                                                                                                                      Mobile Mini Projector...
                                                                                                                                                                                      ··••-02.333
                                                                                                                                                                                                                     '
                                                                                                                                                                                                                     Elgato Cam Link 4K -
                                                                                                                                                                                                                     Broadcast Live, Record
                                                                                                                                                                                                                     v ia DSLR, Camcorder, or
                                                                                                                                                                                                                     Action Cam, 1080p60 or
                                                                                                                                                                                                                     4K at 30 FPS, Compact ...
                                                                                                                                                                                                                     ··••str4.430
                                                                                                                                                                                                                                                  KMCX10-116L, NP/ BK
                                                                                                                                                                                                                                                  10 Speed Bicycle Chain
                                                                                                                                                                                                                                                  ****"11,724
                                                                                                                                                                                                                                                  S29.99-S46.99
                                                                                                                                                                                                                                                                                   V
                                                                                                                                                                                                                                                                                 Chromlives Photo Copy
                                                                                                                                                                                                                                                                                 Stand Pico Projector
                                                                                                                                                                                                                                                                                 Stand with Phone Clamp
                                                                                                                                                                                                                                                                                 Overhead Phone Mou nt
                                                                                                                                                                                                                                                                                 Phone Stand Mini.. .
                                                                                                                                                                                                                                                                                 ··••str2.797
                                                                                                                                                                                                                                                                                                              Gonine ACK-E6 AC
                                                                                                                                                                                                                                                                                                              Adapter DR-E6 DC
                                                                                                                                                                                                                                                                                                              Co upler LP·E6 LP·E6N
                                                                                                                                                                                                                                                                                                              Dummy Battery Power
                                                                                                                                                                                                                                                                                                              Supply Kit for Canon ...
                                                                                                                                                                                                                                                                                                              ··••str944
                    Case 2:20-cv-09091-PA-AS Document 174-3
       .,,prime FREE Delivery                             S125.99
                                                                 Filed 10/26/21
                                                                        S108.47
                                                                                Page 84 of1-22.99
                                                                                               169 Page
                                                                                                     1-26.99
                                                                                                             ID
                                                       #:8957    .,,prime FREE Delivery   .,,prime FREE Delivery   .,tprime FREEOelivery   .,,prime FREE Delivery




Your Browsing History Vieworedit your browsinghist ory                                                                                                              Page 1 of4




                                                                                   f f
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 85 of 169 Page ID
                                   #:8958




      TRIAL EXHIBIT NO. 151
8/23/2021    CaseAmazon.com:
                  2:20-cv-09091-PA-AS              Document
                             Customer reviews: Thrive Natural Body 174-3     Filed 10/26/21
                                                                   Mineral Sunscreen               Page
                                                                                     SPF 50, 4 Ounces      86Resistant
                                                                                                      - Water  of 169  ReefPage   ID
                                                                                                                           Safe Sunscreen with…
                                                                    #:8959
  Skip to main content Deliver to Stephen                  All
                                                                                                                                   Hello, Stephen        Returns       0
                       Los Angeles 90034‌                                                                                         Account & Lists        & Orders


     All     Pet Supplies      Buy Again      Amazon Business            Shopper Toolkit         Groceries   Livestreams    Health & Household       Amazon Basics

   Thrive Natural Body Mineral Sunscreen SPF 50, 4 Ounces - Water... › Customer reviews


   Customer reviews                                              Thrive Natural Body Mineral…
                       4.4 out of 5                              by Thrive Natural Care                                      C        See All Buying Options
                                                                                                                                                                   7
   1,647 global ratings
                                                                                                                                          Add to Wish List
   5 star    I                               68%

   4 star
             □                               15%

   3 star    D                                8%

   2 star    0                                5%
                                                       Write a review
   1 star    0                                5%

     How are ratings calculated?



   Top positive review                                                  Top critical review                                Questions? Get fast answers from
   All positive reviews ›                                               All critical reviews ›                             reviewers

   4l       kb8

                I highly recommend the
                                                                        4l     Michelle Marren

                                                                                       I did not have a good
                                                                                                                      What do you want to know about Thrive
                                                                                                                      Natural Body Mineral Sunscreen SPF 50, 4
                                                                                                                      Ounces - Water Resistant Reef Safe
   THRIVE sunscreen even for dark skin!                                 experience
                                                                                                                      S            ith B d S     t    Cl  Zi
   Reviewed in the United States on July 16,                            Reviewed in the United States on May 4, 2021
                                                                                                                     See all 87 answered questions            Ask
   2019                                                                 I have no doubt that many women have had
   This sunscreen is amazing as it moisturizes                          great experiences with this product. I love
   very well, provides great protection in the sun                      that it is natural and plant based.
   and blends in well even with my dark skin                                                                         Need customer service? Click here
   tone. I love that I could go in and out of the                       But as soon as I put the product in my face, I
   ocean more than 5 times before I felt I                              instantly felt all the moisture removed from
   needed to reapply! This is a great product                           my skin. It felt like a regular drug store
                                                                        Read more
   with environmental friendly ingredients that                         sunscreen and even left a gritty texture on my
   311 people found this helpful                                        7 people found this helpful




   ~--~
    causemetics
                □                                   Search


   SORT BY              FILTER BY

   c
   Top
    Topreviews
        rev…        Jc
                     ___r_ _r___J
                         All
                          Allreviewers
                              reviewers           All
                                                   Allstars
                                                       stars             Text,
                                                                          Text,image,
                                                                                image, vide
                                                                                       …

   FILTERED BY
   containing "causemetics" Clear filter
   1 global review
   This filter only shows ratings with reviews.



   From the United States


   4l       S. HD

                 Brilliant. Finally a winner for brown skin
   Reviewed in the United States on June 14, 2021
   Verified Purchase
   I never write reviews. But after trying mineral sunblock after mineral sunblock and finding this one, I
   couldn’t not.
   As a POC, finding a 100% mineral sunblock that doesn’t leave a white cast is a struggle.
   This one is amazing. It feels great on the skin, it’s easy to blend into the skin, doesn’t feel greasy and
                                                                                                                                                    TNC03300
https://www.amazon.com/product-reviews/B08X22GSW3/ref=cm_cr_arp_d_viewopt_kywd/000-0000000-0000000?pd_rd_w=7WQ6K&pf_rd_p=102dd…                                            1/3
8/23/2021  CaseAmazon.com:
                    2:20-cv-09091-PA-AS
                                  Customer reviews: Thrive Document
                                                              Natural Body 174-3        Filed 10/26/21
                                                                             Mineral Sunscreen                  Page
                                                                                                  SPF 50, 4 Ounces      87Resistant
                                                                                                                   - Water  of 169  ReefPage   ID
                                                                                                                                        Safe Sunscreen with…
                                                                             #:8960
   actually feels moisturizing to the skin. I’m not sure how it does on oilier skins, mine is dry and soaks it
   up.
   Using it on myself and my toddler. So excited I don’t have to send her to school looking like a ghost
   anymore, plus the ingredients are so good so I feel comfortable about her having it on all day.
   Please never change your formula, Thrive!
   I also use the daily defense balm on both of us for the face. Even lighter consistency and no white cast.
   Well done, Thrive Causemetics.

       Helpful          Report abuse


   ‹ See all details for Thrive Natural Body Mineral Sunscreen SPF 50, 4 Ounces - Water...



     More items to explore                                                                                                                       Page 1 of 2




                     - =.
                 NPET Pet Fountain,         Modkat Flip Litter Box        PETKIT Pura X Self-             Dimaka Stainless Steel      THE REFINED FE
                 101oz/3L Cat Water         with Scoop and Reusable       Cleaning Cat Litter Box         Litter Box for Cat and      Lotus Cat Tower
                 Fountain Dog Water         Liner                         xSecure/Odor                    Kitten, 6 inch Side         Furniture, Multi-
                 Fountain with LED Light,                 3,611           Removal/APP Control             Height, Non Stick           Cat Tree with Scr
                 1 Sensor Switch, 1…        $159.95                       Automatic Cat Littler Box       Smooth Surface Metal…       Pad, Perches, Ho
                              195           & Free Shipping               for Multiple Cats                             470                        89
                 $34.84                                                                  277              $39.99                      $376.39

                        FREE One-Day                                      $599.00                                FREE One-Day                FREE Deliv
                                                                          & Free Shipping



     Explore more from across the store                                                                                                          Page 1 of 2




                 EUREKA ERGONOMIC           The Original Headrest         60'' RGB Gaming Desk            EUREKA ERGONOMIC            Seatcraft Diama
                 Curved Computer Desk       for The Herman Miller         AuAg Z Shaped Gaming            360 Degree Rotating         Home Theater S
                 63 Inch for Home           Aeron Chair H3 Carbon |       Table with Large Fully          CPU Hanger, Height &        Power Recline - T
                 Office/Gaming, Height      Colors and Mesh Match         Cover Mouse Pad,Home            Width Adjustable, Fit for   Grain Leather - P
                 Adjustable 26"-32",…       Remastered Aeron Cha…         and Office PC Computer          Gaming and Working          Headrests - Cuph
                              82                          694             Desk LED Gamer Desk…            Demand, Black                            99
                 $239.99                    $149.95                                      55                             239           $1,118.00

                        FREE Delivery               FREE Delivery         $279.99                         $55.00                             FREE Deliv
                                                                          & Free Shipping                 & Free Shipping
                                                                          Only 7 left in stock - order…




   Your Browsing History View or edit your browsing history                                                                                        Page 1 of 3



                                                                                                                     00

                                                                                                                      11
                                                                                                                                      TNC03301
https://www.amazon.com/product-reviews/B08X22GSW3/ref=cm_cr_arp_d_viewopt_kywd/000-0000000-0000000?pd_rd_w=7WQ6K&pf_rd_p=102dd…                                  2/3
8/23/2021      CaseAmazon.com:
                    2:20-cv-09091-PA-AS              Document
                               Customer reviews: Thrive Natural Body 174-3     Filed 10/26/21
                                                                     Mineral Sunscreen               Page
                                                                                       SPF 50, 4 Ounces      88Resistant
                                                                                                        - Water  of 169  ReefPage   ID
                                                                                                                             Safe Sunscreen with…
                                                                      #:8961


                                                                                        Back to top




  Get to Know Us                               Make Money with Us                                      Amazon Payment Products                                           Let Us Help You
  Careers                                      Sell products on                                        Amazon Rewards Visa                                               Amazon and COVID-
                                               Amazon                                                  Signature Cards                                                   19
  Blog
                                               Sell apps on Amazon                                     Amazon.com Store Card                                             Your Account
  About Amazon
                                               Become an Affiliate                                     Amazon Secured Card                                               Your Orders
  Sustainability
                                               Become a Delivery                                       Amazon Business Card                                              Shipping Rates &
  Press Center                                 Driver                                                                                                                    Policies
                                                                                                       Amazon Business Line of Credit
  Investor Relations                           Start a package delivery                                                                                                  Amazon Prime
                                               business                                                Shop with Points
  Amazon Devices                                                                                                                                                         Returns &
                                               Advertise Your Products                                 Credit Card Marketplace                                           Replacements
                                               Self-Publish with Us                                    Reload Your Balance                                               Manage Your Content
                                                                                                       Amazon Currency Converter                                         and Devices
                                               Host an Amazon Hub
                                                                                                                                                                         Amazon Assistant
                                               › See More Make Money
                                               with Us                                                                                                                   Help




                                                                                          English                    United States




 Amazon Music            Amazon                    Amazon Drive                       6pm                            AbeBooks                 ACX                                  Alexa
 Stream millions         Advertising               Cloud storage                      Score deals                    Books, art               Audiobook Publishing                 Actionable
 of songs                Find, attract,            from Amazon                        on fashion brands              & collectibles           Made Easy                            Analytics
                         and                                                                                                                                                       for the Web
                         engage
                         customers

 Sell on Amazon          Amazon                    Amazon Fresh                       AmazonGlobal                   Home Services            Amazon Ignite                        Amazon Web
 Start a Selling         Business                  Groceries & More                   Ship Orders                    Experienced              Sell your original                   Services
 Account                 Everything                Right To Your Door                 Internationally                Pros                     Digital Educational                  Scalable Cloud
                         For                                                                                         Happiness                Resources                            Computing
                         Your Business                                                                               Guarantee                                                     Services

 Audible                 Book                      Box Office Mojo                    ComiXology                     DPReview                 East Dane                            Fabric
 Listen to Books &       Depository                Find Movie                         Thousands of                   Digital                  Designer Men's                       Sewing,
 Original                Books With                Box Office Data                    Digital Comics                 Photography              Fashion                              Quilting
 Audio                   Free                                                                                                                                                      & Knitting
 Performances            Delivery
                         Worldwide

 Goodreads               IMDb                      IMDbPro                            Kindle Direct                  Amazon                   Prime Video Direct                   Shopbop
 Book reviews            Movies, TV                Get Info Entertainment             Publishing                     Photos                   Video Distribution                   Designer
 &                       & Celebrities             Professionals Need                 Indie Digital & Print          Unlimited                Made Easy                            Fashion Brands
 recommendations                                                                      Publishing                     Photo Storage
                                                                                      Made Easy                      Free With Prime

 Amazon                  Whole Foods               Woot!                              Zappos                         Ring                     eero WiFi                            Blink
 Warehouse               Market                    Deals and                          Shoes &                        Smart Home               Stream 4K Video                      Smart Security
 Great Deals on          America’s                 Shenanigans                        Clothing                       Security                 in Every Room                        for Every Home
 Quality Used            Healthiest                                                                                  Systems
 Products                Grocery Store

                         Neighbors                 Amazon Subscription                PillPack                       Amazon                   Amazon Second Chance
                         App                       Boxes                              Pharmacy                       Renewed                  Pass it on, trade it in, give
                         Real-Time                 Top subscription boxes –           Simplified                     Like-new                 it a second life
                         Crime                     right to your door                                                products
                         & Safety                                                                                    you can trust
                         Alerts




                                          Conditions of Use   Privacy Notice   Interest-Based Ads       © 1996-2021, Amazon.com, Inc. or its affiliates




                                                                                                                                                                   TNC03302
https://www.amazon.com/product-reviews/B08X22GSW3/ref=cm_cr_arp_d_viewopt_kywd/000-0000000-0000000?pd_rd_w=7WQ6K&pf_rd_p=102dd…                                                                  3/3
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 89 of 169 Page ID
                                   #:8962




      TRIAL EXHIBIT NO. 317
  am                                                                       Case 2:20-cv-09091-PA-AS Document 174-3
                                                                                                               ThriveFiled
                                                                                                              #:8963
                                                                                                                           10/26/21
                                                                                                                      Natural  Care | Page 90States
                                                                                                                                      United  of 169 Page ID
                                                                                                                                                        English             Search                    Q   Messages Help Settings


  Catalog     Inventory        Pricing   Orders    Advertising    Stores     Growth     Reports     Performance      Apps & Services      B2B     Brands


                                                                                                                                                                                                      Sales proceeds

    0     MSS currently does not support multi-package shipping for certain areas. You can use Ship Conﬁrmation to ship out                                                                           Billing country/region: US
          multiple packages for single order.                                                                                                                                                X
                                                                                                                                                                                                      Payment
                                                                                                                                                                                                      methods: Standard

Order details Order ID: # 111-8553900-6730636                         Your Seller Order ID: # 111-8553900-6730636                                                                                     Items total:          $19.95
 Go back
 Go back to order list
                  list                                                                                                                                     Refund Order       Request a Review        Promotion total:      -$2.00
                                                                                                                                                                          J
                                                                                                                                                                                                      Grand total:          $17.95
  Order summary                                                                                                      Ship to

  Ship by:            Tue, Jul 16, 2019                          Shipping service:    Expedited                      Henderson, NV 89014-4550              Contact Buyer:            Diane
  Purchase date:      Mon, Jul 15, 2019, 7:19 PM PDT             Fulﬁllment:          Amazon                                                                                                     )
                                                                                                                                                                                                      Seller Notes
                                                                 Sales channel:       Amazon.com
                                                                                                                                                                                                        For your records only,
                                                                                                                                                                                                        will not be displayed to
                                                                                                                                                                                                        the buyer.
Order contents
 Status               Image         Product name                                  More information                      Quantity        Unit price     Proceeds

  Payment complete                  THRIVE Natural Face Moisturizer &             Listing ID: 0624VZ1AJKC               1                  $19.95      Item subtotal:                 $19.95
                                    Mineral Facial Sunscreen SPF 30 -             Order Item ID:                                                       Promotion:                     -$2.00
                                    Facial Moisturizer with Antioxidants &        49941760245810                                                       Item total:                    $17.95
                                    Non-Nano Zinc Oxide Broad-Spectrum
                                    Sunblock
                                    ASIN: B07RFJ29SX
                                    SKU: 852200005183-FBA




                                                                                                                                                                                                      Manage Feedback
                                                                                                                                                                                                      Rating :
                                                                                                                                                                                                      Comments : "Thrive is an up
                                                                                                                                                                                                      and comer in the the
                                                                                                                                                                                                      cosmetics ﬁeld. Their
                                                                                                                                                                                                      mascara is phenomenal and
                                                                                                                                                                                                      this facial moisturizer with
                                                                                                                                                                                                      sunscreen is a plus in their
                                                                                                                                                                                                      line."
                                                                                                                                                                                                      Date : Sun, Jul 21, 2019

                                                                                                                                                                                                                 Respond to to
                                                                                                                                                                                                                 Respond    Feedback
                                                                                                                                                                                                                               Feedback




  Help      Program Policies        English                                                                                                                                           © 1999-2021, Amazon.com, Inc. or its aﬃliates

                                                                                                                                                                                                                     TNC03493
 FEEDBACK
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 91 of 169 Page ID
                                   #:8964




      TRIAL EXHIBIT NO. 121
   Pickup & delivery              Walmart.com                Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 92 of 169 Page ID
                                                                                                #:8965


              Walmart ::::~                            -    Search Walmart.com                                                        1Q                                 8   Account     £i Reorder         b••

 ( p ~ NextDay delivery



  Clothing, shoes & accessories    I   Women    Men   Kids & baby   Jewelry & watches    Luggage & travel        Savings    Trending       Shop by brand


,;Fremium Beauty / Premium Men's Grooming / Premium Beard Care                                                                                                                                  f     <j)     ~


                                                                                                    Thrive Causemetics
                                                                                                    Thrive Natural Men's Skin Care Set - 3 Piece Grooming Gift Set to Was\ Shave, and Moisturize Daily; Gift
                                                                                                    for Men Made in USA with Organic & Unique Premium Natural lngr~ ,ents for Healthier Skin Care




                                                                                                    $14.99
                                                                                                                    Write a r eview    Thrive Causemetics

                                                                                                                                                             --   .,,.




                                                                                                    Out of stock

                                                                                                    Qty:
   ltlllt                                                                                                                     Get in-stock alert
                                                                                                           1    V
  ··--
   ~




  --
  ........-
  ·=-
                                                                                                    l;b Delivery not available                                                                                    '''
                                                                                                                                                                                                                  '''
                                                                                                    c;;J   Pickup not available                                                                                   l'

                                                                                                                                                                                                                  C
                                                                                                    Sold & shipped by Deal Spin        I   Retur n P-olicy



                                                                                                           Add to list            ®   Add to registrv.
                                                            Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 93 of 169 Page ID
                                                                                               #:8966




(:t) ~ NextDay delivery



Premium Beauty / thrive causemetics (See results in All departments)
                                                                       •
1 - 4 of 4 results
                                     ------r----
                                               I   Refine by      Price v     Top Brands v      Store Availabili t y v                          Sort by   I   Best Match             V          00
                                                                                                                                                                                                00




Departments                                                                     I REDUCED PRICE   /

Premium Condi tioners                                                           THRIVE Natural Mineral Face Sunscreen SPF 30, 2 Oz
                                                                                Lightweight Non-greasy Clear Zinc Sunblock & Facial                                 2-day delivery
Premium Nail Polish & Care                                                                                                                                          Sold & shipped by
                                                                                **** * 3                                                                            Thrive Natural Care, Inc.
Premium Sun Care & Sunscreens
                                                                                • @generated



Delivery & Pickup

 @   Showall                                                                 •--,:,;::: u,.tr Curl Thrive Hydrating Conditioner 6 fl oz     _ _ _ _ _ _ __... : ; ...'19

0    2-day delivery                                                                                                                                                 Sold & shipped by
                                                                                                                                                                    Fit & Fab
0    Deliver To Home

                                                                                • AG Hair Curl Thrive Hydrating Conditioner 6 fl oz

Brand
                                                                                                                                                                                                     0
0    AG Hair

0    Sparitual

0    Thr ive Natural Car e                                                      AG Hair Curl Thrive Hydrating Conditioner 6 fl oz - 2 Pack                          $29.99
                                                                                                                                                                    Sold & shipped by
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 94 of 169 Page ID
                                   #:8967




      TRIAL EXHIBIT NO. 223
                        c§' PO SHMARK                                                                    II
                                                                                        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 95 of 169 Page ID
                                                                                                                           #:8968                                                                                              Log in Sign up

                   POSH MARKETS
                   All
                                  Women               Kids   Home           Beauty & Wellness      Brands     Parties                                                                                 HOW IT WORKS    (I) SELL ON POSHMARK

                                  ne s / Other




                           SORRY, THIS ITEM IS SOLD!
                           Thrive Nat ural Men's Skin Care Gift Set (3 Piece)


                           fi@jf:§fjijijf


                  Ii
                                                                                                                                             starburstlife
                                                                                                                                             Updated Jul 07




                                                                                                                                  Thrive Natural Men's Skin Care Gift Set (3                                                               NWT

                                                                                                                                  Piece)
                                                                                                                                  thrive causemetics


                                                                                                                                   $20 $4g
                                                                                                                                  SIZE




                                                                                                                                                        TH IS ITEM IS SOLD

                                                                                                                                  O    Like and save for later


                                                                                                                                  Grooming Gift Set for men to Wash, Shave & moisturizer.(NWT} Made in USA w il h Organic & Natural
                                                                                                                                  Ingredients for I lealt hy Skin
                                                                                                                                  OWN THE DAY K IT W ITH FACE WASH, SHAVE OIL & FACE LOTION                  Full-size Thrive Face Wash (100 ml),
                                                                                                                                  Shave Oil (60 ml), and Face Balm (60 ml) packed in an attractive box. A great gi fll
                                                                                                                                  HIGH QUALITY w ilh TRULY NATURAL INGREDIENTS                 contains only plant-based ingredients without any
                                                                                                                                  harsh synthetic addit ives that may cause irritation: vegan-safe, PABA-free, GMO-free & paraben-free


                                                                                                                                  CATEGORY
                                   Q like        CJ   Comment       t.'1.   Share                                       Report



                                  ••c •           kjantsch and 4 others like this                                5 Comments
                                                                                                                                     Men        Other


                                                                                                                                    SHIPPING/DISCOUNT

                                         brownmrnice have t hey been used                                                           CJ     Seller Oiscount. 10'\. off 2+ Bundle
                                         Jul 08 Reply
                                                                                                                                    ~ $7.11 Expedi ted (1·3 day) Shipping on all 0<ders

                                         starburstlife @brownmrnice no they tire be in package
                                         Jul 08 Reply
                                                                                                                                    fiJ    Buyer Protection & Refund Policy



                                         starburstlife • new in package
                                                                                                                                  ABOUT THE SELLER
                                         Jul 08 Reply


                                         brownmmice I need 2 sets for $40                                                                                                      1.3k                  58.9k
                                                                                                                                                                                                                               I   View Closet   I
                                         Jut 08 Reply


                                         starburstlife @brownmrnice well I only have the one but I will accept your
                                         offer
                                         Jut 08 Reply




                                                                                                                                  FINO SIMILAR LISTINGS


                                                                                                                                  [ By Size     II    By Color   II    By New With Tags    I
                                                                                                                                                                                                                              BUY ANO SELL ON APP
SHOP CATEGORIES                                                                POPULAR BRANDS                                                                          COMPANY

Women                                                                          Nike                                                                                     About
                                                                                                                                                                                                                              Cll!ll m!!III
Men                                                                            Michael Kors                                                                             Our Community
                                                                                                                                                                                                                              CONNECT WITH US
Kids                                                                           Louis Yuitton                                                                            Blog
Home                                                                           lululemon athletica                                                                      FAQs

Handbags                                                                       PINK V,ctona·s Secret                                                                    Sell on Poshmark                                      SHOP IN

Shoes                                                                          Coach                                                                                    How it works
                                                                                                                                                                                                                                        Unite d St ates
Jewelry & Accessories                                                          Chanel                                                                                   We're Hiring

Makeup                                                                         See All Brands ..                                                                        Engineering

Dresses                                                                                                                                                                 Press

                                                                                                                                                                        Accessibility




                                                         O 2020 Poshmark, Inc              Privacy      Terms       Copyright Policy        Contact          ~ (California residents only}
                                                                                                                                                                                                                                                          TNC00914
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 96 of 169 Page ID
                                   #:8969




      TRIAL EXHIBIT NO. 126
   Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 97 of 169 Page ID
                                      #:8970

                                            ,.
                                                                                                                                            •
  From:    Lisa Ertz lisaertz4@gmail.com
Subject:   Re: Lisa <> Alex
   Date:   June 19, 2019 at 6:40 PM
     To:   Alex McIntosh amcintosh@thrivenaturalcare.com
    Cc:    Douglas Young doug@athletes-ink.com

       Hi Alex!

       Wonderful to meet the man behind my 3 must have beauty products in my case! I’d love to chat with you sooner than later. Based on
       our travel schedule for soccer, I’m wondering if you might be able to talk on Tuesday, June 25th or Wednesday, June 26th at 1:00 or
       2:00 pm in CA? You will note that I can probably do a multitude of other times given that it’s 3:37 am in France as I write this but I am
       hoping that I adjust to the time change SOON! If neither of those times work—please feel free to suggest a few more.
       I’m very much looking forward to talking to you and truly appreciate your interest in our mission!

       Doug, as always, your connections and support is greatly appreciated!

       GO USA!!

       Lisa

       On Thu, Jun 20, 2019 at 3:28 AM Alex McIntosh <amcintosh@thrivenaturalcare.com> wrote:
        Doug thanks for connecting us and for the nice words.

           Lisa, greetings from foggy SF. There do seem to be strong points of connection between the positive impact Zach, Julie and you are
           aiming for, and Thrive’s ‘leave it better’ business model. So, yes, let’s pick up the thread from Doug.

           Given the quickly approaching opportunity for us to use the Amazon spotlight for mutual benefit, be good to connect in coming
           days. Since you’re in EU, do you want to suggest a time slot or two that work for you and I’ll make it work? I’m 9 hours behind you.
           We can do a call or skype chat, etc.

           Look forward to connecting with you and learning more about Ertz Family Foundation.

           Hope Julie & team continue their success tomorrow, vs Sweden.

           Leave it better,

           Alex McIntosh, co-founder & ceo
           Thrive Natural Care
           San Francisco, CA

           t: 203.249.7285
           e: amcintosh@thrivenaturalcare.com
           join the adventure @ thrivecare.co
           On Jun 19, 2019, at 9:32 AM, Douglas Young <doug@athletes-ink.com> wrote:

           Hi, Lisa!

           By email of email, it’s my pleasure to introduce you to Alex McIntosh, founder and CEO of Thrive. I spoke with Alex last night and he
           was thrilled to hear that you’re familiar with Thrive and might be interested in connecting the Ertz Family Foundation with Thrive's
           Amazon Prime Day opportunity in July. (I also shared that you’re in France for all the World Cup excitement!) I think there’s great
           alignment between Thrive’s mission to “leave it better” and Zach and Julie's philanthropic platform through the Ertz Family
           Foundation. There’s also some serendipitous timing and geography given the upcoming Foundation event and your shared Bay Area
           roots.

           I think there are a number of ways this could go, but maybe it’s best to schedule a call at a time that’s convenient to discuss ideas. At
           minimum, this could be a really nice way to shine a light on good people doing good work and raise some funds. My gut tells me it
           could be the start of a deeper, ongoing partnership.

           Happy to be part of the next conversation and will defer to both of you to find a time that works best to talk.

           Best,

           Doug




                                                            CONFIDENTIAL
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 98 of 169 Page ID
                                   #:8971




      TRIAL EXHIBIT NO. 28
          Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 99 of 169 Page ID
                                             #:8972
  Message

  From:           Blythe Jack [bjack@tsgconsumer.com)
  on behalf of    Blythe Jack <bjack@tsgconsumer .com> [bjack@tsgconsumer.com)
  Sent:           12/19/2017 4:43:09 PM
  To:             Karissa Bodnar [kbodnar@thrivecausemetics.com)
  Subject:        Re: Margo for Blythe & TSG Biz Dev: Thrive Natural Care




  •
  Blythe Jack
  Managing Director
  TSG Consumer Partners
  415-533-2166 cell
  www.tsgconsumer.com

  On Dec 19, 20 l 7, at 8 :36 AM, Karissa Bodnar <kbodnar@thrivecausemetics.com> wrote:

  Thank you! Yes, they've been on my radar due to prior TM searches. Thanks so much for sending.

  Sent from my iPhone

  On Dec 19, 20l7, at 8:16 AM , Blythe Jack <bjack@tsgconsumer.com> wrote:

  This just came in cold. But given name and m ission thought you shou ld be aware.



  Blythe Jack
  Managing Director
  Office: 4 15.217.23431 Mobile: 415-533-2166
  http://www.tsgconsumer.com


  From: Margo Hays
  Sent: Tuesday, December 19, 2017 8:09 AM
  To: Blythe Jack <bjack@tsgconsumer.com>; Mary M i ller <mmiller@tsgconsumer.com>; Amy Nobli n
  <anoblin@tsgconsumer.com>
  Subject: FW: Margo for Blythe & TSG Biz Dev: Thrive Natural Care

  Hi Blythe, Mary and Amy,

  The founder of a company called Thrive Natural Care reached out to ask if he might be connected with you. He's looking for pre-A
  angel investors to help him sustain his explosive growth over the past 6 months. Amazon chose them to be part of an incubator
  program that has resulted in them scrambling to keep pace with the incredible sales they're received as a result. Great guy and
  interesting mission-driven business! Let me know if you would be willing to talk with him directly.

  Best,
  Margo


  Margo Hays
  VP of Digital Strategy
  O: 415.217.23451 M: 415.706.5505
  http://www.tsgconsumer.com




CONFIDENTIAL                                                                                                               TCI_00019213
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 100 of 169 Page ID
                                            #:8973
  From: Alex McIntosh <amcintosh@thrivenaturalcare.com >
  Date: Monday, December 18, 2017 at 11:19 PM
  To: M argo Hays <mhays@tsgconsumer.com>
  Subject: Margo for Blythe & TSG Biz Dev: Thrive Natural Care

  Hi Margo,

  Good to hear that the Zanoma and Kristin Anton referrals might have some value to you and your TSG team. Ping with any follow up
  questions.

  Thrive Natural Care's special new partnership with Amazon is exploding. So I'm appreciative of your help in connecting me to a few
  folks who could be interested in getting ownership in my company as we rocket up. We're now on track for 500% growth last 12
  months, f ueled by our inspiring/unique brand story, our proprietary ingredient offering, and this fabulous partnership with Amazon. And
  I've recruited a Senior growth executive to join my team in January.

  The challenge now is that Thrive's growth is greatly outpacing working capital. So our current pre-A capital raise is an attractive
  opportunity for an investor who likes early stage healthy living, consumer goods, social impact, o r digital innovation.

  Per your request, below is a short blurb and attached are two intro docs about Thrive:
  •         Thrive 2page Investor Summary

  •         Big Amazon partnership/market info for investors


  Fine to share with Blythe and your business development team, to identify potential investors who might share our vision and
  excitement at the opportunity ahead. Last month, two investors (including lead investor) from last year's seed round committed to this
  round. Folks are excited about our momentum and team.

  Below/attached more info. Appreciate your help making the connections.

  Thanks.

  Alex McIntosh, founder
  Thr ive Natural Care
  San Francisco, CA

  t: 203.249.7285
  e: amcintosh@thrivenaturalcare.com
  join the adventure@ thrivecare.co


  Thrive Natural Care Vision & Market Traction:
  Meet the future of personal care-and business. Thrive Natural Care sells the most unique and healthy mens shave and skincare on
  the planet.
  •         Highly d ifferentiated vision and model in a $460B market.

  •         A-list angel investor and management team .

  •         500% revenue growth last 12 months

  •         Big Amazon partnership launched 10/2017 - Thrive selected as one of seven from among 2 million sellers w ith goal of adding
  $1 million to bottom line in next six months. First promotion sold 56 days of inventory in 16 hours.
  •         Talented industry senior exec joining team to lead growth plan to create $500M enterprise value company.
  •         Better skin health powered by unique-to-market botanical o ils from Costa Rica, with Thrive-owned IP.

  •        Innovative eComm distribution in beta that leapfrogs mass market model, g ives customers personalized shave & skincare
  that's more effective, healthy and convenient.

  •       Produced by an inspiring business model that aims far beyond 'sustainable', with every purchase restoring degraded lands
  and boosting rural farmer incomes by 40%+

  •        Brought to life by a passionate team of American and Costa Rican entrepreneurs, ecologists, traditional herbalists and rural
  farmers.




CONFIDENTIAL                                                                                                                    TCI_00019214
       Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 101 of 169 Page ID
                                          #:8974




  <thrive_investor_summ_vl2-14-l 7.pdf>
  <Thrive+Amazon_SFBizTimes_BOTH_Sept2017.pdf>




CONFIDENTIAL                                                                     TCI_00019215
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 102 of 169 Page ID
                                   #:8975




       TRIAL EXHIBIT NO. 380
  Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 103 of 169 Page ID
                                     #:8976

  From: Phil Segal phil@digitalnative.co
Subject: Thrive Casuemetics
   Date: August 12, 2019 at 9:08 AM
     To:

       Hi Alex and Brandon,

       Read this article over the weekend while researching them a bit - you may
       have already seen it or know the story:
       https://www.beautyindependent.com/thrive-causemetics-major-dtc-beauty-business/

       Couple interesting takeaways for me:

        - They didn't really credit a specific influencer strategy or channel
        with their success; instead they believe that the groundswell of female
        consumers drove the popularity over time, and then came the other presence
        - While the mission is inspiring and supportive of sales, the product
        quality is the main driver of purchases, as per surveying/data
        - They had 1-2 specific products that really put them on the map
        - They sell only on their website (no Amazon, retail, etc.)

       We need to find Thrive's hero product. Sunblock would have been
       interesting, but I think we mostly missed the window for this year
       <https://trends.google.com/trends/explore?q=sunblock&geo=US>.

       Despite what they say, I think we need to figure out the influencer
       strategy. Samples and placements.

       Also, my anecdotal observation is that most of the successful DTC brands
       have a large Instagram presence with frequent posting. That isn't typically
       in my wheelhouse, so we need to figure that one out.

       I have a connection with the founder of PR for Good
       <https://publicityforgood.com/> - her firm specializes natural consumables
       products with a mission. I talked with her this morning and am going to see
       what she proposes, and potentially suggest we put some budget there. The
       problem is that PR often/generally doesn't result in direct sales. But it
       might be a viable strategy for some of the budget, since we are heading
       into the holiday season (publications are putting together Gift Guide
       recommendations as we speak), and we have a tight deadline and probably
       need to fire salvos in as many channels as possible.

       *Last thing*: my primary goal is for us to get a sale out this week, or
       possibly prep for coming Sunday / Monday (bigger eCom days). That would
       involve an email and FB/IG posts and boosting.

       Ok that was a lot to hit you with on a Monday morning, but let me know your
       thoughts...

       Phil Segal

       *Chief Optimizer of Digital Media*
       *M: (818) 730-6892*
       *www.DigitalNative.co <http://www.DigitalNative.co>*

       *"Great things are not done by impulse, but by a series of small things
       brought together."*

       --000000000000b9ca28058fedba10
       Content-Type: text/html; charset=utf-8
       Content-Transfer-Encoding: quoted-printable

       <meta http-equiv=3D"Content-Type" content=3D"text/html; charset=3Dutf-8"><d=
       iv dir=3D"ltr">Hi Alex and Brandon,<div><br></div><div>Read this article ov=
       er the weekend while researching them a bit - you may have already seen it =
       or know the story:</div><div><a href=3D"https://www.beautyindependent.com/t=
       hrive-causemetics-major-dtc-beauty-business/">https://www.beautyindependent=
       .com/thrive-causemetics-major-dtc-beauty-business/</a></div><div><br></div>=
       <div>Couple interesting takeaways for me:&nbsp;</div><div><ul><li>They didn=
       't really credit a specific influencer strategy or channel with their succe=
       ss; instead they believe that the groundswell of female consumers drove the=
       popularity over time, and then came the other presence</li><li>While the m=
       ission is inspiring and supportive of sales, the product quality is the mai=
       n driver of purchases, as per surveying/data</li><li>They had 1-2 specific =
       products that really put them on the map</li><li>They sell only on their we=
       bsite (no Amazon, retail, etc.)</li></ul></div><div>We need to find Thrive'=
       s hero product. Sunblock would have been interesting, but I think we mostly=




                                                          CONFIDENTIAL                   TNC00835
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 104 of 169 Page ID
                                   #:8977
   s hero product. Sunblock would have been interesting, but I think we mostly=
   <a href=3D"https://trends.google.com/trends/explore?q=3Dsunblock&amp;geo=
   =3DUS">missed the window for this year</a>.</div><div><br></div><div>Despit=
   e what they say, I think we need to figure out the influencer strategy. Sam=
   ples and placements.</div><div><br></div><div>Also, my anecdotal observatio=
   n is that most of the successful DTC brands have a large Instagram presence=
   with frequent posting. That isn't typically in my wheelhouse, so we need t=
   o figure that one out.</div><div><br></div><div>I have a connection with th=
   e founder of <a href=3D"https://publicityforgood.com/">PR for Good</a> - he=
   r firm specializes natural consumables products with a mission. I talked wi=
   th her this morning and am going to see what she proposes, and potentially =
   suggest we put some budget there. The problem is that PR often/generally do=
   esn't result in direct sales. But it might be a viable strategy for some of=
   the budget, since we are heading into the holiday season (publications are=
   putting together Gift Guide recommendations as we speak), and we have a ti=
   ght deadline and probably need to fire salvos in as many channels as possib=
   le.</div><div><br></div><div><b>Last thing</b>: my primary goal is for us t=
   o get a sale out this week, or possibly prep for coming Sunday / Monday (bi=
   gger eCom days). That would involve an email and FB/IG posts and boosting.&=
   nbsp;</div><div><br></div><div>Ok that was a lot to hit you with on a Monda=
   y morning, but let me know your thoughts...</div><div><br clear=3D"all"><di=
   v><div dir=3D"ltr" class=3D"gmail_signature" data-smartmail=3D"gmail_signat=
   ure"><div dir=3D"ltr"><div><div dir=3D"ltr"><div><div dir=3D"ltr"><div><div=
   dir=3D"ltr"><div><div dir=3D"ltr"><div><div dir=3D"ltr"><div><div dir=3D"l=
   tr"><div><div dir=3D"ltr"><div dir=3D"ltr" style=3D"font-size:small">Phil S=
   egal</div><div dir=3D"ltr"><div style=3D"font-size:small"><i>Chief Optimize=
   r of Digital Media<br></i><div><i>M: (818) 730-6892</i><br></div></div><div=
   style=3D"font-size:small"><span style=3D"font-size:12.8px"><i><a href=3D"h=
   ttp://www.DigitalNative.co" target=3D"_blank">www.DigitalNative.co</a></i><=
   /span></div><div style=3D"font-size:small"><b><br></b></div><div><i>&quot;G=
   reat things are not done by impulse, but by a series of small things brough=
   t together.&quot;</i><br></div><div style=3D"font-size:small"><br></div></d=
   iv></div></div></div></div></div></div></div></div></div></div></div></div>=
   </div></div></div></div></div></div></div>

   --000000000000b9ca28058fedba10--




                                             CONFIDENTIAL                         TNC00836
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 105 of 169 Page ID
                                   #:8978




       TRIAL EXHIBIT NO. 142
The Next Beauty Industry Unicorn?
       Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 106 of 169 Page ID
                                          #:8979



Thrive Causemetics Is Quietly
Building A Major DTC Business




Established a year after Glossier, direct-to-
consumer beauty startup Thrive Causemetics
receives little of its cool-girl hype. While Glossier
sells aspiration in a minimalist package, Thrive
exudes relatability from its signature turquoise
tubes. If you havenʼt heard of the philanthropic
vegan cosmetics brand, it might be because Thrive
hasnʼt reeled in big-time investors, plastered cities
with billboards, popped up to fuel Instagram posts
or paid famous social media gurus to plug it. “It
wasnʼt an influencer shout-out that put us on the
map. It was the everyday woman whoʼs working 9
to 5 and being a badass,” says Karissa Bodnar, the
29-year-old founder of Thrive. “They influence        us
                                                TNC01129
in the product          development
       Case 2:20-cv-09091-PA-AS                    process,
                                Document 174-3 Filed
                                          #:8980
                                                                     and
                                                     10/26/21 Page 107        they
                                                                       of 169 Page ID

influence each other by spreading the word about
the products they love.”
Thrive is perhaps the beauty industryʼs most low-key breakout brand.
Although it remains under-the-radar, one of Thriveʼs bestselling Liquid Lash
Extensions Mascara products is snapped up every nine seconds, and itʼs
turning into a rouged Robin Hood, doling out goods and money when
societal and environmental problems demand action. The brand dedicated
$25 million worth of merchandise to more than 50 organizations fighting
cancer, domestic abuse and homelessness to mark its fourth anniversary
earlier this year and, last year, donated a dayʼs profits of $250,000 to help
with California wildfire recovery efforts. Extrapolating based on its single-
day donation, Thriveʼs annual profits surpass $91 million. Beauty
Independent chatted with Bodnar about sustaining her brandʼs growth,
being rejected by retailers, hiring an in-house therapist, slowly creating new
products, expanding into skincare and whether altruism impacts sales.

How did the brand come to be?

Early in my life, I developed a passion for beauty. I grew up on a farm that
was literally on a dirt road in a town outside of Seattle called Stanwood. I
didnʼt have cable. I had lots of animals. I loved the way that beauty made me
feel confident, but I didnʼt have access to makeup stores because they were
so far away. The closest makeup store was over an hour away. I would go
into the garden and grab whatever I could find to make makeup like
spirulina and rose petals that I would mix with crayons to make lipstick.
They werenʼt extremely sophisticated formulas, but I loved creating beauty
products.

I started working as a makeup artist as a way to pay for college. I did that up
until I graduated. Then, I worked for Clarisonic when it was a small startup. I
worked in product development, and it was such a great experience to learn
                                                                           TNC01130
about what   it 2:20-cv-09091-PA-AS
          Case  takes to build aDocument
                                    company
                                         174-3 and   a brand.
                                               Filed 10/26/21    At108Clarisonic,
                                                              Page     of 169 Page IDwe were
                                          #:8981
really changing the industry with a device that had never existed before.
When Clarisonic sold to LʼOréal, I went to work to work for LʼOréal in its
luxury division. I was traveling the world in my early 20s sourcing
ingredients and developing formulas in the lab. I was really living my dream
job.

I was in Paris for LʼOréalʼs annual conference, and my friend Kristy called
me. She was in Chile teaching English in an orphanage. I had been hell bent
on climbing the corporate ladder, and she was hell bent on philanthropy.
When she called me, she told me she had something that could be cancer.
When you are 23- or 24-years-old, you donʼt think something like that is
going to take somebodyʼs life. Unfortunately, less than a year later, it took
Kristyʼs life.

That caused me to think about my purpose. Whatʼs my why? Why am I
here? I knew I was born to be in the beauty industry, but there wasnʼt a
brand I could work for where I could also give back the way I wanted. Kristy
was the catalyst for me having a carpe diem moment. If I didnʼt do this now,
when would I do it? She inspired me to build a brand that was much bigger
than beauty.




                                                                                TNC01131
             Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 109 of 169 Page ID
                                                #:8982




Thrive Causemetics founder Karissa Bodnar


What did you start Thrive Causemetics with?

From the very beginning, I wanted to create a brand that was about more
than just selling makeup, a brand that was giving back. My idea was for it to
have really high-performance, vegan and cruelty-free formulas. Back when I
started Thrive over four years ago, there werenʼt really products that were
vegan, cruelty-free and also high-performance. That was something I
wanted to lead with and, for the give-back mission to start, for every
product purchased, one was donated to help a woman.

We just had lashes and adhesive. I literally made the adhesive in my blender
at home. There wasnʼt a formula out there that was free of latex, sulfates
and formaldehyde that was really waterproof. Itʼs a 24-hour lash glue.  Itʼs so
                                                                   TNC01132
strong evenCasethough     it only has
                2:20-cv-09091-PA-AS    two 174-3
                                    Document ingredients.      A funny
                                                   Filed 10/26/21 Page 110antidote
                                                                          of 169 PageIʼve
                                                                                      ID  heard
                                              #:8983
from Jessica Simpsonʼs team is she will put on her lashes with the adhesive
on Monday to fly to New York, be there a whole week, and come back with
the same lashes on. Itʼs a very effective product without the latex, sulfates
and formaldehyde that can be damaging. A lot of times women who wear
lash extensions have to stop wearing them because they develop an allergy
to latex. That was the inspiration for our lashes and, ultimately, for the
Liquid Lash Extensions Mascara that I was working on at the same time that
I was working on the lashes.

How have you evolved the brandʼs giving program?

Up until November 2018, for every product purchased, one was donated to
help a woman thrive. When the horrible fires hit Northern and Southern
California last year, I was watching the news on a Saturday, seeing the
devastation and thinking that we have to take action. One of the things I
love about being an independent beauty brand is that we can act very
quickly. We came up with the idea of donating 100% of our profits from one
day to help the recovery from the fires. Just a few days later, we were able
to donate over $250,000 to help those impacted by the fires.

We are still giving products for every purchase, and we have also
introduced what we call responsive giving. We give back in three different
pillars: one is to help women emerging from homelessness and reentering
the workforce, the second is domestic abuse, and the third is cancer. With
work with hundreds and hundreds of charities. We provide them with
products that theyʼre looking for and, if they need financial assistance, we
partner with them that way.

There are also moments in time where we mobilize whether itʼs because of
a natural disaster or an occasion like International Womenʼs Day. When the
wildfires hit, there were animal groups that we partnered with, which was a
very natural extension of our brand being that itʼs vegan and cruelty-free.
                                                                  TNC01133
Animal shelters saved the lives of thousands of animals that had been
displaced Case
          by the     fires.
               2:20-cv-09091-PA-AS   Document 174-3 Filed 10/26/21 Page 111 of 169 Page ID
                                               #:8984

On International Womenʼs Day, we donated 100% of the profits from sales of
our Buildable Blur CC Cream and Blend + Blur Sponge to Sheʼs The First.
There are 130 million young girls who donʼt graduate from high school in the
world, and thatʼs just staggering to me. The great thing about Sheʼs The
First is that girls are a part of a program that may allow them to be the first
person in their families to graduate from high school. The fact that Thrive
can be a part of building the next generation of strong women is one of the
most amazing things we decided to do this year.

Do you think your give-back component influences purchasing decisions?

We have data on that from our community. Really, they are purchasing the
products because they love the products. Our giving really matters to us,
and I wouldnʼt be doing what Iʼm doing if I didnʼt have this incredible desire
to give back. I know our employees really care about it. Our community
cares very much about the giving, but, if we didnʼt have amazing products
that are very high-performance, we wouldnʼt have a company.

How many products does Thrive Causemetics have today?

We started with a couple and, today, we have over 100 SKUs. I started
working on our CC cream, mascara and eyeliner at the very beginning in my
kitchen. In this world of fast fashion and fast beauty, we are taking time to
create new formulas. We develop and own the formulas ourselves. I first
started developing the CC cream, which was the first inclusive CC cream on
the market, in 2015, and it didnʼt come out until August 2018 because it just
took us that long to do. The line has developed to always have really
purposeful skin-loving ingredients and super high-performance, and be
vegan and cruelty-free. We develop products with our Thrive Tribe, which is
our community online. They help test the products. We had thousands of
women with different skin tones and types testing the CC cream formula,
                                                                    TNC01134
giving us feedback and helping us fine-tune it until the shades and    formula
was perfect.
         Case 2:20-cv-09091-PA-AS         Document 174-3 Filed 10/26/21 Page 112 of 169 Page ID
                                                    #:8985

The bestseller is Liquid Lash Extensions Mascara. What really put us on the
map was Infinity Waterproof Eyeliner, and that is still neck and neck with
Liquid Lash Extensions Mascara as is our CC cream. Those three are really
strong with our community. We created Liquid Lash Extensions Mascara
with our Thrive Tribe. When it launched, I had high hopes for it, but it sold
out in 48 hours. We would have it and, then, weʼd sell out. For the first year,
we could not keep it in stock at all, and we are just now getting to the place
where we are able to satisfy the demand, which Iʼm so grateful for. It
definitely surpassed my expectation.




Liquid Lash Extensions Mascara is Thrive Causemeticsʼ bestseller. One of the mascaras is sold every nine seconds.
                                                                                                 TNC01135
What are areas   where you believe
         Case 2:20-cv-09091-PA-AS Documentthere   are10/26/21
                                           174-3 Filed opportunities      for Thrive
                                                              Page 113 of 169 Page ID
                                            #:8986
Causemetics in products?

Due to the feedback from our community, we launched the sleeping mask
Overnight Sensation. Itʼs a game changer. Our community absolutely flipped
out when we launched it. The loyalty on that particular SKU had been off
the charts. Because of the success of that, we have continued to develop
our skincare line. Iʼm really exciting about building our skincare portfolio.

Whatʼs your distribution strategy?

If you asked me four years ago, I wouldʼve thought we would have built the
brand at retail. What wound up happening was we had this incredible
community that mobilized online, and it wasnʼt because of an influencer
shout-out. It was because people loved the product and loved that we were
giving back, and were vegan and cruelty-free. We couldnʼt keep up with
demand online, and we still struggle to keep up with the demand on
thrivecausmetics.com, where weʼre exclusively sold. Because of the direct
connection we have with our Thrive Tribe, we can talk to them about what
they are looking for from us. Thatʼs been a gift I didnʼt realize when I was
first starting the brand.

What was it like pitching retailers?

Right now, we are very focused on thrivecausemetics.com. We have a
rapidly growing direct-to-consumer business, so weʼre not looking to go
into retail. In the beginning, when I was walking in with lab samples and a
dream, and running the brand out of my apartment, they werenʼt
particularly interested in partnering with us. It wasnʼt a bad experience, but I
learned a lot.

When did you see the business tick up online?

At the end of 2016, we had this incredible virality with our community. We
                                                                  TNC01136
still had very
           Case few    SKUs. We didnʼt
                 2:20-cv-09091-PA-AS Documenteven
                                              174-3 have    Liquid
                                                    Filed 10/26/21   Lash
                                                                   Page 114 ofExtensions
                                                                               169 Page ID
                                               #:8987
Mascara. It was because of the Infinity Waterproof Eyeliner. They went
crazy for it. It started with one woman talking to another woman. We have
posts that have thousands of comments of people referring their friends to
the products. There was no flash sale. It was really our community coming
together.




Sold exclusively on its website, Thrive Causemetics is generating an estimated $91.25 million in annual profits.

                                                                                                    TNC01137
Can the brand keep up the growth itʼs been registering?
I believe itCase
             can.   Our customers
                 2:20-cv-09091-PA-AS    have174-3
                                     Document builtFiled
                                                      our   business
                                                         10/26/21       very
                                                                  Page 115      rapidly
                                                                           of 169 Page ID and
                                              #:8988
profitably. We have been profitable since day one. One of our greatest
assets is our community and the way that they are so loyal to us. Once a
woman buys our CC cream, she is coming back and buying that in addition
to the mascara and perhaps an eyeshadow palette. I think that is because
of the thoughtful way that we are creating products with them versus for
them. Itʼs really the difference between a monologue, which is the old way
of luxury brands, and a dialogue.

In addition to product development, how do you include the Thrive Tribe?

We include them in our giving back. When the wildfires hit, they helped us
choose all five charities we gave back to. They helped me name my dog
when I rescued a puppy. We name our products after inspiring and powerful
women and, a lot of times, those women are in our Thrive Tribe. They are
involved not only in helping us create the product, but also name it.

The brandʼs signature color is turquoise. Why did you select that color?

When I was starting Thrive and, even today, most cosmetics are in black or
white packaging. Because we are a beauty brand with a purpose and all of
our ingredients have a purpose behind them, I wanted our brand to evoke
the feeling of joy. I started researching the meaning behind different colors,
and I found out the meaning of turquoise is joy. One of the original mantras
we had was, “Joy is the best makeup,” and thatʼs the reason I chose
turquoise.

People thought I was crazy with a lot of things when I was starting the
business, but two of the things that I got the most feedback on was the
turquoise packaging and selling the way we are selling online. Those were
experts in the beauty industry giving me that feedback, but our community
is always raving about the turquoise packaging and how it makes them
happy. Itʼs easy for them to find our products in their makeup bags, and
                                                                  TNC01138
weʼve kept the turquoise because they love it.
What digital
         Caseoutreach     has worked
              2:20-cv-09091-PA-AS Documentfor Thrive
                                           174-3        Causemetics?
                                                 Filed 10/26/21 Page 116 of 169   Page ID
                                               #:8989

What has worked is taking a multipronged approach. I think that, if you just
focus on one area of digital—if you have an amazing site, but nobody knows
your site exists—then you are going to be dead in the water. We have
focused on all of the different touch points. Take customer service, for
example. We hire makeup artists and aestheticians to be the ones having
direct conversations with our customer. We respond to every DM, and we
are getting thousands of DMs. In fact, that is one of our biggest customer
service channels. We have live chat on thrivecausemetics.com. We have
built a proprietary system that integrates all of our channels to make sure
that we know who we are speaking to and the questions she may have
asked in the past, so we can be really helpful to her.




                                                                                       TNC01139
              Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 117 of 169 Page ID
                                                 #:8990




On International Womenʼs Day this year, Thrive Causemetics donated 100% of profits from sales of its Buildable
Blur CC Cream and Blend + Blur Sponge to the non-profit organization Sheʼs The First.


Have you taken outside investment?

I funded the company myself in the beginning, and it was with my life
savings of $100,000. Then, [friends and family supplied a] very small
                                                                 TNC01140
amount once  we got off the ground
        Case 2:20-cv-09091-PA-AS           for inventory
                                 Document 174-3 Filed 10/26/21 purchases.
                                                                Page 118 of 169   Page ID
                                               #:8991

Would you be interested in taking outside investment now?

We are growing really rapidly and profitably, so itʼs not something that we
are pursuing.

How has your role shifted?

In the beginning, I was making the products, printing the labels, packing the
products into mailers and shipping the products out of my one-bedroom
apartment. I was customer service. I was social media. I was digital
marketing. Now, we have a team of about 40 employees that are so
passionate about what we are building and the way we are giving back. Iʼm
still in the lab making the formulas, and that will never change. Iʼm at every
giving event. Iʼm very involved in anything that touches our customer. Iʼm
kind of addicted to Instagram Live and Facebook Live. I love talking to our
community. Iʼm still overseeing finance and operations, but I have a team
that supports me on that. My priority is always the customers and the
product, and Iʼm very involved in the day-to-day.

How have you found being a manager?

That has been a journey for me. Before Thrive, the biggest team I managed
had four people. About a year ago, we hired a psychologist to work for us,
which I think is something that is really groundbreaking, not just in beauty,
but beyond beauty as well. Her name is Erin Brower, and sheʼs an incredible
person, therapist and mentor. Sheʼs helped me create the culture that Iʼve
always dreamed of. The North Stars for our culture is that we are clear, kind,
boundaried and honest. The reason why having someone like Erin is so
important is because, if we can make our team members feel that Thrive is
a safe place to voice their opinions, we are able to be much more efficient,
and people will live happier lives. They will able to thrive outside the
workplace and inside of it.                                           TNC01141
What advice
         Casedo  you have forDocument
             2:20-cv-09091-PA-AS beauty174-3
                                         entrepreneur       hopefuls?
                                             Filed 10/26/21 Page 119 of 169   Page ID
                                            #:8992

Whether they want to build a brand or they are looking to get their dream
job, my advice for others who are pursuing their dreams is to focus on their
why. My why has always been the women that we are helping. They are the
ones that inspire me. Your why is what keeps you going as you are filling
customer orders or staying up until 2 a.m. answering customer service
emails.




                                                                                   TNC01142
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 120 of 169 Page ID
                                   #:8993




       TRIAL EXHIBIT NO. 137
        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 121 of 169 Page ID
                                           #:8994

To:             Thrive Causemetics, Inc. (pctrademarks@perkinscoie.com)
Subject:        U.S. TRADEMARK APPLICATION NO. 87895130 - THRIVE CAUSEMETICS - 121715-4000
Sent:           8/28/2018 6:43:21 PM
Sent As:        ECOM110@USPTO.GOV
Attachments:    Attachment - 1
                Attachment - 2
                Attachment - 3
                Attachment - 4
                Attachment - 5
                Attachment - 6
                Attachment - 7
                Attachment - 8
                Attachment - 9
                Attachment - 10
                Attachment - 11
                Attachment - 12
                Attachment - 13
                Attachment - 14
                Attachment - 15
                Attachment - 16
                Attachment - 17
                Attachment - 18
                Attachment - 19
                Attachment - 20
                Attachment - 21
                Attachment - 22
                Attachment - 23
                Attachment - 24
                Attachment - 25

                          UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                  OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION



                         U.S. APPLICATION
                         SERIAL NO. 87895130


                         MARK: THRIVE
                         CAUSEMETICS
                                                  *87895130*
                         CORRESPONDENT
                         ADDRESS:                 CLICK HERE TO RESPOND TO THIS
                            PATCHEN M.            LETTER:
                         HAGGERTY
                                                  http://www.uspto.gov/trademarks/teas/response_forms.jsp
                            PERKINS COIE LLP
                            1201 THIRD AVENUE,
                         SUITE 4900               VIEW YOUR APPLICATION FILE

                            SEATTLE, WA 98101
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 122 of 169 Page ID
                                            #:8995

                                  Causemetics, Inc.


                                  CORRESPONDENT’S
                                  REFERENCE/DOCKET
                                  NO:
                                      121715-4000
                                  CORRESPONDENT E-
                                  MAIL ADDRESS:

                                  pctrademarks@perkinscoie.com




                                                        FIRST OFFICE ACTION


                                    STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW. A RESPONSE
TRANSMITTED THROUGH THE TRADEMARK ELECTRONIC APPLICATION SYSTEM (TEAS) MUST BE RECEIVED BEFORE
MIDNIGHT EASTERN TIME OF THE LAST DAY OF THE RESPONSE PERIOD.


ISSUE/MAILING DATE: 8/28/2018


TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application online
using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to Office
actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address; and (3)
agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b), 2.23(b);
TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of $125
per class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations, TEAS
Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone or e-mail without incurring
this additional fee.


The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.
SUMMARY OF ISSUES:
   •   Refusal Section 2(d) – Likelihood of Confusion
   •   ADVISORY – Prior Filed Application
   •   Disclaimer


Refusal Section 2(d) – Likelihood of Confusion
Registration of the applied-for mark is refused because of a likelihood of confusion with the mark in U.S. Registration No. 4467942. Trademark
Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the attached registration.


The applicant has applied to register the mark THRIVE CAUSEMETICS (standard characters) for “Cosmetics; makeup preparations; lip gloss;
lipstick; eye shadow; mascara; eye liner; lip liner; eye brow makeup; eye brightening liner; false eyelashes; adhesives for affixing false
eyelashes”; “Make-up brushes”; “Online retail store services featuring cosmetics, make-up, cosmetic bags, make-up brush holders and make-up
brushes”.


The mark in U.S. Registration No. 4467942 is THRIVE (standard characters) for “Non-medicated skin care preparations, namely, facial lotions,
cleansers and creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams.”
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 123 of 169 Page ID
                                            #:8996

Trademark Act Section 2(d) bars registration of an applied-for mark that so resembles a registered mark that it is likely a consumer would be
confused, mistaken, or deceived as to the source of the goods and/or services of the applicant and registrant(s). See 15 U.S.C. §1052(d).
Determining likelihood of confusion is made on a case-by-case basis by applying the factors set forth in In re E. I. du Pont de Nemours & Co.,
476 F.2d 1357, 1361, 177 USPQ 563, 567 (C.C.P.A. 1973). In re i.am.symbolic, llc, 866 F.3d 1315, 1322, 123 USPQ2d 1744, 1747 (Fed. Cir.
2017). However, “[n]ot all of the [ du Pont] factors are relevant to every case, and only factors of significance to the particular mark need be
considered.” Coach Servs., Inc. v. Triumph Learning LLC, 668 F.3d 1356, 1366, 101 USPQ2d 1713, 1719 (Fed. Cir. 2012) (quoting In re
Mighty Leaf Tea, 601. F.3d 1342, 1346, 94 USPQ2d 1257, 1259 (Fed. Cir 2010)). The USPTO may focus its analysis “on dispositive factors,
such as similarity of the marks and relatedness of the goods [and/or services].” In re i.am.symbolic, llc, 866 F.3d at 1322, 123 USPQ2d at 1747
(quoting Herbko Int’l, Inc. v. Kappa Books, Inc. , 308 F.3d 1156, 1164-65, 64 USPQ2d 1375, 1380 (Fed. Cir. 2002)); see TMEP §1207.01.


Comparison of the Marks
Marks are compared in their entireties for similarities in appearance, sound, connotation, and commercial impression. Stone Lion Capital
Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1321, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014) (quoting Palm Bay Imps., Inc. v. Veuve
Clicquot Ponsardin Maison Fondee En 1772, 396 F.3d 1369, 1371, 73 USPQ2d 1689, 1691 (Fed. Cir. 2005)); TMEP §1207.01(b)-(b)(v).
“Similarity in any one of these elements may be sufficient to find the marks confusingly similar.” In re Davia, 110 USPQ2d 1810, 1812 (TTAB
2014) (citing In re 1st USA Realty Prof’ls, Inc. , 84 USPQ2d 1581, 1586 (TTAB 2007)); In re White Swan Ltd., 8 USPQ2d 1534, 1535 (TTAB
1988)); TMEP §1207.01(b).


Here, the mark is highly similar to the mark in the cited U.S. Registration. The applicant has merely added the term CAUSEMETICS to the
registered mark. Adding a term to a registered mark generally does not obviate the similarity between the compared marks, as in the present
case, nor does it overcome a likelihood of confusion under Section 2(d). See Coca-Cola Bottling Co. v. Jos. E. Seagram & Sons, Inc., 526 F.2d
556, 557, 188 USPQ 105, 106 (C.C.P.A. 1975) (finding BENGAL and BENGAL LANCER and design confusingly similar); In re Toshiba Med.
Sys. Corp., 91 USPQ2d 1266, 1269 (TTAB 2009) (finding TITAN and VANTAGE TITAN confusingly similar); In re El Torito Rests., Inc., 9
USPQ2d 2002, 2004 (TTAB 1988) (finding MACHO and MACHO COMBOS confusingly similar); TMEP §1207.01(b)(iii). In the present
case, the marks are identical in part.


The examining attorney must resolve any doubt as to the issue of likelihood of confusion in favor of the registrant and against the applicant who
has a legal duty to select a mark which is totally dissimilar to trademarks already being used. Burroughs Wellcome Co. v. Warner-Lambert Co.,
203 USPQ 191 (TTAB 1979).


Comparison of the Goods and/or Services
The compared goods and/or services need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v. Am.
Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894, 1898
(Fed. Cir. 2000); TMEP §1207.01(a)(i). They need only be “related in some manner and/or if the circumstances surrounding their marketing are
such that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v.
Triumph Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715,
1724 (TTAB 2007)); TMEP §1207.01(a)(i).


The applicant’s goods and/or services are “Cosmetics; makeup preparations; lip gloss; lipstick; eye shadow; mascara; eye liner; lip liner; eye
brow makeup; eye brightening liner; false eyelashes; adhesives for affixing false eyelashes”; “Make-up brushes”; “Online retail store services
featuring cosmetics, make-up, cosmetic bags, make-up brush holders and make-up brushes”.


The goods in U.S. Registration No. 4467942 are “Non-medicated skin care preparations, namely, facial lotions, cleansers and creams, creams
and oils for cosmetic use, skin moisturizers; pre-shaving preparations; after shave lotions and creams.”


The trademark examining attorney has attached evidence from the USPTO’s X-Search database consisting of a number of third-party marks
registered for use in connection with the same or similar goods and/or services as those of both applicant and registrant in this case. This
evidence shows that the goods and/or services listed therein, namely lotions, creams and after shave lotions, and cosmetics, brushes and retail
store services featuring these goods, are of a kind that may emanate from a single source under a single mark. See In re Aquamar, Inc., 115
USPQ2d 1122, 1126 n.5 (TTAB 2015) (citing In re Mucky Duck Mustard Co., 6 USPQ2d 1467, 1470 n.6 (TTAB 1988)); In re Albert Trostel &
Sons Co., 29 USPQ2d 1783, 1785-86 (TTAB 1993); TMEP §1207.01(d)(iii).


For the foregoing reasons consumers and potential consumers would be likely to believe that applicant’s goods and/or services emanate from the
same source as those provided by the registrant. Accordingly, registration is refused under Section 2(d) of the Act.
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 124 of 169 Page ID
                                            #:8997

Although the trademark examining attorney has refused registration, applicant may respond to the refusal to register by submitting evidence and
arguments in support of registration.


Prior Filed Application
The filing date of pending U.S. Application Serial No. 87021374 precedes applicant’s filing date. See attached referenced application. If the
mark in the referenced application registers, applicant’s mark may be refused registration under Trademark Act Section 2(d) because of a
likelihood of confusion between the two marks. See 15 U.S.C. §1052(d); 37 C.F.R. §2.83; TMEP §§1208 et seq. Therefore, upon receipt of
applicant’s response to this Office action, action on this application may be suspended pending final disposition of the earlier-filed referenced
application.


In response to this Office action, applicant may present arguments in support of registration by addressing the issue of the potential conflict
between applicant’s mark and the mark in the referenced application. Applicant’s election not to submit arguments at this time in no way limits
applicant’s right to address this issue later if a refusal under Section 2(d) issues.


Action on this application will be suspended pending the dispositions of Application Serial No. 87021374, upon receipt of applicant’s response
resolving the refusal(s) to register based on a likelihood of confusion. The applicant must respond to the refusal to register based on a
likelihood of confusion discussed previously herein within 6 months of the date of this Office Action to avoid ABANDONMENT.


Disclaimer
Applicant must disclaim the wording “ COSMETICS” in the mark because it merely describes an ingredient, quality, characteristic, function,
feature, purpose, or use of applicant’s goods and/or services, and thus is an unregistrable component of the mark. See 15 U.S.C. §§1052(e)(1),
1056(a); DuoProSS Meditech Corp. v. Inviro Med. Devices, Ltd., 695 F.3d 1247, 1251, 103 USPQ2d 1753, 1755 (Fed. Cir. 2012) (quoting In re
Oppedahl & Larson LLP, 373 F.3d 1171, 1173, 71 USPQ2d 1370, 1371 (Fed. Cir. 2004)); TMEP §§1213, 1213.03(a).


The attached dictionary definition shows this wording refers to substances that you use on your skin to make yourself look more attractive. See
attached. The applicant indicates that it is providing cosmetics, brushes for cosmetics and retail store services featuring cosmetics. Therefore,
the wording merely describes the goods and the subject matter of the store services.


The wording “CAUSEMETICS” must appear in its correct spelling, i.e., “COSMETICS” in the disclaimer. See In re Omaha Nat’l Corp. , 819
F.2d 1117, 1119, 2 USPQ2d 1859, 1861 (Fed. Cir. 1987); In re Carlson, 91 USPQ2d 1198, 1203 (TTAB 2009); TMEP §1213.08(c).


An applicant may not claim exclusive rights to terms that others may need to use to describe their goods and/or services in the marketplace. See
Dena Corp. v. Belvedere Int’l, Inc., 950 F.2d 1555, 1560, 21 USPQ2d 1047, 1051 (Fed. Cir. 1991); In re Aug. Storck KG, 218 USPQ 823, 825
(TTAB 1983). A disclaimer of unregistrable matter does not affect the appearance of the mark; that is, a disclaimer does not physically remove
the disclaimed matter from the mark. See Schwarzkopf v. John H. Breck, Inc., 340 F.2d 978, 978, 144 USPQ 433, 433 (C.C.P.A. 1965); TMEP
§1213.


If applicant does not provide the required disclaimer, the USPTO may refuse to register the entire mark. See In re Stereotaxis Inc., 429 F.3d
1039, 1040-41, 77 USPQ2d 1087, 1088-89 (Fed. Cir. 2005); TMEP §1213.01(b).


Applicant should submit a disclaimer in the following standardized format:


       No claim is made to the exclusive right to use “COSMETICS ” apart from the mark as shown.


For an overview of disclaimers and instructions on how to satisfy this disclaimer requirement online using the Trademark Electronic Application
System (TEAS) form, please go to http://www.uspto.gov/trademarks/law/disclaimer.jsp.


Response
For this application to proceed further, applicant must explicitly address each refusal and/or requirement raised in this Office action. If the action
includes a refusal, applicant may provide arguments and/or evidence as to why the refusal should be withdrawn and the mark should register.
Applicant may also have other options specified in this Office action for responding to a refusal and should consider those options carefully. To
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 125 of 169 Page ID
                                            #:8998

respond to requirements and certain refusal response options, applicant should set forth in writing the required changes or statements. For more
information and general tips on responding to USPTO Office actions, response options, and how to file a response online, see “ Responding to
Office Actions” on the USPTO’s website.


If applicant does not respond to this Office action within six months of the issue/mailing date, or responds by expressly abandoning the
application, the application process will end and the trademark will fail to register. See 15 U.S.C. §1062(b); 37 C.F.R. §§2.65(a), 2.68(a); TMEP
§§718.01, 718.02. Additionally, the USPTO will not refund the application filing fee, which is a required processing fee. See 37 C.F.R.
§§2.6(a)(1)(i)-(iv), 2.209(a); TMEP §405.04.


When an application has abandoned for failure to respond to an Office action, an applicant may timely file a petition to revive the application,
which, if granted, would allow the application to return to active status. See 37 C.F.R. §2.66; TMEP §1714. The petition must be filed within
two months of the date of issuance of the notice of abandonment and may be filed online via the Trademark Electronic Application System
(TEAS) with a $100 fee. See 37 C.F.R. §§2.6(a)(15)(ii), 2.66(a)(1), (b)(1).




                                                /Ellen J.G. Perkins/
                                                Ellen J.G. Perkins
                                                Trademark Examining Attorney, Law Office 110
                                                U.S. Patent & Trademark Office
                                                571 272-9372
                                                Ellen.Perkins@uspto.gov


TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.


All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.


PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.


TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 126 of 169 Page ID
                                   #:8999

Print: Aug 23, 2018               85980517

DESIGN MARK
Serial Number
85980517

Status
REGISTERED

Word Mark
THRIVE

Standard Character Mark
Yes

Registration Number
4467 942

Date Registered
2014/01/14

Type of Mark
TRADEMARK

Register
PRINCIPAL

Mark Drawing Code
(4) STANDARD CHARACTER MARK

OWner
THRIVE NATURAL CARE, INC. CORPORATION DELAWARE 42 DARRELL PLACE SAN
FRANCISCO CALIFORNIA 94133

Goods/Services
Class Status -- ACTIVE. IC 003. US 001 004 006 050 051 052. G & S:
Non-medicated skin care preparations, namely, facial lotions,
cleansers and creams, creams and oils for cosmetic use, skin
moisturizers; pre-shaving preparations; after shave lotions and
creams. First Use: 2013/09/05. First Use In Commerce: 2013/09/05.

Filing Date
2012/09/11

Examining Attorney
AGOSTO, GISELLE

Attorney of Record
Tsan Abrahamson




                                     -1-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 127 of 169 Page ID
                                   #:9000
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 128 of 169 Page ID
                                   #:9001

Print: Aug 23, 2018               87021374

DESIGN MARK
Serial Number
87021374

Status
FIRST EXTENSION - GRANTED

Word Mark
THRIVE

Standard Character Mark
Yes

Type of Mark
TRADEMARK

Register
PRINCIPAL

Mark Drawing Code
(4) STANDARD CHARACTER MARK

OWner
Thrive Natural Care, Inc. CORPORATION DELAWARE 42 Darrell Place San
Francisco CALIFORNIA 94133

Goods/Services
Class Status -- ACTIVE. IC 003. US 001 004 006 050 051 052. G & S:
Personal care products for cosmetic use, namely, hair shampoos and
conditioners, hair styling preparations; body and non-medicated hand
washes, soaps and skin cleansing gels; non-medicated skin care
preparations, namely, facial lotions, cleansers and creams, body
lotions, creams and oils for cosmetic use, skin moisturizers; cosmetic
sun care preparations and sunscreens; lip creams and balms;
antiperspirants and deodorants for personal use; shaving creams and
gels; pre-shaving preparations; after shave lotions and creams;
non-medicated baby care products, namely, baby lotions, skincare
creams, body cleansers, shampoos, skin cleansing gels and skin
cleansing washes, diaper rash creams and ointments.

Goods/Services
Class Status -- ACTIVE. IC 005. US 006 018 044 046 051 052. G & S:
Medicated skin care products, namely, creams, lotions and oils;
medicated hair care, namely, shampoos and creams; medicated facial
cleansers, hand and body washes; medicated sunscreens and sunburn
lotions; medicated lip creams and balms.

Filing Date
2016/05/02


                                     -1-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 129 of 169 Page ID
                                   #:9002

Print: Aug 23, 2018               87021374

Examining Attorney
IM,JEAN

Attorney of Record
Tsan Abrahamson




                                     -2-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 130 of 169 Page ID
                                   #:9003
        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 131 of 169 Page ID
                                           #:9004
https•IIWW>N. macmillandi cti onary. com/di cti onary/ameri can/cosmetics                         08/28/2018 054241 PM


           *                Blog     BuzzWonl           Open Dictionary              Games             Resources       API         More


                                                                                                                                                       MACMILLAN
                                                                                                                       searcn

                                                                                                                                                DICTIONARY

                                      COSmetiCS - definition and sy nonyms                                                                                                    Show less

                                     o e o o 1j
                                      NOUN [PLURAL)       {i    Prorulciation   J   / kaz'm etrk s /
                                                                                                                                                                  Ii      Using the thesaurus


                                                         [ f; Contribute to our Open Dictionary                    ]


                                           substances tnat you use on your skin to make yourself look more
                                           attractive
                                           In China, sales of cosmetics increased by 16% in 1996 to $2.6 billion.
                                           (i   Synonyms and related words
                                                                                                                                                               Aspire 3
                                             General wor ds for beauty products and describing beauty
                                             products: beauty, cosmetic, cosmetics ...
                                                                                                                                                MAKE YOUR
                                                                           ~            eThe~                                                     MARK

                                                                                                                                            =    Windows10
                                     This is the American English definition of cosmetics. View British English definition of cosmetics.
                                                                                                                                            Do great things.                   STAPC.ES
                                     Change your default dictionary to British English.
                                     View the pronunciation for cosmetics.
                                                                                                                                           From the Blog

                                                                                                                                           What is binge-watching?
        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 132 of 169 Page ID
                                           #:9005
https•IIWW>N. macmillandi cti onary. com/di cti onary/ameri can/cosmetics                 08/28/2018 054241 PM




                                                                                                                            Is it 'suffragette' or 'suffragist'?

                                                                                                                           'Black and white' is a surprisingly
             Did you know?                                                                                                 colourful expres ...
             Click any word in a
             definition or example
                                                                                                                           Common grammatical errors and
             to find the entry for                                                                                          how to avoid making them
             that word
                                                                                                                           Trending words quiz




                                                                                                                                      3'- Powered by feedwind




                                                                                                            Open Dictionary
                                      bronze ceiling                                                        performative friendship
                                     t hf' fact that most puhlic statu f's rf'prf'sf'nt mf'n rathf'r than   a friendship that is all aoout makinQ the person professinQ
                                     women                                                                  friendship look good, especially on social media. A
                                                                                                            performative friend is someone who does this.
                                      Buzzword Article
                                                                                                            add a word
        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 133 of 169 Page ID
                                           #:9006
https•IIWW>N. macmillandi cti onary. com/di cti onary/ameri can/cosmetics                    08/28/2018 054241 PM



                                        More Buzzwords
                                                                                                                         More submissions
                                        rainbow        framily      third gender
                                        Mx             motherism quinta.5tic                                             SOHO transpontine airsoft
                                                                                                                         napery foofy             thaumaturgy
                                        omega male YIMBY            humblebrag
                                        Buzzword archive                                                                 shelly   trigeminal      eir
                                                                                                                         view entries




                                                                                                                      Blog
                                                                                                                      A must for a nyone with an interest in the changing face of
                                                                                                                      lang uage. The Macmilla n Dictionary blog explores English as It
                                                                                                                      is spoken around the world today.
                                                                                                                      g lobal English and language change from our blog




                                                             Aspire 3

                                             MJ\KE                  YOUR
                                                        MARK
                                        =    Wmdowsl U
                                        Do great things.                      STAPtES

                                     American definition and eynonyme of cosmetics from the online Englieh dictionary from Macmillan Education.




                                                                 0 8 0 0 rfl
                                                   © Springer Nature Limited 2009- 2018             Index     Privacy    Cookies Policy        Contact   Te rms and Conditions   ~   ~
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 134 of 169 Page ID
                                            #:9007

To:                   Thrive Causemetics, Inc. (pctrademarks@perkinscoie.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87895130 - THRIVE CAUSEMETICS - 121715-4000
Sent:                 8/28/2018 6:43:24 PM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION


                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 8/28/2018 FOR U.S. APPLICATION SERIAL NO. 87895130


Please follow the instructions below:


(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”


The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.


(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 8/28/2018 (or sooner if specified in the Office action). A response
transmitted through the Trademark Electronic Application System (TEAS) must be received before midnight Eastern Time of the last day of the
response period. For information regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.


Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the TEAS response form located at
http://www.uspto.gov/trademarks/teas/response_forms.jsp.


(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.



                                                             WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.


PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 135 of 169 Page ID
                                           #:9008

closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”


Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 136 of 169 Page ID
                                   #:9009




       TRIAL EXHIBIT NO. 138
              Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 137 of 169 Page ID
                                                 #:9010

Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 09/20/2020)


                                                              Response to Office Action


                                                     The table below presents the data as entered.

                                     Input Field                                                                     Entered
 SERIAL NUMBER                                                         87895130
 LAW OFFICE ASSIGNED                                                   LAW OFFICE 110
 MARK SECTION
 MARK                                                                  https://tmng-al.uspto.gov/resting2/api/img/87895130/large
 LITERAL ELEMENT                                                       THRIVE CAUSEMETICS
 STANDARD CHARACTERS                                                   YES
 USPTO-GENERATED IMAGE                                                 YES
                                                                       The mark consists of standard characters, without claim to any particular font style,
 MARK STATEMENT
                                                                       size or color.
 ARGUMENT(S)
 Please see the actual argument text attached within the Evidence section.
 EVIDENCE SECTION
        EVIDENCE FILE NAME(S)

                                                                       evi_19822100222-20181030195038968410_._Argument_Text_-
       ORIGINAL PDF FILE
                                                                       _THRIVE_CAUSEMETICS_Office_Action_Response.pdf
       CONVERTED PDF FILE(S)
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0002.JPG
       (8 pages)

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0003.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0004.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0005.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0006.JPG
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0007.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0008.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0009.JPG

                                                                       evi_19822100222-20181030195038968410_._Exhibits_A-D_-
       ORIGINAL PDF FILE
                                                                       _THRIVE_CAUSEMETICS_Office_Action_Response.pdf
       CONVERTED PDF FILE(S)
       (31 pages)
                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0010.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0011.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0012.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0013.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0014.JPG

                                                                       \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0015.JPG
      Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 138 of 169 Page ID
                                         #:9011

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0016.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0017.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0018.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0019.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0020.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0021.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0022.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0023.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0024.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0025.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0026.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0027.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0028.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0029.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0030.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0031.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0032.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0033.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0034.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0035.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0036.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0037.JPG

                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0038.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0039.JPG
                                    \\TICRS\EXPORT17\IMAGEOUT17\878\951\87895130\xml5\ROA0040.JPG
DESCRIPTION OF EVIDENCE FILE        Argument Text and Exhibits A-D
SIGNATURE SECTION
RESPONSE SIGNATURE                  /Patchen M Haggerty/
SIGNATORY'S NAME                    Patchen M. Haggerty
SIGNATORY'S POSITION                Attorney of record, OR and WA bar member
SIGNATORY'S PHONE NUMBER            (206) 359-8000
DATE SIGNED                         10/30/2018
AUTHORIZED SIGNATORY                YES
FILING INFORMATION SECTION
SUBMIT DATE                         Tue Oct 30 20:22:25 EDT 2018
                                    USPTO/ROA-XXX.XX.XXX.XXX-
                                    20181030202225105129-8789
              Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 139 of 169 Page ID
                                                 #:9012

                                                                       5130-6107cfe86a9bb43c3187
 TEAS STAMP
                                                                       e428dc39a995cf2b178221e51
                                                                       5e01cb81c56e88b1083d9-N/A
                                                                       -N/A-20181030195038968410




Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 09/20/2020)



                                                                   Response to Office Action
To the Commissioner for Trademarks:

Application serial no. 87895130 THRIVE CAUSEMETICS(Standard Characters, see https://tmng-al.uspto.gov/resting2/api/img/87895130/large)
has been amended as follows:

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:

Please see the actual argument text attached within the Evidence section.

EVIDENCE
Evidence in the nature of Argument Text and Exhibits A-D has been attached.
Original PDF file:
evi_19822100222-20181030195038968410_._Argument_Text_-_THRIVE_CAUSEMETICS_Office_Action_Response.pdf
Converted PDF file(s) ( 8 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Original PDF file:
evi_19822100222-20181030195038968410_._Exhibits_A-D_-_THRIVE_CAUSEMETICS_Office_Action_Response.pdf
Converted PDF file(s) ( 31 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Evidence-9
Evidence-10
Evidence-11
Evidence-12
Evidence-13
Evidence-14
Evidence-15
Evidence-16
Evidence-17
Evidence-18
Evidence-19
Evidence-20
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 140 of 169 Page ID
                                            #:9013

Evidence-21
Evidence-22
Evidence-23
Evidence-24
Evidence-25
Evidence-26
Evidence-27
Evidence-28
Evidence-29
Evidence-30
Evidence-31

SIGNATURE(S)
Response Signature
Signature: /Patchen M Haggerty/ Date: 10/30/2018
Signatory's Name: Patchen M. Haggerty
Signatory's Position: Attorney of record, OR and WA bar member

Signatory's Phone Number: (206) 359-8000

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the owner's/holder's attorney
or an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent
not currently associated with his/her company/firm previously represented the owner/holder in this matter: (1) the owner/holder has filed or is
concurrently filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior
representative to withdraw; (3) the owner/holder has filed a power of attorney appointing him/her in this matter; or (4) the owner's/holder's
appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.


Serial Number: 87895130
Internet Transmission Date: Tue Oct 30 20:22:25 EDT 2018
TEAS Stamp: USPTO/ROA-XXX.XX.XXX.XXX-201810302022251
05129-87895130-6107cfe86a9bb43c3187e428d
c39a995cf2b178221e515e01cb81c56e88b1083d
9-N/A-N/A-20181030195038968410
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 141 of 169 Page ID
                                   #:9014




             Applicant responds as follows to the Office Action issued on August 28, 2018.           In the Office

     Action, the Examining Attorney refused registration of Applicant's mark THRIVE CAUSEMETICS

     ("Applicant's Mark") under Trademark Act Section 2(d), based on a likelihood of confusion with

     Registration No. 4467942 for the mark THRIVE ("Cited Mark"). The Examining Attorney also requested a

     disclaimer of the word "COSMETICS." For the reasons stated herein, Applicant respectfull y requests

     withdrawal of the likelihood of confusion citation and the disclaimer requirement, and formal notification

     that the Application will proceed to publication.

     I.      Discussion

             When evaluating likelihood of confusion , In re E.I. DuPont de Nemours & Co. provides a non-

     exclusive list of thirteen factors, which, when of record , must be considered. 476 F.2d. 1357, 1361 ; 177

     U.S .P.Q. 563, 567 (C.C.P.A. 1973). However, not all of the DuPont factors are relevant in every case.

     Id. The relevant DuPont factors in this case include:

             (1) The similarity or dissimilarity between the parties' respective marks;

             (2) The similarity or dissimilarity and nature of the goods as described in an application or

             registration or in connection with which a prior mark is in use; and

             (3) The number and nature of similar marks in use on similar goods.

     Id. Each of these factors is considered below .

                                                  A.      Background

             This is Applicant's second application for Applicant's Mark. Applicant first applied for registration

     of Applicant's Mark on August 11 , 2015 under Serial No. 86721790 (the '"790 Application"). In an Office

     Action dated November 30, 2015, the Examining Attorney initially refused registration of the '790

     Application under Trademark Act Section 2(d) based on a likelihood of confusion with both the Cited Mark

     and now cancelled Registration No. 2938220 for the mark CAUSE-METICS (the '"220 Registration"). The

     Examining Attorney also initially requested a disclaimer of the word "COSMETICS." Applicant responded

     to the Office Action on May 26, 2016 arguing against a likelihood of confusion with both the Cited Mark

     and the '220 Registration and against the disclaimer requirement. In a second Office Action issued June

     22, 2016, the Examining Attorney withdrew the refusal with respect to the Cited Mark and the disclaimer

     requirement. See Exhibit A .
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 142 of 169 Page ID
                                   #:9015




             Given that the subject Application covers cosmetics, makeup brushes and retail store services

     featuring these goods and that Applicant's '790 Application covered cosmetics, and given that the

     Examiner withdrew the refusal of registration of the '790 Application as to the Cited Mark finding no

     likelihood of confusion , it follows that the there is no likelihood of confusion between the subject

     Application (which covers goods and services that are the same or highly related to the goods covered by

     the '790 Application ) and the Cited Mark. Further, given that the Examiner withdrew the disclaimer

     requirement for the '790 Application, it follows that Applicant need not disclaim the word "COSMETICS" in

     the subject Application .

             Accordingly, Applicant similarly requests withdrawal of the refusal of registration of the subject

     Application based on the Cited Mark and the disclaimer requirement.

                                           B.      Comparison of the Marks.

             Applicant's Mark, THRIVE CAUSEMETICS, creates a distinct commercial impression from the

     Cited Mark, THRIVE. When evaluating marks consisting of multiple words, each mark must be considered

     as a whole. See TMEP § 1207.01 (b) ("The basic principle in determining confusion between marks is

     that marks must be compared in their entireties . . . . It follows from that principle that likelihood of

     confusion cannot be predicated on dissection of a mark, that is, on only part of a mark. " (quoting In re

     Nat'/ Data Corp. , 753 F.2d 1056, 1058 (Fed. Cir. 1985))).

             In the Office Action , the Examining Attorney asserts that Applicant "has merely added the term

     CAUSEMETICS to the registered mark" which "does not obviate the similarity between the compared

     marks." Applicant respectfully disagrees with this assertion given that Applicant's Mark, viewed in its

     entirety, conveys an entirely different commercial impression from the Cited Mark.

             To start, the marks look completely different. THRIVE CAUSEMETICS is a compound , unitary

     word mark, consisting of two distinct terms which both contribute to the overall commercial impression of

     Applicant's Mark. The Cited Mark, on the other hand, consists only of the word THRIVE, which is diluted

     and entitled to a narrow scope of protection, as discussed further below.

             Further, the marks sound completely different when spoken aloud. THRIVE CAUSEMETICS is

     two separate words comprised of four syllables, thus creating a memorable impression of the mark as a

     cohesive whole, without special focus on the "THRIVE" aspect of the mark.


                                                           -2-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 143 of 169 Page ID
                                   #:9016




             Finally, the marks convey entirely distinct meanings and commercial impressions.              When

     considering the meaning of Applicant's Mark as used on Applicant's Goods and Services (as defined

     below) , Applicant's Mark suggests that the cosmetic and make-up application related products and

     services offered under Applicant's Mark are intended to support a "cause," or to promote Applicant's

     stated charitable purpose of helping women to "thrive." Applicant describes its offerings as "Beauty with a

     Purpose." For every product purchased, Applicant donates a product to "help a woman thrive." See

     Exhibit B. Accordingly, Applicant's composite mark creates a distinct commercial impression.

             In contrast, the Cited Mark (THRIVE) simply suggests that the skin care preparations offered

     under the mark are intended to promote healthy, or "thriving," skin. This is consistent with the Registrant's

     description of the products offered under the Cited Mark, which Registrant describes on its website as

     "high-performance nature skincare for men, powered by regenerative plants from Costa Rica ." See

     Exhibit C.

             Given the differences in sight, sound, meaning and commercial impression from the Cited Mark

     when Applicant's Mark, THRIVE CAUSEMETICS, is properly viewed as a whole, this factor favors

     Applicant.

                                          C.      Comparison of the Goods

             "The nature and scope of a party's goods or services must be determined on the basis of the

     goods or services recited in the application or registration." TMEP § 1207.01 (a)(iii). Here, Applicant's

     Mark covers: "Cosmetics; makeup preparations; lip gloss; lipstick; eye shadow; mascara ; eye liner; lip

     liner; eye brow makeup; eye brightening liner; false eyelashes; adhesives for affixing false eyelashes" in

     Class 3; "Make-up brushes" in Class 21 ; and "Online retail store services featuring cosmetics, make-up,

     cosmetic bags, make-up brush holders and make-up brushes" in Class 35 ("Applicant's Goods and

     Services").

             In contrast, the Cited Mark covers: "Non-medicated skin care preparations, namely, facial lotions,

     cleansers and creams, creams and oils for cosmetic use, skin moisturizers; pre-shaving preparations;

     after shave lotions and creams" in Class 3 (the "Cited Goods").

             Applicant's Goods and Services are not identical to the Cited Goods, and the Examining Attorney

     does not attempt to argue that they are. While Applicant's Mark and the Cited Mark are used in


                                                         -3-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 144 of 169 Page ID
                                   #:9017




     connection with goods in Class 3, Applicant's Class 3 goods are cosmetics, while the Cited Mark's Class

     3 goods are skincare and shaving products. Such products are found in different aisles or departments

     than standard make-up cosmetics , such as eyeliner, and are distinctly different types of consumer goods.

     Further, Applicant's Goods and Services are marketed toward and used to help women (see Exhibit B),

     whereas the Cited Goods are marketed toward men (see Exhibit C).

             Given the dissimilarity in the marks as discussed above, a higher nexus in the relatedness of the

     parties' goods is required to support a finding of likelihood of confusion. In re Shell Oil Co., 992 F.2d

     1204, 1207, 26 USPQ2d 1687, 1689 (Fed. Cir. 1993); Gen. Mills, Inc. v. Fage Dairy Processing Indus.

     S.A. , 100 USPQ2d 1584, 1597 (TTAB 2011 ).             Thus, confusion is unlikely when considering the

     differences in the goods offered under the respective marks and the resulting commercial impression.

             Further, as discussed above and in more detail below as to the next factor, mere common use of

     the diluted term THRIVE in connection with such goods is not sufficient to establish a likelihood of

     confusion when the marks, as a whole, are so different.

      D.      The Cited Mark Coexists, and Has Historically Coexisted, with Other Third-Party THRIVE Marks.

             As noted above, the Examiner's only support for the conclusion that the there is a likelihood of

     confusion between Applicant's Mark and the Cited Mark is common use of the term THRIVE in

     connection with non-identical products in Class 3, without factoring distinguishing aspects of the

     Applicant's Mark into the analysis. However, "[i]f the evidence establishes that the consuming public is

     exposed to third-party use of similar marks on similar goods, it 'is relevant to show that a mark is relatively

     weak and entitled to only a narrow scope of protection.'" TMEP § 1207.01 (citing Palm Bay Imps., Inc. v.

     Veuve Clicquot Ponsardin Maison Fondee en 1772, 396 F.3d 1369, 1373-74 (Fed. Cir. 2005).

             Here, Applicant has identified third-party registrations, allowed and published applications for

     THRIVE-formative marks that are at least as similar to each other, and which cover various goods for

     products closely related to those covered by the Cited Mark and Applicant's Mark. This suggests that

     consumers are capable of looking beyond mere common use of THRIVE to create an association as to

     source for such products. Accordingly, Applicant's Mark and the Cited Mark can coexist on the Principal

     Register w ithout a likelihood of confusion , just as the Cited Mark already coexists with the identified

     marks. Consider the following marks:


                                                          -4-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 145 of 169 Page ID
                                   #:9018




     Mark                Req./App. No.       Goods/Services. in pertinent part

     THRIVE IN     THE   5395792             Class 3: Sun screen preparations
     SUN.
     ENTHRIVE            4841662             Class 3: Beauty creams for body care; Cosmetic creams;
                                             Cosmetic creams for skin care; Cosmetic nourishing creams;
                                             Cosmetic preparations for skin care; Cosmetic preparations
                                             for skin renewal; Face creams for cosmetic use; Moisturizing
                                             preparations for the skin; Non-medicated skin care
                                             preparations; Skin conditioning creams for cosmetic
                                             purposes; Skin moisturizer

     ITHRIVEX            4744731             Class 3: Body cream; Hand cream ; Non-medicated skin care
                                             creams and lotions; Skin creams

     EAT. DRINK.         4696755             Class 3: Apothecary products, namely, non-medicated sea
     THRIVE.                                 salt for use as bath salts; non-medicated skin preparations,
                                             namely, sea salt exfoliator for skin and body

     SIMPLYTHRIVE        87264323            Class 3: Fragranced body creams, bath and body gels and
                         (Allowed July 11,   body lotions; body cleansers and body washes; Perfumes;
                         2017)               cologne ; eau de toilette; Bath powders; Makeup, namely,
                                             lipstick, lip liner, lip gloss, eyeliner, eyeshadow, foundation,
                                             skin bronzer, body powder; Haircare products, namely, hair
                                             care creams; hair colorants; hair coloring preparations; hair
                                             creams; hair gel; hair gels; hair lotions; hair mousse; hair
                                             mousses; hair pomades; hair relaxers; hair relaxing
                                             preparations; hair spray; hair styling gel; hair styling spray;
                                             styling gels; Incense; scented room sprays; Non-medicated
                                             skin care preparations, namely, creams, lotions, cleansers,
                                             masks and oils; eye cream ; facial masks; non-medicated
                                             exfoliating preparations for the skin; facial cream ; facial
                                             cleansers; face oil ; facial moisturizers; soaps; scented water
                                             for cosmetic use; essential oils; cosmetics; hair lotions; oils
                                             for toiletry purposes; oils for cosmetic use; oils for perfumes
                                             and scents; almond oils for cosmetic use; shampoos, shower
                                             gels, bath foams, bubble baths; lotions and gels for cosmetic
                                             use; beauty masks; cosmetic preparations for baths; non-
                                             medical skin care preparations, namely, creams, face , eyes,
                                             hands, body, legs and feet gels and lotions; toners and
                                             moisturizers, namely, skin toners and skin moisturizers for the
                                             face and body; serums, namely, beauty serums for the face
                                             and eyes; cosmetic creams; make-up and make-up removing
                                             preparations; skin cleansing scrubs, namely, body scrubs for
                                             the face and skin; shaving preparations; after-shave lotions;
                                             non-medicated lip balms and lipsticks; deodorants for
                                             personal use; cosmetic preparations for slimming ; sun
                                             screening preparations; tissues impregnated with cosmetic
                                             lotions; air fragrances; preparations for perfuming linen,
                                             namelv, scented linen spravs and linen water; potpourris
     THRIVECEUTICALS     87869941            Class 3: Non-medicated anti-aging products, namely,
                         (Published for      moisturizer, toner, serums, and creams; non-medicated skin
                         Opposition          care products, namely, lotions, skin creams, facial skin
                         September 04,       cleansers, eye gels, moisturizers, body scrubs, and body
                         2018)               butters


                                                    -5-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 146 of 169 Page ID
                                   #:9019




     See Exhibit D. This evidence establishes that the consuming public is exposed to third-party use of

     THRIVE-formative marks on similar goods in Class 3 such that the wording THRIVE is weak and entitled

     to only a narrow scope of protection. See Palm Bay Imps. , 396 F.3d at 1373-74. Thus, this factor favors

     Applicant and demonstrates that there is no likelihood of confusion as between Applicant's Mark and the

     Cited Mark.

                                      E. COSMETICS Need Not Be Disclaimed.

             In the Office Action, the Examiner states that "Applicant must disclaim the word ing 'COSMETICS'

     in the mark because it merely describes an ingredient, quality, characteristic, function,

     feature , purpose, or use of applicant's goods and/or services, and thus is an unregistrable component of

     the mark ... the wording 'CAUSEMETICS' must appear in its correct spelling, i.e., 'COSMETICS' in the

     disclaimer." The word "CAUSEMETICS" (and in particular the "CAUSE" portion of the word) is suggestive

     of the charitable purpose of Applicant's business. See evidence submitted herewith as Exhibit B,

     consisting of portions of Applicant's website describing the charitable aspect of Applicant's business (e.g. ,

     for every product purchased, Applicant donates a product to "help a woman thrive. "). In other words,

     "CAUSEMETICS" would not be perceived by consumers as "just a misspelling of a descriptive or generic

     word, but as having a dual meaning." See In re Dean S. Carlson, 91 USPQ2d 1198, 1201-1202 (TTAB

     2009); In re Grand Metro. Foodservice, Inc., 30 USPQ2d 1974, 1975-1976 (TTAB 1994) (finding

     "MUFFUNS" would be perceived as more than just a misspelling of "MUFFINS," thereby rendering a

     different commercial impression or connotation ).

             The issue presented here is nearly identical with that presented in In re Tea & Sympathy, Inc., 88

     USPQ2d 1062 (TTAB 2008). In that case , the applicant had applied for registration of the trademark THE

     FARMACY for "retail store services featuring natural herbs and organic products; and on-line retail store

     services featuring natural herbs and organic products" (in International Class 35), and "providing

     integrated health services at retail locations in the nature of dietary and nutritional guidance and providing

     information about dietary supplements and nutrition." The trademark examining attorney refused

     registration in both classes on the ground that the designation THE FARMACY, when used in connection

     with applicant's services , was merely descriptive. On appeal to the TTAB, the Board reversed, finding that

     applicant's mark was more than just an alternate spelling of "the pharmacy":


                                                          -6-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 147 of 169 Page ID
                                   #:9020




              We find that the mark THE FARMACY, as used in connection with applicant's services, is
              more than simply a misspelling of "the pharmacy." Consumers are not likely to perceive
              that mark as just a misspelling, but rather as a play on the natural or farm-fresh
              characteristics of applicant's herbs and organic products used for medicinal purposes
              featured in applicant's services. Thus, the mark conveys a dual meaning, that of the
              natural aspect of the goods sold by applicant and of a pharmacy. Applicant's mark is
              inventive and just clever enough, being an obvious play on "the pharmacy" and "farm," so
              that the meaning or commercial impression of applicant's mark will be more than simply
              "the pharmacy." Accordingly, applicant's mark is not merely descriptive.
     Id. at 1062.

              Just as in the above case, the term CAUSEMETICS in Applicant's Mark conveys a dual meaning.

     It is both suggestive of Applicant's Goods and Services and suggestive of the charitable aspect of

     Applicant's business (i.e., the sale of products "for a cause" to help women "thrive"). The meaning or

     commercial impression of the term CAUSEMETICS to consumers, as used in Applicant's Mark, is

     therefore different from the word "COSMETICS." As a result, the term "CAUSEMETICS" is not merely a

     misspelling of the descriptive term "COSMETICS."

              Even if the term "CAUSEMETICS" was merely the functional equivalent of the word

     "COSMETICS," the term "CAUSEMETICS" forms part of a composite mark (THRIVE CAUSEMETICS),

     which is unitary such that "COSMETICS" need not be disclaimed.

              A composite mark is one which is comprised of, among other things, multiple words. See TMEP

     §1213.02. Where a composite mark is unitary, an individual component of the mark that would otherwise

     be unregistrable need not be disclaimed. See TMEP §§1213.05-1213.0S(g)(iv). A mark or portion of a

     mark is considered "unitary" when it creates a commercial impression separate and apart from any

     unregistrable component. The presence of a verb in a mark is indicative of a unitary mark. See TMEP

     § 1213.0S(b )(ii)(A).

              Here, Applicant's mark is comprised of two terms, "THRIVE" and "CAUSEMETICS."

     Consequently, it is a composite mark. The word "THRIVE" is a verb, which forms a phrase when

     combined with the object of the phrase being "CAUSEMETICS." The subject of this unitary phrase is the

     consumer who is given the commercial impression that Applicant's Mark, when used in connection with

     Applicant's Goods and Services, connotes "beauty with a purpose" that "helps women to thrive." See

     Exhibit B. This indicates that Applicant's mark is a unitary mark. Consequently, Applicant need not

     disclaim the wording "COSMETICS."



                                                         -7-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 148 of 169 Page ID
                                   #:9021




     II.     Conclusion

             For the foregoing reasons, there is no likelihood of confusion between Applicant's Mark and the

     Cited Mark in connection with Applicant's Goods and Services. Further, Applicant need not disclaim the

     wording "COSMETICS." Accordingly, the refusal should be withdrawn and Applicant's Mark should

     proceed to publication.

     141201869.1




                                                        -8-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 149 of 169 Page ID
                                   #:9022




                                EXHIBIT B
  Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 150 of 169 Page ID
                                     #:9023

https://thrivecausemetics.com/pages/our-story              I   Retrieved 9/6/2018
                                                FREE SH I PPING ON ORDERS $35+ AND EASY RETURNS !



                                                                         thrive-
                                                                         eau1e met1c,




                                                                 Our Story




          We're Changing the Beauty Industry for Good


          Thrive Causemetics was born out of a friendship. Makeup artist and product developer, Karissa Bodnar, lost her dear friend Kristy to
          cancer at just 24 years old. Kristy's compassionate and vivacious spirit inspired Karissa to establish Thrive Causemetics, a beauty
          brand and philosophy that goes beyond skin deep by empowering women.


          Thrive Causemetics is Beauty with a Purpose: for every product you purchase. one is donated to help a woman thri      . We believe
          changing the world starts with a single ingredient, and that's why we create vegan, 100% cruelty-free formulas containing proven
          ingredients without the use of parabens or sulfates. All of our high-performance cosmetics are developed at Thrive Lab in Los
          Angeles-we control every step of the product development process, and a large part of it involves you. From selecting shades for our
          Glossy Lip Mark to testing our new formulations, your voice is heard in every step of our product creation process.


          With over a decade of experience as a makeup artist, beauty product designer, and formulator, Karissa has traveled the world sourcing
          powerful ingredients to create clean formulas with skin-loving properties. Her passion for empowering women of all walks of life
          through the gift of beauty has taken her from backstage at Fashion Week to working with an impressive roster of high-profile clients.


          Thrive Causemetics is a movement that anyone can join. Thanks to you, we've been able to empower and inspire countless women's
          lives.
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 151 of 169 Page ID
                                   #:9024

  thrive~        Customer Service          Learn More             Discove r   Join Our Email List

  causemetics
                 RETURNS+ EXCHANGES

                 SHIPPING INFO
                                           OUR STORY

                                           HOW WE GIVE
                                                                  REWARDS

                                                                 EGIFT CARD
                                                                                                          ii'i=Miii]
                 REWARDS TERMS             BLOG                               @ ~W
                 FAQ                       PRESS                              (888 ) 804 - 4318     7am - 7pm PST

                 CONTACT US                CAREERS




                                      PRIVACY POLICY   I   TERMS OF USE
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 152 of 169 Page ID
                                   #:9025




                                EXHIBIT C
   Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 153 of 169 Page ID
                                      #:9026
Thrive Natural Care I High-Perfonnance Natural Skincare for Men




                         PRODUCTS V   OUR MISSION   POWERFUL PLANTS   OWN THE DAY   CONTACT US   SIGN IN   Q   'ff   0


 T H R I VE




                                             A POSITIVE FOOTPRINT



  Our business model is as unique as our products. A farm to face approach for the
                  best natural skincare, good for your skin and for the planet




https://thrivecare.co/                                                                                     9/6/2018
   Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 154 of 169 Page ID
                                      #:9027
Thrive Natural Care I High-Perfonnance Natural Skincare for Men                                                                                         2




                         PRODUCTS V   OUR MISSION   POWERFUL PLANTS    OWN THE DAY     CONTACT US                             SIGN IN     Q   'ff   0


 THR I VE

                                                                      ENERGY SCRUB - 3.38FL.OZ.(100ML)

                                                                      125 reviews

                                                                      $13.95
                                                                      r-;:duct Description l.__
                                                                                              o_u_
                                                                                                 r c_o_
                                                                                                      mm_ i_tm_e_
                                                                                                                n t_
                                                                                                                   s _ _ _ _ _ _ _ _ __


                                                                       Whether you need to scrub off the day's adventure or are
                                                                       preparing your skin for a smooth shave, Thrive's Energy Scrub
                                                                       harnesses the power of plant-based exfoliants and natural
                                                                       cleansers to provide a powerful cleansing scrub without the
                                                                       harsh abrasives or cleansers that can do more harm than good.




                                ■
                                                                       Our natural formula is made with exclusive, high-quality plant


               I                                                       extracts from Costa Rica that invigorate your skin for an
                                                                       energetic start to your day.



                                                                                                ADD TO CART




                    YOUR MORNING ROUTINE FOR THE SMOOTHEST SHAVE



   Been shaving for years? Gearing up for your first shave? Either way, a complete
                 shave goes beyond a good razor. And we've got you covered!




https://thrivecare.co/                                                                                                                    9/6/2018
   Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 155 of 169 Page ID
                                      #:9028
Thrive Natural Care I High-Perfonnance Natural Skincare for Men                                                              3




                         PRODUCTS V   OUR MISSION   POWERFUL PLANTS   OWN THE DAY   CONTACT US       SIGN IN   Q   'ff   0


 THRIVE'




                                                                           OUR NO COMPROMISE COMMITMENTS TO
                                                                           YOU , YOUR SKIN, AND THE PEOPLE AND
                                                                           THE PLANET THAT MAKE IT POSSIBLE

                                                                             SEE ALL PRODUCTS




                                              #THRIVEOWNTHEDAY




https://thrivecare.co/                                                                                         9/6/2018
   Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 156 of 169 Page ID
                                      #:9029
Thrive Natural Care I High-Perfonnance Natural Skincare for Men                                                          4




                         PRODUCTS V   OUR MISSION   POWERFUL PLANTS   OWN THE DAY   CONTACT US   SIGN IN   Q   'ff   0


 THRIVE'




https://thrivecare.co/                                                                                     9/6/2018
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 157 of 169 Page ID
                                   #:9030




       TRIAL EXHIBIT NO. 139
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 158 of 169 Page ID
                                            #:9031

To:                   Thrive Causemetics, Inc. (pctrademarks@perkinscoie.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87895130 - THRIVE CAUSEMETICS - 121715-4000
Sent:                 11/23/2018 9:15:38 AM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                                    UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION



                                      U.S. APPLICATION
                                      SERIAL NO. 87895130


                                      MARK: THRIVE
                                      CAUSEMETICS
                                                                     *87895130*
                                      CORRESPONDENT
                                      ADDRESS:                       GENERAL TRADEMARK
                                        PATCHEN M.                   INFORMATION:
                                      HAGGERTY                       http://www.uspto.gov/trademarks/index.jsp
                                         PERKINS COIE LLP
                                         1201 THIRD AVENUE,          VIEW YOUR APPLICATION FILE
                                      SUITE 4900
                                         SEATTLE, WA 98101


                                      APPLICANT: Thrive
                                      Causemetics, Inc.


                                      CORRESPONDENT’S
                                      REFERENCE/DOCKET
                                      NO:
                                         121715-4000
                                      CORRESPONDENT E-
                                      MAIL ADDRESS:

                                      pctrademarks@perkinscoie.com




                                        SUSPENSION NOTICE: NO RESPONSE NEEDED

ISSUE/MAILING DATE: 11/23/2018


The trademark examining attorney is suspending action on the application for the reason(s) stated below. See 37 C.F.R. §2.67; TMEP §§716 et
seq.


The effective filing date of the pending application(s) identified below precedes the filing date of applicant’s application. If the mark in the
referenced application(s) registers, applicant’s mark may be refused registration under Section 2(d) because of a likelihood of confusion with
that registered mark(s). See 15 U.S.C. §1052(d); 37 C.F.R. §2.83; TMEP §§1208 et seq. Therefore, action on this application is suspended until
the earlier-filed referenced application(s) is either registered or abandoned. 37 C.F.R. §2.83(c). A copy of information relevant to this referenced
application(s) was sent previously.
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 159 of 169 Page ID
                                            #:9032


       - Application Serial No(s). 87021374


REFUSAL(S)/REQUIREMENT(S) CONTINUED AND MAINTAINED: The following refusal(s)/requirement(s) is/are continued and
maintained: Refusal Section 2(d) – Likelihood of Confusion; Disclaimer.


The USPTO will periodically conduct a status check of the application to determine whether suspension remains appropriate, and the trademark
examining attorney will issue as needed an inquiry letter to applicant regarding the status of the matter on which suspension is based. TMEP
§§716.04, 716.05. Applicant will be notified when suspension is no longer appropriate. See TMEP §716.04.


No response to this notice is necessary; however, if applicant wants to respond, applicant should use the “Response to Suspension Inquiry or
Letter of Suspension” form online at http://teasroa.uspto.gov/rsi/rsi.




                                             /Ellen J.G. Perkins/
                                             Ellen J.G. Perkins
                                             Trademark Examining Attorney, Law Office 110
                                             U.S. Patent & Trademark Office
                                             571 272-9372
                                             Ellen.Perkins@uspto.gov


PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.


TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the Trademark Electronic Application System (TEAS) form at
http://www.uspto.gov/trademarks/teas/correspondence.jsp.
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 160 of 169 Page ID
                                            #:9033

To:                   Thrive Causemetics, Inc. (pctrademarks@perkinscoie.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87895130 - THRIVE CAUSEMETICS - 121715-4000
Sent:                 11/23/2018 9:15:39 AM
Sent As:              ECOM110@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)




                                        IMPORTANT NOTICE REGARDING YOUR
                                            U.S. TRADEMARK APPLICATION


                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                ON 11/23/2018 FOR U.S. APPLICATION SERIAL NO.87895130


Please follow the instructions below:


(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov/, enter the U.S. application serial number, and click on
“Documents.”


The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.


(2) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.



                                                              WARNING

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”


Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 161 of 169 Page ID
                                   #:9034




       TRIAL EXHIBIT NO. 140
        Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 162 of 169 Page ID
                                           #:9035

To:             Thrive Causemetics, Inc. (trademarks@cooley.com)
Subject:        U.S. Trademark Application Serial No. 87895130 - THRIVE CAUSEMETICS - N/A
Sent:           July 28, 2021 04:13:18 PM
Sent As:        ecom110@uspto.gov
Attachments:    Attachment - 1
                Attachment - 2
                Attachment - 3
                Attachment - 4
                Attachment - 5
                Attachment - 6
                Attachment - 7
                Attachment - 8
                Attachment - 9
                Attachment - 10
                Attachment - 11
                Attachment - 12
                Attachment - 13
                Attachment - 14
                Attachment - 15
                Attachment - 16
                Attachment - 17
                Attachment - 18
                Attachment - 19
                Attachment - 20
                Attachment - 21
                Attachment - 22
                Attachment - 23
                Attachment - 24
                Attachment - 25
                Attachment - 26
                Attachment - 27
                Attachment - 28
                Attachment - 29
                Attachment - 30
                Attachment - 31
                Attachment - 32
                Attachment - 33
                Attachment - 34
                Attachment - 35
                Attachment - 36
                Attachment - 37
                Attachment - 38
                Attachment - 39
                Attachment - 40

                                  United States Patent and Trademark Office (USPTO)
                            Office Action (Official Letter) About Applicant’s Trademark Application
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 163 of 169 Page ID
                                            #:9036

                                                          U.S. Application
                                                          Serial No. 87895130


                                                          Mark: THRIVE
                                                          CAUSEMETICS


                                                          Correspondence
                                                          Address:
                                                          Anne H. Peck
                                                          Cooley LLP
                                                          1299 Pennsylvania
                                                          Avenue NW, STE 700
                                                          Washington DC 20004


                                                          Applicant: Thrive
                                                          Causemetics, Inc.


                                                          Reference/Docket No.
                                                          N/A


                                                          Correspondence
                                                          Email Address:

                                                          trademarks@cooley.com




                                                    NONFINAL OFFICE ACTION

The USPTO must receive applicant’s response to this letter within six months of the issue date below or the application will be abandoned.
Respond using the Trademark Electronic Application System (TEAS). A link to the appropriate TEAS response form appears at the end of this
Office action.


Issue date: July 28, 2021


This application was suspended pending the disposition of a prior filed application. The prior filed application has matured to U.S. Registration
No. 6164303. The refusal to register the mark based on U.S. Registration No. 4467942 is maintained and continued. The arguments presented in
applicant’s response will be addressed together with any response to this Office Action. Accordingly, the examining attorney issues the
following:


Refusal Section 2(d) – Likelihood of Confusion
Registration of the applied-for mark is refused because of a likelihood of confusion with the mark in U.S. Registration No. 6164303. Trademark
Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the attached registration.


The applicant has applied to register the mark THRIVE CAUSEMETICS (standard characters) for “ Cosmetics; makeup preparations; lip gloss;
lipstick; eye shadow; mascara; eye liner; lip liner; eye brow makeup; eye brightening liner; false eyelashes; adhesives for affixing false
eyelashes”; Make-up brushes”; and “Online retail store services featuring cosmetics, make-up, cosmetic bags, make-up brush holders and make-
up brushes.”


The mark in U.S. Registration No. 6164303 is THRIVE (standard characters) for “Body and non-medicated soaps and skin cleansing gels; non-
medicated skin care preparations, namely, facial lotions, cleansers and creams, oils for cosmetic use, skin moisturizers; cosmetic sun care
preparations and sunscreens; shaving creams and gels; pre-shaving preparations; after shave lotions and creams.”
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 164 of 169 Page ID
                                            #:9037


Trademark Act Section 2(d) bars registration of an applied-for mark that is so similar to a registered mark that it is likely consumers would be
confused, mistaken, or deceived as to the commercial source of the goods and/or services of the parties. See 15 U.S.C. §1052(d). Likelihood of
confusion is determined on a case-by-case basis by applying the factors set forth in In re E. I. du Pont de Nemours & Co., 476 F.2d 1357, 1361,
177 USPQ 563, 567 (C.C.P.A. 1973) (called the “ du Pont factors”). In re i.am.symbolic, llc, 866 F.3d 1315, 1322, 123 USPQ2d 1744, 1747
(Fed. Cir. 2017). Any evidence of record related to those factors need be considered; however, “not all of the DuPont factors are relevant or of
similar weight in every case.” In re Guild Mortg. Co., 912 F.3d 1376, 1379, 129 USPQ2d 1160, 1162 (Fed. Cir. 2019) (quoting In re Dixie
Rests., Inc., 105 F.3d 1405, 1406, 41 USPQ2d 1531, 1533 (Fed. Cir. 1997)).


Although not all du Pont factors may be relevant, there are generally two key considerations in any likelihood of confusion analysis: (1) the
similarities between the compared marks and (2) the relatedness of the compared goods and/or services. See In re i.am.symbolic, llc, 866 F.3d at
1322, 123 USPQ2d at 1747 (quoting Herbko Int’l, Inc. v. Kappa Books, Inc. , 308 F.3d 1156, 1164-65, 64 USPQ2d 1375, 1380 (Fed. Cir. 2002));
Federated Foods, Inc. v. Fort Howard Paper Co., 544 F.2d 1098, 1103, 192 USPQ 24, 29 (C.C.P.A. 1976) (“The fundamental inquiry mandated
by [Section] 2(d) goes to the cumulative effect of differences in the essential characteristics of the goods [or services] and differences in the
marks.”); TMEP §1207.01.


Comparison of the Marks
Marks are compared in their entireties for similarities in appearance, sound, connotation, and commercial impression. Stone Lion Capital
Partners, LP v. Lion Capital LLP, 746 F.3d 1317, 1321, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014) (quoting Palm Bay Imps., Inc. v. Veuve
Clicquot Ponsardin Maison Fondee En 1772, 396 F.3d 1369, 1371, 73 USPQ2d 1689, 1691 (Fed. Cir. 2005)); TMEP §1207.01(b)-(b)(v).
“Similarity in any one of these elements may be sufficient to find the marks confusingly similar.” In re Inn at St. John’s, LLC , 126 USPQ2d
1742, 1746 (TTAB 2018) (citing In re Davia, 110 USPQ2d 1810, 1812 (TTAB 2014)), aff’d per curiam , 777 F. App’x 516, 2019 BL 343921
(Fed. Cir. 2019); TMEP §1207.01(b).


Here, both marks contain the term THRIVE. Marks may be confusingly similar in appearance where similar terms or phrases or similar parts of
terms or phrases appear in the compared marks and create a similar overall commercial impression. See Crocker Nat’l Bank v. Canadian
Imperial Bank of Commerce, 228 USPQ 689, 690-91 (TTAB 1986), aff’d sub nom. Canadian Imperial Bank of Commerce v. Wells Fargo Bank,
Nat’l Ass’n , 811 F.2d 1490, 1495, 1 USPQ2d 1813, 1817 (Fed. Cir. 1987) (finding COMMCASH and COMMUNICASH confusingly similar);
In re Corning Glass Works, 229 USPQ 65, 66 (TTAB 1985) (finding CONFIRM and CONFIRMCELLS confusingly similar); In re Pellerin
Milnor Corp., 221 USPQ 558, 560 (TTAB 1983) (finding MILTRON and MILLTRONICS confusingly similar); TMEP §1207.01(b)(ii)-(iii).


The examining attorney must resolve any doubt as to the issue of likelihood of confusion in favor of the registrant and against the applicant who
has a legal duty to select a mark which is totally dissimilar to trademarks already being used. Burroughs Wellcome Co. v. Warner-Lambert Co.,
203 USPQ 191 (TTAB 1979).


Comparison of the Goods and/or Services
The compared goods and/or services need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v. Am.
Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894, 1898
(Fed. Cir. 2000); TMEP §1207.01(a)(i). They need only be “related in some manner and/or if the circumstances surrounding their marketing are
such that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v.
Triumph Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715,
1724 (TTAB 2007)); TMEP §1207.01(a)(i).


The applicant’s goods and/or services are “ Cosmetics; makeup preparations; lip gloss; lipstick; eye shadow; mascara; eye liner; lip liner; eye
brow makeup; eye brightening liner; false eyelashes; adhesives for affixing false eyelashes”; Make-up brushes”; and “Online retail store
services featuring cosmetics, make-up, cosmetic bags, make-up brush holders and make-up brushes.”


The goods in U.S. Registration No. 6164303 are “Body and non-medicated soaps and skin cleansing gels; non-medicated skin care preparations,
namely, facial lotions, cleansers and creams, oils for cosmetic use, skin moisturizers; cosmetic sun care preparations and sunscreens; shaving
creams and gels; pre-shaving preparations; after shave lotions and creams.”


The attached Internet evidence, consisting of third party cosmetics and personal care webpages, establishes that the same entity commonly
manufactures, produces, or provides the relevant goods and/or services and markets the goods and/or services under the same mark. Specifically,
cosmetics, cosmetics brushes and retail store services featuring these goods, as well as providing skincare preparations such as moisturizers and
skin cleansers. Thus, applicant’s and registrant’s goods and/or services are considered related for likelihood of confusion purposes. See, e.g., In
re Davey Prods. Pty Ltd., 92 USPQ2d 1198, 1202-04 (TTAB 2009); In re Toshiba Med. Sys. Corp., 91 USPQ2d 1266, 1268-69, 1271-72 (TTAB
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 165 of 169 Page ID
                                            #:9038

2009).


For the foregoing reasons consumers and potential consumers would be likely to believe that applicant’s goods and/or services emanate from the
same source as those provided by the registrant. Accordingly, registration is refused under Section 2(d) of the Act.


Although the trademark examining attorney has refused registration, applicant may respond to the refusal to register by submitting evidence and
arguments in support of registration.


Response
For this application to proceed, applicant must explicitly address each refusal and/or requirement in this Office action. For a refusal, applicant
may provide written arguments and evidence against the refusal, and may have other response options if specified above. For a requirement,
applicant should set forth the changes or statements. Please see “ Responding to Office Actions” and the informational video “Response to
Office Action” for more information and tips on responding.


How to respond. Click to file a response to this nonfinal Office action.




                                              /Ellen J.G. Perkins/
                                              Ellen J.G. Perkins
                                              Examining Attorney - Law Office 110
                                              U.S. Patent & Trademark Office
                                              571 272-9372
                                              Ellen.Perkins@uspto.gov




RESPONSE GUIDANCE
   •   Missing the response deadline to this letter will cause the application to abandon. A response or notice of appeal must be received by
       the USPTO before midnight Eastern Time of the last day of the response period. TEAS and ESTTA maintenance or unforeseen
       circumstances could affect an applicant’s ability to timely respond.



   •   Responses signed by an unauthorized party are not accepted and can cause the application to abandon. If applicant does not have an
       attorney, the response must be signed by the individual applicant, all joint applicants, or someone with legal authority to bind a juristic
       applicant. If applicant has an attorney, the response must be signed by the attorney.


   •   If needed, find contact information for the supervisor of the office or unit listed in the signature block.
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 166 of 169 Page ID
                                   #:9039

Print:Jul27,2021                  87021374

DESIGN MARK

Serial Number
87021374

Status
CANCELLATION PENDING

Word Mark
THRIVE

Standard Character Mark
Yes

Registration Number
6164303

Date Registered
2020/09/29

Type of Mark
TRADEMARK

Register
PRINCIPAL

Mark Drawing Code
(4) STANDARD CHARACTER MARK

OWner
Thrive Natural Care, Inc. CORPORATION DELAWARE 42 Darrell Place San
Francisco CALIFORNIA 94133

Goods/Services
Class Status -- ACTIVE. IC 003. US 001 004 006 050 051 052. G & S:
Body and non-medicated soaps and skin cleansing gels; non-medicated
skin care preparations, namely, facial lotions, cleansers and creams,
oils for cosmetic use, skin moisturizers; cosmetic sun care
preparations and sunscreens; shaving creams and gels; pre-shaving
preparations; after shave lotions and creams. First Use: 2013/09/05.
First Use In Commerce: 2013/09/05.

Filing Date
2016/05/02

Examining Attorney
IM,JEAN




                                     -1-
Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 167 of 169 Page ID
                                   #:9040
            Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 168 of 169 Page ID
                                               #:9041

    To:                Thrive Causemetics, Inc. (trademarks@cooley.com)
    Subject:           U.S. Trademark Application Serial No. 87895130 - THRIVE CAUSEMETICS - N/A
    Sent:              July 28, 2021 04:13:21 PM
    Sent As:           ecom110@uspto.gov
    Attachments:

                                   United States Patent and Trademark Office (USPTO)


                                                 USPTO OFFICIAL NOTICE


                                             Office Action (Official Letter) has issued
                                                         on July 28, 2021 for
                                      U.S. Trademark Application Serial No. 87895130


Your trademark application has been reviewed by a trademark examining attorney. As part of that review, the assigned attorney has issued
an official letter that you must respond to by the specified deadline or your application will be abandoned. Please follow the steps below.


(1) Read the official letter.


(2) Direct questions about the contents of the Office action to the assigned attorney below.




/Ellen J.G. Perkins/
Ellen J.G. Perkins
Examining Attorney - Law Office 110
U.S. Patent & Trademark Office
571 272-9372
Ellen.Perkins@uspto.gov


Direct questions about navigating USPTO electronic forms, the USPTO website, the application process, the status of your application,
and/or whether there are outstanding deadlines or documents related to your file to the Trademark Assistance Center (TAC).


(3) Respond within 6 months (or earlier, if required in the Office action) from July 28, 2021, using the Trademark Electronic Application
System (TEAS). The response must be received by the USPTO before midnight Eastern Time of the last day of the response period. See
the Office action for more information about how to respond




GENERAL GUIDANCE
·     Check the status of your application periodically in the Trademark Status & Document Retrieval (TSDR) database to avoid missing
      critical deadlines.

·     Update your correspondence email address, if needed, to ensure you receive important USPTO notices about your application.
         Case 2:20-cv-09091-PA-AS Document 174-3 Filed 10/26/21 Page 169 of 169 Page ID
                                            #:9042


·   Beware of misleading notices sent by private companies about your application. Private companies not associated with the
    USPTO use public information available in trademark registrations to mail and email trademark-related offers and notices – most of which
    require fees. All official USPTO correspondence will only be emailed from the domain “@uspto.gov.”
